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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

MONA ABOUZIED, Individually and on         Case No. 4:17-cv-02399
Behalf of All Others Similarly Situated,

                      Plaintiff,

             v.

APPLIED OPTOELECTRONICS, INC.,
CHIH-HSIANG (THOMPSON) LIN, and
STEFAN J. MURRY,


                         Defendants.

GAURAV TANEJA, Individually and on         Case No. 4:18-cv-3544
Behalf of All Others Similarly Situated,

                      Plaintiff,

             v.

APPLIED OPTOELECTRONICS, INC.,
CHIH-HSIANG (THOMPSON) LIN, and
STEFAN J. MURRY,


                         Defendants.

DAVIN POKOIK, Individually and on          Case No. 4:18-cv-3722
Behalf of All Others Similarly Situated,

                      Plaintiff,

             v.

APPLIED OPTOELECTRONICS, INC.,
CHIH-HSIANG (THOMPSON) LIN, and
STEFAN J. MURRY,

                  Defendants.
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STEPHEN MCGRATH, Individually and on           Case No. 4:18-cv-3914
Behalf of All Others Similarly Situated,

                    Plaintiff,

             v.

APPLIED OPTOELECTRONICS, INC.,
CHIH-HSIANG (THOMPSON) LIN, and
STEFAN J. MURRY,


                       Defendants.




DECLARATION OF JAMIE J. MCKEY IN SUPPORT OF MOTION OF LAWRENCE
       ROUGIER FOR CONSOLIDATION OF RELATED ACTIONS




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       I, JAMIE J. MCKEY, declare and state as follows:

       1.      My name is Jamie J. McKey. I am over the age of 18, of sound mind, capable of

making this Declaration, and have personal knowledge of the facts stated herein and they are true

and correct to the best of my knowledge.

       2.      I am an attorney at Kendall Law Group, PLLC, liaison counsel for Lead Plaintiff

Lawrence Rougier in the above-captioned action, and a member of the Bar of the State of Texas.

       3.      I respectfully submit this Declaration in support of Lead Plaintiff Lawrence

Rougier’s Motion to Consolidate Related Cases, dated November 1, 2018, attaching true and

correct copies of the following:

       4.      Attached hereto as Exhibit A are true and correct copies of the initial complaints

filed in Taneja v. Applied Optoelectronics, Inc. et al., Case No. 4:18-cv-03544-SL (S.D. Tex.),

Pokoik v. Applied Optoelectronics, Inc. et al., Case No. 4:18-cv-03722-LR (S.D. Tex.) (the

“Pokoik Action”), and McGrath v. Applied Optoelectronics, Inc. et al., Case No. 4:18-cv-03914-

LR (S.D. Tex.) (altogether the “Related Actions”).

       5.      Attached hereto as Exhibit B is a true and correct copy of the First Consolidated

Amended Class Action Complaint (“Amended Complaint”) filed by Lead Plaintiff Lawrence

Rougier in Abouzied v. Applied Optoelectronics, Inc. et al., Case No. 4:17-cv-02399 (S.D. Tex.)

(the “Consolidated Securities Action”).

       6.      Attached hereto as Exhibit C is a true and correct copy of the September 27, 2018,

9/27/2018 Loop Capital Markets Report on Applied Optoelectronics, Inc.

       7.      Attached hereto as Exhibit D is a true and correct copy of a November 1, 2018

StreetInsider.com article quoting Rosenblatt analyst Jun Zhang’s report on Applied

Optoelectronics, Inc.



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       8.      Attached hereto as Exhibit E is a true and correct copy of the Proposed Corrected

Lead Plaintiff Notice.

       9.      Attached hereto as Exhibit F is a true and correct copy of the notice of pendency of

the Related Actions, published on October 1, 2018 (the “Taneja Notice”).

       10.     Attached hereto as Exhibit G is a true and correct copy of the Memorandum of Law

in Support of Intervention and Stay of PSLRA Lead Plaintiff deadline, filed by Pomerantz LLP

counsel for plaintiff in the Pokoik Action in City of Westland Police and Fire Retirement System

v. Philip Morris International Inc., et al., Case No. 1:18-cv-08049-RA (S.D.N.Y.).

       11.     Attached hereto in a compendium are true and correct copies of the following:

 Tab No.         Description                                                       App. No.

      1.          Abouzied v. Applied Optoelectronics, Inc.,                         6-11
                  No. 4:17-CV-2399, 2018 U.S. Dist. LEXIS 16801 (S.D.
                  Tex. Jan. 22, 2018)
      2.          In re Bank of Am. Corp. Sec., Derivative, & ERISA                  12-14
                  Litig., No. 09-MDL-2058-DC, 2010 U.S. Dist. LEXIS
                  37799
                  (S.D.N.Y. Apr. 9, 2010)
      3.          City of Westland Police and Fire Retirement System v. Philip       15-20
                  Morris International Inc. et al., Case No. 1:18-cv-08049-RA
                  (S.D.N.Y)
      4.          Craig v. Centurylink Inc.,                                         21-23
                  No. 3:17-CV-01005, 2017 U.S. Dist. LEXIS 174512
                  (W.D. La. Oct. 19, 2017)
      5.          In re Enron Corp. Sec., Derivative ERISA Litig.,                   24-33
                  No. MDL-1446, 2007 U.S. Dist. LEXIS 8812 (S.D.
                  Tex. Feb. 7, 2007)
      6.          Firefighters Pension & Relief Fund v. Bulmahn,                     34-40
                  No. 13-3935, 2014 U.S. Dist. LEXIS 136175 (E.D. La.
                  Sep. 26, 2014)
      7.          Lafrance v. City of New Orleans,                                   41-46
                  No. 16-14439, 2017 U.S. Dist. LEXIS 150446 (E.D. La.
                  June 19, 2017)
      8.          Lynn v. Terrebonne Gen. Med. Ctr.,                                 47-48
                  No. 87-1920, 1989 U.S. Dist. LEXIS 1535 (E.D. La. Feb. 14,
                  1989)


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      9.          Miller v. Ventro Corp.,                                         49-67
                  No. C-01-01287-SBA, 2001 U.S. Dist. LEXIS 26027
                  (N.D. Cal. Nov. 28, 2001)
      10.         Mitchell v. Complete Mgmt., Inc.,                               68-75
                  No. 99-CV-1454-DAB, 1999 U.S. Dist. LEXIS
                  14460 (S.D.N.Y. Sept. 17, 1999)
      11.         Okla. Law Enf’t Ret. Sys. v. Adeptus Health Inc.,               76-81
                  No. 6:16-CV-01243-RWS, 2017 U.S. Dist. LEXIS
                  186657 (E.D. Tex. June 23, 2017)
      12.         Pemex Exploración y Producción v. BASF Corp.,                   81-88
                  No. H-10-1997, 2011 U.S. Dist. LEXIS 160512 (S.D.
                  Tex. Oct. 4, 2011)
      13.         In re Plains All Am. Pipeline, L.P. Sec. Litig., No. H:15-cv-   89-94
                  02404, 2015 U.S. Dist. LEXIS 163811 (S.D. Tex. Dec. 7,
                  2015)
      14.         In re ShengdaTech, Inc. Secs. Litig.,                           95-98
                  No. 11-CV-1918-TPG, 2011 U.S. Dist. LEXIS
                  141695 (S.D.N.Y. Dec. 6, 2011)
      15.         In re Signet Jewelers Ltd Sec. Litig.,                          99-115
                  No. 1:16-cv-06728-JMF, ECF No. 100 (S.D.N.Y. Jan. 7,
                  2018)
      16.         Stitt v. On Deck Capital, Inc.,                                 116-119
                  No. 15-CV-6126-AT, 2016 U.S. Dist. LEXIS
                  30507 (S.D.N.Y. Feb. 17, 2016)
      17.         In re Sunbeam Sec. Litig.,                                      120-126
                  No. 98-8258, 1998 U.S. Dist. LEXIS 21490 (S.D. Fla.
                  Dec. 4, 1998)
      18.         In re UBS AG Sec. Litig.,                                       127-129
                  07-cv-11225-RJS, Order, Dkt. No. 97 (S.D.N.Y. Apr. 7,
                  2009)


I declare that the foregoing is true and correct under the penalty of perjury.

Executed this 7th of November, 2018, in Dallas Texas.

                                                /s/ Jamie J. McKey
                                                Jamie J. McKey




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     Neutral
As of: October 30, 2018 2:32 PM Z


                           Abouzied v. Applied Optoelectronics, Inc.
                   United States District Court for the Southern District of Texas, Houston Division
                            January 22, 2018, Decided; January 22, 2018, Filed, Entered
                                                CASE NO. 4:17-CV-2399

Reporter
2018 U.S. Dist. LEXIS 16801 *; 2018 WL 539362
                                                            LLP, Houston, TX.
MONA ABOUZIED, Plaintiff, v. APPLIED
OPTOELECTRONICS, INC, CHIH-HSIANG                           For Daniel Sisto, Movant: Thomas E Bilek, LEAD
(THOMPSON) LIN, and STEFAN J. MURRY,                        ATTORNEY, The [*2] Bilek Law Firm LLP, Houston,
Defendants.                                                 TX.
                                                            For Jay C. Weenig, Movant: Roger B Greenberg, LEAD
Core Terms                                                  ATTORNEY, Sponsel Miller Greenberg PLLC, Houston,
                                                            TX.
lead plaintiff, Investor, appointment, movants, financial
interest, asserts, largest, financial loss, individuals,    Judges: VANESSA D. GILMORE, UNITED STATES
parties, notice, rule requirements, pre-litigation,         DISTRICT JUDGE.
securities, unrelated, shares, class member, group
member, satisfies, sole-lead, contends, courts, losses      Opinion by: VANESSA D. GILMORE

Counsel: [*1] For Mona Abouzied, Plaintiff: Laura
                                                            Opinion
Kirstine Rogers, R. Dean Gresham, Steckler Gresham
Cochran PLLC, Dallas, TX.
For Chad Ludwig, Consol Plaintiff: Willie C Briscoe,
LEAD ATTORNEY, The Briscoe Law Firm, PLLC,                  ORDER
Dallas, TX; Joseph Alexander Hood, II, Pomerantz LLP,
New York, NY.                                               Pending before the Court are Applied Investor Group's
                                                            Motion for Appointment of Lead Plaintiff and Lead
For Applied Optoelectronics, Inc., Chih-Hsiang              Counsel, (Instrument No. 5), and Lawrence Rougier's
Thompson Lin, Stefan J. Murry, Defendants: Michael C        Motion for Appointment of Lead Plaintiff and Approval of
Holmes, LEAD ATTORNEY, Vinson & Elkins, Dallas,             Lead Plaintiff's Choice of Counsel. (Instrument No. 8).
TX; Amy Tankersley Perry, Vinson Elkins, Dallas, TX;        The Court held the motion hearing on January 19, 2018
Jeffrey S Johnston, Vinson Elkins LLP, Houston, TX.         at 9:30 a.m.
For Amir Fakharzadeh, Patricia Fakharzadeh, Thomas
Edmons, Gregory Knight, Kristen Knight, Stephen
Rakower, Amnuey Chiemprabha, Helen Chiemprabha,             I.
Movants: Phillip Kim, LEAD ATTORNEY, The Rosen
Law Firm, P.A., New York, NY; R. Dean Gresham,
Steckler Gresham Cochran PLLC, Dallas, TX.                  A.

For Lawrence Rougier, Movant: Jamie J McKey, LEAD           Defendant       Applied      Optoelectronics,       Inc.
ATTORNEY, Kendall Law Group LLP, Dallas, TX; Joe            ("Optoelectronics")   develops    and      manufactures
Kendall, Kendall Law Group, LLP, Dallas, TX; Shannon        advanced optical products for use in broadband and
L. Hopkins, PRO HAC VICE, Levi & Korsinsky, LLP,            fiber access networks. (Instrument No. 1 at 3).
Stamford, CT.                                               Optoelectronics is incorporated in Delaware and
                                                            headquartered in Sugar Land, Texas. Id. The
For Philip R. Deubler, Jr., Movant: Andrew M Edison,
                                                            companies securities trade on the NASDAQ Global
LEAD ATTORNEY, Edison, McDowell & Hetherington,
                                                            Market under the ticker symbol "AAOI." Id.
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                                          2018 U.S. Dist. LEXIS 16801, *2

Plaintiff Mona Abouzied filed a security class action suit   Dale and Cheryl Bartch Family Trust; (3) the Kristen L.
on behalf of a proposed class of purchasers of AAOI          Bartch Family Ltd. Partnership; (4) the Fiona Carolyn
securities between July 13, 2017 through August 3,           Knight Trust; and (5) the Elisabeth Valerie Knight Trust.
2017, inclusive of both dates ("Class Period").              (Instrument No. 7-2).
(Instrument No. 1 at 2). The Complaint alleges that on
July 13, 2017, Optoelectronics [*3] issued a press           The second party moving for appointment [*5] as lead
release announcing its preliminary financial results for     plaintiff is Lawrence Rougier ("Rougier"). (Instrument
the second quarter of 2017. Id. at 4. The Complaint          No. 8). The third party to move for appointment as lead
alleges that Defendants made false and/or misleading         plaintiff was Philip R. Deubler, Jr. ("Deubler").
statements and/or failed to disclose: (1) a major            (Instrument No. 10). On January 19, 2018, Deubler
customer (Amazon) was reducing its purchases of              withdrew his motion. The fourth party to move for
Optoelectronic's 40G receivers; (2) the loss of Amazon's     appointment as lead plaintiff was Daniel Sisto ("Sisto").
business would have a severe negative impact on              (Instrument No. 11). On January 19, 2018, the Court
Optoelectronic's financial performance; and (3) as a         denied Sisto's motion for want of prosecution. The fifth
result of the foregoing, Optoelectronic's public             party to move for appointment as lead plaintiff was Jay
statements were materially false and misleading at all       C. Weenig ("Weenig"). (Instrument No. 14). On October
relevant times. (Instruments No. 1 at 6; No. 14 at 4).       25, 2017, Weenig withdrew his motion. (Instrument No.
After trading hours had ended on August 3, 2017,             17).
Optoelectronics announced its final financial results
which included the negative news about Amazon.
(Instrument No. 1 at 6-7). As a result, Optoelectronic's     II.
shares fell by $33.39 per share from its previous closing
                                                             The Private Securities Litigation Reform Act ("PSLRA")
price, or more than 34%, to close at $64.60 per share
                                                             establishes the procedure for the appointment of a lead
on August 4, 2017. Id. at 7.
                                                             plaintiff in "each private action arising under [the 1934
                                                             Act] that is brought as a plaintiff class action pursuant to
                                                             the Federal Rules of Civil Procedure." 15 U.S.C. §78u-
B.
                                                             4(a)(1). The plaintiff who files the initial action must,
Plaintiff Mona Abouzied filed the class action suit on       within 20 days of filing the action, publish a notice to the
August 5, 2017. (Instrument No. 1). On August 16,            class informing class members of his right to file a
2017, a related action was filed, Ludwig v. Applied          motion for appointment as lead plaintiff. 15 U.S.C. §78u-
Optoelectronics, Inc. et al., No. 4:17-cv-2512 (S.D. Tex.)   4(a)(3)(A)(i). The notice must advise that any member of
(Miller, J.). (Instrument No. 9 at 4). On October 3,         the purported class mut file a motion for appointment as
2017, [*4] the Court consolidated the Ludwig Action          lead plaintiff within [*6] 60 days after the date on which
with the present action, Abouzied v. Applied                 the notice is published. 15 U.S.C. §78u-4(a)(3)(A)(i).
Optoelectronics, Inc. et al., No. 4:17-cv-2399. Another      Plaintiff Mona Abouzied published such a notice in
similar action was filed on September 11, 2017 before        Business Wire on August 5, 2017. (Instrument No. 9-5).
the U.S. District Court for the Eastern District of New      The notice announced that the statutory deadline to
York: Rizzo v. Applied Optoelectronics, Inc., et al., No.    submit applications for appointment as lead plaintiff was
1:17-cv-5313. (Instrument No. 18 at 6 n.2). That case        October 4, 2017. Id.
was later dismissed on October 17, 2017. Id.
                                                             The PSLRA states that as soon as practicable after
On October 4, 2017, five different parties moved for         consolidation, a court "shall appoint the most adequate
appointment as lead plaintiffs and approval of lead          plaintiff as lead plaintiff for the consolidated actions." 15
plaintiffs' selection of counsel. The first movant is        U.S.C. § 78u-4(a)(3)(B)(ii). The PSLRA provides a
Applied Investor Group which consists of movants Amir        "rebuttable presumption" that the most adequate plaintiff
and Patricia Fakharzadeh, Kristen and Gregory Knight,        to serve as lead plaintiff is the "person or group of
Stephen Rakower, and Amnuey and Helen                        persons" that:
Chiemprabha. (Instrument No. 5 at 1). The group                   (aa) has either filed the complaint of made a motion
consists of three married couples and one unrelated               in response to a notice . . . ;
individual. (Instrument No. 18 at 7 n.4). Moreover,               (bb) in the determination of the Court, has the
Kristen Knight moves on behalf of five entities: (1) the          largest financial interest in the relief sought by the
Dale E. Bartch Irrevocable Life Insurance Trust; (2) the          class; and
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     (cc) otherwise satisfies the requirements of Rule 23
     of the Federal Rules of Civil Procedure                   B.

15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).                            The PSLRA does not specify how a court should decide
                                                               which plaintiff has the "largest financial interest" in the
A member of the potential class can rebut the                  relief sought. In re Fuwei Films Sec. Litig., 247 F.R.D.
presumption by providing proof that the presumptively          432, 436 (S.D.N.Y. 2008). Some courts apply a four-
most adequate plaintiff: "(aa) will not fairly and             factor inquiry first proposed in Lax v. First Merch.
adequately protect the interests of the class; or (bb) is      Acceptance Corp., 1997 U.S. Dist. LEXIS 11866, 1997
subject to unique defenses that render such plaintiff          WL 461036 at *5 (N.D. Ill. Aug. 11 1997); In re Enron
incapable of adequately representing the class." 15            Corp. Sec. Litig., 206 F.R.D. 427, 440 (S.D. Tex. Feb.
U.S.C. § 78u-4(a)(3)(B)(iii)(II).                              15, 2002) (Harmon, J.). The four factors relevant to the
                                                               inquiry are (1) the number of shares purchased; (2) the
Moreover, the party moving for appointment [*7] as             number of net shares purchased; (3) the total net funds
lead plaintiff must "otherwise satisfy the requirements of     expended by plaintiffs during the class period; and (4)
Rule 23 of the Federal Rules of Civil Procedure." 15           the approximate losses suffered by the plaintiffs. In re
U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc). Rule 23(a) provides       Enron, 206 F.R.D. at 440. Of these four factors, courts
that a party may serve as a class representative if the        tend to place the greatest emphasis on the financial loss
following four requirements are satisfied:                     suffered by the plaintiffs. Id.; In re Fuwei Films, 247
     (1) the class is so numerous that joinder of all          F.R.D. at 436; In re Bally Total Fitness Sec. Litig., 2005
     members is impracticable, (2) there are questions         U.S. Dist. LEXIS 6243, 2005 WL 627960 at *4 (N.D. Ill.
     of common law or fact common to the class, (3) the        Mar. 15, 2005) ("We believe that the best yardstick by
     claims or defenses of the representative parties are      which to judge 'largest financial interest' is the amount of
     typical of the claims or defense of the class, and (4)    loss, period.").
     the representative parties will fairly and adequately
     protect the interests of the class.                       Applied Investor Group alleges total losses of
                                                               $2,049,571.35 in connection with the all of the group
In making its determination that the lead plaintiff            members' purchases of Optoelectronics securities.
satisfies the requirements of Rule 23, a court need not        (Instrument No. 19 at 2). Rougier alleges total losses of
raise its inquiry to the level required in ruling on a         $417,690. (Instrument No. 9 at 8). Applied Investor [*9]
motion for class certification—a prima facie showing that      Group also purchased more total shares and expended
the movant satisfies the requirements of Rule 23 is            more net funds than Lawrence Rougier. (Instruments
sufficient. In re Fuwei Films Sec. Litig., 247 F.R.D. 432,     No. 7-3; No. 9-3). Therefore, Applied Investor Group
439 (S.D.N.Y. 2008). Moreover, "typicality and                 has the largest financial interest in the relief sought.
adequacy of representation are the only provisions
relevant to a determination of lead plaintiff under the
PSLRA." Id. at 437; Gluck v. Cellstar Corp., 976 F.            C.
Supp. 542, 546 (N.D. Tex. 1997).
                                                               The parties do not dispute that their claims are typical of
                                                               the claims or defenses of the class as required by Rule
A.                                                             23. Rougier challenges, however, the adequacy of
                                                               Applied Investor Group and asserts that Applied
Each of the movants filed motions for appointment as           Investor Group constitutes an impermissible group of
lead plaintiff within 60 days after the date on which          unrelated individuals. (Instrument No. 18 at 7).
Plaintiff Abouzied published the notice to potential class     Specifically, Applied Investor Group is made up of
members. Moreover, each of the movants has                     seven individuals who, besides the married couples,
submitted       sworn      shareholder        certifications   lack a pre-litigation relationship. (Instrument No. 18 at
asserting [*8] that they are willing to serve as               9). Rougier contends that Kristen Knight moved for
representatives of the class and are willing to provide        appointment as co-lead plaintiff although she is the
testimony at deposition and trial, if necessary.               representative of four trusts and a limited partnership,
Accordingly, the moving parties satisfy the first              which the court should regard as separate and distinct
requirement to serve as lead plaintiffs for the class.         interests from Kristen Knight for the purposes of defining
                                                               "largest financial interests." (Instrument No. 24 at 5).
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Rougier further asserts that Applied Investor Group is             group with the largest financial interest in the
too large and unwieldy to serve as a cohesive group                outcome of the litigation and a pre-litigation
and cannot therefore meet the adequacy requirement of              relationship based on more than their losing
Rule 23. (Instrument No. 18 at [*10] 15-16). Rougier               investment, satisfies the terms of the [PSLRA] and
also contends that any request by individuals from                 serves the purpose behind its enactment[.]"
Applied Investor Group to be broken down into a
subgroup makes the group inadequate because it                 Id. at 478 n.2. Although the case law within the Fifth
demonstrates that those members would not hesitate to          Circuit is sparse, there is some precedent [*12] in the
make a decision for their own benefit. Id. at 17.              Southern District of Texas following the "strictest
                                                               approach," which requires that a group appointed as
Applied Investor Group contends that its movants               lead plaintiff should consist of no more than five
purchased more shares of Optoelectronics during the            individuals. In re Waste Mgmt., Inc. Sec. Litig., 128 F.
class period and suffered the greatest financial loss by a     Supp. 2d 401, 413 (S.D. Tex. 2000) (Harmon, J.)
large margin. (Instrument No. 19 at 4). Applied Investor       ("[T]his Court finds that the strictest approach, requiring
Group further asserts that grouping is a nonissue in this      at maximum a small group with the largest financial
case because two members of the Applied Investor               interest in the outcome of the litigation and a pre-
Group, Kristen and Gregory Knight and Stephen                  litigation relationship based on more than their losing
Rakower have the top two largest individual financial          investment, satisfies the terms of the PSLRA and serves
interests in this action, respectively. Id. at 5. Applied      the purpose behind its enactment."); In re Enron Corp.
Investor Group asserts that Kristen and Gregory Knight,        Sec. Litig., 206 F.R.D. 427, 442 (S.D. Tex. 2002)
in their individual capacities, suffered a financial loss of   (Harmon, J.) ("The SEC has indicated that generally a
approximately $420,000, and Stephen Rakower                    group of investors appointed as Lead Plaintiffs should
suffered a financial loss of $522,573. Id. at 2. Applied       be no larger than three to five persons."); see also In re
Investor Group further contends that the movants have          Baan Co. Sec. Litig., 186 F.R.D. 214, 224 (D.D.C. 1999)
filed a Joint Declaration attesting to their understanding     ("[A] court generally should only approve a group that is
of the responsibilities as lead plaintiff and their            small enough to be capable of effectively managing the
agreement to work together as a group prior to the filing      litigation and the lawyers . . . . ordinarily this should be
of the motion. Id. at 5.                                       no more than three to five persons, a number that will
                                                               facilitate joint decisionmaking and also help to assure
The Fifth Circuit case, Berger v. Compaq Comput.
                                                               that each group member has a sufficiently large stake in
Corp., 257 F.3d 475 (5th Cir. 2001), raises [*11] this
                                                               the litigation.").
concern about the appointment of a group of investors
to serve as lead plaintiffs:                                   Additionally, some courts "permit a group Lead Plaintiff
                                                               only where it involves a 'small number of members that
    Although the appointment of such a large group [39         share such an identity of characteristics, distinct from
    individuals] to serve as lead plaintiff is not before      those [*13] of almost all other class members, that they
    this court, it is notable that the Securities and          can almost be seen as being the same person.'" In re
    Exchange Commission has taken the position that            Landry's Seafood Rest., Inc., 2000 U.S. Dist. LEXIS
    a group of investors appointed to serve as lead            7005, 2000 WL 33999467 at *4 (S.D. Tex. Mar. 30,
    plaintiffs ordinarily should comprise no more than         2000) (Harmon, J.) (quoting Aronson v. McKesson
    three to five persons. See In re Baan Co. Sec.             HBOC, Inc., 79 F. Supp. 2d 1146, 1153-54 (N.D. Cal.
    Litig., 186 F.R.D. 214, 224 (D.D.C. 1999). In that         1999)). Where unrelated members of a group move for
    case, the district court refused to appoint a twenty-      appointment as lead plaintiff, courts consider: (1) the
    member group, citing the "particular concern               existence of a pre-litigation relationship among the
    [which] arises when lead plaintiff status is sought by     members; (2) the group members' participation in the
    a 'group' of persons who were previously                   litigation so far; (3) plans for cooperation; (4) the
    unaffiliated, each of whom have [sic ] suffered            sophistication of the group members; and (5) whether
    modest losses, and who thus have no                        the group members chose outside counsel, and not vice
    demonstrated incentive or ability to work together to      versa. See Marcus v. J.C. Penney Co., Inc., 2014 U.S.
    control the litigation." Id. Likewise, in In re Waste      Dist. LEXIS 197529, 2014 WL 11394911 at *6 (E.D.
    Mgmt., Inc. Sec. Litig., 128 F. Supp. 2d 401, 413
                                                               Tex. 2014). The general rationale behind a small,
    (S.D. Tex. 2000), the court concluded that "the
                                                               cohesive group is to prevent "lawyer-driven" litigation
    strictest approach, requiring at maximum a small           with counsel recruiting members that have no
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relationship to each other and less of a stake in the        further contends that no individual member of Applied
litigation. Enron, 206 F.R.D. at 442; Baan, 186 F.R.D. at    Investor Group moved for appointment as sole-lead
224. The movant must demonstrate the cohesiveness of         plaintiff by the October 4, 2017 deadline. Id. at 18.
its purported group. Buettgen v. Harless, 263 F.R.D.
378, 381 (N.D. Tex. 2009); Enron, 206 F.R.D. at 441.         Both members of Applied Investor Group, Stephen
                                                             Rakower and Kristen and Gregory Knight, each have
Applied Investor Group currently consists of twelve          greater financial losses than Rougier. However, within
movants: three married couples and one unrelated             the Fifth Circuit, courts view with suspicion the hand-
individual. Moreover, Kristen Knight, one of the             picking of group members to serve as sole-lead plaintiff.
movants, moves as a representative for five different        See Marcus v. J.C. Penney Co., Inc., 2014 U.S. Dist.
entities. The three couples and the one individual have      LEXIS 197529, 2014 WL 11394911 at *6 (E.D. Tex.
no pre-litigation relationship with each other based on      Feb. 28, 2014) ("Because Mr. Webb [a group member]
more than the losing investments at issue in this case.      did not individually submit a motion for lead plaintiff, his
The movants have filed a Joint Declaration                   consideration for appointment as lead plaintiff rises and
attesting [*14] that they agree to function as a cohesive    falls with the group."); Buettgen, 263 F.R.D. at 382
group and provide a basic plan for working together in       ("[T]he Buettgen [*16] Group's motion is undermined by
this litigation. (Instrument No. 20-1). For instance, the    the group's invitation to the Court to hand-pick one of its
Joint Declaration states that the movants "have a            constituents to serve as lead plaintiff if the Court deems
dedicated conference call line for this case. We also        the Buettgen Group inappropriate. Such a 'willingness to
have a group email list available to us in order to          abandon the group only suggests how loosely it was put
communicate with each other with or without counsel          together.'" (quoting Tsirekidze, 2008 U.S. Dist. LEXIS
present." Id. at 4. However, Applied Investor Group          118562, 2008 WL 942273 at *3)). Neither Stephen
admits that the movants "agreed to proceed together          Rakower nor the Knights has moved for appointment as
because we each suffered significant losses in our           sole-lead plaintiff. Therefore, the Court will not consider
investments in Applied Optoelectronics, Inc. and would       the suggestion that it select one member of the group.
like the opportunity to participate in this action as Lead   The Court will consider the motion of the collective
Plaintiffs." Id. at 5. Based on the evidence provided and    group.
the statements by counsel at the hearing, it appears that
legal counsel for the group cobbled the movants              The PSLRA operates to ensure that plaintiffs control the
together. See Tsirekidze v. Syntax-Brillian Corp., 2008      litigation, not the lawyers. Enron, 206 F.R.D. at 442. The
U.S. Dist. LEXIS 118562, 2008 WL 942273 at *3 (D.            Applied Investor Group has failed to show that its group
Ariz. Apr. 7, 2008) ("[W]hen unrelated investors are         has a pre-litigation relationship based on more than the
cobbled together, the clear implication is that counsel,     losing investments at issue in this case. Instead,
rather than the parties, are steering the litigation.").     counsel for the Applied Investor Group cobbled together
                                                             a group of unrelated people and gave them a common
Applied Investor Group argues that if the Court is           name. While members of the group submitted a Joint
inclined to appoint only one member of the Applied           Declaration asserting their desire to together litigate the
Investor Group as Lead Plaintiff, each member of the         case as lead plaintiffs, the Joint Declaration provides no
group stands ready and willing to serve as sole-Lead         mechanism for resolving disputes. Indeed, the movants
Plaintiff. (Instruments No. 23 at 7; No. 20-1 at 5). [*15]   assert that each stands ready and willing to abandon
Applied Investor Group has specifically noted that           the group and serve as sole-lead [*17] plaintiff. The
member Stephen Rakower, who suffered a total                 Court finds that Applied Investor Group is not the most
financial loss of $522,573, and member Kristen and           adequate plaintiff.
Gregory Knight, who individually suffered a total
financial loss of approximately $420,000, both have a        Lawrence Rougier is the movant with the next highest
larger financial interest than any other competing           financial interest. The Court finds that Rougier meets
movant. (Instrument No. 19 at 3).                            the typicality and adequate representation requirements
                                                             of Rule 23. Rougier demonstrated he purchased shares
Rougier asserts that since the individual members of the     of Optoelectronics during the class period, as did the
Applied Investor Group have moved together, the Court        other class members, which subsequently lost
should not allow them to desert the remainder of the         significant value as a result of Defendants' alleged
group    and     seek    lead     plaintiff appointment      conduct. Rougier asserts that he is not subject to any
independently. (Instrument No. 18 at 17). Rougier            special defenses which Defendants might assert against
         Case 4:17-cv-02399 Document 67-3 Filed in TXSD on 11/07/18 Page 11 ofPage
                                                                               129 6 of 6
                                          2018 U.S. Dist. LEXIS 16801, *17

him nor has Applied Investor Group noted any. Finally,
there is no evidence of any conflicts between Rougier
and other class members. Rougier has established that
he is the presumed most adequate plaintiff.

Accordingly the Court GRANTS Lawrence Rougier's
Motion for Appointment as Lead Plaintiff. (Instrument
No. 6).


III.

The PSLRA provides that the "most adequate plaintiff
shall, subject to the approval of the court, select and
retain counsel to represent the class." 15 U.S.C. § 78u-
4(a)(3)(B)(v). The Court should only interfere with a lead
plaintiff's selection when necessary to "protect the
interests of the class." 15 U.S.C. § 78u-
4(a)(3)(B)(iii)(II)(aa). Rougier seeks to appoint Levi &
Korsinsky, [*18] LLP as lead counsel and Kendall Law
Group, PLLC as liaison counsel. (Instrument No. 9 at
10). Rougier has submitted the resumes of the firms that
attest to the firms' experience in the area of securities
litigation. The Court has reviewed the resume of each
firm and is satisfied that each firm could adequately
represent the plaintiff class in this action.


IV.

For the foregoing reasons, IT IS HEREBY ORDERED
that Applied Investor Group's Motion for Appointment of
Lead Plaintiff and Lead Counsel is DENIED,
(Instrument No. 5), and Lawrence Rougier's Motion for
Appointment of Lead Plaintiff and Approval of Lead
Plaintiff's Choice of Counsel (Instrument No. 8) is
GRANTED.

The Clerk shall enter this Order and provide a copy to
all parties.

SIGNED on this the 22nd day of January, 2018, at
Houston, Texas.

/s/ Vanessa D. Gilmore

VANESSA D. GILMORE

UNITED STATES DISTRICT JUDGE


   End of Document
        Case 4:17-cv-02399 Document 67-3 Filed in TXSD on 11/07/18 Page 12 of 129


     Caution
As of: October 30, 2018 2:33 PM Z


             In re Bank of Am. Corp. Sec., Derivative, & ERISA Litigation
                          United States District Court for the Southern District of New York
                                      April 9, 2010, Decided; April 9, 2010, Filed
                                         Master File No. 09 MDL 2058 (DC)

Reporter
2010 U.S. Dist. LEXIS 37799 *
                                                             ZWERLING, SCHACHTER & ZWERLING LLP, By:
IN RE BANK OF AMERICA CORP. SECURITIES,
                                                             Robin F. Zwerling, Esq., Richard A. Speirs, Esq., Justin
DERIVATIVE AND EMPLOYMENT RETIREMENT
                                                             M. Tarshis, Esq., New York, New York.
INCOME SECURITY ACT (ERISA) LITIGATION; THIS
DOCUMENT RELATES TO: ALL SECURITIES                          Attorneys for Defendants: WACHTELL, LIPTON,
ACTIONS                                                      ROSEN & KATZ, By: Peter C. Hein, Esq., Eric M. Roth,
                                                             Esq., Andrew Houston, Esq., Jonathan E. Goldin, Esq.,
Subsequent History: Complaint dismissed at, in part,         Keola Robert whittaker, Esq., New York, New York,
Motion denied by In re Bank of Am. Corp. Secs, 757 F.        [*2] DAVIS POLK & WARDWELL, By: Lawrence
Supp. 2d 260, 2010 U.S. Dist. LEXIS 89199 (S.D.N.Y.,         Portnoy, Esq., Charles S. Duggan, Esq., Douglas K.
Aug. 27, 2010)                                               Yatter, Esq., New York, New York; DEBEVOISE &
                                                             PLIMPTON LLP, By: Gary W. Kubek, Esq., New York,
Prior History: In re Bank of Am. Corp. Secs, 2009 U.S.       New York, DECHERT LLP, By: Andrew Levander, Esq.,
Dist. LEXIS 108322 (S.D.N.Y., Nov. 16, 2009)                 David Hoffner, Esq., New York, New York, By: Jennie
                                                             Boehm Krasner, Princeton, New Jersey; CRAVATH,
Core Terms                                                   SWAINE & MOORE LLP, By: Robert D. Joffe, Esq.,
                                                             Richard W. Clary, Esq., Julie A. North, Esq., New York,
Consolidated, Securities, lead plaintiff, appointment,       New York; PAUL, WEISS, RIFKIND, WHARTON &
cases, class action, holders, options, lead counsel,         GARRISON LLP, By: Charles E. Davidow, Esq.,
merger                                                       Washington, D.C., By: Brad S. Karp, Esq., New York,
                                                             New York; SULLIVAN & CROMWELL LLP, By: Richard
Counsel: [*1] Plaintiffs' Lead Counsel for Consolidated      C. Pepperman II, Esq., New York, New York;
Securities Class Action: KAPLAN FOX & KILSHEIMER             SHEARMAN & STEARLING LLP, By: Stuart Baskin,
LLP, By: Donald R. Hall, Jr., Esq., Frederic Scott Fox,      Esq., Adam S. Hakki, Esq., Herbert S. Washer, Esq.,
Esq., Robert N. Kaplan, Esq., New York, New York,            Terence Gilroy, Esq., New York, New York.
BERNSTEIN, LITOWITZ, BERGER & GROSSMAN
LLP, By: Gerald H. Silk, Esq., Salvatore J. Graziano,        Judges: DENNY CHIN, United States District Judge.
Esq., Noam Mandel, Esq., New York, New York,
BARROWAY TOPAZ KESSLER MELTZER & CHECK                       Opinion by: DENNY CHIN
LLP, By: Sean M. Handler, Esq., Radnor, pennsylvania.
Counsel for Plaintiffs Iron Workers of Western               Opinion
Pennsylvania Pension Plan and MARTA/ATU Local 732
Employees Retirement Plan: COUGHLIN STOIA
GELLER RUDMAN & ROBBINS LLP, By: Samuel H.
                                                             MEMORANDUM DECISION
Rudman, Esq., David A. Rosenfeld, Esq., Melville, New
York.
Counsel for Plaintiff Charles N. Dornfest: BRAGAR            CHIN, District Judge
WEXLER EAGEL & SQUIRE, P.C., By: Jeffrey H.
Squire, Esq., Raymond A. Brager, Esq., New York, New         On June 30, 2009, the Court issued an opinion (the
York.                                                        "Opinion") ordering, among other things, the
                                                             consolidation of the Securities Actions, the appointment
Counsel for Plaintiffs Kenneth and Joanna Ciullo:
        Case 4:17-cv-02399 Document 67-3 Filed in TXSD on 11/07/18 Page 13 ofPage
                                                                              129 2 of 3
                                            2010 U.S. Dist. LEXIS 37799, *2

of the Public Pension Funds as lead plaintiffs for the         action complaint on behalf of options investors against
Securities Actions, and the appointment of their lawyers       BoA and other defendants for alleged misstatements
as lead counsel for the Securities Actions. In re Bank of      and omissions in connection with BoA's merger with
America Corp. Sec., Derivative, & ERISA Litig., 258            Merrill. (No. 10 Civ. 275). Dornfest moved for
F.R.D. 260 (S.D.N.Y. June 30, 2009). [*3] The Public           appointment to be lead plaintiff on March 15, 2010.
Pension Funds ("Lead Plaintiffs") brought claims on
behalf of purchasers of Bank of America Corporation            On March 2, 2010, Kenneth and Joanna [*5] Ciullo filed
("BoA") common stock or preferred securities -- but not        a complaint asserting the rights of options investors,
purchasers of options or debt securities. The complaint        based on the same facts and events surrounding the
alleged that BoA and other defendants made false and           BoA merger with Merrill. (No. 10 Civ. 1673). On March
misleading statements in connection with the merger            16, 2010, the Ciullos moved for consolidation with the
between BoA and Merrill Lynch & Co., Inc. ("Merrill").         Dornfest action only, and for appointment as lead
                                                               plaintiffs.
Several issues have arisen, which the Court now
resolves as follows:                                           Lead Plaintiffs oppose the motions, arguing that they
                                                               are vested with the authority to decide what claims to
1. Additional Class Actions                                    assert against which defendants for what class period.

In the Opinion, the Court ruled that "[f]uture cases           The Iron Workers plaintiffs, Dornfest, and the Ciullos
raising common questions of law and fact filed in this         point out that Lead Plaintiffs sue only on behalf of stock
Court or transferred to this Court will also be                holders, and that Lead Plaintiffs have elected not to sue
consolidated into the appropriate consolidated                 on behalf of options holders or bond holders. The
[securities, derivative, or ERISA] case." 258 F.R.D. at        question before the Court is whether these additional
268. In an order dated July 29, 2009, implementing the         cases should be consolidated into the Consolidated
securities aspects of the Opinion (the "Consolidation          Securities Actions, or whether the options and bond
Order"), the Court consolidated thirteen securities cases      cases may proceed as separate class actions on a
into the "Consolidated Securities Action" and ordered          related but not consolidated basis with the Consolidated
that:                                                          Securities Actions.

    Each new securities case that relates to or arises         The motions of the Iron Workers plaintiffs, Dornfest, and
    out of the subject matter of the Securities Actions        the Ciullos are denied, and Iron Workers, Dornfest, and
    which is filed in, or transferred to, this Court, shall    Ciullo are consolidated into the Consolidated Securities
    be consolidated with the Consolidated Securities           Actions. The requests for the appointment of additional
    Action, and this Order shall [*4] apply thereto,           lead plaintiffs and [*6] additional lead counsel are
    unless a party objects to consolidation, as provided       denied.
    herein, or any provision of this Order, within ten
    (10) days after the date upon which a copy of this         First, Iron Workers, Dornfest, and Ciullo arise out of the
    Order is served on counsel for such party, by filing       same facts and circumstances relating to BoA's
    an application for relief and this Court deems it          acquisition of Merrill as are at issue in the Consolidated
    appropriate to grant such application.                     Securities Actions. The cases are substantially similar
                                                               and, except perhaps with respect to damages, raise the
(Consolid. Order P 9).
                                                               same issues of fact and law. Hence, the three cases
On December 22, 2009, the Iron Workers of Western              should be consolidated into the Consolidated Securities
Pennsylvania Pension Plan and MARTA/ATU Local 732              Actions.
Employees Retirement Plan (the "Iron Workers
                                                               Second, in a securities class action, a lead plaintiff is
plaintiffs") filed a class action complaint on behalf of
holders of debt securities against Boa and other               empowered to control the management of the litigation
defendants for alleged misstatements and omissions in          as a whole, and it is within the lead plaintiff's authority to
connection with BoA's merger with Merrill. (No. 09 Civ.        decide what claims to assert on behalf of the class. See
                                                               Hevesi v. Citigroup Inc., 366 F.3d 70, 82 n.13 (2d Cir.
10394). On February 22, 2010, the Iron Workers
                                                               2004) ("any requirement that a different lead plaintiff be
plaintiffs filed a motion for appointment as lead plaintiffs
                                                               appointed to bring every single available claim would
and the appointment of their attorneys as lead counsel.
                                                               contravene the main purpose of having a lead plaintiff --
On January 3, 2010, Charles Dornfest filed a class             namely, to empower one or several investors with a
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                                                                              129 3 of 3
                                            2010 U.S. Dist. LEXIS 37799, *6

major stake in the litigation to exercise control over the      April 9, 2010
litigation as a whole"); In re Bank of America, 258 F.R.D.
at 268. Lead Plaintiffs have the authority to decide what       /s/ Denny Chin
claims to assert on behalf of securities holders.
                                                                DENNY CHIN
Permitting other plaintiffs to bring [*7] additional class
actions now, with additional lead plaintiffs and additional     United States District Judge
lead counsel, would interfere with Lead Plaintiffs' ability
and authority to manage the Consolidated Securities
Actions.                                                          End of Document

Third, while it is true that the Lead Plaintiffs have not yet
asserted claims on behalf of holders of debt securities
or options, they advise that they are still assessing
whether to do so. Two members of the Lead Plaintiffs
purchased BoA bonds and suffered significant losses --
substantially greater losses than those sustained by the
Iron Workers. Lead Plaintiffs surely have incentive to
bring these claims if there is a meritorious basis for
doing so. Lead Plaintiffs should be given the opportunity
to make this decision. See In re Lehman Bros. Sec. &
ERISA Litig., 09 MDL 2017 (LAK), Pretrial Order No. 9
(S.D.N.Y. Apr. 24, 2009) (attached to Castaldo Decl. in
Dornfest as Ex. 4).

Finally, the plaintiffs in Iron Workers, Dornfest, and
Ciullo are free to pursue their claims as individual cases
-- but not as class actions.

Iron Workers (No. 09 Civ. 10394), Dornfest (No. 10 Civ.
275), and Ciullo (No. 10 Civ. 1673) are hereby
consolidated into the Consolidated Securities Actions
(No. 09 MDL 2058). [*8] The motions of the plaintiffs in
these three cases for appointment as lead plaintiffs and
the appointment of their counsel as lead counsel are
denied.

2. Additional Individual Actions

On March 16, 2010, Stichting Pensionfonds ABP
("ABP") filed an action against BoA and other
defendants based on the same facts and events
surrounding the BoA merger with Merrill. (No. 10 Civ.
2284). ABP's action is brought as an individual action,
and not as a class action. The ABP action may proceed
as an individual action, related to, but not consolidated
with, the Consolidated Securities Actions. ABP is
directed to respond to defendants' motion to dismiss by
April 23, 2010. Defendants are directed to file any reply
papers by April 30, 2010.

SO ORDERED.

Dated: New York, New York
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                                     US District Court Civil Docket

                                     U.S. District - New York Southern
                                               (Foley Square)

                                                 1:18cv8049

    City of Westland Police And Fire Retirement System v. Philip Morris
                           International Inc et al
                    This case was retrieved from the court on Tuesday, November 06, 2018




                       Date Filed:   09/04/2018                        Class Code:   OPEN

                    Assigned To:     Judge Ronnie Abrams                   Closed:

                     Referred To:                                         Statute:   15:78m(a)

                   Nature of suit:   Securities (850)               Jury Demand:     Plaintiff

                           Cause:    Securities Exchange Act     Demand Amount:      $0

                    Lead Docket:     None                        NOS Description:    Securities

                   Other Docket:     1:18cv08814

                     Jurisdiction:   Federal Question


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      Case 4:17-cv-02399 Document 67-3 Filed in TXSD on 11/07/18 Page 16 of 129
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Philip Morris International Inc
Defendant

Andre Calantzopoulos
Defendant

Martin G. King
Defendant

Jacek Olczak
Defendant

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  Date           #                                           Proceeding Text
09/04/2018         1    FILING ERROR - DEFICIENT PLEADING - FILED AGAINST PARTY ERROR - COMPLAINT against Andre
                        Calantzopoulos, Martin King, Jacek Olczak, Philip Morris International Inc. (Filing Fee $ 400.00,
                        Receipt Number 0208-15526979)Document filed by City of Westland Police and Fire Retirement
                        System.(Rudman, Samuel) Modified on 9/5/2018 (jgo). (Entered: 09/04/2018)

09/04/2018         2    CIVIL COVER SHEET filed. (Attachments: # 1 Schedule A - List of Defendants/Counties)(Rudman,
                        Samuel) (Entered: 09/04/2018)



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09/04/2018   3    RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent. Document filed by City of
                  Westland Police and Fire Retirement System.(Rudman, Samuel) (Entered: 09/04/2018)

09/04/2018   4    FILING ERROR - DEFICIENT PLEADING - SUMMONS REQUEST As To - REQUEST FOR ISSUANCE
                  OF SUMMONS as to Martin King, re: 1 Complaint. Document filed by City of Westland Police and
                  Fire Retirement System. (Rudman, Samuel) Modified on 9/5/2018 (jgo). (Entered: 09/04/2018)

09/04/2018   5    REQUEST FOR ISSUANCE OF SUMMONS as to Philip Morris International Inc., re: 1 Complaint.
                  Document filed by City of Westland Police and Fire Retirement System. (Rudman, Samuel)
                  (Entered: 09/04/2018)

09/04/2018   6    REQUEST FOR ISSUANCE OF SUMMONS as to Jacek Olczak, re: 1 Complaint. Document filed by
                  City of Westland Police and Fire Retirement System. (Rudman, Samuel) (Entered: 09/04/2018)

09/04/2018   7    REQUEST FOR ISSUANCE OF SUMMONS as to Andre Calantzopoulos, re: 1 Complaint. Document
                  filed by City of Westland Police and Fire Retirement System. (Rudman, Samuel) (Entered:
                  09/04/2018)

09/04/2018   8    NOTICE of OF FILING OF COMPLAINT ATTACHMENT (PLAINTIFF CERTIFICATION) re: 1 Complaint.
                  Document filed by City of Westland Police and Fire Retirement System. (Rudman, Samuel)
                  (Entered: 09/04/2018)

09/05/2018        ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice to attorney Samuel Howard
                  Rudman. The party information for the following party/parties has been modified: City of Westland
                  Police and Fire Retirement System; Martin G. King. The information for the party/parties has been
                  modified for the following reason/reasons: party name contained a typographical error; party text
                  was omitted;. (jgo) (Entered: 09/05/2018)

09/05/2018        ***NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice to Attorney Samuel Howard
                  Rudman to RE-FILE Document No. 1 Complaint. The filing is deficient for the following reason(s):
                  due to party modification, the wrong party/parties whom the pleading is against were selected;.
                  Re-file the pleading using the event type Complaint found under the event list Complaints and
                  Other Initiating Documents - attach the correct signed PDF - select the individually named
                  filer/filers - select the individually named party/parties the pleading is against. (jgo) (Entered:
                  09/05/2018)

09/05/2018        ***NOTICE TO ATTORNEY REGARDING CIVIL CASE OPENING STATISTICAL ERROR CORRECTION:
                  Notice to attorney Samuel Howard Rudman. The following case opening statistical information was
                  erroneously selected/entered: Fee Status code due (due);. The following correction(s) have been
                  made to your case entry: the Fee Status code has been modified to pd (paid);. (jgo) (Entered:
                  09/05/2018)

09/05/2018        CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is assigned to Judge
                  Ronnie Abrams. Please download and review the Individual Practices of the assigned District Judge,
                  located at http://nysd.uscourts.gov/judges/District. Attorneys are responsible for providing
                  courtesy copies to judges where their Individual Practices require such. Please download and review
                  the ECF Rules and Instructions, located at http://nysd.uscourts.gov/ecf_filing.php. (jgo) (Entered:
                  09/05/2018)

09/05/2018        Magistrate Judge Henry B. Pitman is so designated. Pursuant to 28 U.S.C. Section 636(c) and Fed.
                  R. Civ. P. 73(b)(1) parties are notified that they may consent to proceed before a United States
                  Magistrate Judge. Parties who wish to consent may access the necessary form at the following link:
                  http://nysd.uscourts.gov/forms.php. (jgo) (Entered: 09/05/2018)

09/05/2018        Case Designated ECF. (jgo) (Entered: 09/05/2018)

09/05/2018   9    COMPLAINT against Andre Calantzopoulos, Martin G. King, Jacek Olczak, Philip Morris International
                  Inc. Document filed by City of Westland Police and Fire Retirement System.(Rudman, Samuel)
                  (Entered: 09/05/2018)

09/05/2018   10   ELECTRONIC SUMMONS ISSUED as to Andre Calantzopoulos. (jgo) (Entered: 09/05/2018)

09/05/2018   11   ELECTRONIC SUMMONS ISSUED as to Jacek Olczak. (jgo) (Entered: 09/05/2018)

09/05/2018   12   ELECTRONIC SUMMONS ISSUED as to Philip Morris International Inc. (jgo) (Entered: 09/05/2018)

09/05/2018        ***NOTICE TO ATTORNEY REGARDING DEFICIENT REQUEST FOR ISSUANCE OF SUMMONS. Notice
                  to Attorney Samuel Howard Rudman to RE-FILE Document No. 4 Request for Issuance of
                  Summons. The filing is deficient for the following reason(s): party name on 'as to' docket entry text
                  does not exactly match initial pleading caption;. Re-file the document using the event type Request



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      Case 4:17-cv-02399 Document 67-3 Filed in TXSD on 11/07/18 Page 18 of 129
                  for Issuance of Summons found under the event list Service of Process - select the correct
                  filer/filers - and attach the correct summons form PDF. (jgo) (Entered: 09/05/2018)

09/05/2018   13   REQUEST FOR ISSUANCE OF SUMMONS as to Martin G. King, re: 9 Complaint. Document filed by
                  City of Westland Police and Fire Retirement System. (Rudman, Samuel) (Entered: 09/05/2018)

09/06/2018   14   ELECTRONIC SUMMONS ISSUED as to Martin G. King. (dnh) (Entered: 09/06/2018)

09/07/2018   15   ORDER: Members of the purported class have until 60 days from Plaintiff's filing of the required
                  notice to move the Court to serve as lead plaintiffs. Opposition to any motion for appointment of
                  lead plaintiff shall be served and filed by November 20, 2018. Accordingly it is hereby: ORDERED
                  that a conference shall be held on November 30, 2018 at 12:00 p.m. in Courtroom 1506 of the
                  United States Courthouse, 40 Foley Square, New York, New York 10007 to consider any motions for
                  appointment of lead plaintiff and lead counsel and for consolidation. IT IS FURTHER ORDERED that
                  the named plaintiff shall promptly serve a copy of this Order on each of the Defendants and
                  demonstrate service on the docket. SO ORDERED. Motions due by 11/20/2018. (Signed by Judge
                  Ronnie Abrams on 9/7/2018) (rj) (Entered: 09/10/2018)

09/07/2018        Set/Reset Deadlines as to Motion Hearing set for 11/30/2018 at 12:00 PM in Courtroom 1506, 40
                  Foley Square, New York, NY 10007 before Judge Ronnie Abrams. (rj) (Entered: 09/10/2018)

09/11/2018   16   AFFIDAVIT OF SERVICE. Andre Calantzopoulos served on 9/7/2018, answer due 9/28/2018.
                  Service was accepted by Christopher M. Nolan, Assistant General Counsel. Document filed by City
                  of Westland Police and Fire Retirement System. (Rudman, Samuel) (Entered: 09/11/2018)

09/11/2018   17   AFFIDAVIT OF SERVICE. Jacek Olczak served on 9/7/2018, answer due 9/28/2018. Service was
                  accepted by Christopher M. Nolan, Assistant General Counsel. Document filed by City of Westland
                  Police and Fire Retirement System. (Rudman, Samuel) (Entered: 09/11/2018)

09/11/2018   18   AFFIDAVIT OF SERVICE. Martin G. King served on 9/7/2018, answer due 9/28/2018. Service was
                  accepted by Christopher M. Nolan, Assistant General Counsel. Document filed by City of Westland
                  Police and Fire Retirement System. (Rudman, Samuel) (Entered: 09/11/2018)

09/11/2018   19   AFFIDAVIT OF SERVICE. Philip Morris International Inc served on 9/7/2018, answer due 9/28/2018.
                  Service was accepted by Christopher M. Nolan, Assistant General Counsel. Document filed by City
                  of Westland Police and Fire Retirement System. (Rudman, Samuel) (Entered: 09/11/2018)

09/11/2018   20   AFFIDAVIT OF SERVICE of Order re: Lead Plaintiff Briefing served on Philip Morris International Inc,
                  Andre Calantzopoulos, Jacek Olczak, Martin G. King on September 10, 2018. Service was made by
                  Mail. Document filed by City of Westland Police and Fire Retirement System. (Rudman, Samuel)
                  (Entered: 09/11/2018)

10/06/2018   21   NOTICE OF APPEARANCE by Jeremy Alan Lieberman on behalf of Union Asset Management Holding
                  AG. (Lieberman, Jeremy) (Entered: 10/06/2018)

10/06/2018   22   MOTION to Intervene Notice of Motion and Motion of Union Asset Management Holding AG for: (1)
                  Intervention Pursuant to Fed. R. Civ. P. 24; and (2) Stay of PSLRA Lead Plaintiff Motion Deadline.
                  Document filed by Union Asset Management Holding AG.(Lieberman, Jeremy) (Entered:
                  10/06/2018)

10/06/2018   23   MEMORANDUM OF LAW in Support re: 22 MOTION to Intervene Notice of Motion and Motion of
                  Union Asset Management Holding AG for: (1) Intervention Pursuant to Fed. R. Civ. P. 24; and (2)
                  Stay of PSLRA Lead Plaintiff Motion Deadline. . Document filed by Union Asset Management Holding
                  AG. (Lieberman, Jeremy) (Entered: 10/06/2018)

10/06/2018   24   DECLARATION of Jeremy A. Lieberman in Support re: 22 MOTION to Intervene Notice of Motion
                  and Motion of Union Asset Management Holding AG for: (1) Intervention Pursuant to Fed. R. Civ. P.
                  24; and (2) Stay of PSLRA Lead Plaintiff Motion Deadline.. Document filed by Union Asset
                  Management Holding AG. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Lieberman, Jeremy)
                  (Entered: 10/06/2018)

10/06/2018   25   PROPOSED ORDER. Document filed by Union Asset Management Holding AG. Related Document
                  Number: 22 [[Proposed] Order Granting Motion of Union Asset Management Holding AG to Stay
                  PSLRA Lead Plaintiff Motion Deadline]. (Lieberman, Jeremy) Proposed Order to be reviewed by
                  Clerk's Office staff. (Entered: 10/06/2018)

10/06/2018   26   PROPOSED ORDER. Document filed by Union Asset Management Holding AG. Related Document
                  Number: 22 [[Proposed] Order Granting Motion of Union Asset Management Holding AG to
                  Intervene Pursuant to Fed R. Civ. P. 24]. (Lieberman, Jeremy) Proposed Order to be reviewed by
                  Clerk's Office staff. (Entered: 10/06/2018)



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      Case 4:17-cv-02399 Document 67-3 Filed in TXSD on 11/07/18 Page 19 of 129
10/06/2018   27   NOTICE OF APPEARANCE by Joseph Alexander Hood, II on behalf of Union Asset Management
                  Holding AG. (Hood, Joseph) (Entered: 10/06/2018)

10/09/2018        ***NOTICE TO COURT REGARDING PROPOSED ORDER. Document No. 26 Proposed Order, 25
                  Proposed Order, was reviewed and approved as to form. (dt) (Entered: 10/09/2018)

10/16/2018   28   LETTER MOTION for Conference addressed to Judge Ronnie Abrams from Jeremy A. Lieberman
                  dated October 16, 2018. Document filed by Union Asset Management Holding AG.(Lieberman,
                  Jeremy) (Entered: 10/16/2018)

10/19/2018   29   ORDER granting 28 Letter Motion for Conference. Application granted. A conference regarding
                  Union's motion to intervene and to stay the Lead Plaintiff motion deadline shall be held on October
                  31, 2018 at 2:00 p.m. in courtroom 1506 of 40 Foley Square, New York, N.Y. Any opposition to
                  Union's motion shall be filed no later than October 26, 2018. The Clerk of Court is respectfully
                  directed to file this endorsed letter on dockets 18-cv-8049 and 18-cv-8814. SO ORDERED. (Signed
                  by Judge Ronnie Abrams on 10/19/2018) (yv) (Entered: 10/19/2018)

10/19/2018        Set/Reset Deadlines as to (22 in 1:18-cv-08049-RA) MOTION to Intervene Notice of Motion and
                  Motion of Union Asset Management Holding AG for: (1) Intervention Pursuant to Fed. R. Civ. P. 24;
                  and (2) Stay of PSLRA Lead Plaintiff Motion Deadline., (13 in 1:18-cv-08814-UA) MOTION to
                  Intervene Notice of Motion and Motion of Union Asset Management Holding AG for: (1)
                  Intervention Pursuant to Fed. R. Civ. P. 24; and (2) Stay of PSLRA Lead Plaintiff Motion Deadline.
                  Motion Hearing set for 10/31/2018 at 02:00 PM in Courtroom 1506, 40 Centre Street, New York,
                  NY 10007 before Judge Ronnie Abrams. (yv) (Entered: 10/19/2018)

10/23/2018   30   NOTICE OF APPEARANCE by David Avi Rosenfeld on behalf of City of Westland Police and Fire
                  Retirement System. (Rosenfeld, David) (Entered: 10/23/2018)

10/25/2018   31   NOTICE OF APPEARANCE by Robert Daniel Gerson on behalf of City of Westland Police and Fire
                  Retirement System. (Gerson, Robert) (Entered: 10/25/2018)

10/26/2018   32   MEMORANDUM OF LAW in Opposition re: 22 MOTION to Intervene Notice of Motion and Motion of
                  Union Asset Management Holding AG for: (1) Intervention Pursuant to Fed. R. Civ. P. 24; and (2)
                  Stay of PSLRA Lead Plaintiff Motion Deadline. . Document filed by City of Westland Police and Fire
                  Retirement System. (Rosenfeld, David) (Entered: 10/26/2018)

10/26/2018   33   DECLARATION of David A. Rosenfeld in Opposition re: 22 MOTION to Intervene Notice of Motion
                  and Motion of Union Asset Management Holding AG for: (1) Intervention Pursuant to Fed. R. Civ. P.
                  24; and (2) Stay of PSLRA Lead Plaintiff Motion Deadline.. Document filed by City of Westland
                  Police and Fire Retirement System. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                  Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8)(Rosenfeld, David) (Entered:
                  10/26/2018)

10/29/2018   34   LETTER addressed to Judge Ronnie Abrams from Jeremy A. Lieberman dated October 29, 2018
                  Document filed by Union Asset Management Holding AG.(Lieberman, Jeremy) (Entered:
                  10/29/2018)

10/30/2018        Set/Reset Hearings: The Motion Hearing scheduled for October 31, 2018 at 2:00 is adjourned to
                  November 2, 2018 at 01:00 PM in Courtroom 1506, 40 Centre Street, New York, NY 10007 before
                  Judge Ronnie Abrams. (arc) (Entered: 10/30/2018)

10/30/2018   35   NOTICE OF APPEARANCE by Naumon A Amjed on behalf of Wayne Gilchrist. (Amjed, Naumon)
                  (Entered: 10/30/2018)

10/30/2018   36   LETTER addressed to Judge Ronnie Abrams from Naumon A. Amjed dated October 30, 2018 re: In
                  Response to Union Letter Dated October 29, 2018. Document filed by Wayne Gilchrist.(Amjed,
                  Naumon) (Entered: 10/30/2018)

11/01/2018   37   MEMO ENDORSEMENT on re: (36 in 1:18-cv-08049-RA) Letter Response to Union Letter Dated
                  October 29, 2018, filed by Wayne Gilchrist, (15 in 1:18-cv-09856-UA) Letter Response to Union
                  Letter Dated October 29, 2018, filed by Wayne Gilchrist. ENDORSEMENT: Plaintiff is permitted to
                  appear at the November 2, 2018 conference regarding Union's motion to intervene and to stay the
                  lead plaintiff deadline in the Westland action. SO ORDERED. (Signed by Judge Ronnie Abrams on
                  11/1/18) (yv) (Entered: 11/01/2018)

11/02/2018        Minute Entry for proceedings held before Judge Ronnie Abrams: Motion Hearing held on 11/2/2018
                  re: 22 MOTION to Intervene Notice of Motion and Motion of Union Asset Management Holding AG
                  for: (1) Intervention Pursuant to Fed. R. Civ. P. 24; and (2) Stay of PSLRA Lead Plaintiff Motion
                  Deadline. filed by Union Asset Management Holding AG. (Court Reporter Martha Martin) (arc)
                  (Entered: 11/02/2018)



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11/05/2018   38   MOTION to Appoint Greater Pennsylvania Carpenters' Pension Fund to serve as lead plaintiff(s) and
                  for Consolidation, and Approval of Selection of Lead Counsel. Document filed by Greater
                  Pennsylvania Carpenters' Pension Fund.(Keller, Christopher) (Entered: 11/05/2018)

11/05/2018   39   MEMORANDUM OF LAW in Support re: 38 MOTION to Appoint Greater Pennsylvania Carpenters'
                  Pension Fund to serve as lead plaintiff(s) and for Consolidation, and Approval of Selection of Lead
                  Counsel. . Document filed by Greater Pennsylvania Carpenters' Pension Fund. (Keller, Christopher)
                  (Entered: 11/05/2018)

11/05/2018   40   DECLARATION of Christopher J. Keller in Support re: 38 MOTION to Appoint Greater Pennsylvania
                  Carpenters' Pension Fund to serve as lead plaintiff(s) and for Consolidation, and Approval of
                  Selection of Lead Counsel.. Document filed by Greater Pennsylvania Carpenters' Pension Fund.
                  (Attachments: # 1 Exhibit A - Certification, # 2 Exhibit B - Loss Analysis, # 3 Exhibit C - Notice
                  (Westland Police Action), # 4 Exhibit D - Notice (GPCPF Action), # 5 Exhibit E - Labaton Sucharow
                  Firm Resume)(Keller, Christopher) (Entered: 11/05/2018)

11/05/2018   41   PROPOSED ORDER. Document filed by Greater Pennsylvania Carpenters' Pension Fund. Related
                  Document Number: 38 . (Keller, Christopher) Proposed Order to be reviewed by Clerk's Office staff.
                  (Entered: 11/05/2018)

11/05/2018   42   MOTION to Consolidate Cases 18-cv-9856 ., MOTION to Appoint Teamsters Local 710 Pension Fund
                  to serve as lead plaintiff(s) Teamsters Local 710 Pension Fund's Notice of Motion for Consolidation
                  of Related Actions, Appointment as Lead Plaintiff, and Approval of Selection of Counsel. Document
                  filed by Teamsters Local 710 Pension Fund.(Rosenfeld, David) (Entered: 11/05/2018)

11/05/2018   43   PROPOSED ORDER. Document filed by Teamsters Local 710 Pension Fund. Related Document
                  Number: 42 . (Rosenfeld, David) Proposed Order to be reviewed by Clerk's Office staff. (Entered:
                  11/05/2018)

11/05/2018   44   MEMORANDUM OF LAW in Support re: 42 MOTION to Consolidate Cases 18-cv-9856 . MOTION to
                  Appoint Teamsters Local 710 Pension Fund to serve as lead plaintiff(s) Teamsters Local 710 Pension
                  Fund's Notice of Motion for Consolidation of Related Actions, Appointment as Lead Plaintiff, and
                  Approval of Selection of Counsel . Document filed by Teamsters Local 710 Pension Fund.
                  (Rosenfeld, David) (Entered: 11/05/2018)

11/05/2018   45   DECLARATION of David A. Rosenfeld in Support re: 42 MOTION to Consolidate Cases 18-cv-9856 .
                  MOTION to Appoint Teamsters Local 710 Pension Fund to serve as lead plaintiff(s) Teamsters Local
                  710 Pension Fund's Notice of Motion for Consolidation of Related Actions, Appointment as Lead
                  Plaintiff, and Approval of Selection of Counsel. Document filed by Teamsters Local 710 Pension
                  Fund. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                  Exhibit F, # 7 Exhibit G)(Rosenfeld, David) (Entered: 11/05/2018)

11/05/2018   46   MOTION to Consolidate Cases 18-cv-08814 and 18-cv-09856 ., MOTION to Appoint Union Asset
                  Management Holding AG to serve as lead plaintiff(s) ., MOTION to Approve Counsel . Document
                  filed by Union Asset Management Holding AG. (Attachments: # 1 Text of Proposed
                  Order)(Lieberman, Jeremy) (Entered: 11/05/2018)

11/05/2018   47   MEMORANDUM OF LAW in Support re: 46 MOTION to Consolidate Cases 18-cv-08814 and
                  18-cv-09856 . MOTION to Appoint Union Asset Management Holding AG to serve as lead plaintiff(s)
                  . MOTION to Approve Counsel . . Document filed by Union Asset Management Holding AG.
                  (Lieberman, Jeremy) (Entered: 11/05/2018)

11/05/2018   48   DECLARATION of Jeremy A. Lieberman in Support re: 46 MOTION to Consolidate Cases
                  18-cv-08814 and 18-cv-09856 . MOTION to Appoint Union Asset Management Holding AG to serve
                  as lead plaintiff(s) . MOTION to Approve Counsel .. Document filed by Union Asset Management
                  Holding AG. (Attachments: # 1 Exhibit A - Declarations of Assignment, # 2 Exhibit B - Press
                  Release, # 3 Exhibit C - ISS Notice, # 4 Exhibit D - Greater PA Notice, # 5 Exhibit E - Certification,
                  # 6 Exhibit F - Loss Chart, # 7 Exhibit G - Firm Resume)(Lieberman, Jeremy) (Entered:
                  11/05/2018)

11/05/2018        ***NOTICE TO COURT REGARDING PROPOSED ORDER. Document No. 43 Proposed Order was
                  reviewed and approved as to form. (ad) (Entered: 11/06/2018)

11/05/2018        ***NOTICE TO COURT REGARDING PROPOSED ORDER. Document No. 41 Proposed Order was
                  reviewed and approved as to form. (ad) (Entered: 11/06/2018)




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     Neutral
As of: October 30, 2018 2:33 PM Z


                                           Craig v. Centurylink Inc.
                  United States District Court for the Western District of Louisiana, Monroe Division
                                    October 19, 2017, Decided; October 19, 2017, Filed
                                              CIVIL ACTION 3:17-CV-01005

Reporter
2017 U.S. Dist. LEXIS 174512 *
                                                              LEAD ATTORNEY, Lundy Lundy et al (LC), Lake
BENJAMIN CRAIG VERSUS CENTURYLINK INC., et
                                                              Charles, LA.
al.
                                                              For Amarendra Thummeti, Consol Plaintiff: Jeremy Alan
Subsequent History: Motion denied by, Motion granted          Lieberman, LEAD ATTORNEY, Joseph Alexander
by, Motion denied by Case v. CenturyLink Inc., 2017           Hood, II, Pomerantz, New York, NY; Patrick V
U.S. Dist. LEXIS 174514 (W.D. La., Oct. 20, 2017)             Dahlstrom, Pomerantz (IL), Chicago, IL.
                                                              For CenturyLink Inc, Glen F Post, III, R Stewart Ewing,
Core Terms                                                    Jr, David D Cole, Defendants: Thomas M Hayes, III,
                                                              LEAD ATTORNEY, Brandon Wade Creekbaum, Hayes
consolidate, cases, appointment, Securities, stock            Harkey et al, Monroe, LA; George Edward Anhang, Lyle
                                                              Roberts, PRO HAC VICE, Cooley (DC), Washington,
Counsel: [*1] For Benjamin Craig, individually and on
                                                              DC.
behalf of all others similarly situated, Plaintiff: Adam M
Apton, LEAD ATTORNEY, Levi & Korinsky (DC),                   For Sona Andresian, Movant: Patrick W Pendley,
Washington, DC; Nicholas Ian Porritt, PRO HAC VICE,           Pendley Baudin & Coffin, Plaquemine, LA.
Levi & Korinsky (DC), Washington, DC.
                                                              For Allen Feldman, Mark D Alger, Tae Yi, Essex Lacy,
For K B C Asset Management N V, Plaintiff: James              Art Kleppen, Movants: Tracy W Houck, Houck & Riggle,
Parkerson Roy, LEAD ATTORNEY, John Parkerson                  Ruston, LA.
Roy, Domengeaux Wright et al (LAF), Lafayette, LA;
Andrew P Arnold, Gregg S Levin, James M Hughes,               Judges: Joseph H.L. Perez-Montes, United States
PRO HAC VICE, Motley Rice (SC), Mt Pleasant, SC;              Magistrate Judge. JUDGE HICKS.
William H Narwold, PRO HAC VICE, Motley Rice (CT),
Hartford, CT.                                                 Opinion by: Joseph H.L. Perez-Montes

For City of Detroit Police & Fire Retirement System,
Laborers Pension Trust Fund - Detroit & Vicinity
                                                              Opinion
Plaintiffs: Jason W Burge, Fishman Haygood, New
Orleans, LA.
For State of Oregon, on behalf of Oregon Public               MEMORANDUM ORDER
Employee Retirement Fund, Plaintiff: Fred W Sartor, Jr,
LEAD ATTORNEY, George M Snellings, IV, Nelson                 Potential class plaintiffs filed Motions to Consolidate
Zentner et al, Monroe, LA; Avi Josefson, Gerald H Silk,       (Docs. 25, 26, 28, 29) similar cases against Defendant
Michael D Blatchley, PRO HAC VICE, Bernstein Litowitz         CenturyLink, Inc. and related Defendants for violations
et al (NY), New York, NY; Keil M Mueller, Keith S             of the Securities Exchange Act of 1934. For the
Dubanevich, PRO HAC VICE, Stoll Stoll et al, Portland,        following reasons the Motions to Consolidate (Docs. 25,
OR.                                                           26, 28, 29) are GRANTED.

For Amalgamated Bank, as Trustee for the LongView
Collective Investment Fund, Plaintiff: Andrew Allen           I. Background
Lemmon, Lemmon Law Firm, Hahnville, [*2] LA.
For Don J Scott, Consol Plaintiff: Matthew E Lundy,           Before the Court is a complaint [*3] filed pursuant to the
        Case 4:17-cv-02399 Document 67-3 Filed in TXSD on 11/07/18 Page 22 ofPage
                                                                              129 2 of 3
                                            2017 U.S. Dist. LEXIS 174512, *3

Securities Exchange Act of 1934 (15 U.S.C. § 78aa, et            (Monroe Division): Thummeti v. CenturyLink, et al.,
seq.) by Plaintiff Benjamin Craig ("Craig"), individually        3:17-cv-01065 (W.D. La.); Barbree, et al. v. Bejar, et al.,
and on behalf of all others similarly situated. The named        No. 3:17-cv-01177 (W.D. La.). Barbree has since been
Defendants are CenturyLink, Inc. ("CenturyLink") (its            voluntarily dismissed (Barbree, No. 3:17-cv-01177, Doc.
common stock is traded on the New York Stock                     3). Thus, to date, there are three stockholder actions
Exchange ("NYSE")), Glen F. Post III ("Post") (the CEO           against CenturyLink in the Western District of Louisiana.
and President of CenturyLink Inc. at all relevant times),
and R. Stewart Ewing, Jr. ("Ewing") (CFO, Executive              In August 2017, KBC Asset Management NV ("KBC"), a
Vice President, and Assistant Secretary of CenturyLink           potential class plaintiff, filed a "Motion for Consolidation,
Inc. at all relevant times).                                     Appointment as Lead Plaintiff, and Approval of Selection
                                                                 of Counsel" (Doc. 25). KBC asked the Court to
Craig alleges a federal securities class action on behalf        consolidate the Craig and Scott cases.
of all investors who purchased or otherwise acquired
CenturyLink common stock between March 1, 2013 and               Similar motions were filed by other potential class
June 16, 2017 (the "Class Period"). Craig alleges that           plaintiffs, the Police and Fire Retirement System of the
CenturyLink publicly issued materially false and                 City of Detroit, and the Laborer's Pension Trust Fund—
misleading statements and omitted material facts                 Detroit and Vicinity (Doc. 26), the State of Oregon (Doc.
regarding its compliance with applicable laws and                28), and Amalgamated Bank, as Trustee for the Long
regulations, causing its stock prices to artificially inflate.   View Collective Investment Fund (Doc. 29).
Craig alleges that he and other investors suffered
significant losses and damages when the truth as to
CenturyLink's unlawful business practices emerged and            II. Law and Analysis
its stock prices fell.
                                                                 According to 15 U.S.C. § 78u-4(a)(3)(B)(ii), "[i] f more
Craig seeks certification of the class action, appointment       than one action on behalf of a class asserting
of himself as class [*4] representative, appointment of          substantially the same claim or claims arising under this
his attorney as lead counsel, a jury trial, compensatory         chapter has been filed, and any party has sought to
damages, costs (including expert fees), attorney fees,           consolidate [*6] those actions for pretrial purposes or
and injunctive relief.                                           for trial, the court shall not make the determination
                                                                 required by clause (i) until after the decision on the
This case was originally filed in the Southern District of       motion to consolidate is rendered. As soon as
New York (Doc. 1). On stipulation of the parties and a           practicable after such decision is rendered, the court
finding that the case could have originally been brought         shall appoint the most adequate plaintiff as lead plaintiff
in the Western District of Louisiana, Monroe Division,           for the consolidated actions in accordance with this
the case was ordered transferred to the Western District         paragraph."
of Louisiana (Doc. 8).
                                                                 Consolidation of cases is governed by Fed. R. Civ. P.
A related stockholder suit, Scott v. CenturyLink, No. 17-        42(a), which states:
1033 (W.D. La.) ("Scott"), was filed in the United States            If actions before the court involve a common
District Court for the Western District of Louisiana,                question of law or fact, the court may:
Monroe Division. That case is also a federal securities
class action on behalf of all persons and entities who                    (1) join for hearing or trial any or all matters at
purchased or otherwise acquired CenturyLink securities                    issue in the actions;
between March 1, 2013 and June 19, 2017. In Scott,
Plaintiff Don J. Scott ("Scott") named as Defendants                      (2) consolidate the actions; or
CenturyLink, Post, Ewing, and David D. Cole ("Cole").
                                                                          (3) issue any other orders               to   avoid
Scott also seeks certification of his suit as a class
                                                                          unnecessary cost or delay.
action, appointment of Scott as class representative,
appointment of Scott's counsel as Class Counsel,                 The Fifth Circuit has urged district judges "to make good
damages, costs, attorney fees, and injunctive relief             use of Rule 42(a) in order to expedite . . . trial and
(Doc. 1).                                                        eliminate unnecessary repetition and confusion," even
                                                                 when opposed by the parties. In re Air Crash Disaster at
Two other stockholder [*5] suits have been filed against
                                                                 Fla. Everglades on Dec. 29, 1972, 549 F.2d 1006, 1013
CenturyLink in the Western District of Louisiana
        Case 4:17-cv-02399 Document 67-3 Filed in TXSD on 11/07/18 Page 23 ofPage
                                                                              129 3 of 3
                                           2017 U.S. Dist. LEXIS 174512, *6

(5th Cir. 1977) (quoting Gentry v. Smith, 487 F.2d 571,        THUS DONE AND SIGNED in chambers in Alexandria,
581 (5th Cir. 1973)); see also Parker v. Hyperdynamics         Louisiana, this 19th day of October, 2017.
Corp., 126 F. Supp. 3d 830, 835 (S.D. Tex. 2015).
Consolidation is permitted "as a matter of convenience         /s/ Joseph H.L. Perez-Montes
and economy in administration," Shafer v. Army & Air
                                                               Joseph H.L. Perez-Montes
Force Exch. Serv., 376 F.3d 386, 394 (5th Cir. 2004),
op. clarified, 2004 U.S. App. LEXIS 28846, 2004 WL             United States Magistrate Judge
2107672 (5th Cir. 2004) (quoting Johnson v. Manhattan
Ry. Co., 289 U.S. 479, 496, 53 S. Ct. 721, 77 L. Ed.
1331 (1933)), though not "if it would prejudice the rights       End of Document
of the parties," St. Bernard General Hospital, Inc. v.
Hospital Service Asso., 712 F.2d 978, 989 (5th Cir.
1983), cert. den., 466 U.S. 970, 104 S. Ct. 2342, 80 L.
Ed. 2d 816 (1984).

There are five factors to consider in determining
whether consolidation [*7] is appropriate: (1) same
court; (2) common parties; (3) common questions of law
or fact; (4) risk of prejudice or confusion versus risk of
inconsistent adjudications; and (5) judicial economy.
Frazier v. Garrison I.S.D., 980 F.2d 1514, 1531 (5th Cir.
1993); Parker, 126 F. Supp. 3d at 835.

First, all three cases are in the same court, the United
States District Court for the Western District of
Louisiana, Monroe Division. Second, all of the plaintiffs
are CenturyLink stockholders. The cases involve the
same core Defendants: CenturyLink, Post, and Ewing.
Scott v. CenturyLink, No. 3:17-1033 names one
additional defendant, Cole, an Executive Vice President
of CenturyLink. Third, all three cases involve common
questions of law or fact (they allege similar complaints)
— whether Defendants fraudulently inflated their stock
prices to the detriment of Plaintiff stockholders, in
violation of the Securities Exchange Act of 1934. Fourth,
there is little risk of confusion between the different
Plaintiff stockholders, but there is a risk of inconsistent
adjudications in different courts. Finally, it would clearly
be more economical to decide all three cases together
than to do so separately, since they all involve the same
issues of law and fact. All relevant factors favor
consolidation


[*8] III. Order

Accordingly, IT IS ORDERED that Movants' Motions to
Consolidate (Docs. 25, 26, 28, 29) are GRANTED and
the following cases are consolidated: Craig v.
CenturyLink, No. 17-1005 (LEAD CASE); Scott v.
CenturyLink, No. 17-1033; Thummeti v. CenturyLink,
No. 17-1065.
        Case 4:17-cv-02399 Document 67-3 Filed in TXSD on 11/07/18 Page 24 of 129


     Positive
As of: October 30, 2018 2:33 PM Z


     Newby v. Enron Corp. (In re Enron Corp. Sec., Derivative ERISA Litig.)
                   United States District Court for the Southern District of Texas, Houston Division
                                    February 7, 2007, Decided ; February 7, 2007, Filed
   MDL-1446, CIVIL ACTION NO. H-01-3624 CONSOLIDATED CASES, CIVIL ACTION NO. H-04-0088, CIVIL
                         ACTION NO. H-04-0087, CIVIL ACTION NO. H-03-5528

Reporter
2007 U.S. Dist. LEXIS 8812 *
                                                              California, Plaintiff: Roger B Greenberg, LEAD
In Re Enron Corporation Securities, Derivative "ERISA"
                                                              ATTORNEY, Schwartz Junell et al, Houston, TX.
Litigation; MARK NEWBY, ET AL., Plaintiffs VS.
ENRON CORPORATION, ET AL., Defendants, MDL-                   For Nathaniel Pulsifer, Plaintiff: Matthew L Tuccillo,
1446; THE REGENTS OF THE UNIVERSITY OF                        LEAD ATTORNEY, Shapiro Haber, Boston, MA.; Roger
CALIFORNIA, et al., Individually and On Behalf of All         B Greenberg, LEAD ATTORNEY, Schwartz Junell et al,
Others Similarly Situated, Plaintiffs, VS. MILBANK,           Houston, TX.; Thomas G Shapiro, Shapiro Haber et al,
TWEED, HADLEY & McCLOY, ET AL., Defendants,                   Boston, MA.
CIVIL ACTION NO. H-04-0088; THE REGENTS OF
                                                              For Milbank Tweed Hadley & McCloy LLP, Defendant:
THE UNIVERSITY OF CALIFORNIA, Individually and
                                                              David M Morris, Julie E Kamps, William G McGuinness,
on behalf of all others similarly situated, Plaintiffs, VS.
                                                              LEAD ATTORNEYS, Fried Frank Harris, New York,
ROYAL BANK OF CANADA, ROYAL BANK HOLDING
                                                              NY.; Michael J Marando, Rodger Hurley, LEAD
INC., ROYAL BANK DS HOLDING INC., RBC
                                                              ATTORNEY, Fried Frank Harris Shriver, New York, NY.
DOMINION SECURITIES INC., RBC DOMINION
SECURITIES LTD., RBC HOLDINGS (USA) INC., AND                 For Andrews & Kurth LLP, Defendant: Murray J Fogler,
RBC DOMINION SECURITIES CORP., Defendants,                    LEAD ATTORNEY, McDade Fogler et al, Houston, TX.
CIVIL ACTION NO. H-04-0087; THE REGENTS OF
                                                              For The Goldman Sachs Group Inc, Defendant: Charles
THE UNIVERSITY OF CALIFORNIA, Individually and
                                                              G King, III, LEAD ATTORNEY, King & Pennington LLP,
on behalf of all others similarly situated, Plaintiffs, VS.
                                                              Houston, TX.; Max Gitter, LEAD ATTORNEY, Cleary
TORONTO-DOMINION BANK, ET AL., Defendants.
                                                              Gotlieb et al, New York, NY.
CIVIL ACTION NO. H-03-5528
                                                              For Goldman Sachs & Co, Defendant: Charles G King,
Subsequent History: Motion granted by Newby v.                III, LEAD ATTORNEY, King & Pennington LLP,
Enron Corp. (In re Enron Corp. Sec.), 2007 U.S. Dist.         Houston, TX.; Lewis J Liman, Max Gitter, LEAD
LEXIS 17374 (S.D. Tex., Mar. 12, 2007)                        ATTORNEYS, Cleary Gottieb et al, New York, NY.

Prior History: Newby v. Enron Corp. (In re Enron Corp.        Judges: MELINDA HARMON, UNITED STATES
Sec., Derivative & "ERISA" Litig.), 2007 U.S. Dist.           DISTRICT JUDGE.
LEXIS 5111 (S.D. Tex., Jan. 24, 2007)
                                                              Opinion by: MELINDA HARMON
Core Terms
                                                              Opinion
consolidation, cases, discovery, lead plaintiff, parties,
Securities, financial institution, transactions, motion to
consolidate, damages, allegations, issues, prepay, suits,
class certification, motion to dismiss, participated,         OPINION AND ORDER
contends, insists, asserting, witnesses, jury confusion,
                                                              Pending before [*2] the Court in H-01-3624 is the
pending motion, apportionment, Non-parties,
appointment, offering, Replies, motions, argues

Counsel: [*1] For The Regents of the University of
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Newby Financial Institution Defendants' 1                         common parties are involved in the cases, (3) whether
                                                                  there are common questions of law and/or fact, (4)
 motion to consolidate for trial the Newby action and two         whether there is risk of prejudice or confusion if the
others, H-04-0087 (the "RBC Action") and H-03-5528                cases are consolidated, and if so, is the risk outweighed
(the "RBS/TD Action"), pursuant to Fed. R. Civ. P. 42(a)          by the risk of inconsistent adjudications of factual and
and Local Rule 7.6 (instrument # 4989). 2                         legal issues if the cases are tried separately, and (5)
                                                                  whether consolidation will conserve judicial resources
                                                                  and reduce the time and cost of trying the cases
In addition, Lead Plaintiff [*3] the Regents of the               separately. Rodriguez v. Torres, Nos. Civ. B-04-036, B-
University of California ("Lead Plaintiff" or "the Regents")      04-037, and B-04-043, 2004 WL 2952612, *1 (S.D. Tex.
has filed a motion to consolidate Newby and H-04-0088             Nov. 22, 2004), citing Frazier v. Garrison I.S.D., 980
for trial (# 69 in H-04-0088 (the "Goldman Sachs                  F.2d 1514, 1531-32 (5th Cir. 1983); Russo v. Alamosa
Action"); # 5022 in H-01-3624).                                   Holdings, Inc., No. Civ. A. 5:03-CV-312-C, et al., 2004
                                                                  WL 579378, *1 (N.D. Tex. Feb. 27, 2004). Another
I. Standard for Consolidation under Federal Rule of               factor is whether the cases are at the same stage of
Civil Procedure 42(a)                                             preparation for trial. St. Bernard General Hosp., Inc. v.
                                                                  Hospital Service Assoc. Of New Orleans, Inc., 712 F.2d
Rule 42(a) provides,                                              978, 990 (5th Cir. 1983), [*5] cert. denied, 466 U.S.
    When actions involving a common question of law               970, 104 S. Ct. 2342, 80 L. Ed. 2d 816 (1984).
    or fact are pending before the court, it may order a
    joint hearing or trial of any or all the matters in issue     The Fifth Circuit pronounced in Shafer v. Army & Air
    in the actions; it may order all the actions                  Force Exchange Serv., 376 F.3d 386, 395 (5th Cir.
    consolidated; and it may make such orders                     2004), op. clarified on other grounds, Nos. 376 F.3d
    concerning proceedings therein as may tend to                 386, 2004 WL 672 (5th Cir. 2004),
    avoid unnecessary costs or delay.
                                                                      The Supreme Court and this court, however, have
The district court has broad discretion in determining                stressed frequently the importance of not
whether two or more actions have common questions of                  intermingling consolidated claims . . . . See, e.g.,
law and fact and whether consolidation would save time                Johnson v. Manhattan Ry. Co., 289 U.S. 479, 496-
and money. Mills v. Beech Aircraft Corp., 886 F.2d 758,               97, 53 S. Ct. 721, 77 L. Ed. 1331 (1933)
761-62 (5th Cir. 1989). The district court may order                  ("[C]onsolidation is permitted as a matter of
consolidation even where the parties are opposed to it.               convenience and economy in administration, but
In re Air Crash Disaster at Florida Everglades on Dec.                does not merge suits into a single cause or change
29, 1972 v. Eastern Air Lines, Inc., 549 F.2d 1006, 1013              the rights of the parties."); Frazier . . . [,] 980 F.2d
( 5th Cir. 1977). The court's [*4] determination may also             [at 1532] ("[A]ctions maintain their separate identity
"take precedence over the desires of counsel." Id. at                 even if consolidated."); McKenzie v. U.S., 678 F.2d
1014.                                                                 571, 574 (5th Cir. 1982) ("[C]onsolidation does not
                                                                      cause one civil action to emerge from two.").
Factors for the district court to consider in deciding if             Instead, courts have emphasized that following
consolidation is appropriate include (1) whether the                  consolidation, it is vital that "the two suits retain
actions are pending before the same court, (2) whether                their separate identities" even to the point that each
                                                                      requires "the entry of a separate judgment." Miller v.
                                                                      U.S. Postal Service, 729 F.2d 1033, 1036 (5th Cir.
1 The Newby Financial Institution Defendants bringing this            1984). [*6] This strict segregation of merged cases
motion are Credit Suisse First Boston LLC (n/k/a Credit Suisse
                                                                      is necessary to prevent consolidation from
Securities (USA) LLC), Credit Suisse First Boston (USA), Inc.
                                                                      "depriv[ing] a party of any substantial rights that he
(n/k/a Credit Suisse (USA), Inc.), Pershing LLC (f/k/a
                                                                      may have had if the actions had proceeded
Donaldson, Lufkin & Jenrette Securities Corp.), (collectively
"CSFB"), and Merrill Lynch & Co., Inc. And Merrill Lynch,             separately." Id.
Pierce, Fenner & Smith, Inc. (collectively, "Merrill").
                                                                  See also Harcon Barge Co. V. D & G Boat Rentals, Inc.,
2 The  Court has previously granted an amended motion of          746 F.2d 278, 287 (5th Cir. 1984)(Consolidation may
Barclays PLC, Barclays Bank PLC and Barclays Capital Inc.         not deprive the parties of any substantive rights they
(collectively, "Barclays") to join previously filed papers (#     may have had if the actions had not been consolidated,
5302), relating in part to # 4989, so it is also a Movant here.
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but had proceeded separately.), cert. denied, 479 U.S.       Securities Litigation Reform Act of 1995 (the "PSLRA")
930, 107 S. Ct. 398, 93 L. Ed. 2d 351 (1986); In re Excel    addressing apportionment of responsibility, special
Corp,     106      F.3d     1197,   1201     (5th    Cir.    interrogatories for the jury, and rights of contribution
1997)("[C]onsolidation 'does not merge suits into a          buttress the argument for consolidation of the three suits
single cause, or change the rights of the parties, or        for trial. See # 4836 at 8-17. Separate trials could result
make those who are parties in one suit parties in            in inconsistent conclusions about damages or
another.'"), cert. denied, 522 U.S. 859, 118 S. Ct. 159,     apportionment of responsibility for damages.
139 L. Ed. 2d 104 (1997).
                                                             Lead Plaintiff supports the motion to consolidate H-03-
                                                             5528 and H-04-0087 with Newby for trial as long as the
II. The Motions to Consolidate                               consolidation does not change the Court's prior ruling
                                                             that H-04-0087 was a "new case" governed by the
                                                             extended statute of limitations in the Sarbanes-Oxley
A. CSFB, Merrill, and Barclays Defendants' Motion            Act, 28 U.S.C. § 1658(b)(extending statute of limitations
to Consolidate                                               for private securities fraud suits to shorter of two years
                                                             from date of discovery or five years from date of
The CSFB, Merrill and Barclays Defendants assert that        transaction). In re Enron Corp. Sec. Litig., No. H-04-
Newby, H-04-0087, and H-03-5528 are each class               0087, 2005 U.S. Dist. LEXIS 41240, *45 (S.D. Tex. Dec.
actions filed on behalf of the same class alleged in         22, 2005)("The [*9] Court finds that the claims here
Newby and asserting virtually identical facts, claims, and   were not time-barred under Lampf, 3
legal theories. They further point out that                   when Sarbanes-Oxley was enacted nor are they time
Defendants [*7] in all three actions have participated in    barred under Sarbanes-Oxley . . . ."). 4
all the discovery in Newby, had an opportunity to
question all the witnesses deposed and had access to
all the documents in the document depository.

Defendants first emphasize that all three actions "are       3 Lampf,Playa, Lipkind, Prupis & Petigrow v. Gilbertson, 501
inextricably linked." Their complaints allege the same
                                                             U.S. 350, 111 S. Ct. 2773, 115 L. Ed. 2d 321 (1991).
overarching theory of scheme liability to defraud
purchasers of Enron securities and request the same          4 The  Newby action was filed on October 22, 2001 against
damages arising from that scheme.                            Enron and some of its officers and directors. After appointment
                                                             of Lead Plaintiff and Lead Counsel, a consolidated complaint
Second, the three suits involve common questions of          adding inter alia claims against CSFB, Merrill, and several
fact. They claim that the Bank Defendants engaged in or      financial institutions, was filed on April 8, 2002. An amended
participated in the implementation of manipulative or        consolidated complaint was filed on May 14, 2003, again
deceptive devices to inflate Enron's profits and hide debt   adding defendants, but not the Royal Bank of Scotland Group
on its financial sheets and that they participated in a      plc, National Westminster Bank Plc, Greenwich NatWest
scheme to defraud or a course of business that               Structured Finance inc. (Dissolved), Greenwich NatWest Ltd.,
operated as a fraud or deceit on purchasers of Enron         and Campsie Ltd. (collectively, "RBSG").
securities. Indeed the complaints in H-04-0087 and H-
                                                             On December 2, 2003 the Regents filed a new action against
03-5528 incorporate by reference all of the allegations in   RBSG and Toronto Dominion Bank, H-03-5528. RBSG
the Newby complaint.                                         emphasizes that RBSG was not sued until more than two
                                                             years after the commencement of Newby and some twenty
The three actions also share common questions of law,        months after most of the principal defendants had been
pleading the same scheme theory and basing their             named.
claims on the same statutes, i.e., §§ 10(b) and 20(a) of
                                                             On January 9, 2004 the Regents filed another action, H-04-
the Securities Exchange Act of 1934 and Rule 10b-5.
                                                             0087, against another new participant, the Royal Bank of
                                                             Canada and affiliates (collectively, "RBC"), which included
Fourth, argue the CSFB, Merrill [*8] and Barclays
                                                             Royal Bank of Canada, Royal Bank Holding Inc., Royal Band
Defendants, the three suits assert the same damages
                                                             DS Holding, Inc., RBC Dominion Securities Ltd., RBC
theory, i.e., joint and several liability for all damages    Dominion Securities, Inc., RBC Holdings (USA) Inc., and RBC
flowing from the alleged scheme as a whole.                  Dominion Securities Cor. (collectively, the "RBC Defendants"
                                                             or "RBC"). The Court has denied RBC's motion to dismiss (#
Defendants maintain that the provisions of the Private       16, 43) in this action.
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 [*10] B. Lead Plaintiff's Motion to Consolidate H-04-           appointment of Lerach Coughlin as Lead Counsel under
0088 with Newby for Trial                                        the PSLRA. 15 U.S.C. § 78u-4(a) (3)(B). Nor did the
                                                                 Regents pursue the public notice requirements that
The only claim still pending against Goldman Sachs, the          would have been applicable under the PSLRA if it were
sole remaining defendant in H-04-0088, is brought                asserting a new and different claim. See 15 U.S.C. §
under § 11 of the Securities Act of 1933, based on the           78u-4(a) (3) (A) (public notice not required for
same offering as a § 11 claim in Newby against Jeffrey           additional [*12] actions "asserting substantially the
Skilling and other individuals. Lead Plaintiff urges that        same claim or claims"). Instead the Regents merely
having two trials based on the same financial                    described the case as involving claims already part of
statements and the same registration statement with              Newby.
many of the same witnesses on behalf of the same
class of plaintiffs would be a waste of judicial and litigant    RBSG Defendants oppose the motion to consolidate (#
resources.                                                       4989) on the grounds that the case against them, H-03-
                                                                 5528, has been on a vastly different schedule for over
                                                                 two years from that in the Newby action against CSFB
III. Opposition                                                  and Merrill. Still pending in H-03-5528 are motions to
                                                                 dismiss filed by Toronto Dominion (# 17) and RBSG (#
                                                                 42). 8
A. Opposition to CSFB, Merrill, and Barclays
Defendants' Motion                                                The statutory stay on discovery under 15 U.S.C. § 78u-
                                                                 4(b)(3)(B) has resulted in limited and incomplete
                                                                 discovery in H-03-5528. Moreover, this fall Lead Plaintiff
1. RBSG's Opposition to Consolidation (# 5094)                   requested that the Court defer ruling on these and other
                                                                 motions until several weeks after the deposition of
Defendants the Royal Bank of Scotland Group plc,                 Andrew Fastow (# 5057 in H-01-3624). Furthermore the
National Westminster Bank Plc, Greenwich NatWest                 Court entered an agreed order setting a schedule for
Structured Finance inc. (Dissolved), Greenwich                   expert discovery [*13] for the consolidated and
NatWest Ltd., and Campsie Ltd. (collectively, "RBSG") 5          coordinated cases that is different from the schedule
                                                                 governing the Newby case against the original financial
 concede that there are questions of fact and law in             institution defendants. The relevant expert discovery
common and tie-ins among the cases. Nevertheless                 schedule begins as to RBSG only upon completion of
they contend that the pleading against RBSG is "a de             fact discovery. Furthermore, no class certification has
facto amendment to the governing Newby complaint,                been determined with the participation of, and related to
with Regents filing against RBSG under a new [*11]               claims against, RBSG. In addition, motions for summary
docket number solely as a stratagem to evade certain             judgment have been filed in Newby, which is set for trial
time bar implications by posturing the claim as a 'new           on April 9, 2007. Moreover, Lead Plaintiff's Trial Plan
proceeding' to get the benefit of lengthened periods of          filed in Newby (# 4729) did not include RBSG.
limitations and repose under the intervening Sarbanes-           Consolidation now would seriously and prejudicially
Oxley Act." # 5090 at 4. 6                                       undermine any trial preparation that could be made by
                                                                 RBSG. RBSG contends that the procedural
                                                                 circumstances           raised        by        Movants
RBSG emphasizes that unlike in Newby, in the Regents'
                                                                 (apportionment/contribution    issues,     special   jury
action against RBSG and Toronto Dominion Bank, 7                 interrogatories, etc.) cannot overcome the unfairness
                                                                 and prejudice to RBSG that will result from
 H-03-5528, filed on December 2, 2003, the Regents did
                                                                 consolidation. Evidence against RBSG can still be
not seek appointment of itself as Lead Plaintiff nor
                                                                 considered by the jury even in the absence of RBSG
                                                                 from the trial.
5 RBSG  Defendants are named Defendants, along with the
Toronto Dominion entities, in H-03-5528.
6 Defendants  have challenged this stratagem in a motion to      8 RBSG   states that its motion addresses various time bars,
dismiss, currently pending.
                                                                 including whether the claims against it should be regarded as
7 Although some parties hyphenate "Toronto-Dominion,"            part of the Newby proceeding or as an entirely different
because that bank does not do so, the Court follows its model.   proceedings, as well as the absence of a primary violation.
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 [*14] 2. Non-Party 9                                            scheme, are not identical to those against other financial
 Toronto Dominion's Opposition to Consolidation (#               institutions in Newby, insists Toronto Dominion. While
5091)                                                            Lead Plaintiff has charged the financial institution
                                                                 Defendants in Newby with eight or nine different kinds of
Non-parties the Toronto Dominion Bank, Toronto                   transactions, it asserts only one kind of transaction
Dominion Holdings (U.S.A.), Inc., TD Securities Inc.,            against Toronto Dominion, the prepay transactions,
and TD Securities (USA) LLC's (f/k/a Toronto Dominion            specifically the December 1998 Truman, Jethro, Alberta,
(Texas)) (collectively "Toronto Dominion") also focus            and London prepays, none of which will be at issue in
upon the different stage of litigation of H- 03-5528.            the trial on Newby and none of which overlap with the
Noting that the only claim against Toronto Dominion is           Newby transactions. Nor are the counterparties 10
under the 1934 Act based on its participation in six
prepaid commodity swaps with Enron. Discovery has                 in Toronto Dominion's prepay transactions also
been stayed under the PSLRA by Toronto Dominion's                defendants in Newby because they have all settled,
pending motion to dismiss. Though a putative class               been dismissed or were never sued in Newby. Toronto
action, no motions have been made by plaintiff as to a           Dominion maintains that there would be no common
lead plaintiff, lead counsel, or class certification.            documents, facts, witness or other evidence between
                                                                 the two suits. Thus consolidation would render the
Contending that the motion to consolidate is premature,          litigation unmanageable and unfairly prejudice the
Toronto Dominion maintains that [*15] its motion to              defendants.
dismiss must be resolved before the court can consider
the motion to consolidate and urges that its motion to            [*17] Toronto Dominion further contends the claims are
dismiss is meritorious, especially in the context of the         different. While the Toronto Dominion/RBS action brings
Court's ruling on Barclays' motion for partial summary           only a single Rule 10b-5 claim under the 1934 Act,
judgment on the pleadings. # 4874, entered 7/20/06,              Newby also asserts claims under §§ 11 and 15 of the
also available at In re Enron Corp. Sec. Litig., 439 F.          1933 Act, while the Goldman Sachs action alleges only
Supp. 2d 692 (S.D. Tex. 2006). The Court is                      a § 11 claim. Such claims require proof of different
reconsidering on summary judgment whether a primary              elements, especially proof of scienter for the § 10(b)
violation of § 10(b) and Rule 10b-5, as opposed to mere          claims. Trying the claims together risks having the jury
nonactionable aiding and abetting, has been stated               confused or ignoring the requirement of scienter in the §
against Barclays because Lead Plaintiff never had an             10(b) claims.
opportunity to replead after intervening and relevant
cases with more specific pleading requirements were              Toronto Dominion also argues that the legal issues are
issued.                                                          different, as evidenced by Lead Plaintiff's conditioning
                                                                 its consent on the Court's prior ruling (# 43 at 31-36 in
Even if the Court entertains the motion to consolidate           H-04-0087) that Sarbanes-Oxley's extended statute of
now, like RBSG, Toronto Dominion contends that it                limitations applies to the claims against RBC, and that
should be denied because the more advanced                       ruling should also govern the claims against Toronto
procedural posture of Newby would cause undue                    Dominion in H-03-5528. Toronto Dominion has asserted
prejudice to Toronto Dominion. Mills v. Beech Aircraft           in its pending motion to dismiss that the shorter Lampf
Corp., 886 F.2d at 762; St. Bernard Gen'l Hosp., Inc. v.         statute of limitations applies and the claims are time-
Hospital Serv. Ass'n of New Orleans, Inc., 712 F.2d 978,         barred by the statute of repose; it objects to any
989-90 (5th Cir. 1983).                                          automatic application of the ruling in the RBC case to H-
                                                                 03-5538, without court review of its motion to dismiss,
Toronto Dominion additionally argues that [*16] Newby            which it is confident will [*18] prevail. It also contends
and H-03-5528 do not have sufficiently common issues             that in an earlier ruling this Court suggested that if
of fact and law to support consolidation. The factual
allegations of specific wrongdoing, though falling under
the same statute and relating to the same Ponzi                  10 Identifiedby Toronto Dominion as JP Morgan Chase,
                                                                 Citigroup and/or Barclays. The Alberta prepay was not
                                                                 included in Newby; Morgan Stanley, which was the
9 Toronto  Dominion entities characterizes themselves as a       counterparty to the London prepay, was not used in Newby;
"non-parties" because the motion to consolidate was filed only   and Citigroup and Barclays, two of the three counterparties to
in Newby, to which Toronto Dominion entities are not parties.    the Nixon prepay, were dismissed from Newby, while RBS
They are Defendants in H-03-5528.                                was not sued in Newby.
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consolidation were granted, the pre-Sarbanes-Oxley              defendants and in minimizing the potential for jury
periods of limitation would apply to claims against RBC         confusion. Lumping numerous claims and parties that
as well as the Newby defendants. See # 1999 at 54-55            have nothing to do with one another runs a serious risk
in Newby ("[W]e doubt that Congress intended that               of jury confusion.
courts would apply different sets of substantive and
procedural rules to groups of plaintiffs asserting identical
claims in a single action . . . .")(quoting Gerber v. MTC       3. Opposition of the RBC Defendants (# 5094)
Electronic Technologies Co., Ltd., 329 F.3d 297, 309-10
(2d Cir.), cert. denied, 540 U.S. 966, 124 S. Ct. 432, 157      Royal Bank of Canada, Royal Bank Holding Inc., Royal
L. Ed. 2d 311 (2003)).                                          Bank DS Holding, Inc., RBC Dominion Securities Ltd.,
                                                                RBC Dominion Securities, Inc., RBC Holdings (USA)
In addition, Toronto Dominion points out that Newby and         Inc., and RBC Dominion Securities Cor. (collectively, the
H-03-5528 involve different parties and therefore               "RBC Defendants" or "RBC") also oppose the Financial
consolidation may cause prejudice. At the time that             Institutions' motion to consolidate for trial. Complaining
Toronto Dominion filed its opposition, Newby had over           that the Regents waited almost twenty-seven months
fifteen defendants, including Arthur Andersen, Vinson &         after the filing the Newby action before suing RBC in a
Elkins, and former Enron executives, while the cases            complaint dated January 9, 2004 so that they are
against Toronto Dominion, RBS, RBC and affiliates, and          substantially behind Movants procedurally and in
Goldman Sachs had one defendant or limited                      discovery with respect to trial preparation, [*21] 11
defendants and their roles were as "minor participants"
for whom consolidation would mean throwing them in               RBC maintains that trying the four cases together
with persons convicted of Enron-related fraud,                  would be "unwieldy, confusing and prejudicial and
creating [*19] jury confusion, and causing Toronto              inevitably would result in substantial delay in Newby, set
Dominion undue prejudice.                                       for trial in April, since they do not have a trial date yet.
                                                                RBC further asserts that in light of the Court's order, #
Toronto Dominion disagrees with the Financial                   4874, there is no viable claim that RBC is a primary
Institutions' claim that the PSLRA's rules on                   violator of the securities laws, and the Court should
apportionment, jury interrogatories and contribution            resolve the motions pending before it considers
mean that the cases must be tried together, that                consolidation. RBC urges that consolidation is not
separate trials bring "the virtual certainty" of                warranted merely because claims are brought under the
inconsistencies, and that separate trials would be a            federal securities laws; the real issue is whether facts
waste of judicial and party resources. Neither the              can be proven at trial to establish with evidence every
common law nor federal securities laws require that a           element of each cause of action charged with respect to
plaintiff sue all alleged joint tortfeasors in a single suit.   each defendant. RBC basically reiterates the reasons
Not only is the assertion of possible jury verdict              given by other parties to oppose the motion for
inconsistencies too speculative and remote to justify           consolidation, including that the actions are in different
consolidation, but there is no requirement of consistency       procedural postures, involve different transactions,
among verdicts as long as each verdict is supported by          different facts, different witnesses, jury confusion if tried
the evidence. See, e.g., Borel v. Fibreboard Paper Prod.        in one mass, complicated, long trial, delay in the Newby
Corp., 493 F.2d 1076, 1094 (5th Cir. 1973)("It has long         trial, and application of the shorter Lampf statute of
been the rule that consistency in general verdicts is not       limitations (one year after discovery of wrongdoing or
required"; finding that internal inconsistencies in verdicts    three years after the unlawful transaction [*22]
are permissible if evidence can be found to support             occurred), in effect before Sarbanes-Oxley, which would
each finding); United States v, Espinosa-Cerpa, 630
F.2d 328, 332 (5th Cir. 1980)(inconsistencies are
permissible "even among multiple defendants [*20]               11 Emphasizing    that the Newby action is on an entirely different
tried together on essentially the same evidence and             track than H-04-0087, RBC highlights the facts that the
charges" since "each verdict or conviction is to be             Regents waited until October 2006 to file a motion for class
reviewed wholly independently of the others"). Morever,         certification; the Court has granted an agreed motion (# 112,
insists Toronto Dominion, conservation of resources             115) to extend the response deadline to February 25, 2007,
may be a benefit of pre-trial consolidation, but at the trial   and the reply deadline to April 4, 2007; and that a hearing on
stage, the concern is focusing the jury's attention on the      class certification would be required. Expert discovery has not
                                                                commenced. RBC has a pending motion to dismiss. Unlike
specific elements and specific claims against specific
                                                                Newby, this action has not reached summary judgment stage.
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result in dismissal of claims arising from all but one        the Regents and others relating to the sentencing of
transaction in which RBC was involved. RBC also               Andrew Fastow, including Fastow's declaration (#
argues that the Court's earlier ruling on the statute of      5048), which does not mention Goldman Sachs, reflect
limitations defense in the RBC case cannot be a               its non-involvement in the Newby scheme.
bargaining chip for Lead Plaintiff's consent to the
consolidation. Regarding Lead Plaintiff's conditional         Goldman Sachs further contends that it would be greatly
consent to consolidation, RBC contends that Lead              prejudiced and its constitutional right to a fair trial
Plaintiff did not add RBC as a defendant in Newby so as       violated by consolidation. The spillover effect of
to avoid a limitations bar and dismissal of RBC; now          evidence of fraud at trial, even though the evidence
Lead Plaintiff recognizes that consolidation of this action   would be inadmissible as to Goldman Sachs, would
into Newby would reinvigorate RBC's arguments that            irreparably taint any trial against Goldman Sachs.
the claims against RBC are time-barred so Lead Plaintiff      Goldman Sachs never had an opportunity to oppose
cynically offers up its consent to consolidation in return    any class certification in violation of its due process
for stripping RBC of its opportunity to full adjudicate the   rights;     the   recently   filed  motion    for   class
limitations issues. RBC asks the Court to rule on its         certification [*25] in H-04-0088 identifies a class much
pending motion for judgment on the pleadings (# 81)           narrower than the class in Newby and is composed only
before considering consolidation.                             of those that purchased Exchangeable Notes between
                                                              August 1999 and November 2001.

                                                              As for practical concerns, Pulsifer, filed two years after
[*23] 4. Opposition of Goldman Sachs & Co. (# 85 in
                                                              Newby, could not be ready for trial with Newby. The
H-04-0088)
                                                              Regents only recently filed a motion to be appointed
Insisting that consolidation would be inconsistent with       lead plaintiff (for which appointment Goldman Sachs
the Court's certification of a "scheme class" in Newby,       insists it is unqualified because it did not purchase any
Goldman Sachs objects that H-04-0088 disclaims any            Exchangeable Notes), as well as the motion for
allegations of fraud while Newby is "about nothing but        consolidation. Fact discovery has just begun and expert
fraud." # 85 at 1. The Ponzi scheme allegations against       discovery is months away.
those in Newby have nothing to do with the single claim
against Goldman Sachs, as evidenced by the express
language of the Complaint, filed on February 6, 2004: P       B. Replies and Sur-replies
92 states that "plaintiffs expressly exclude and disclaim
                                                              1. Lead Plaintiff's Replies to RBC (# 5103 in Newby),
any allegation that could be construed as alleging fraud
                                                              Non-parties the Toronto Dominion Defendants (#
or intentional or reckless misconduct, as this claim is
                                                              5104), and RBS (# 5105).
based solely on claims of strict liability and/or
negligence under the 1933 Act." Plaintiff Nathaniel           In identically worded replies, Lead Plaintiff responds that
Pulsifer claims instead that a single Registration            it believes Defendants should be ready to try their
Statement and Prospectus for a single, August 1999            actions with Newby by April 2007 and that it is willing to
underwriting of $ 255 million of Enron Notes                  shorten procedural deadlines to expedite discovery. If
exchangeable into common stock of Enron Oil & Gas             the Court decides against consolidation, it requests that
contained false and misleading statements for which           the Court maintain the current April 9, 2007 trial date for
underwriter Goldman Sachs is strictly liable under            Newby.
Section 11 of the Securities Act for failure to conduct
appropriate due diligence. There is no allegation [*24]       2. Lead Plaintiff's Reply to Goldman Sachs (# 5135
of a fraudulent scheme. The Trial Plan (# 4729)               in Newby [*26] )
addressed the fraudulent scheme that does not apply to
the non-fraud claim against Goldman Sachs in H-04-            Insisting that non-fraud § 11 claims regarding securities
0088. Thus consolidation would be improper because            offerings are already part of the Newby case so
the two cases do not share common issues of law, fact,        consolidation will not undermine the certification of the
witnesses, or other proof. It further charges that            class, Lead Plaintiff points out that Newby Plaintiffs are
Movants have failed to meet their burden of proof to          pursuing a § 11 claim against Jeffrey Skilling and
show common issues of law or fact between the cases,          Richard Causey based on the same offering as the § 11
no less a predominance of common issues. Goldman
Sachs insists that the documents recently submitted by
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claim against Goldman Sachs. 12                                       conclusions about the apportionment of responsibility or
                                                                      the amount of damages for which any party is
 Nathaniel Pulsifer, the proposed class representative in             responsible; conflicting judgments could prove
H-04-0088, has previously been certified as a class                   problematic if new trials for contribution are required to
representative in Newby based on his purchase of the                  resolve them, causing additional litigation on the same
7% Exchangeable Notes. Lead Plaintiff argues that                     issues.
since the same financial statements and the same
registration statement for the offering are at issue in               3. Newby Financial Institution Defendants' Reply (#
both cases, there is no reason not to try them at the                 5124)
same time. If the Court disagrees, Lead Plaintiff
requests that the trial date for the Newby action remain              Financial Institution Defendants insist that all the
on April 9, 2007.                                                     objections raised in opposition to their motion are
                                                                      insufficient to deny consolidation. First, they insist the
 [*27] As for any prejudice that might result from                    same facts regarding the conduct of those Defendants,
introduction of evidence not admissible against                       as well as of other Defendants, will be presented at
Goldman Sachs, Lead Plaintiff insists that the Court can              every trial involving the alleged scheme. The Newby
easily instruct the jury about the proper scope and use               Financial Institution Defendants, RBC, Toronto
of the evidence.                                                      Dominion and RBS will each present that evidence in
                                                                      order to satisfy the allocation of fault provisions of the
As for the statutory discovery stay, the Court can issue              PSLRA, 15 U.S.C, § 78u-4(f)(3). Thus if any Defendant
a decision on Toronto Dominion's motion to dismiss                    proceeds [*29] to trial, it is clearly in the interests of
after consolidation with Newby for trial.                             judicial economy to present that mountain of evidence
                                                                      once, to one jury, in one trial.
Lead Plaintiff further points out that the scheme
allegations in Newby have been incorporated by                        Second all the cases involve the same claim for
reference into the other complaints. All Defendants                   damages based on overlapping transactions that are
participated in the same scheme, even if in different                 purportedly part on the single scheme. For example, in
transactions. Many of the crucial transactions involved               Newby and H-03-5528, the complaints assert that
one or more banks and one or more of the opposed                      Enron's financial statements were materially misstated
Defendants. The nature of the scheme allegations,                     as a result of the prepay transactions. Toronto
moreover, ties these transactions to one another and to               Dominion, RBS, and Credit Suisse First Boston
other Defendants in Newby. Thus the scheme                            allegedly participated in such prepay transactions, even
allegations and the need for a proportionate allocation               if not the same ones: the same disclosures are at issue,
finding makes a single trial the most expedient means                 implicating the same accounting rules, the same review
for resolving claims against Defendants. (Moreover                    by Arthur Andersen, the same actions by Enron
even without consolidation, there would not be simple,                management, and the same claim for damages, all
pared-down, independent suits because evidence would                  supporting consolidation.
inevitably have to be presented about the involvement
of multiple parties, transactions, [*28] and financial                Third, consolidation will not prejudice these parties
disclosures.) Whether tried together or separately, a jury            because each had access to and participated in all of
is required under the PSLRA to determine proportionate                the discovery in Newby from all parties, with the only
responsibility of all parties. Efficiency and judicial                remaining discovery to be taken from RBC, Toronto
economy will thus be served by consolidation.                         Dominion, and RBSG (which is also needed for Newby),
Furthermore, multiple trials could produce inconsistent               and given that so much discovery has been taken, they
                                                                      will not be prejudiced by consolidation. This Court can
                                                                      fashion an expedited schedule to accommodate [*30]
12 Financial
                                                                      discovery needs of all the parties prior to trial.
             Institutional Defendants point out that all claims for
violations of §§ 11 and 15 of the Securities Act of 1933              Financial Institution Defendants also observe that Lead
asserted in Newby against the financial institutions have been
                                                                      Plaintiff's theory of damages is identical for all remaining
settled or dismissed, leaving only § 10(b) claims against the
                                                                      financial institution defendants in the three cases; Lead
financial institution. # 5124 at 11. Nevertheless § 11 claims
                                                                      Plaintiff alleges that all are jointly and severally liable for
remain pending against individuals in Newby. They note that
Rule 42(a) does not require complete identity of legal and            all damages that result from the alleged scheme,
factual questions.                                                    including damages caused by transactions in which a
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given bank has no involvement and about which it had          that shortening deadlines would only exacerbate the
no knowledge. Thus for this reason the cases should be        prejudice to them, especially because of the statutory
consolidated.                                                 stay on discovery until the Court rules on their motion to
                                                              dismiss. They insist that consolidation cannot shorten
As for the argument that the cases are at different           the time for discovery under applicable rules and cannot
stages of litigation, Financial Institution Defendants call   prejudice a party's substantive legal rights. Mills v.
these claims overstated and maintain that they can be         Beech Aircraft Corp., Inc., 886 F.2d 758, 762 (5th Cor
accommodated by means of a scheduling order in                1989)(consolidation improper where cases filed two
Newby. The parties have all participated in the Newby         years apart; first was ready for trial and second required
discovery. The limited additional discovery to be             additional fact and expert discovery); In re Air Crash
conducted in the other cases is the offering of their own     Disaster at Florida Everglades on December 29, 2972,
party witnesses and experts on their own behalf. The          549 F.2d 1006, 1013 n.9 (5th Cir. 1977)(finding that the
lack of bank-specific discovery in the coordinated            "principal limitation" on the use of Rule 42 is that district
actions is to the Defendants' advantage. Similarly, just      courts "must avoid prejudicing [*33] the rights of the
because classes have not been certified in the                parties").
consolidated cases does not preclude consolidation.
Benzoni v. Greve, 54 F.R.D. 450, 452 (S.D.N.Y.
1972) [*31] (consolidating cases brought on behalf of         5. RBC Defendants' Statement of Subsequent
"substantially" the same classes, prior to certification).    Developments (# 5232)
Indeed, the class certification in Newby is on appeal and
no notice has been sent to the class. The Financial           RBC Defendants point to post-briefing developments in
Institutions observe that if a class is finally approved,     Newby in support of denial of the Newby Financial
RBC, Toronto Dominion, and RBS will probably be               Institution Defendants' motion to consolidate: (1)
confronted by the same class and the same class               Movants' designation of responsible non-parties,
representatives and can easily be incorporated into any       pursuant to this Court's order (# 4836), has preserved
notice to that class. Lead Plaintiff's Trial Plan also        the issue of fault allocation without jury confusion or
references RBC, Toronto Dominion and RBS and Lead             prejudice to RBC; and (2) the deposition of Andrew S.
Plaintiff is expected to used the same Trial Plan, the        Fastow, which only minimally dealt with RBC, reflecting
same witnesses, and the same experts against them at          RBC's minor role generally and its nonparticipation in
trial. If the Court orders consolidation, insist Financial    structuring the prototype transactions or underwriting
Institution Defendants, it can easily fashion a discovery     key off-balance-sheet partnerships employed by Enron
and motion schedule fair to all parties, so as to avoid       to misrepresent its financial performance to investors,
any prejudice to these parties On the other hand, there       confirms the potential for jury confusion and prejudice to
would be substantial prejudice to the Newby                   RBC if the RBC action were consolidated with Newby
defendants, the Court, and the jurors if "Lead Plaintiff's    for trial.
allegations of a single overarching 'scheme' and a single
undifferentiated pot of damages as well as the defenses       RBC focuses on a September 2000 transaction
to those allegations, get presented in a mish-mash of         designated "Alberta," which RBC insists is not like the
multiple trials, with shifting burdens of proof based on      other prepay transactions in the furtherance of Enron's
who [*32] happens to be a named defendant in each             misconduct with which Lead Plaintiff has charged RBC.
proceeding." # 5124 at 15-16.                                 RBC argues that Fastow's deposition testimony
                                                              demonstrated the difference between Alberta and other
Lead Plaintiff also argues that Toronto Dominion's            prepay [*34] transactions. RBC contends that a jury
pending motion to dismiss can be addressed after              must have the opportunity to hear and consider
consolidation since it does not challenge this Court's        evidence about Alberta without having that record
jurisdiction.                                                 affected by evidence of dissimilar transactions charged
                                                              in Newby, as would happen if consolidation is ordered.

4. Non-Parties the Toronto Dominion Defendants'
Sur-Reply (# 5118)                                            IV. Court's Decision

Reiterating    their   earlier arguments    against           Movants have presented a number of good reasons for
consolidation, Toronto Dominion Defendants contend            consolidating these cases for trial, including common
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factual and legal issues, witnesses, proof, and
especially the apportionment/contribution scheme under
the PSLRA and the possibility of inconsistent verdicts
without consolidation. Nevertheless, for whatever
reason the Regents filed these coordinated and
consolidated cases years later than Newby, they must
live with the consequences of that time gap. In
concurrence with the opposition presented here, the
Court finds that the procedural tracks of the cases are
too disparate for consolidation with Newby at this late
date. The parties in the consolidated and coordinated
cases are entitled to full discovery, an opportunity to file
motions for summary judgment, and adequate trial
preparation time, all of which would have to be severely
curtailed if the Court consolidated the cases and
retained the current [*35] trial date. Lead Plaintiff has
made clear that it desires the April 9, 2007 trial date
above all. Although those seeking consolidation glibly
state that this Court can modify and expedite the
scheduling order, rule on the pending motions to
dismiss, motions for judgment on the pleadings, motions
for appointment of Lead Plaintiff and Lead Counsel, and
motions for class certification and keep the April 9, 2007
trial date, they ignore not only the extensive briefing
relating to these motions, but the multi-box motions for
summary judgment now pending in Newby. Unlike the
large law firms representing parties in this litigation, the
Court's staff is limited. For these reasons, the Court

ORDERS that (1) Financial Institution Defendants'
motion to consolidate for trial (# 4989 in Newby) the
Newby action, H-04- 0087, and H-03-5528 and (2) Lead
Plaintiff's motion to consolidate Newby and H-04-0088
for trial (# 69 in H-04-0088; # 5022 in H-01-3624) are
DENIED.

SIGNED at Houston, Texas, this 7th day of February,
2007.

MELINDA HARMON

UNITED STATES DISTRICT JUDGE


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     Neutral
As of: October 30, 2018 2:33 PM Z


                        Firefighters Pension & Relief Fund v. Bulmahn
                           United States District Court for the Eastern District of Louisiana
                              September 26, 2014, Decided; September 26, 2014, Filed
                            CIVIL ACTION NO: 13-3935; c/w 13-6083; 13-6084; 13-6233

Reporter
2014 U.S. Dist. LEXIS 136175 *; 2014 WL 4809449

FIREFIGHTERS PENSION & RELIEF FUND OF THE
CITY OF NEW ORLEANS, Individually and on Behalf of           LexisNexis® Headnotes
All Others Similarly Situated VERSUS T. PAUL
BULMAHN, ET AL.

Subsequent History: Motion granted by, Dismissed by,
Without prejudice, in part Firefighters Pension & Relief
Fund v. Bulmahn, 53 F. Supp. 3d 882, 2014 U.S. Dist.             Civil Procedure > Trials > Consolidation of Actions
LEXIS 137317 (E.D. La., 2014)
                                                                 Civil Procedure > Judicial
Prior History: Firefighter's Pension & Relief Fund of            Officers > Judges > Discretionary Powers
New Orleans v. Bulmahn, 2013 U.S. Dist. LEXIS
115538 (E.D. La., Aug. 15, 2013)                             HN1[    ] Trials, Consolidation of Actions

                                                             Fed. R. Civ. P. 42(a) provides that a court may order
Core Terms                                                   consolidation when actions before the court involve a
                                                             common question of law or fact. Fed. R. Civ. P. 42(a). If
consolidation, severance motion, plaintiffs', question of
                                                             that threshold requirement is met, then whether to
law, severance
                                                             consolidate the actions is within the broad discretion of
                                                             the court. In exercising its discretion, the court must
Case Summary                                                 balance the risk of prejudice and possible confusion
                                                             against the risk of inconsistent adjudications of common
                                                             factual and legal issues, the burden on the parties and
Overview                                                     witnesses, the length of time required to conclude
                                                             multiple lawsuits as against a single one, and the
HOLDINGS: [1]-Securities fraud plaintiffs could not rely
                                                             relative expense to all concerned of the single-trial and
on Fed. R. Civ. P. 21 in moving to sever claims under §
                                                             multiple-trial alternatives. Rule 42 is a codification of a
11 (15 U.S.C.S. § 77k) of the Securities Act of 1933
                                                             trial court's inherent managerial power to control the
from claims under § 10(b) (15 U.S.C.S. § 78j(b)) of the
                                                             disposition of the causes on its docket with economy of
Securities Exchange Act of 1934, as a Rule 21 motion
                                                             time and effort for itself, for counsel, and for litigants.
was an inappropriate mechanism to challenge the
                                                             Accordingly, the court's determination can take
court's decision to consolidate under Fed. R. Civ. P.
                                                             precedence over the desires of counsel.
42(a); [2]-The § 11 plaintiffs failed to show that the
claims were improperly consolidated. The claims shared
common questions of law and fact, which was sufficient
to permit consolidation, and continued consolidation             Civil Procedure > Trials > Consolidation of Actions
would save significant time and effort, especially with
regard to discovery.                                             Civil Procedure > Parties > Joinder of
                                                                 Parties > Misjoinder
Outcome
Motion for severance denied.                                     Civil Procedure > Pleading & Practice > Joinder of
                                                                 Claims & Remedies > Misjoinder
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HN2[    ] Trials, Consolidation of Actions                          Civil Procedure > Trials > Consolidation of Actions

A Fed. R. Civ. P. 21 motion to sever is the appropriate         HN5[   ] Trials, Consolidation of Actions
remedy when parties or claims are "misjoined" under
Fed. R. Civ. P. 18, 19 or 20. Fed. R. Civ. P. 21. Thus, a       If a court finds that actions share common questions of
motion to sever under Rule 21 is an inappropriate               law and fact, it is for the court to weigh the saving of
mechanism to challenge a court's decision to                    time and effort that consolidation would produce against
consolidate. It would be a mistake to assume that the           any inconvenience, delay, or expense that it would
standard for consolidation is the same as that governing        cause.
the original joinder of parties or claims.
                                                                Counsel: [*1] For Firefighters Pension & Relief Fund of
                                                                the City of New Orleans, Individually and on Behalf of
                                                                All Others Similarly Situated, Plaintiff (2:13-cv-03935-
    Civil Procedure > Trials > Consolidation of Actions
                                                                SSV-SS): Andrew Allen Lemmon, LEAD ATTORNEY,
                                                                Irma L. Netting, Lemmon Law Firm (Hahnville),
    Civil Procedure > Pleading & Practice > Joinder of
                                                                Hahnville, LA; Donald A Broggi, Joseph P. Guglielmo,
    Claims & Remedies > Joinder of Claims
                                                                PRO HAC VICE, Scott & Scott LLP (New York), New
                                                                York, NY.
    Civil Procedure > Parties > Joinder of
    Parties > Permissive Joinder                                For Plumbers and Pipefitters National Pension Fund,
                                                                Lead Plaintiff per doc #63, Plaintiff (2:13-cv-03935-SSV-
HN3[    ] Trials, Consolidation of Actions                      SS): Louis Leo Robein, III, LEAD ATTORNEY, Robein,
                                                                Urann, Spencer, Picard & Cangemi, APLC, Metairie, LA;
Fed. R. Civ. P. 42 does not apply the "transaction or           Christopher D Stewart, Danielle S Myers, PRO HAC
occurrence" test. Even when actions are improperly              VICE, Cody R LeJeune, Robert R. Henssler, Jr.,
joined, it is sometimes proper to consolidate them. More        Robbins Geller Rudman & Dowd LLP (San Diego), San
than one party can be joined on a side under Fed. R.            Diego, CA.
Civ. P. 20(b) only if there is asserted on behalf or
against all of them one or more claims for relief arising       For Brian M Neiman, 13-6083, Individually and on
out of the same transaction or occurrence. But a                behalf of all others similarly situated, Consol Plaintiff
common question itself is enough to permit                      (2:13-cv-03935-SSV-SS): William B. Federman, LEAD
consolidation, even if the claims arise out of                  ATTORNEY, PRO HAC VICE, Federman & Sherwood
independent transactions. Rule 42 merely requires a             Oklahoma City, OK; Stephen H. Kupperman,
common question of law or fact.                                 Barrasso,Usdin, Kupperman, Freeman & Sarver, LLC,
                                                                New Orleans, LA.
                                                                For Brian Stackhouse, 13-6084, Individually and on
    Securities Law > ... > Registration of                      behalf of all others persons similarly situated, Consol
    Securities > False Registration                             Plaintiff (2:13-cv-03935-SSV-SS): Sammy Ford, IV,
    Statements > Elements of Proof                              LEAD ATTORNEY, [*2] Abraham Watkins Nichols
                                                                Sorrels Agosto & Friend, Houston, TX.
    Securities Law > ... > Elements of                          For Thomas J Mansfield, 13-6233, Consol Plaintiff
    Proof > Materiality > General Overview                      (2:13-cv-03935-SSV-SS): Thomas J. McKenna, LEAD
                                                                ATTORNEY, PRO HAC VICE, Gainey & McKenna, New
HN4[ ] False Registration Statements, Elements of               York, NY.
Proof
                                                                For T Paul Bulmahn, Albert L Reese, Jr., Keith R
While it is true that scienter is not required for a § 11 (15   Godwin, Defendants (2:13-cv-03935-SSV-SS): Roy
U.S.C.S. § 77k) of the Securities Act of 1933 claim,            Clifton Cheatwood, LEAD ATTORNEY, Baker Donelson
many cases say that "materiality," as it is used in § 11,       Bearman Caldwell & Berkowitz (New Orleans), New
in effect means the same thing as it does in § 10(b) (15        Orleans, LA; Hamilton P Lindley, PRO HAC VICE, Dean
U.S.C.S. § 78j(b)) of the Securities Exchange Act of            & Lyons, LLP, Dallas, TX; James P. Sullivan, Michael J.
1934.                                                           Biles, Paul R. Bessette, Royale Price, Tyler W Highful,
                                                                Yusuf Bajwa, PRO HAC VICE, King & Spalding, LLP
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(Austin), Austin, TX; Matthew A. Woolf, Baker Donelson    Gresham, LEAD ATTORNEY, PayneMitchell Law
Bearman Caldwell & Berkowitz (New Orleans), New           Group, Dallas, TX.
Orleans, LA.
                                                          For William Kruse, 13-6083, Consol Movant (2:13-cv-
For Chris A Brisack, Arthur H. Dilly, Gerard J. Swonke,   03935-SSV-SS): Ronald Dean Gresham, LEAD
Brent M. Longnecker, Walter Wendlandt, Burt A.            ATTORNEY, PayneMitchell Law Group, Dallas, TX;
Adams, George R. Edwards, Robert J. Karow,                Stephen H. Kupperman, Barrasso,Usdin, Kupperman,
Defendants (2:13-cv-03935-SSV-SS): Omer Frederick         Freeman & Sarver, LLC, New Orleans, LA; William B.
Kuebel, III, Corby Davin Boldissar, Monique M.            Federman, PRO HAC VICE, Federman & Sherwood
Lafontaine, LEAD ATTORNEY, Locke Lord (New                Oklahoma City, OK.
Orleans), New Orleans, LA; Brent Benoit, PRO HAC
                                                          For David Callaham, Consol Movant (2:13-cv-03935-
VICE, Locke Lord (Houston), Houston, TX; Philip Guy
                                                          SSV-SS): William B. Federman, LEAD ATTORNEY,
Eisenberg, Locke Lord (Houston), Houston, TX.
                                                          PRO HAC VICE, Federman & Sherwood Oklahoma
For J.P. Morgan Securities Inc., Defendant [*3] (2:13-    City, OK; Stephen H. Kupperman, Barrasso,Usdin,
cv-03935-SSV-SS): John William Hite, III, LEAD            Kupperman, Freeman & Sarver, LLC, New Orleans, LA.
ATTORNEY, Erika Lynn Mullenbach, Glen Mercer,
                                                          For Thomas J Mansfield, 13-6083, 13-6084, Consol
Peyton C. Lambert, Salley, Hite, Mercer & Resor LLC,
                                                          Movant (2:13-cv-03935-SSV-SS): Thomas J. McKenna,
New Orleans, LA.
                                                          LEAD ATTORNEY, PRO HAC VICE, Gainey & [*5]
For Leland E Tate, 13-6083, 13-6084, 13-6233, Albert L    McKenna, New York, NY.
Reese, Jr., 13-6083, 13-6084, 13-6233, Albert L Reese,
                                                          For Brian M Neiman, Individually and on Behalf of All
Jr., 13-6083, 13-6084, 13-6233, Keith R Godwin, 13-
                                                          Others Similarly Situated, Plaintiff (2:13-cv-06083-SSV-
6083, 13-6084, 13-6233, Consol Defendants (2:13-cv-
                                                          SS): William B. Federman, LEAD ATTORNEY, PRO
03935-SSV-SS): Paul R. Bessette, LEAD ATTORNEY,
                                                          HAC VICE, Federman & Sherwood, Oklahoma City, OK;
PRO HAC VICE, King & Spalding, LLP (Austin), Austin,
                                                          Stephen H. Kupperman, Barrasso,Usdin, Kupperman,
TX; James P. Sullivan, PRO HAC VICE, King &
                                                          Freeman & Sarver, LLC, New Orleans, LA.
Spalding, LLP (Austin), Austin, TX; Matthew A. Woolf,
Baker Donelson Bearman Caldwell & Berkowitz (New          For Brian Stackhouse, (13-6084) Individually and on
Orleans), New Orleans, LA; Roy Clifton Cheatwood,         Behalf of All Other Persons Similarly Situated, Consol
Baker Donelson Bearman Caldwell & Berkowitz (New          Plaintiff (2:13-cv-06083-SSV-SS): Sammy Ford, IV,
Orleans), New Orleans, LA.                                Abraham Watkins Nichols Sorrels Agosto & Friend,
                                                          Houston, TX.
For Armada Advisors, Inc., Movant (2:13-cv-03935-
SSV-SS): Eric J. O'Bell, LEAD ATTORNEY, Gauthier,         For T Paul Bulmahn, Leland E Tate, Albert L Reese, Jr.,
Houghtaling & Williams, Metairie, LA.                     George R Morris, Keith R Godwin, Defendants (2:13-cv-
                                                          06083-SSV-SS): Paul R. Bessette, LEAD ATTORNEY,
For Summit Capital Management LLC, Movant (2:13-cv-
                                                          King & Spalding, LLP (Austin), Austin, TX; Matthew A.
03935-SSV-SS): Lewis Stephen Kahn, LEAD
                                                          Woolf, Baker Donelson Bearman Caldwell & Berkowitz
ATTORNEY, Melinda A. Nicholson, Kahn Swick & Foti,
                                                          (New Orleans), New Orleans, LA; Roy Clifton
LLC, Madisonville, LA.
                                                          Cheatwood, Baker Donelson Bearman Caldwell &
For Moshe Issac Foundation, 13-6083, 13-6084, Consol      Berkowitz (New Orleans), New Orleans, LA.
Movant (2:13-cv-03935-SSV-SS): James H. Gibson,
                                                          For T Paul Bulmahn, (13-6084), Leland E Tate, (13-
LEAD ATTORNEY, Allen & Gooch (Lafayette),
                                                          6084), Albert L Reese, Jr., (13-6084), George R Morris,
Lafayette, [*4] LA; Shashi H Patel, LEAD ATTORNEY,
                                                          (13-6084), Keith R Godwin, (13-6084), Consol
PRO HAC VICE, Ware Jackson Lee & Chambers, LLP,
                                                          Defendant (2:13-cv-06083-SSV-SS): Paul R. Bessette,
Houston, TX; Jeffrey W. Chambers, PRO HAC VICE,
                                                          LEAD ATTORNEY, King & Spalding, LLP (Austin),
Ware, Jackson, Lee & Chambers, LLP, Houston, TX;
                                                          Austin, TX; Matthew A. Woolf, [*6] Baker Donelson
Joshua W. Ruthizer, Lester L. Levy, Patricia I Avery,
                                                          Bearman Caldwell & Berkowitz (New Orleans), New
PRO HAC VICE, Wolf Popper, LLP, New York, NY;
                                                          Orleans, LA; Roy Clifton Cheatwood, Baker Donelson
Stephen H. Kupperman, Barrasso,Usdin, Kupperman,
                                                          Bearman Caldwell & Berkowitz (New Orleans), New
Freeman & Sarver, LLC, New Orleans, LA.
                                                          Orleans, LA.
For Zohar Asher, 13-6083, Jack D Hart, 13-6083,
                                                          For Moshe Issac Foundation, Movant (2:13-cv-06083-
Consol Movants (2:13-cv-03935-SSV-SS): Ronald Dean
                                                          SSV-SS): Shashi H Patel, LEAD ATTORNEY, PRO
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HAC VICE, Ware Jackson Lee & Chambers, LLP,                 SSV-SS): Shashi H Patel, LEAD ATTORNEY, PRO
Houston, TX; James H. Gibson, Allen & Gooch                 HAC VICE, Ware Jackson Lee & Chambers, LLP,
(Lafayette), Lafayette, LA; James H. Gibson, PRO HAC        Houston, TX; James H. Gibson, Allen & Gooch
VICE, Allen & Gooch (Lafayette), Lafayette, LA; Joshua      (Lafayette), Lafayette, LA; Jeffrey W. Chambers, PRO
W. Ruthizer, Lester L. Levy, Patricia I Avery, PRO HAC      HAC VICE, Ware, Jackson, Lee & Chambers, LLP,
VICE, Wolf Popper, LLP, New York, NY; Stephen H.            Houston, TX; Joshua W. Ruthizer, Lester L. Levy,
Kupperman, Barrasso,Usdin, Kupperman, Freeman &             Patricia I Avery, PRO HAC VICE, Wolf Popper, LLP,
Sarver, LLC, New Orleans, LA.                               New York, NY; Stephen H. Kupperman, Barrasso,Usdin,
                                                            Kupperman, Freeman & Sarver, LLC, New Orleans, LA.
For Zohar Asher, Jack D Hart, Movants (2:13-cv-06083-
SSV-SS): Ronald Dean Gresham, LEAD ATTORNEY,                For Thomas J Mansfield, Movant (2:13-cv-06084-SSV-
PayneMitchell Law Group, Dallas, TX.                        SS): Thomas J. McKenna, LEAD ATTORNEY, PRO
                                                            HAC VICE, Gainey & McKenna, New York, NY.
For William Kruse, David Callaham, Movants (2:13-cv-
06083-SSV-SS): William B. Federman, LEAD                    For Thomas J Mansfield, Individually and on behalf of all
ATTORNEY, PRO HAC VICE, Federman & Sherwood,                similarly situated, Plaintiff (2:13-cv-06233-SSV-SS):
Oklahoma City, OK; Stephen H. Kupperman,                    Soren Erik Gisleson, LEAD ATTORNEY, Adam H.
Barrasso,Usdin, Kupperman, Freeman & Sarver, LLC,           Weintraub, Leonard A. Davis, Russ M. Herman,
New Orleans, LA.                                            Herman, Herman & Katz, LLC, New Orleans, LA.
For Thomas J Mansfield, Movant (2:13-cv-06083-SSV-          For T Paul Bulmahn, Leland E. Tate, Albert L Reese,
SS): Thomas J. McKenna, LEAD ATTORNEY, PRO                  Jr., George R. Morris, Keith R Godwin, Defendants
HAC VICE, Gainey & McKenna, New York, NY.                   (2:13-cv-06233-SSV-SS): Roy Clifton Cheatwood,
                                                            LEAD ATTORNEY, Baker Donelson Bearman Caldwell
For Moshe Issac Foundation, (13-6084), Consol [*7]
                                                            & Berkowitz (New Orleans), New Orleans, LA; James P.
Movant (2:13-cv-06083-SSV-SS): Shashi H Patel, LEAD
                                                            Sullivan, PRO HAC VICE, King & [*9] Spalding, LLP
ATTORNEY, PRO HAC VICE, Ware Jackson Lee &
                                                            (Austin), Austin, TX; Matthew A. Woolf, Baker Donelson
Chambers, LLP, Houston, TX; James H. Gibson, Allen
                                                            Bearman Caldwell & Berkowitz (New Orleans), New
& Gooch (Lafayette), Lafayette, LA; James H. Gibson,
                                                            Orleans, LA.
PRO HAC VICE, Allen & Gooch (Lafayette), Lafayette,
LA; Joshua W. Ruthizer, Lester L. Levy, Patricia I Avery,
                                                            Judges: SARAH S. VANCE, UNITED STATES
PRO HAC VICE, Wolf Popper, LLP, New York, NY;
                                                            DISTRICT JUDGE.
Stephen H. Kupperman, Barrasso,Usdin, Kupperman,
Freeman & Sarver, LLC, New Orleans, LA.
                                                            Opinion by: SARAH S. VANCE
For Thomas J Mansfield, (13-6084), Consol Movant
(2:13-cv-06083-SSV-SS): Thomas J. McKenna, LEAD             Opinion
ATTORNEY, PRO HAC VICE, Gainey & McKenna, New
York, NY.
For Brian Stackhouse, Individually and on Behalf of All
                                                            ORDER AND REASONS
Other Persons Similarly Situated, Plaintiff (2:13-cv-
06084-SSV-SS): Sammy Ford , IV Abraham Watkins              Before the Court is Lead Plaintiff Firefighters Pension &
Nichols Sorrels Agosto & Friend Houston, TX.                Relief Fund's motion to sever the Section 11 action from
For T Paul Bulmahn, Leland E Tate, Albert L Reese, Jr.,     the Section 10(b) actions. Because the Court finds that
George R Morris, Keith R Godwin, Defendants (2:13-cv-       the interests of judicial economy outweighs any potential
06084-SSV-SS): Paul R. Bessette, LEAD ATTORNEY,             prejudice to the Section 11 plaintiffs, the motion for
King & Spalding, LLP (Austin), Austin, TX; James P.         severance is DENIED.
Sullivan, PRO HAC VICE, King & Spalding, LLP
(Austin), Austin, TX; Matthew A. Woolf, Baker Donelson
Bearman Caldwell & Berkowitz (New Orleans), New             I. BACKGROUND
Orleans, LA; Roy Clifton Cheatwood, Baker
Donelson [*8] Bearman Caldwell & Berkowitz (New             This is a consolidated action alleging violations of the
Orleans), New Orleans, LA.                                  federal securities laws under Sections 11, 12(a) and 15
                                                            of the Securities Act of 1933 and Sections 10(b) and
For Moshe Issac Foundation, Movant (2:13-cv-06084-          20(a) of the Securities Exchange Act of 1934. The
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consolidated action involves two main plaintiff groups:        A.F.I.K. Holding SPRL v. Fass, 216 F.R.D. 567, 570
the Section 11 plaintiffs and the Section 10(b) plaintiffs.    (D.N.J. 2003)(internal citations omitted). Rule 42 is a
Both plaintiff groups allege that ATP Oil & Gas, through       codification of a trial court's inherent managerial power
its directors and/or officers ("Defendants"), "made false      "to control the disposition of the causes on its docket
and misleading statements in an October 12, 2010               with economy of time and effort for itself, for counsel,
registration statement filed with the U.S. Securities and      and for litigants." In re Air Crash Disaster at Fla.
Exchange Commission."1                                         Everglades, 549 F.2d 1006, 1012 (5th Cir.
 The Section 10(b) plaintiffs contend that "Defendants         1977)(citations omitted). Accordingly, the court's
issued false and misleading statements subsequent to           determination can "take precedence over the desires of
the Registration Statement as well."2                          counsel." Id at 1014.

 Both groups of plaintiffs contend that defendants made
material [*10] misrepresentations or omissions with            III. DISCUSSION
regard to the effect of the United States Department of
Interior's drilling moratoria on ATP's liquidity and future    In their motion to sever, the Section 11 plaintiffs argue
business prospects in the wake of the BP oil spill.            that the actions should be severed because (1) the
                                                               actions arose out of different transactions; (2) the
The Section 11 plaintiffs now move the Court to sever          actions present different questions of law; (3) the
the Section 11 action from the Section 10(b) actions.          consolidated action will not promote judicial economy;
They argue that the Section 11 action arises from a            and (4) the Section 11 action "will likely" be ready for
different "transaction or occurrence" than the Section         trial before the Section 10(b) actions.4
10(b) actions, and that continued consolidation will
unduly prejudice the Section 11 plaintiffs. Defendants do      The Section 11 plaintiffs thus contend that severance is
not oppose the severance "so long as steps are taken to        warranted under Federal Rule of Civil Procedure 21.
efficiently coordinate potential discovery and other case
management issues."3                                           The Section 11 plaintiffs' reliance on Rule 21 is
                                                               misguided. HN2[ ] A Rule 21 motion to sever is the
                                                               appropriate remedy when parties or claims are
II. LEGAL STANDARD                                             "misjoined" under Rules 18, 19 or 20. Fed. R. Civ. P. 21.
                                                               Thus, a motion to sever under Rule 21 is an
The rules regarding consolidation are contained in Rule        inappropriate mechanism to challenge a court's decision
42 of the Federal Rules of Civil Procedure. HN1[ ]             to consolidate. [*12] See 9A Charles Alan Wright &
Rule 42(a) provides that a court may order consolidation       Arthur R. Miller, Federal Practice & Procedure § 2382
when "actions before the court involve a common                (3d ed. 2008) ("[I]t would be a mistake to assume that
question of law or fact." Fed. R. Civ. P. 42(a). If that       the standard for consolidation is the same as that
threshold requirement is met, then whether to                  governing the original joinder of parties or claims.").
consolidate the actions is within the broad discretion of      Here, the Section 11 action and the Section 10(b)
the court. Alley v. Chrysler Credit Corp., 767 F.2d 138,       actions were consolidated under Rule 42(a), not joined
140 (5th Cir. 1985). In exercising its discretion,             under Rules 18, 19 or 20. Accordingly, Rule 21 is
                                                               inapplicable. See Iskowitz v. Cessna Aircraft Co., CIV.
       the court must balance the risk of prejudice and
                                                               A. Nos. 07-968, 07-971, 07-1087, 08-2437, 2009 U.S.
       possible confusion against the risk of inconsistent
                                                               Dist. LEXIS 40226, 2009 WL 1151956, at *1 (D. Colo.
       adjudications of common factual and legal issues,
                                                               Apr. 27, 2009)("Of course, the Winston case is already
       the burden on the parties and witnesses, [*11] the
                                                               separate from the Coffman and Iskowitz case, although
       length of time required to conclude multiple lawsuits
                                                               all three cases have been consolidated. Because
       as against a single one, and the relative expense to
                                                               Winston is already a separate case, I conclude that
       all concerned of the single-trial and multiple-trial
                                                               severance under Rule 21 is not the proper procedural
       alternatives.
                                                               mechanism to accomplish the separation of the Winston
                                                               case as sought by Coffman and Iskowitz.").
1 R.   Doc. 130-1 at 5.
2 Civ.   A. No. 13-06083, R. Doc. 1 at 3.
3 R.   Doc. 148 at 1.                                          4 R.   Doc. 130-1 at 10-14.
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Moreover, the Court finds that the Section 11 plaintiffs       10(b).")(compiling cases).
have failed to demonstrate that the Section 11 and
Section 10(b) claims were improperly consolidated, and         HN5[ ] Having found that the Section 11 and Section
finds continued consolidation more conducive to judicial       10(b) actions share common questions of law and fact,
economy than separation. The crux of the Section 11            "it is for the court to weigh the saving of time and effort
plaintiffs' argument is that the Section 11 action arises      that consolidation would produce against any
from a "different transaction or occurrence" than the          inconvenience, delay, or expense that it would cause."
Section 10(b) actions.5                                        Daybrook Fisheries, Inc. v. Am. Marine Const., CIV. A
                                                               No. 98-1438, 1998 U.S. Dist. LEXIS 16934, 1998 WL
 Even if the Court were to accept the Section 11               748586, at *2 (E.D. La. Oct. 19, 1998)(quoting 9 Wright
plaintiffs' characterization, HN3[ ] Rule 42 does not          & Miller, Federal Practice and Procedure § 2383 (2d ed.
apply the "transaction or [*13] occurrence" test. See          1995)). Here, given the significant factual overlap
State of Ohio ex rel. Montgomery v. Louis Trauth Dairy,        between the Section 11 and Section 10(b) actions, the
Inc., 163 F.R.D. 500, 503 (S.D. Ohio 1995)("Even when          Court finds that continued consolidation will save
actions are improperly joined, it is sometimes proper to       significant time and effort, especially with regard to
consolidate them."); 9A Charles Alan Wright & Arthur R.        discovery. Moreover, the Court finds that any delay,
Miller, Federal Practice & Procedure § 2382 (3d ed.            inconvenience or additional cost caused by continued
2008)("[M]ore than one party can be joined on a side           consolidation will be negligible. Indeed, the Section 11
under Rule 20(b) only if there is asserted on behalf or        plaintiffs' contention that consolidation comes at the
against all of them one or more claims for relief arising      expense of the Section 11 action because it "will almost
out of the same transaction or occurrence . . . . But the      certainly be ready for trial long before the Section 10(b)
common question itself is enough to permit                     Action" is mere conjecture.8
consolidation, even if the claims arise out of
independent transactions."). Instead, Rule 42 merely            The Section 11 plaintiffs can move [*15] the Court to
requires a common question of law or fact, and the             reconsider this order if and when such delay becomes a
Section 11 and Section 10(b) actions share questions of        reality.
both law and fact. For example, the falsity of ATP's
statements in its prospectus is central to both actions,       In sum, the Court finds that consolidation, not
and the Section 11 plaintiffs readily admit that "the          separation, best serves the interest of judicial economy.
actions all involve allegations related to ATP's deep          The Court further finds that the Section 11 plaintiffs will
water drilling operations in 2010."6                           not suffer any prejudice if the actions remained
                                                               consolidated. Accordingly, the Court denies the Section
 Moreover, as defendants point out in their responsive         11 plaintiffs' motion to sever the Section 11 and Section
briefing, "[m]uch of the underlying factual predicate for      10(b) actions. Cf. Fed. R. Civ. P. 42(b).
the Section 11 and Section 10(b) actions is identical,
and will require the production of identical documents
and depositions of the same individuals."7                     III. CONCLUSION

                                                               For the reasons given above, the Court finds that the
 Finally, although there are differences in the legal
                                                               most efficient and economic route to the resolution of
standards applicable to Section 11 and 10(b) claims,
                                                               these actions is via continued consolidation.
there are [*14] nevertheless some common questions
                                                               Accordingly, plaintiffs' motion for severance is DENIED.
of law, such as in the application of Item 303 of
Regulation S-K. See also Kapps v. Torch Offshore, Inc.,        New Orleans, Louisiana, this 26th day of September,
379 F.3d 207, 215 (5th Cir. 2004) (HN4[ ] "While it is         2014.
true that scienter is not required [for a Section 11 claim],
many cases say that 'materiality,' as it is used in Section    /s/ Sarah S. Vance
11, in effect means the same thing as it does in Section
                                                               SARAH S. VANCE

                                                               UNITED STATES DISTRICT JUDGE
5 R.   Doc. 130-1 at 10-11.
6 R.   Doc. 130-1 at 13.
7 R.   Doc. 148 at 2.                                          8 R.   Doc. 130-1 at 14.
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     Neutral
As of: October 30, 2018 2:34 PM Z


                                     Lafrance v. City of New Orleans
                            United States District Court for the Eastern District of Louisiana
                                      June 19, 2017, Decided; June 19, 2017, Filed
                                     CIVIL ACTION NO. 16-14439 SECTION "R" (2)

Reporter
2017 U.S. Dist. LEXIS 150446 *
                                                              Defendants oppose consolidating this case with Cain.
JOSEPH T. LAFRANCE VERSUS CITY OF NEW
                                                              For the following reasons, the Court orders this case
ORLEANS, ET AL.
                                                              consolidated with Cain and dismisses the following
                                                              claims:
Prior History: Lafrance v. New Orleans City, 2017 U.S.
Dist. LEXIS 38386 (E.D. La., Mar. 17, 2017)                           (1) Count One, against the City of New Orleans, the
                                                                      Orleans Parish Criminal District Court, Robert
Core Terms                                                            Kazik, [*2] and Sheriff Gusman in his official
                                                                      capacity;
district court, consolidated, cases, alleges, immunity,               (2) Count Two, against Sheriff Gusman is his
official capacity, state court, warrants, arrest, statutes,           official and individual capacities;
factors, entity, oppose, statewide, arm                               (3) Count Three, against the Orleans Parish
                                                                      Criminal District Court and Robert Kazik;
Counsel: [*1] For Joseph T Lafrance, Plaintiff: William               (4) Count Four, against the Orleans Parish Criminal
Patrick Quigley, LEAD ATTORNEY, Loyola Law School                     District Court and Robert Kazik; and
Clinic, New Orleans, LA; Anna Lise Lellelid, LaBas Law                (5) Count Five, against the Orleans Parish Criminal
Offices, APLC, Lafayette, LA.                                         District Court and Robert Kazik.
For Marlin Gusman, Orleans Parish Sheriff, Defendant:
Timothy R. Richardson, LEAD ATTORNEY, Usry,
Weeks & Matthews, New Orleans, LA; Blake J. Arcuri,           I. BACKGROUND
Orleans Parish Criminal Sheriff's Office, New Orleans,
                                                              Plaintiff Joseph LaFrance alleges that he was arrested
LA; Freeman Rudolph Matthews, New Orleans, LA.
                                                              on an invalid warrant for unpaid fines and fees and held
Judges: SARAH S. VANCE, UNITED STATES                         for three weeks in Orleans Parish Prison without being
DISTRICT JUDGE.                                               brought before a judge.1
                                                               LaFrance further alleges that no bond was ever set in
Opinion by: SARAH S. VANCE                                    his case.2
                                                               While incarcerated, LaFrance allegedly suffered several
Opinion                                                       seizures and lost his job.3
                                                               LaFrance names the City of New Orleans, the Orleans
                                                              Parish Criminal District Court (OPCDC), Judicial
                                                              Administrator Robert Kazik, and Orleans Parish Sheriff
ORDER AND REASONS                                             Marlin Gusman as defendants.4

On March 14, 2017, the Court ordered the parties to
show cause why the Court should not dismiss several
claims and consolidate this case with Cain v. City of         1 R.    Doc. 1 at 8.
New Orleans, 15-4479 (E.D. La., filed Sep. 17, 2015).
                                                              2 Id.
Plaintiff Joseph LaFrance opposes dismissal of some of
his claims against the Orleans Parish Criminal District       3 Id.   at 9.
Court, Judicial Administrator Robert Kazik, and Sheriff
Marlin Gusman in his official capacity. The Judicial          4 Id.   at 6-7.
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LaFrance challenges his arrest and incarceration on             Appx. 732, *1 (5th Cir. 2002) ("The Eleventh
several grounds. Specifically, LaFrance alleges that:           Amendment clearly bars [plaintiff's] § 1983 claims
    1. LaFrance had, in fact, paid all fines and fees due       against the Louisiana Supreme Court, which is a branch
    to the court, and his warrant was therefore issued in       of Louisiana's state government."); Bourgeois v. Par. of
    error.5                                                     Jefferson, 20 F.3d 465, *1 (5th Cir. 1994) (holding that
                                                                the Orleans Parish Civil District Court is "an agency of
        2. Defendants have a policy of issuing and              the state" [*4] entitled to Eleventh Amendment
        enforcing such nonpayment [*3] warrants without         immunity). The Court later rejected the Cain plaintiffs'
        inquiry into the subject's ability to pay, and this     attempt to replead their claims against OPCDC on the
        practice violates the Fourth and Fourteenth             same grounds. Cain v. City of New Orleans (Cain, Order
        Amendments to the U.S. Constitution.6                   re. Leave to Amend), No. 15-4479, 2017 U.S. Dist.
        3. LaFrance was "indefinitely" jailed in violation of   LEXIS 15124 , 2017 WL 467685, at *7 (E.D. La. Feb. 3,
        the Due Process Clause of the Fourteenth                2017).
        Amendment,        and   LaFrance's     incarceration
        constitutes wrongful arrest and imprisonment under      LaFrance does not argue that he has alleged any new
        Louisiana law.7                                         facts on this issue. Rather, LaFrance simply asks the
        4. LaFrance was deprived of his right to a neutral      Court to apply the Fifth Circuit's six-factor test for
        tribunal because the prosecutor and judicial officer    Eleventh Amendment immunity first articulated in Clark
        that seek and approve nonpayment warrants, and          v. Tarrant County, Texas. 798 F.2d 736, 744-45 (5th Cir.
        conduct subsequent hearings, are financially            1986). The six Clark factors are: (1) whether state
        interested in the outcome of such cases.8               statutes and case law view the agency as an arm of the
        5. Defendants imposed unduly restrictive methods        state; (2) the source of the entity's funding; (3) the
        of collection on LaFrance in violation of the Equal     entity's degree of local autonomy; (4) whether the entity
        Protection Clause of the Fourteenth Amendment.9         is concerned primarily with local, as opposed to
                                                                statewide, problems; (5) whether the entity has the
                                                                authority to sue and be sued in its own name; and (6)
II. DISCUSSION                                                  whether the entity has the right to hold and use
                                                                property. Hudson v. City of New Orleans, 174 F.3d 677,
As noted, LaFrance opposes dismissal of several claims          679 (5th Cir. 1999) (citing Clark, 798 F.2d at 744-45).
and the Judicial Defendants oppose consolidation. The           Consideration of the Clark factors confirms that OPCDC
parties' arguments are considered in turn.                      is an arm of the Louisiana state protected by the
                                                                Eleventh Amendment.

A. Claims Against the Orleans Parish Criminal                   First, state statutes and case law view OPCDC as an
District Court                                                  arm of the state. OPCDC was created by state statute.
                                                                La. Stat. Ann. § 13:1335. As a Louisiana District Court,
On May 11, 2016, the Court dismissed claims against             the state constitution vests OPCDC with "original
OPCDC in the Cain case. Cain v. City of New Orleans,            jurisdiction of all civil and criminal matters," including
No. 15-4479, 2016 U.S. Dist. LEXIS 62391, 2016 WL               "exclusive original jurisdiction of felony cases." La.
2742374, at *2 (E.D. La. May 11, 2016). In doing so, the        Const. art. V, § 16; see also [*5] Mullins v. State, 387
Court found that, as a state court, OPCDC is immune             So.2d 1151, 1152 (La. 1980) ("If the office is created by
from suit under the Eleventh Amendment. Id. at *1; see          the legislature, or is established in the first instance by
also Jefferson v. La. State Supreme Court, 46 Fed.              the constitution, it is a state office.").

                                                                Second, OPCDC points out that the state legislature
5 Id.
                                                                provides significant funds to finance the state judiciary,
        at 32.
                                                                and under Louisiana Revised Statutes § 13:5108.1, the
6 Id.   at 33.                                                  state is obligated to indemnify employees of "judicial
                                                                district courts of the state [and] the offices of the judicial
7 Id.   at 33, 35.                                              administrators thereof." LaFrance cites no case or
                                                                statute providing that a judgment against OPCDC must
8 Id.   at 33-34.
                                                                be satisfied from local funds. That there is no evidence
9 Id.   at 34-35.                                               of the state being liable for a judgment against OPCDC
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is not dispositive because the caselaw uniformly has           statutes. The administrative choice to divide the state
held state courts immune. See, e.g., Jefferson v. La.          into several judicial districts, and place a district court
State Supreme Court, 46 F. App'x 732, *1 (5th Cir.             in [*7] each, does not alter this conclusion. See Clark,
2002) ("The Eleventh Amendment clearly bars                    798 F.2d 736, 745 (holding that, despite operating in
[plaintiff's] § 1983 claims against the Louisiana Supreme      only one county, the Tarrant County Adult Probation
Court, which is a branch of Louisiana's state                  Department was primarily concerned with statewide
government."); Bourgeois v. Par. of Jefferson, 20 F.3d         problems because "[d]ividing the responsibilities into
465, *1 (5th Cir. 1994) (holding that the Orleans Parish       judicial districts is merely an administrative tool for
Civil District Court is "an agency of the state" entitled to   handling a statewide, state program.").
Eleventh Amendment immunity); Summers v. Louisiana,
No. 13-4573, 2013 U.S. Dist. LEXIS 102023, 2013 WL             As to the fifth and sixth Clark factors, LaFrance presents
3818560, at *4 (E.D. La. July 22, 2013) (holding that an       argument suggesting that OPCDC has the authority
official capacity claim against a state court judge "would     both to own property and to sue and be sued. These
in reality be a claim against the state itself, and . . .      two factors, however, carry less weight than the other
would be barred by the Eleventh Amendment");                   four. Hudson v. City of New Orleans, 174 F.3d 677, 682
Wilkerson v. 17th Judicial Dist. Court, No. 08-1196,           (5th Cir. 1999) ("[W]e typically deal with the last two
2009 U.S. Dist. LEXIS 6802, 2009 WL 249737, at *4              factors in a fairly brief fashion."). Accordingly, even
(E.D. La. Jan. 30, 2009) ("It is clear that the Eleventh       accepting LaFrance's arguments at face value, the fifth
Amendment bars § 1983 claims against a state court.");         and sixth factors alone cannot upend the Court's
Rackley v. Louisiana, No. 07-504, 2007 U.S. Dist.              conclusion that OPCDC enjoys Eleventh Amendment
LEXIS 45227, 2007 WL 1792524, at *3 (E.D. La. June             immunity. The Court therefore finds that LaFrance's
21, 2007) ("[T]he Eleventh Amendment likewise bars §           claims against OPCDC are properly dismissed.
1983 claims against [*6] a state court."); see generally
Mumford v. Basinski, 105 F.3d 264, 267 (6th Cir. 1997)
(noting that state courts are not "persons" under section      B. Official Capacity Claims Against Judicial
1983 and are otherwise immune from suit as an arm of           Administrator Kazik
the state government); Harris v. Champion, 51 F.3d
901, 905-06 (10th Cir. 1995) (holding that Oklahoma            In Cain, the plaintiffs argued that Kazik is not entitled to
Court of Criminal Appeals is immune from suit under            quasi-judicial absolute immunity because he seeks
Eleventh Amendment as "a governmental entity that is           rather than issues warrants. Cain, Order re. Leave to
an arm of the state"); Landers Seed Co., Inc. v.               Amend, 2017 U.S. Dist. LEXIS 15124, 2017 WL
Champaign Nat'l Bank, 15 F.3d 729, 731-32 (7th Cir.            467685, at *6-7. The Court rejected this argument, and
1994) ("The Eleventh Amendment, however, bars                  found that Kazik's alleged role in causing the Cain
federal suits against state courts and other branches of       plaintiffs' injury was functionally judicial, [*8] and that
state government[.]"); Clark v. Clark, 984 F.2d 272, 273       quasi-judicial absolute immunity therefore applied. Id.
(8th Cir. 1993) ("Courts are not persons within the            LaFrance offers nothing new on this point, opting
meaning of 42 U.S.C. § 1983, and, if they were, the            instead to simply repackage the Cain plaintiffs' failed
action would be barred by the Eleventh Amendment               arguments. The Court therefore finds that LaFrance's
anyway."). Accordingly, the second factor supports a           claims against Kazik are properly dismissed for the
finding of immunity.                                           reasons stated in the Court's earlier order. Id.

Third, OPCDC has limited local autonomy. OPCDC
chiefly applies state criminal laws passed by the              C. Official Capacity Claims Against Sheriff Gusman
Louisiana legislature. Additionally, state statutes govern
                                                               LaFrance also opposes dismissal of Counts One and
such minute issues as how much vacation time judges
                                                               Two against Sheriff Gusman in his official capacity. In
receive, La. Stat. Ann. § 13:1342, how judges are
                                                               Count One, LaFrance alleges that Gusman detained
reimbursed for office supplies, La. Stat. Ann. §
                                                               LaFrance pursuant to a warrant that Gusman knew or
13:1341.2, and how cases are allotted among judges.
                                                               should have known was invalid. In Count Two,
La. Stat. Ann. § 13:1343.
                                                               LaFrance alleges that he was indefinitely detained by
                                                               Gusman without due process of law. The Court
Fourth, OPCDC is primarily concerned with statewide
                                                               dismissed analogous claims in Cain, and finds that both
problems. The Court is part of a statewide system of
                                                               counts are properly dismissed.
district courts empowered to enforce state criminal
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i. Count One                                                    As to LaFrance's second argument, complaints made by
                                                                LaFrance and his girlfriend are irrelevant to Count One.
As to Count One, the Court found in Cain that the               LaFrance alleges that he complained he was "lost in the
plaintiffs' complaint described a facially lawful policy of     system" and that he needed to know what his warrant
executing facially valid arrest warrants. Cain, Order re.       was about and why he had not been to court.11
Leave to Amend, 2017 U.S. Dist. LEXIS 15124, 2017                LaFrance also alleges that his girlfriend called the
WL 467685, at *12-13. Therefore, under Monell v. Dept.          Orleans Parish Prison repeatedly to try to set a hearing
of Soc. Servs., 436 U.S. 658, 98 S. Ct. 2018, 56 L. Ed.         before a judge.12
2d 611 (1978), the Cain plaintiffs could not survive a           But these complaints plainly do nothing to inform
motion to dismiss absent alleged facts giving rise to a         Gusman or his staff that LaFrance was arrested
plausible inference that Gusman acted with deliberate           pursuant to warrant issued absent probable cause.
indifference. Id. Because the Cain plaintiffs did not           Accordingly, the Court finds that LaFrance's claim under
plausibly [*9] allege that Gusman knowingly held                Count One against Sheriff Gusman in his official
plaintiffs pursuant to invalid warrants, plaintiffs failed to   capacity is properly dismissed.
state a claim under Monell. Id.
                                                                ii. Count [*11] Two
LaFrance points to two sets of allegations that
purportedly distinguish his case from Cain and save his         LaFrance alleges in Count Two that he was indefinitely
claim under Count One: (1) LaFrance alleges that he             detained by Gusman without due process of law.
was detained by Gusman until September 21, 2015,                LaFrance concedes that the Court dismissed an
four days after the Cain plaintiffs filed suit; and (2)         analogous claim in Cain, but argues that his claim
LaFrance filed certain grievances with the Sheriff's office     "differs importantly from its counterpart in Cain because
while he was held, and his girlfriend repeatedly called         [LaFrance] alleges that his detention violated a state law
the Orleans Parish Prison. Neither set of allegations           right to a timely hearing."13
saves LaFrance's claim.
                                                                 The state law in question, Louisiana Code of Criminal
LaFrance argues that the Cain suit put Gusman on                Procedure article 230.1, requires that state arrestees be
notice that the capias warrants routinely executed by his       brought before judge for the purpose of appointing
office were constitutionally defective and issued without       counsel within 72 hours of arrest. Arrestees who are not
an individualized finding of probable cause. LaFrance           brought before a judge within the period established by
specifically points to a hearing transcript attached to the     the statue "shall be released forthwith." La. Code Crim.
Cain complaint, in which an OPCDC Collections Agent             P. art. 230.1. LaFrance argues that this statute gives
describes her offices' practices. Even assuming that the        rise to constitutionally protected liberty interest, and that
Cain complaint could provide sufficient notice such that        Gusman's alleged failure to comply therefore takes on a
Gusman's continued enforcement would constitute                 constitutional dimension.
deliberate indifference—and that Gusman had an
immediate duty to stop executing facially valid warrants        The Fifth Circuit has repeatedly rejected constitutional
after he became aware [*10] of the suit—LaFrance's              claims grounded in analogous statutes, and the Court is
argument still fails. As made clear by the relevant return      bound by this clear precedent. See Perry v. Jones, 506
of service, the Cain plaintiffs did not serve Gusman until      F.2d 778, 781 (5th Cir. 1975) ("[E]ven though the failure
September 22, 2015, the day after LaFrance was                  to take Perry before a magistrate violates Texas law, it
released.10                                                     does not rise to the status of a denial of due process");
                                                                Scarbrough v. Dutton, 393 F.2d 6 (5th Cir. 1968) (seven
Cain v. City of New Orleans, 15-4479 (E.D. La. Oct. 16,         month detention in violation of Georgia statute
2015) (proof of service of Marlin Gusman). LaFrance             requiring [*12] a preliminary hearing be held within 72
pleads no facts to support a finding that Gusman                hours of arrest did not give rise to constitutional
became aware of the suit before he was actually served.         violation); see also Stephenson v. Gaskins, 539 F.2d
Accordingly, the filing of the Cain suit cannot render
Gusman's conduct deliberately indifferent under Monell.
                                                                11 Id.   at 9.
10 R.Doc. 1 at 33 (alleging that "Mr. LaFrance was illegally    12 Id.   at 9-10.
incarcerated from September 3, 2015 until September 21,
2015").                                                         13 R.    Doc. 25 at 14.
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1066, 1067 (5th Cir. 1976) (thirty-eight day detention in      raising substantially same claims against same
Georgia jail without a preliminary hearing did not give        defendants). Accordingly, the Court orders this case
rise to a constitutional claim); Anderson v. Nosser, 438       consolidated with Cain pursuant to Rule 42(a).
F.2d 183, 196 (5th Cir. 1971) ("[T]he right under the
federal rules to be promptly taken before a magistrate
has not been given constitutional status.") (quoting           III. CONCLUSION
Kulyk v. United States, 414 F.2d 139, 141 (5th Cir.
1969)).                                                        For the foregoing reasons, the following claims are
                                                               DISMISSED:
To resist this conclusion, LaFrance cites Griffin v. City of
                                                                   (1) Count One, against the City of New Orleans, the
Lafayette, in which the Fifth Circuit "presume[d] without
                                                                   Orleans Parish Criminal District Court, Robert
deciding" for purpose of the appeal that article 230.1
                                                                   Kazik, and Sheriff Gusman in his official
creates a liberty interest actionable under 42 U.S.C. §
                                                                   capacity; [*14]
1983. 166 F.3d. 340 (5th Cir. 1998). Even accepting the
                                                                   (2) Count Two, against Sheriff Gusman is his
doubtful premise that Griffin could be read to contradict
                                                                   official and individual capacities;
Perry and Scarbrough, the Court remains bound by the
                                                                   (3) Count Three, against the Orleans Parish
earlier decisions. See H&D Tire & Auto.-Hardware, Inc.
                                                                   Criminal District Court and Robert Kazik;
v. Pitney Bowes Inc., 227 F.3d 326, 330 (5th Cir. 2000)
                                                                   (4) Count Four, against the Orleans Parish Criminal
("When panel opinions appear to conflict, we are bound
                                                                   District Court and Robert Kazik;
to follow the earlier opinion."). Accordingly, LaFrance's
                                                                   (5) Count Five, against the Orleans Parish Criminal
official capacity claims against Sheriff Gusman under
                                                                   District Court and Robert Kazik.
Count Two must be dismissed.
                                                               It is further ORDERED that this case be consolidated
                                                               with Cain v. City of New Orleans, 15-4479 (E.D. La.,
D. Consolidation
                                                               filed Sep. 17, 2015). Pursuant to the Court's directive, all
                                                               pleadings hereafter filed in this consolidated proceeding
Federal Rule of Civil Procedure 42(a) provides for
                                                               shall bear the caption of the lead consolidated case
consolidation of actions involving "a common question
                                                               together with the docket number of all cases within the
of law or fact." Fed R. Civ. P. 42(a)(2). The rule gives
                                                               consolidation to which the document applies or the
district courts "broad discretion . . . to consolidate cases
                                                               notation "ALL CASES" if it applies to all cases.
pending in the same district." In re Dearborn Marine
Serv., Inc., 499 F.2d 263, 270-71 (5th Cir. 1974); see
                                                               The clerk of court is directed to establish a master file
also Luera v. M/V Alberta, 635 F.3d 181, 194 (5th Cir.
                                                               and a master docket sheet for the consolidated group of
2011) ("Rule 42(a) provides district courts with broad
                                                               cases.
authority to consolidate [*13] actions that "involve a
common question of law or fact.").                             All entries shall be made on the master docket sheet
                                                               only, with a notation listing the cases to which the
The Judicial Defendants oppose consolidation of this           document applies, except that orders and documents
case with Cain. In support, the Judicial Defendants            terminating a party or disposing of a case will also be
argue (1) that the legal issues are not similar in the two     entered on the individual docket sheet. All documents
cases, and (2) that the parties in the two cases are           shall be filed in the master file only, except that [*15]
different. The Court finds neither assertion compelling.       orders and documents terminating a party or disposing
As to the Judicial Defendants first argument, the Court        of a case will also be filed in the record of the individual
finds that the two cases clearly share several common          case.
questions of fact and law, as demonstrated by the
nearly identical complaints. Second, the Court finds that      In the event that a case is separated from the
there is near-perfect overlap between the defendants in        consolidated group it shall be the responsibility of
the two cases, especially following the dismissals             counsel to jointly designate the documents in the master
provided for in this order. Finally, that this case is         record necessary to the continued litigation of the
brought by a different plaintiff does not preclude             separated case and to file such designation with the
consolidation. See Bolbol v. City of Daly City, 754 F.         clerk within seven days of the de-consolidation order.
Supp. 2d 1095, 1118-1119 (N.D. Cal. 2010)
(consolidating cases brought by different plaintiffs but       New Orleans, Louisiana, this 19th day of June, 2017.
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/s/ Sarah S. Vance

SARAH S. VANCE

UNITED STATES DISTRICT JUDGE


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                           Lynn v. Terrebonne General Medical Center
                            United States District Court for the Eastern District of Louisiana
                                          February 14, 1989, Filed and Entered
                                         Civil Action No. 87-1920 C/W, 88-1109

Reporter
1989 U.S. Dist. LEXIS 1535 *
                                                                Bezou for legal malpractice.
LOUIS T. LYNN v. TERREBONNE GENERAL
MEDICAL CENTER, ET AL.                                          In cases of legal malpractice, once a client proves "his
                                                                former attorney accepted employment and failed to
Core Terms                                                      assert the claim timely, then the client has established a
                                                                prima facie case that the attorney's negligence caused
legal malpractice, plaintiff's claim, prima facie case,         him some loss, since it is unlikely the attorney would
prescribe, former attorney, Defendants', malpractice,           have taken a case completely devoid of merit." Jenkins
attorney's, damages, issues, Sever                              v. St. Paul Fire & Marine Insurance Co., 422 So. 2d
                                                                1109, 1110 (La. 1982). After plaintiff has put on a prima
Opinion by: [*1] COLLINS                                        facie case, the attorney then has the burden of going
                                                                forward with evidence to show that the client would not
Opinion                                                         have succeeded on the original claim, and the jury
                                                                determines the causation and damages questions. Id.

                                                                Defendant relies on the case of Evans v. Detweiler, 466
ROBERT F. COLLINS, UNITED STATES DISTRICT
                                                                So. 2d 800 (La. App. 4th Cir. 1985), in which a client's
JUDGE
                                                                claims against his former attorney were dismissed. In
Defendants, Jacques F. Bezou, Individually, Jacques F.          that case, the attorney had allowed certain federal and
Bezou, a Professional Law Corporation, and New                  state securities fraud claims to prescribe; however, the
England Insurance Company, move this Court for                  client still had a viable cause of action based on
dismissal of plaintiff's claims for declaratory relief and/or   partnership law against the original defendants.
severance of plaintiff's claims against them. Both              Therefore, the Court concluded plaintiffs had failed [*3]
motions are hereby DENIED for the following reasons.            to show they suffered a loss due to the attorney's
                                                                malpractice.
Defendants, by way of their Motion to Dismiss, contend
that plaintiff has asserted no loss as a result of Mr.          The instant case is factually distinguishable from Evans
Bezou's alleged legal malpractice. Plaintiff's complaint        in that the attorney in this case has allowed all claims
states that he hired Mr. Bezou to prosecute a claim for         against two defendants to prescribe. There are no
medical       malpractice     arising   from     plaintiff's    remaining causes of action against these defendants
hospitalization at Terrebonne General Medical Center in         which could preserve plaintiff's claim for damages.
September of 1985. Mr. Bezou filed suit against Dr.             Therefore, this Court would decline to follow Evans.
Cinnater and the hospital on behalf of the plaintiff after      Based on the allegations of plaintiff's complaint, and
receiving the decision of a Medical Review Panel                considering them in a light most favorable to the plaintiff,
regarding this incident. Mr. Bezou did not file suit or         the Court finds that plaintiff has set forth sufficient facts
institute proceedings with the Medical Review Panel             to establish a prima facie case against defendant Bezou
against Dr. Landry or Dr. DuPont (other treating                for legal malpractice. Accordingly, defendants' Motion to
physicians) within the prescriptive period. Mr. Bezou           Dismiss is hereby DENIED.
was subsequently discharged. Retained counsel for
plaintiff attempted at that time to assert claims against       Defendants' Motion to Sever is also hereby DENIED.
Dr. Landry and Dr. DuPont, [*2] but the claims had              The existence of common factual and legal issues
prescribed. Plaintiff now seeks to recover from Mr.             concerning the liability vel non of Dr. Cinnater, the
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hospital, Dr. Landry, and Dr. DuPont support this Court's
earlier decision to consolidate. The risks of possible
confusion and prejudice to defendants, Bezou and New
England Insurance Company, are slight and are
overborne by the existence of common issues of law
and fact, the relative expense to all, and the time
required to [*4] conclude multiple lawsuits as opposed
to a single one. Arnold v. Eastern Air Lines, Inc., 681
F.2d 186 (4th Cir. 1982).


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     Caution
As of: October 30, 2018 2:35 PM Z


                                            Miller v. Ventro Corp.
                           United States District Court for the Northern District of California
                                November 28, 2001, Decided ; November 28, 2001, Filed
 No. C 01-01287 SBA, Related Case Nos. C-01-1322-SBA, C-01-1347-SBA, C-01-1460-SBA, C-01-1713-SBA, C-
               01-1790-SBA, C-01-1952-SBA, C-01-2007-SBA, C-01-2176-SBA, C-01-2177-SBA

Reporter
2001 U.S. Dist. LEXIS 26027 *
                                                              and 17 C.F.R. § 240.10b-5 (Rule 10b-5). Additionally,
DAVID MILLER, Plaintiff, v. VENTRO CORPORATION,
                                                              the bondholders alleged violations of § 11, § 12(a)(2),
et al., Defendants.
                                                              and § 15 of the Securities Act of 1933, 15 U.S.C.S. §§
                                                              77k, 77l, § 77o. The court held that: (1) the additional
Subsequent History: Motion granted by Miller v.
                                                              claims and defendants (the managers of a note offering)
Ventro Corp., 2004 U.S. Dist. LEXIS 6913 (N.D. Cal.,
                                                              by the bondholders did not preclude consolidation since
Apr. 21, 2004)
                                                              the factual allegations were nearly identical and there
                                                              was no significant prejudice to the bondholder class; (2)
Core Terms                                                    the group did not satisfy the requirements for lead
                                                              plaintiff; (3) the differences between the stockholder and
consolidation, bondholders, lead plaintiff, appointed,
                                                              bondholder classes did not warrant separate
stockholder, co-lead, lead counsel, securities, parties,
                                                              subclasses; and (4) it was appropriate to appoint a
class period, investors, largest, subclass, class action,
                                                              bondholder as co-lead plaintiff in addition to a
violations, Movant, cases, firms, stock, requires,
                                                              stockholder.
financial stake, damages, class member, Approve,
losses, trader, courts, issues, related case, offering
                                                              Outcome
                                                              The group's motion to consolidate was granted as to
Case Summary                                                  consolidation and granted as to one of the individuals
                                                              being appointed co-lead plaintiff, but was denied as to
                                                              the other individuals or the group as a whole being
Procedural Posture                                            appointed lead counsel and as to approval of choice of
                                                              lead counsel. The court granted the bondholder in part
Eleven related securities class action lawsuits were          as to his being appointed co-lead plaintiff but denied his
pending before the court. All essentially stated the same     choice of counsel.
causes of action (10 were stockholders class actions;
one was a bondholders class action). Movant group filed
motions to consolidate all the cases pursuant to Fed. R.
                                                              LexisNexis® Headnotes
Civ. P. 42(a) and to be appointed lead plaintiff. Movant
bondholder separately moved to be appointed lead
plaintiff of a subclass of bondholders.

Overview
                                                                  Civil Procedure > Trials > Consolidation of Actions
The cases alleged that the defendant corporation and
                                                              HN1[    ] Trials, Consolidation of Actions
several of its senior executives made a series of false
and misleading statements during the class period
                                                              Fed. R. Civ. P. 42(a) contains the standard for
about the corporation's business model and earnings for
                                                              consolidating actions.
fiscal year 2000 as part of an effort to boost the price of
its stock. Like the stockholder claims, the bondholder
claims alleged violations of § 10(b) and § 20(a) of the
Securities Act of 1934, 15 U.S.C.S. §§ 78j(b), 78t(a),            Civil Procedure > Trials > Consolidation of Actions
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HN2[   ] Trials, Consolidation of Actions                         Standards > Lead Counsel

See Fed. R. Civ. P. 42(a).                                        Securities Law > Civil Liability
                                                                  Considerations > Securities Litigation Reform &
                                                                  Standards > Lead Plaintiff
    Civil Procedure > Trials > Consolidation of Actions
                                                              HN6[   ] Trials, Consolidation of Actions
HN3[   ] Trials, Consolidation of Actions
                                                              When the suits subject to consolidation involve
                                                              securities fraud, a court shall not make the lead plaintiff
The district court has broad discretion in making a
                                                              and counsel determination until after the decision on the
consolidation determination under Fed. R. Civ. P. 42(a).
                                                              motion to consolidate is rendered. 15 U.S.C.S. § 78u-
The purpose of consolidation is to avoid the
                                                              4(a)(3)(B)(ii). After the court decides the motion to
unnecessary costs or delays that would ensue from
                                                              consolidate, the court shall appoint the most adequate
proceeding separately with claims or issues sharing
                                                              plaintiff as lead plaintiff for the consolidated actions as
common aspects of law or fact. As the language of Rule
                                                              soon as practicable. 15 U.S.C.S. § 78u-4(a)(3)(B)(ii).
42(a) provides, the presence of a common question of
                                                              Thus, before the court considers whether to appoint
law or fact is a threshold requirement for consolidation.
                                                              lead plaintiff, it must determine whether to consolidate
                                                              the actions.

    Civil Procedure > Trials > Consolidation of Actions

    Securities Law > Civil Liability                              Civil Procedure > Trials > Consolidation of Actions
    Considerations > Securities Litigation Reform &
                                                                  Securities Law > Civil Liability
    Standards > General Overview
                                                                  Considerations > Securities Litigation Reform &
HN4[   ] Trials, Consolidation of Actions                         Standards > General Overview

The Private Securities Litigation Reform Act (PSLRA)          HN7[   ] Trials, Consolidation of Actions
directs that cases should be consolidated where there is
                                                              Consolidation is often warranted where multiple
more than one action on behalf of a class asserting
                                                              securities fraud class actions are based on the same
substantially the same claim or claims. 15 U.S.C.S. §
                                                              public statements and reports. Significantly, the
78u-4(a)(3)(B)(ii).
                                                              existence of slight differences in class periods, parties,
                                                              or damages among the suits does not necessarily
                                                              defeat consolidation where essential claims and factual
    Civil Procedure > Trials > Consolidation of Actions       allegations are similar.

    Evidence > Burdens of Proof > Allocation

HN5[   ] Trials, Consolidation of Actions                         Securities Law > Civil Liability
                                                                  Considerations > Securities Litigation Reform &
Even if a common question exists, consolidation is                Standards > Lead Plaintiff
inappropriate if it results in inefficiency, inconvenience,
or unfair prejudice to a party. Fed. R. Civ. P. 42(b). The    HN8[ ] Securities Litigation Reform & Standards,
party seeking consolidation bears the burden of               Lead Plaintiff
demonstrating that convenience and judicial economy
would result from consolidation.                              The selection of the lead plaintiff is governed by the
                                                              Private Securities Litigation Reform Act of 1995
                                                              (PSLRA).

    Civil Procedure > Trials > Consolidation of Actions

    Securities Law > Civil Liability                              Securities Law > Civil Liability
    Considerations > Securities Litigation Reform &               Considerations > Securities Litigation Reform &
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    Standards > Lead Plaintiff                                of Representation

HN9[ ] Securities Litigation Reform & Standards,              In the context of determining the appropriate lead
Lead Plaintiff                                                plaintiffs under the Private Securities Litigation Reform
                                                              Act of 1995 (PSLRA), the requirements of typicality and
See 15 U.S.C.S. § 78u-4(a)(3)(B)(i).                          adequacy of representation are the crucial factors.
                                                              However, the presumption may be rebutted only upon
                                                              proof by a member of the purported plaintiff class that
    Securities Law > Civil Liability                          the presumptively most adequate plaintiff: (a) will not
    Considerations > Securities Litigation Reform &           fairly and adequately protect the interests of the class;
    Standards > Lead Plaintiff                                or (b) is subject to unique defenses that render such
                                                              plaintiff incapable of adequately representing the class.
HN10[ ] Securities Litigation Reform & Standards,             15 U.S.C.S. § 78u-4(a)(3)(B)(iii)(II).
Lead Plaintiff

In selecting the lead plaintiff in an action brought              Securities Law > Civil Liability
pursuant to the Private Securities Litigation Reform Act          Considerations > Securities Litigation Reform &
of 1995 (PSLRA), the court shall adopt a presumption              Standards > Lead Plaintiff
that the most adequate plaintiff in any private action
arising under 15 U.S.C.S. ch. 2B is the person or group       HN13[ ] Securities Litigation Reform & Standards,
of persons that: (a) has either filed the complaint or        Lead Plaintiff
made a motion for designation as lead plaintiff; (b) in the
determination of the court, has the largest financial         In establishing a criteria to determine which plaintiff or
interest in the relief sought by the class; and (c)           plaintiffs is most capable of adequately representing the
otherwise satisfies the requirements of Fed. R. Civ. P.       interests of class members, the Private Securities
23. 15 U.S.C.S. § 78u-4(a)(3)(B)(iii)(I).                     Litigation Reform Act of 1995 (PSLRA) provides that the
                                                              financial stake in the outcome of the litigation is
                                                              reasonably representative of the ability of a party or
    Civil Procedure > ... > Class Actions > Prerequisites     parties to function as lead plaintiff. 15 U.S.C.S. § 78u-
    for Class Action > General Overview                       4(a)(3)(B)(iii)(I).

HN11[ ] Class Actions, Prerequisites for Class
Action                                                            Securities Law > Civil Liability
                                                                  Considerations > Securities Litigation Reform &
See Fed. R. Civ. P. 23(a).                                        Standards > Lead Plaintiff

                                                              HN14[ ] Securities Litigation Reform & Standards,
    Civil Procedure > ... > Class Actions > Prerequisites     Lead Plaintiff
    for Class Action > Adequacy of Representation
                                                              The Private Securities Litigation Reform Act of 1995
    Evidence > Inferences &                                   (PSLRA) states that the plaintiff can be a person or
    Presumptions > Presumptions > Rebuttal of                 group of persons. 15 U.S.C.S. § 78u-4(a)(3)(B)(iii)(I).
    Presumptions                                              Many courts have interpreted this as allowing a group of
                                                              people to aggregate their claims for purposes of being
    Securities Law > Civil Liability                          appointed lead plaintiffs. However, there is a dispute
    Considerations > Securities Litigation Reform &           within the courts whether a group that has no pre-
    Standards > Lead Plaintiff                                litigation relationship can aggregate their amount of loss
                                                              for purposes of the PSLRA. Some courts have stated
    Civil Procedure > ... > Class Actions > Prerequisites     that unrelated plaintiffs--ones without a relationship
    for Class Action > Typicality                             existing prior to the litigation--cannot form a group or
                                                              aggregate their financial stakes because that would
HN12[    ] Prerequisites for Class Action, Adequacy           thwart Congress' intention to prevent lawyer-driven
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litigation. Other courts have concluded that the               to say that courts have not decided to create subclasses
collection of plaintiffs may be comprised of previously        or co-lead plaintiffs if necessary to ensure that the class
unrelated persons, so long as that group is small and          members interests are adequately represented.
presumably cohesive. Finally, courts have opted for a
third or middle option that finds no single factor
dispositive, but requires the group to justify and explain
                                                                   Civil Procedure > ... > Class Actions > Prerequisites
its composition and structure in terms of adequacy to
                                                                   for Class Action > Typicality
represent the class. The United States District Court for
the Northern District of California adopts the middle          HN17[    ] Prerequisites for Class Action, Typicality
approach that requires the plaintiffs to explain and justify
to the court the creation and structure of the group.          Fed. R. Civ. P. 23 states that a class action is proper
                                                               only where the claims or defenses of the representative
                                                               parties are typical of the claims or defenses of the class.
    Securities Law > Civil Liability                           Fed. R. Civ. P. 23(a)(3). Under Rule 23's permissive
    Considerations > Securities Litigation Reform &            standards, representative claims are typical if they are
    Standards > Lead Plaintiff                                 reasonably co-extensive with those of absent class
                                                               members; they need not be substantially identical. The
HN15[ ] Securities Litigation Reform & Standards,              test is that the class representative must be part of the
Lead Plaintiff                                                 class and possess the same interest and suffer the
                                                               same injury as the class members. In other words, a
A proposed group should provide appropriate                    claim is typical if it: (1) arises from the same event or
information about its members, structure, and intended         practice or course of conduct that gives rise to the
functioning.   Such    information    should     include       claims of other class members; and (2) if is based on
descriptions of its members, including any pre-existing        the same legal theory as their claims.
relationships among them; an explanation of how it was
formed and how its members would function collectively;
and a description of the mechanism that its members
                                                                   Civil Procedure > ... > Class Actions > Prerequisites
and the proposed lead counsel have established to
                                                                   for Class Action > Adequacy of Representation
communicate with one another about the litigation.
                                                               HN18[ ] Prerequisites for Class Action, Adequacy
                                                               of Representation
    Securities Law > Civil Liability
    Considerations > Securities Litigation Reform &            Fed. R. Civ. P. 23(a) requires that the person
    Standards > General Overview                               representing the class be able fairly and adequately to
                                                               protect the interests of all members in the class. Fed. R.
    Securities Law > Civil Liability                           Civ. P. 23(a)(4). The United States Court of Appeals for
    Considerations > Securities Litigation Reform &            the Ninth Circuit has held that representation is
    Standards > Lead Plaintiff                                 adequate when counsel for the class is qualified and
                                                               competent, the representative's interests are not
HN16[ ] Civil Liability Considerations, Securities             antagonistic to the interests of absent class members,
Litigation Reform & Standards                                  and it is unlikely that the action is collusive. In addition,
                                                               the class representative must have a sufficient interest
Courts have been cautious in creating subclasses for           in the outcome of the case to ensure vigorous
different groups in securities class actions. Courts have      advocacy.
found that differences in class periods, pleading and
evidentiary standards or differences in named
defendants do not preclude consolidation or necessitate
                                                                   Securities Law > Civil Liability
the creation of co-lead plaintiffs or subclasses. Thus
                                                                   Considerations > Securities Litigation Reform &
none of those differences will necessarily warrant a
                                                                   Standards > Lead Counsel
subclass. Moreover, the fact that plaintiffs might have
different types of securities also does not require a
                                                               HN19[ ] Securities Litigation Reform & Standards,
separate class or co-lead plaintiffs. However, that is not
                                                               Lead Counsel
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The most adequate plaintiff shall, subject to the               Shearman & Sterling LLP, San Francisco, CA; Jeffrey S.
approval of the court, select and retain counsel to             Facter, Shearman & Sterling, San Francisco, CA.
represent the class. 15 U.S.C.S. § 78u-4(a)(3)(B)(v).
                                                                For Chase [*2] Securities, Inc., Defendant: Emily V.
                                                                Griffen, Stephen D. Hibbard, Shearman & Sterling LLP,
                                                                San Francisco, CA.
    Securities Law > Civil Liability
                                                                For Deutsche Bank Securities Inc., Defendant: Emily V.
    Considerations > Securities Litigation Reform &
                                                                Griffen, Stephen D. Hibbard, Shearman & Sterling LLP,
    Standards > Lead Counsel
                                                                San Francisco, CA; Jeffrey S. Facter, Shearman &
                                                                Sterling, San Francisco, CA.
HN20[ ] Securities Litigation Reform & Standards,
Lead Counsel                                                    For Morgan Stanley & Company Inc., FleetBoston
                                                                Robertson Stevens, Inc., Defendants: Emily V. Griffen,
15 U.S.C.S. § 78u-4(a)(3)(B)(v) requires some                   Stephen D. Hibbard, Shearman & Sterling LLP, San
deference to the lead plaintiff's choice of counsel. The        Francisco, CA; Jeffrey S. Facter, Shearman & Sterling,
expectation is that the person or group with the largest        San Francisco, CA.
financial stake can best prosecute the claims, and will
                                                                For Gilardi & Co., LLC Claims Administrator,
best be able to select, negotiate with, and monitor class
                                                                Miscellaneous, Pro se, Gilardi & Co., LLC, Ventro
counsel. However, since the lead plaintiff owes fiduciary
                                                                Securities Litigation, San Rafael, CA.
duties to the class, it is appropriate for the court to
screen the selected counsel to ensure that this counsel
                                                                Judges: SAUNDRA BROWN ARMSTRONG, United
is appropriate to represent the interests of the class. It is
                                                                States District Judge.
reasonable to conclude that the Private Securities
Litigation Reform Act of 1995 (PSLRA) does not permit
                                                                Opinion by: SAUNDRA BROWN ARMSTRONG
a court to substitute its judgment for that of the lead
plaintiff regarding the selection of counsel so long as the
representation arranged is reasonable and thus does
                                                                Opinion
not interfere with that plaintiff's presumed adequacy to
represent the entire class.

                                                                ORDER
Counsel: [*1] For David Miller On Behalf of Himself
and All Other Similarly Situated, Laura P Menghini, John
Houx, Plaintiffs: William S. Lerach, John K. Grant,
                                                                Plaintiff's Counsel are directed to serve this order
Patrick J. Coughlin, Shirley H. Huang, Willow E
                                                                upon all other parties in this action.
Radcliffe, Lerach Coughlin Stoia Geller Rudman &
Robbins LLP, San Diego, CA; Betsy C. Manifold,                  This matter comes before the Court on Menghini
Francis M. Gregorek, Wolf Haldenstein Adler Freeman             Group's Motion to Consolidate All Related Cases,
& Herz LLP, San Diego, CA; Stuart H. Savett, Savett             Menghini Group's Motion to be Appointed Lead Counsel
Frutkin Podell & Ryan PC, Philadelphia, PA.                     and to Approve Plaintiffs' Choice of Counsel [Civ. 01-
For Ventro Corporation, David P. Perry, James G.                1287-SBA, Docket Nos. 24-1, 25-1], and John Houx's
Stewart, Robin A. Abrams, William C. Klintworth, Jr.,           Motion to be Appointed Lead Counsel and to Approve
Charles R Burke, Brook H Byers, Paul J Nowak, John A            Plaintiff's Choice [*3] of Counsel [Civ. 01-1713-SBA,
Pritzker, Naomi O Seligman, John L Wilkerson, William           Docket No. 13-1]. The Court heard arguments on
C Klintworth, Jr., Defendants: Lloyd Winawer, Cynthia           September 25, 2001, and instructed the parties to
A. Dy, Daniel W. Turbow, Steven M. Schatz, Wilson               submit supplemental briefing. Having read and
Sonsini Goodrich & Rosati, Palo Alto, CA.                       considered all of the briefs filed by the parties and being
                                                                fully informed, the Court hereby GRANTS the Menghini
For Martha D. Greer, David A. Weber, James S.
                                                                Group's motion to consolidate and GRANTS in part and
Wambach, Defendants: Lloyd Winawer, Daniel W.
                                                                DENIES in part the Menghini Group's Motion to be
Turbow, Steven M. Schatz, Wilson Sonsini Goodrich &
                                                                Appointed Lead Counsel and to Approve Plaintiffs'
Rosati, Palo Alto, CA.
                                                                Choice of Counsel and GRANTS in part and DENIES in
For Morgan Stanley & Co. Incorporated, Fleetboston              Part Houx's Motion to be Appointed Lead Counsel and
Robertson Stephens Inc., Defendants: Emily V. Griffen,          to Approve Plaintiff's Choice of Counsel.
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                                              2001 U.S. Dist. LEXIS 26027, *3

I. Background                                                 of the related cases including Sunshine Wire and Cable
                                                              and they seek to be lead plaintiffs of the consolidated
A. Procedural History and Parties                             class. Houx does not oppose consolidation of the
                                                              related cases minus the Sunshine Wire and Cable
There are presently eleven related securities class
                                                              action or that the Menghini Group be appointed lead-
action lawsuits pending before this Court. 1
                                                              plaintiffs of the stockholder class. Houx also moves to
 The cases were all filed within a three month span and       create a separate class of bondholders and to be
essentially state the same causes of action. All of the       appointed lead plaintiff of the class of bondholders in
cases except Sunshine Wire and Cable are class                Sunshine Wire and Cable.
actions by stockholders. Sunshine Wire and Cable is a
                                                              B. Factual Allegations
class action by bondholders (or noteholders).
                                                              The allegations against the Defendants Ventro Corp., et
 [*4] Laura Porcelli Menghini, Marco Carnevale,
                                                              al., are nearly the same in each case. The actions have
Anthony Ross, Brad Brewer, William Murphy and Glenn
                                                              been brought against Ventro and several of its senior
Aber (hereinafter "Menghini Group") move to
                                                              executives. 2
consolidate all of the related cases and to be appointed
                                                               The cases allege that the Defendants made a series of
lead plaintiff of the common class of both stockholders
                                                              false and misleading statements during the class period
and bondholders. John Houx ("Houx") opposes the               3
Menghini Group in so far as they seek to consolidate all
                                                               about     the     Company's        business     model      and
1 The   eleven are:
                                                              Plan Trust DTD v. Ventro Corp., et al.
    Go to table1                                              C-01-1713-SBA
Miller v. Ventro Corp., et al.                                Filed: 5/02/01
C-01-1287-SBA                                                 Kenna v. Ventro Corp., et al.
Filed: 3/30/01                                                C-01-1790-SBA
Madison Trading, Inc.                                         Filed: 5/08/01
C-01-1322-SBA                                                 Zhang, et al. v. Ventro Corp., et al.
Filed: 4/02/01                                                C-01-1952-SBA
et al. v. Ventro Corp., et al.                                Filed: 5/18/01
Schelsinger, et al. v. Ventro Corp., et al.                   Williams v. Ventro Corp., et al.
C-01-1347-SBA                                                 C-01-1962-SBA
Filed: 4/04/01                                                Filed: 5/18/01
Sagerquist v. Ventro Corp., et al.                            Fruchter v. Ventro Corp., et al.
C-01-2176-SBA                                                 C-01-2007-SBA
Filed: 4/12/01                                                Filed: 5/23/01
Clement v. Ventro Corp., et al.
                                                              2 Asdiscussed later, the bondholder plaintiffs in Sunshine Wire
C-01-1460-SBA                                                 and Cable also named the managers of the note offering as
Filed: 4/13/01                                                defendants.

Criswell v. Ventro Corp., et al.                              3 The  class period in the Miller action is December 13, 1999 to
                                                              December 9, 2000. The class period in all of the other actions
C-01-2177-SBA
                                                              is equal to or shorter than this period. In particular, the class
Filed: 4/30/01                                                period in the Sunshine Wire and Cable action is from March
                                                              29, 2000 to December 6, 2000. Thus, unless otherwise noted,
Sunshine Wire & Cable
                                                              references in this memorandum to the class period refer to the
Defined Benefit Pension                                       Miller class period because it is the most inclusive.
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earnings [*5] for fiscal year 2000 as part of an effort to    Ventro had refunded millions of dollars in fees it had
boost the price of Ventro stock.                              previously recognized as revenue. It also announced
                                                              Ventro would commence a tender offer for the $ 250
Ventro builds and operates platforms for vertical             million in bonds issued in April 2000 for 27% of
business-to-business        e-commerce       marketplace      principal. Since December 2000, the stock price of
companies. It attempts to provide a secure Internet-          Ventro has continued to deteriorate and now trades
based solution which permits it to buy products from          below $ 1 per share.
suppliers and resell them to customers while
streamlining business processes. Ventro went public on        II. Discussion
July 30, 1999, trading at $ 15 per share and raising $
104.6 [*6] million, excluding overallotment. At the time      [*8] A. Consolidation
of the offering, Ventro, then named Chemdex, referred
                                                              1. Legal Standard
to itself as the leading provider of e-commerce solutions
to the life sciences industry. Ventro offered equity in       HN1[ ] Rule 42(a) contains the standard for
exchange for buyers and suppliers contracting to be a         consolidating actions. It provides,HN2[ ]
part of the electronic marketplace. Ventro's initial public       When actions involving a common question of law
offering ("IPO") was successful. By December 1999,                or fact are pending before the court, it may order a
Ventro's stock was trading at more than $ 130 per                 joint hearing or trial of any or all of the matters in
share.                                                            issue in the actions; it may order all the actions
                                                                  consolidated; and it may make such orders
The various plaintiffs allege that, at that same time,
                                                                  concerning proceedings therein as may tend to
Ventro knew that its existing business model did not
                                                                  avoid unnecessary costs or delay.
work and that this would severely impair Ventro's future
revenue growth. The plaintiffs allege that despite this
                                                              Fed. R. Civ. P. 42(a). HN3[ ] The district court has
knowledge, Ventro also wanted to raise additional
                                                              broad discretion in making this determination. Investors
money through debt offering before the bottom fell out of
                                                              Research Co. v. U.S. District Court for the Central
the its stock price. Thus, Ventro allegedly continued to
                                                              District of California, 877 F.2d 777, 777 (9th Cir. 1989).
make false, positive statements about its business and
                                                              The purpose of consolidation is to avoid the
future revenues. At one point during the class periods,
                                                              unnecessary costs or delays that would ensue from
Ventro's stock traded as high as $ 243 1/2 per share
                                                              proceeding separately with claims or issues sharing
and the convertibly subordinated notes ("bonds" or
                                                              common aspects of law or fact. EEOC v. HBE Corp.,
"notes") traded as high as $ 829.40.
                                                              135 F.3d 543, 550 (8th Cir. 1998). As the language of
On December 6, 2000, Ventro announced a major                 Rule 42(a) provides, the presence of a common
restructuring, in which it closed down two of three of its    question of law or fact is a threshold requirement for
main business-to-business [*7]         marketplaces. On       consolidation. Yousefi v. Lockheed Martin Corp., 70 F.
January 1, 2001, Ventro's Chief Executive Officer             Supp. 2d 1061, 1064-65 (C.D. Cal. 1999). [*9] HN4[ ]
allegedly admitted in an interview that as early as           "The Private Securities Litigation Reform Act ("PSLRA")
December 1999 he and the other defendants realized            directs that cases should be consolidated where …
that Ventro's business model of independent                   there is more than one action on behalf of a class
marketplaces did not make sense. On these                     asserting substantially the same claim or claims.'" In re
disclosures, Ventro's stock price fell to less than $ 2 per   Cendant Corp. Litigation, 182 F.R.D. 476, 478 (D.N.J.
share and its bonds declined to less than $ 169.40,           1998), citing 15 U.S.C. § 78u-4(a)(3)(B)(ii).
inflicting billions of dollars of damages. It is estimated
that over $ 4 billion in market capitalization was wiped-     HN5[ ] Even if such a common question exists,
out as Ventro's stock fell 99% from its class period high     however, consolidation is inappropriate if it results in
of over $ 243 per share.                                      "inefficiency, inconvenience, or unfair prejudice to a
                                                              party." HBE Corp., 135 F.3d at 551 (citing Fed. R. Civ.
On February 20, 2001, Ventro announced its fourth             P. 42(b)). The party seeking consolidation bears the
quarter and year end 2000 results; reporting no revenue       burden of demonstrating that convenience and judicial
and a loss of $ 618 million for fiscal year 2000. Its Chief   economy would result from consolidation. Wright v.
Operating Officer, Chief Financial Officer, and its Vice      United States, 1993 U.S. Dist. LEXIS 11385, 1993 WL
President of Marketing all resigned, acknowledging            313040, *1 (N.D. Cal. Aug. 6, 1993).
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HN6[ ] "When the suits subject to consolidation involve         § 77o respectively). Houx also points [*12] out that the
securities fraud, 'a court shall not make the [lead plaintiff   bondholder action names Ventro, its senior officers and
and counsel determination] until after the decision on          directors, and the managers of the note offering as
the motion to consolidate is rendered."' Yousefi, 70 F.         defendant while the stockholder suits do not include the
Supp. 2d at 1065, citing 15 U.S.C. 78u-4(a)(3)(B)(ii).          managers of the note offering as defendants.
"After the court decides [*10] the motion to consolidate,       Additionally, Houx argues that the bondholders are
'the court shall appoint the most adequate plaintiff as         entitled to different remedies. For instance, the
lead plaintiff for the consolidated actions' as soon as         bondholders would be entitled to rescissionary damages
practicable." Id., citing 15 U.S.C. § 78u-4(a)(3)(B)(ii).       under § 12(a)(2) while such relief is not provided to the
Thus, before the Court considers whether to appoint             stockholders under Rule 10b-5. Also, the § 11 claims
lead plaintiff, it must determine whether to consolidate        brought by the bondholders have a different calculation
the actions.                                                    for damages than the calculation for Rule 10b-5.

                                                                Finally, Houx notes that there are different evidentiary
2. Analysis                                                     and pleading burdens involved in the stockholder or
                                                                bondholder actions. For instance, § 11 "imposes a
Movants the Menghini Group argue that the related               stringent standard of liability on the parties who play a
cases present "virtually identical factual and legal            direct role in a registered offering." Herman & MacLean
issues." The Menghini Group contends that all of the            v. Huddleston, 459 U.S. 375, 381-82, 103 S. Ct. 683, 74
related actions make allegations against substantially          L. Ed. 2d 548 (1983) (citations omitted). Thus, a plaintiff
the same defendants -- the Defendant Ventro and                 only needs to show "a material misstatement or
several of its senior executives -- based on allegedly          omission" to establish his prima facie case and liability
false and misleading statements by the Defendants               against the issuer of a security is "virtually absolute,
during the class period. It also notes that the related         even for innocent misstatements." Id. This standard is
actions are mostly based on violations of § 10(b) of the        less [*13] rigorous than the evidentiary burden imposed
Exchange Act, Rule 10b-5 promulgated thereunder, and            to prove a claim under Rule 10b-5 -- e.g., that the
§ 20(a) of the Exchange Act. Further, the Menghini              plaintiff must prove scienter and possibly reliance.
Group argues that the plaintiff class in the related            Additionally, while under Rule 9(b) the stockholders
actions are all persons who purchased or otherwise              must plead with particularity their allegations of
acquired Ventro securities during the class periods.            violations of Rule 10b-5, this pleading standard does not
Finally, the Menghini group contends that judicial              apply to § 11 and § 12 of the Securities Act. 4
economy would be served through consolidation.
                                                                As noted above, both the stockholder and bondholder
 [*11]    Movant John Houx ("Houx") opposes                     actions make claims under sections 10(b) and 20(a) of
consolidation of all the related cases to the extent it         the Securities Act of 1934 and Rule 10b-5 thereunder.
includes Sunshine Wire and Cable, the case brought by            [*14] These claims are based on the same factual
bondholders. Houx contends that the cases brought by            allegations. Despite the apparent similarity, Houx still
stockholders are not sufficiently similar to those brought      argues that the differences are such that the bondholder
by bondholders to qualify for consolidation under Rule          and stockholder actions are not "substantially the same"
42(a). In particular, Houx argues the stockholder and           to justify consolidation. However, HN7[ ] "consolidation
bondholder actions differ in the following ways: (1) they       is often warranted where multiple securities fraud class
allege different statutory violations; (2) they name            actions 'are based on the same "public statements and
different plaintiffs; (3) the class period differs; (4) they    reports."'" In re MicroStrategy Inc. Sec. Litig., 110 F.
involve different remedies; and (5) the claims involve
different evidentiary burdens.
                                                                4 Houx  has claimed that these differences create a prospect of
Like the stockholder claims, the bondholder claims              conflicting interests between the stockholder and bondholder
allege violations of § 10(b) and § 20(a) of the Securities      classes which precludes consolidation. However, the
Act of 1934 and Rule 10b-5 (15 U.S.C. § 78j(b); 15              argument of potential conflict of interests would appear more
                                                                applicable in determining whether a particular plaintiff or group
U.S.C. § 78t(a); 17 C.F.R. § 240.10b-5, respectively).
                                                                of plaintiffs should be appointed lead plaintiff. The critical
Houx notes that, additionally, the bondholders allege
                                                                question for consolidation is whether the cases are
violations of § 11, § 12(a)(2), and § 15 of the Securities
                                                                substantially related. The argument about conflicting interests
Act of 1933 (15 U.S.C. § 77k;15 U.S.C. § 77l; 15 U.S.C.         is addressed below.
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Supp. 2d 427, 431 (E.D.Va. 2000). "Significantly, the            inclusion of additional claims based on violations of §
existence of slight differences in class periods, parties,       11, § 12(a)(2), and § 15 of the Securities Act of 1933
or damages among the suits does not necessarily                  are all based on the same factual allegations. The need
defeat consolidation where essential claims and factual          to prove additional elements to a jury does not provide
allegations are similar." Id. (noting that while the actions     substantial prejudice to either the stockholders or
contained different claims, class periods, and parties,          bondholders. Differing pleading standards or evidentiary
"none of these minor differences detract from the                burdens may apply in any case in which a plaintiff brings
overwhelming factual and legal similarities among the            multiple causes of action. Indeed, even if the
cases.").                                                        bondholder action was not consolidated with the
                                                                 stockholder [*17] action, Houx would still face the same
In Aronson v. McKesson HBOC Inc., 79 F. Supp. 2d                 potential prejudice because he has, in addition to the
1146 (N.D.Cal. 1999), a case decided by another court            violations of the 1933 Act, alleged all of the same
in this district, Judge Whyte confronted a similar               actions as the stockholders. Thus, Houx would still be
situation. All of the related actions "were predicated by        faced with different violations with different evidentiary
the same set of misstatements by corporate officials,            burdens or pleading standards.
causing an [*15] artificial inflation and then a corrective
drop in share prices." See id. at 1150. Some of the              Moreover, the fact that other parties are included does
parties opposed consolidation claiming that their claims         not preclude consolidation. See e.g., Aronson, 79 F.
were distinct because of a legal theory pursued or type          Supp. 2d at 1150; In re Mircostrategy Inc. Securities
of security. 5                                                   Litigation, 110 F. Supp. 2d at 431-32. The cases cited
                                                                 by Houx do not persuade this Court otherwise. In re
 [*16] See id. Additionally, the parties argued that             Brand Name Prescription Drugs Antitrust Litig., 1995
different groups had claims against different defendants,        U.S. Dist. LEXIS 9348, 1995 WL 399684 at *1 (July 7,
e.g., some had claims against financial advisors and             1995, N.D. Ill.), the district court declined to consolidate
accounting firms while others did not. See id. The court         three actions because the various actions named
found neither of these arguments persuasive. See id. It          different defendants. Different defendants were named
also rejected the opposing parties' contentions that             in each case and thus their trial strategies differed. See
certain groups were entitled to separate remedies. See           id. More importantly the court found that some of the
id. at 1151. Finally, the court was not persuaded by the         parties would be prejudiced by evidence introduced
parties' argument that because different theories                against other defendants. See id. In this case, all of the
involved different showings of scienter and proof,               cases name the same defendants with the addition of
consolidation was ill-advised. See id. The court found           the managers of the note offering in the Sunshine Wire
that the existence of different pleading standards did not       and Cable. [*18] The allegations against the
conflict with consolidation since the underlying factual         defendants are the same. Thus there does not appear
matters were the same and "there was no bar to one               to be any prejudice to the defendants, and certainly
plaintiff alleging multiple theories of recovery." Id., citing   none to Houx. Houx has also provided the Court the
Fed.R.Civ.P. 8(e)(2). 6                                          case of Mark v. Fleming Corp., et al., Case No. Civ. 96-
                                                                 506-M (W.D. Okla. Mar. 26 1997). 7
While not controlling, Aronson is persuasive. The
                                                                  Mark denied consolidation under similar facts, in
                                                                 particular the difference between the claims presented
5 Some
                                                                 by bondholders and stockholders. The district court
      of the parties sought a separation of certain claims as
                                                                 cited all of the factors which this Court has discussed
opposed to a broader consolidation of all claims.
                                                                 but still concluded that consolidation was inappropriate
6 In discussing whether consolidation was proper, the district   because of the differences between the bondholder and
court in Aronson evaluated some of the arguments in terms of     shareholder claims. For all of the reasons discussed
whether more than one lead plaintiff should be appointed. The    above, this Court is not persuaded by the analysis in
determination on consolidation overlaps with the determination   Mark.
of appointing lead counsel. While Judge Whyte uses terms
relating to the analysis of appointing lead counsel, Judge
Whyte's analysis also applies to consolidation. However, for
purposes of this memorandum, the discussion of consolidation     7 Pursuant   to Federal Rule of Evidence 201, the Court
is separate from the discussion of appointment of lead           exercises its discretion and takes judicial notice of the opinion
counsel.                                                         of the Mark decision. See Fed.R.Evid. 201.
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The Court has reviewed all of the complaints in the                   Procedure.
related [*19] cases. The factual allegations are nearly
identical and all of the actions contain the same            15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).
allegations of violating provisions of the 1934 Securities
Act. The class periods are all equal to or less than that    Federal Rule 23 generally requires that,HN11[     ]
in the Miller action. The additional statutory violations
                                                                 (1) the class is so numerous [*21] that joinder of all
under the 1933 Securities Act and the different
                                                                 members is impracticable, (2) there are questions
remedies do not outweigh the significant benefits of
                                                                 of law or fact common to the class, (3) the claims or
consolidation. The same holds true for the different
                                                                 defenses of the representative class are typical of
pleading standards and evidentiary burdens. Plaintiffs in
                                                                 the claims and defenses of the class, and (4) the
a common action can plead more than one violation with
                                                                 representatives of the parties will fairly and
more than one available remedy. Indeed, as noted
                                                                 adequately protect the interests of the class.
above, the bondholders would still face differing
violations and standards even if the actions were not
                                                             Fed. R. Civ. P. 23(a). HN12[ ] In the context of
consolidated. On balance, there is no significant
                                                             determining the appropriate lead plaintiffs under the
prejudice to the bondholder class. The Court finds that
                                                             PSLRA, the requirements of "typicality" and adequacy of
because of the interests of avoiding unnecessary costs
                                                             representation are the crucial factors. See Armour v.
or delays, consolidation is proper.                          Network Assocs., 171 F. Supp. 2d 1044, 2001 WL
                                                             969008, *6 (N.D. Cal. 2001), citing Gluck v. CellStar
For the reasons states above, the Court GRANTS
                                                             Corp., 976 F.Supp. 542, 546 (N.D. Tex. 1997).
Movant Menghini Group's motion to consolidate all of
the related actions.                                         However, the presumption may be rebutted
                                                                Only upon proof by a member of the purported
B. Appointment of Lead Plaintiff
                                                                plaintiff class that the presumptively most adequate
Having determined that the actions should be                    plaintiff-
consolidated, the issue turns to whom the Court should               (aa) will not fairly and adequately protect the
appoint as lead plaintiff or plaintiffs.                             interests of the class; or
                                                                     (bb) is subject to unique defenses that render
[*20] 1. Legal Standard                                              such plaintiff incapable of adequately
                                                                     representing the class.
HN8[ ] The selection of the lead plaintiff is governed
by the Private Securities Litigation Reform Act of 1995      15 U.S.C. § 78u-4(a)(3)(B)(iii)(II).
("PSLRA"). The PSLRA provides thatHN9[ ]
    The court shall appoint as lead plaintiff the member     2. Discussion
    or members of the purported plaintiff class that the
    court determines to be the most capable of               a. Financial [*22]     Stake
    adequately representing the interests of class
                                                             1.) Criteria
    members (hereafter… referred to as the 'most
    adequate plaintiff')…
                                                             HN13[ ] In establishing a criteria to determine which
                                                             plaintiff or plaintiffs is most capable of adequately
15 U.S.C. § 78u-4(a)(3)(B)(i).
                                                             representing the interests of class members, the PSLRA
HN10[ ] In selecting the lead plaintiff,                     provides that the financial stake in the outcome of the
   The court shall adopt a presumption that the most         litigation is reasonably representative of the ability of a
   adequate plaintiff in any private action arising under    party or parties to function as lead plaintiff. See 15
   this chapter is the person or group of persons that       U.S.C. § 78u-4(a)(3)(B)(iii)(I). This comports with the
        (aa) has either filed the complaint or made a        overall focus of the PSLRA to place securities litigation
        motion [for designation as lead plaintiff];          in the hands of investors and not lawyers. See e.g.,
        (bb) in the determination of the court, has the      Armour, 171 F. Supp. 2d 1044, 2001 WL 969008, at *2,
        largest financial interest in the relief sought by   citing Statement of Managers--The "Private Securities
        the class; and                                       Reform Act of 1995," H.R. Conf. Report No. 104-369,
        (cc) otherwise satisfies the requirements of         104th Cong. 1st Ses. (1995), reprinted in U.S.C.C.A.N.
        Rule 23 of the Federal Rules of Civil                730 ("The legislative history of the PSLRA reveals that
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the above provisions were motivated by Congressional             The group states that it believes this is the largest
concerns about the prevalence of 'lawyer-driven'                financial interest in the consolidated classes. This Court
securities class actions."). It was hoped that including a      has no other evidence or information that any other
presumption in favor of the largest stakeholder would           individual or group has a larger financial stake.
give preference to institutional investors which would be
in a better position to manage the litigation and to limit       [*25] HN14[ ] The PSLRA itself states that the
the influence of lawyers. See id.; see [*23] also In re         plaintiff can be a person or group of persons. See 15
Donnkenny Inc. Securities Litigation, 171 F.R.D. 156,           U.S.C. § 78u-4(a)(3)(B)(iii)(I); see also In re Razorfish,
157-58 (S.D.N.Y. 1997) (noting that Congress included           Inc. Sec. Litig., 143 F. Supp. 2d 304, 308 (S.D.N.Y.
the presumption in favor of the largest financial               2001) (finding the PSLRA contemplates that the lead
stakeholder to give preference to institutional investors       plaintiff may be a "group of persons" rather than a single
and limit influence of lawyers creating the class).             individual), citing Weltz v. Lee, 199 F.R.D. 129, 132-33
                                                                (S.D.N.Y. 2001) and In re Oxford Health Plans, Inc. Sec.
No institutional investors have filed motions to be             Litig., 182 F.R.D. 42, 45 (S.D.N.Y. 1998). Many courts
appointed lead plaintiff in this action. Both the Menghini      have interpreted this as allowing a group of people to
Group and Houx have represented that they widely                aggregate their claims for purposes of being appointed
published notice to all potential plaintiffs and that no        lead plaintiffs. See e.g., Yousefi v. Lockheed Martin
institutional investors responded. See Menghini Group's         Corp., 70 F. Supp. 2d 1061, 1066-67 (C.D.Cal. 1999); In
Supplemental Filing in Support of Motion for                    re American Bank Note Holographics Secs. Litig., 93 F.
Consolidation and for Appointment of Lead Plaintiff, P.         Supp. 2d 424, 436 (S.D.N.Y. 2000). However, there is a
5-7; Supplemental Filing in Response to the Court's             dispute within the courts whether a group that has no
September 25, 2001 Questions and in Further Support             pre-litigation relationship can aggregate their amount of
of John Houx's Motion for Appointment as Lead Plaintiff         loss for purposes of the PSLRA.
and for Approval of His Choice of Counsel, P. 6-7. Thus,
despite the presumption in favor of large institutional         Some courts have stated that unrelated plaintiffs--ones
investors, none has filed motions to be appointed lead          without a relationship existing prior to the litigation--
counsel and, therefore, the Court will consider the             cannot form a group or aggregate their [*26] financial
individual investors who have filed the motions.                stakes because that would thwart Congress' intention to
                                                                prevent lawyer-driven litigation. See e.g., Aronson, 79 F.
As noted above, the Menghini Group moves to be                  Supp. 2d at 1153; see also In re Razorfish, 143 F. Supp.
appointed lead plaintiff of the consolidated class. [*24]       2d at 308-309 (rejecting lead plaintiff group because the
Movant Houx opposes this motion insofar as there is             group had "no independent existence and its composite
one, undivided class of bondholder and stockholder              members have no prior relationship, there is nothing to
plaintiffs. Houx separately moves to be appointed lead          suggest that they will collectively ride herd on counsel
plaintiff of a subclass of bondholders. The Menghini            anywhere as well as could a single sophisticated
Group claims that it has the largest financial stake in the     entity."); In re Telxon Corp. Sec. Litig., 67 F. Supp. 2d
relief sought by the class. In particular, the group claims     803, 815-16 (N.D. Ohio 1999) (noting that a large group
that they purchased Ventro securities at prices inflated        will have less incentive to exercise control over litigation,
by the Defendants' allegedly false and misleading               particularly if the group members "bear no relation and
statements which resulted in a loss of at least $               have no connection with one another beyond the fact
4,385,824.30. 8                                                 that they suffered financial loss as a result of a drop in
                                                                the price of their shares of stock."). Other courts have
                                                                concluded that the collection of plaintiffs may be
8 The total is based on the losses of the six movants in the    comprised of previously unrelated persons, so long as
Menghini group: Laura Porcelli Menghini's losses totaled $      that group is small and presumably cohesive. 9
1,816,364.00; Marco Carnevale's losses totaled $
1,059,600.00; Anthony Ross' losses totaled $ 836,210.00;
Brad Brewer's losses totaled $ 325,000.00; William Murphy's     Plaintiff's Choice of Counsel and (2) to Consolidate Related
losses totaled $ 324,100.00; and Glen Aber's losses totaled $   Actions Against Ventro Corporation ("Huang Decl."), Ex. B.
24,550.00. See Declaration of Shirley H. Huang In Support of
Motions to (1) Appoint Laura Porcelli Menghini, Marco           9 Some    court have appointed a group of plaintiffs to be lead
Carnevale, Anthony Ross, Brad Brewer, William Murphy and        plaintiff without discussion. See e.g., In re Oxford Health
Glenn Aber as Lead Plaintiffs Pursuant to § 21D(a)(3)(B) of     Plans, Inc., 182 F.R.D. 42, 45 (S.D.N.Y. 1998). In Chill v.
the Securities Exchange Act of 1934 and to Approve Lead         Green Tree Financial, 181 F.R.D. 398, 409 (D.Minn. 1998),
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 See e.g., Weltz v. Lee, 199 F.R.D. 129, 132-133                       members, structure, and intended functioning. Such
(S.D.N.Y. 2001); Baan Company Securities Litigation,                   information should include descriptions of its
186 F.R.D. 214, 216-17 (D.D.C. 1999). [*27] Finally,                   members, including any pre-existing relationships
courts have opted for a third or middle option that finds              among them; an explanation of how it was formed
no single factor dispositive, but requires the group to                and how its members would function collectively;
justify and explain its composition and structure in terms             and a description of the mechanism that its
of adequacy to represent the class. See e.g., In re                    members and the proposed lead counsel have
Microstrategy Inc., 110 F. Supp. 2d at 435; In re                      established to communicate with one another about
Network Assocs. Inc. Sec. Litig., 76 F. Supp. 2d 1017,                 the litigation.
1026 (N.D.Cal. 1999) ("If the proposed group fails to
explain and justify its composition and structure to the          Id. However, in Network Associates, Inc., the court
court's satisfaction, its motion should be denied or              decided that none of the proposed groups met the "strict
modified as the court sees fit.").                                criteria [the court] set out." Network Associates, Inc., 76
                                                                  F. Supp. 2d at 1026-27. [*30] The court found that "in
 [*28] None of these options has been endorsed by the             this case, neither proposed group even comes close" to
Ninth Circuit. However, the middle approach adopted by            justifying their function as a group. See id.
the court in Microstrategy seems the best option. As that               Artificial aggregation of the type here proposed
court stated, "this approach, which relies on no single                 should never be allowed for any purpose, including
factor, allows a district court maximum flexibility to                  to serve as lead plaintiff or to sponsor a subgroup
select a lead plaintiff who will best represent the                     as lead plaintiff. Therefore, the Court will attempt to
interests of the class and exercise control of the                      identify the single candidate with the largest
litigation." Microstrategy Inc. 110 F. Supp. 2d at 435                  financial interest in the litigation and vet that
(citations omitted). This flexible approach fulfills the                candidate against the requirements of the PSLRA.
intent of the PSLRA to appoint the person or persons
"most capable of adequately representing the interests            Id. 10
of class members." It achieves the goal of preventing
                                                                  [*31] 2.) Analysis
lawyers from directing the litigation by forcing the group
to justify its existence and explain its structure,               Because this Court had reservations about the Menghini
particularly its control over the litigation. Cf., Donnkenny      Group, the Court required further briefing by the group
Inc., 171 F.R.D. at 158 ("Congress hoped that the lead            to justify and explain the group to the Court. The
plaintiff would seek the lawyers, rather than having the
lawyers seek the lead plaintiff."). However, in situations
where no institutional investor has sought to be class
counsel, as in the case at bar, the approach allows for a         10 Similarly,in Microstrategy, the court found that a group of
small group of investors to step forward to control the           investors did not qualify as a lead plaintiff:
litigation. [*29] As intended by the PSLRA; the final
analysis requires the Court's satisfaction that the group              There was nothing in the record to provide any assurance
                                                                       that the group was cohesive, comprised of like-minded
truly will represent the best interests of the larger class.
                                                                       members, or otherwise likely to function as a unified
Therefore, the Court adopts the approach that requires
                                                                       group. The group failed to present evidence with respect
the plaintiffs to explain and justify to the court the
                                                                       to its formation, its operational structure, or whether the
creation and structure of the group.                                   group had ever communicated with one another about
                                                                       their roles. Furthermore, this group retained three law
In Network Associates, Inc., Judge Alsup established a
                                                                       firms to serve as co-lead counsel; this fact suggests that
criteria by which a court could assess whether the                     the group was merely a diverse collection of plaintiffs
proposed group is capable of performing the lead                       assembled by these three firms for the purpose of
plaintiff function. See Network Associates, Inc. 76 F.                 winning the lead plaintiff role, allowing them to share the
Supp. 2d at 1026. HN15[ ] The proposed group                           lead counsel role. [Citation] The only record evidence
     should provide appropriate information about its                  suggesting that the group would function as a group was
                                                                       counsel's representation that they were "cohesive," which
                                                                       was not sufficient in the absence of any record evidence
the court held that there was no arbitrary limit on the number         supporting that representation.
of proposed lead plaintiffs. However, in choosing a group of
six with the largest financial stake, the court did not discuss   Microstrategy Inc., 110 F. Supp. 2d at 437 (citations omitted)
whether the group chosen was in any way related.                  (emphasis in original).
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Menghini Group has submitted information which                  the creation of a separate subclass of bondholders
demonstrates that the Group was essentially brought             because this would potentially fragment the litigation.
together by different law firms for the purpose of              However, in both the hearing before this Court and in
litigation. The Group has submitted declarations which          their briefs, the Menghini Group has stressed that Mr.
state that they will represent the best interests of the        Aber will represent the interest of bondholders. To
class. Additionally, the Group has stated that, following       underscore this point, the Menghini Group has proposed
the hearing before this Court, it has created a structure       a structure which would allow Mr. Aber to have the final
to control the litigation by which the six members of the       decision-making authority for issues concerning the
Group will meet regularly and make decisions by                 bondholders. This demonstrates that the Menghini
consensus with Ms. Menghini having the final decision           Group acknowledges that the bondholders' interests
relating to matters concerning stockholders and Mr.             may not be co-extensive with the stockholders' interests.
Aber having the final decision-making authority for             However, the decision to create a separate class or co-
issues relating to bondholders.                                 lead plaintiffs is within the discretion of the Court.

Despite these assurances, the Court finds that the              In arguing that the Menghini Group will not adequately
group of six individuals does not satisfy the                   represent the bondholders, Houx restates [*34] the
requirements of the PSLRA. The Group was essentially            arguments he made in opposition to the motion to
created by three different law firms with the intention of      consolidate, namely, that there are additional legal
establishing the largest financial stake; a practice which      theories involved with the bondholders, that different
courts have disfavored. See Network Associates, Inc.,           defendants are named, and that different evidentiary
76 F. Supp. 2d at 1026-27; [*32] In re Razorfish, 143 F.        and pleading standards are involved. Houx contends
Supp. 2d at 304 (rejecting a group of unrelated investors       that these differences create a potential for intra-class
as "simply an artifice cobbled together by cooperating          conflict, and for this reason the Court should create a
counsel for the obvious purpose of creating a large             separate class with a separate lead plaintiff and
enough grouping of investors to qualify as lead                 separate counsel.
plaintiff."); see also Microstrategy, 110 F. Supp. 2d at
437 (proposed appointment of three law firms as lead            HN16[ ] Courts have been cautious in creating
counsel for proposed group of lead plaintiffs suggested         subclasses for different groups in securities class
group was "merely a diverse collection of plaintiffs            actions. See e.g., In re Cendant Corp. Litigation, 182
assembled by these three firms for the purpose of               F.R.D. 476, 480 (D.N.J. 1998) ("Cendant II") (creating
                                                                subclass "would injure the purpose of the PSLRA by
winning the lead plaintiff role" and "allowing [the firms] to
                                                                fragmenting the plaintiff class and decreasing client
share the lead counsel role."). Despite the fact that the
                                                                control."). As noted above, courts have found that
Group has created a structure to control the litigation,
                                                                differences in class periods, pleading and evidentiary
the Group remains a creation of the firms which they are
                                                                standards or differences in named defendants do not
to control. Therefore, the Court finds it appropriate to
                                                                preclude consolidation or necessitate the creation of co-
select the individual movants whose financial interest
                                                                lead plaintiffs or subclasses. See e.g., Mircostrategy
suggests that he or she will best represent the interests
                                                                Inc., 110 F. Supp. 2d 427; Aronson, 79 F. Supp. 2d
of the class. However, before the Court can determine
that individual or individuals, it must determine whether       1146. 11
there should be a separate subclass consisting of note
                                                                Thus none of those differences will necessarily warrant
or bondholders.

3.) Creation of Subclass or Appointment of Co-Lead
Plaintiffs                                                      11 Houx  has noted that the class period for the bondholders in
                                                                Sunshine Wire and Cable is shorter than that in Miller. He
 [*33] Houx argues that the court should create a               contends that discovery might be more expansive than
separate group of plaintiffs consisting of the                  necessary to cover the bondholder claims. However, as the
bondholders and that he be appointed lead plaintiff             Menghini Group has noted, Houx also seeks coordination of
because he has the greatest financial stake of the              discovery between the Note and Common Stock Actions. See
bondholders. He contends this is necessary because              Houx's Memorandum of Points and Authorities in Opposition
the Menghini Group will not adequately represent                to Consolidate All Related Actions Against Ventro Corporation
bondholders and that there is a unique defense to their         at 2, n.3. Thus, it appears that Houx is not overly concerned
representation. The Menghini Group initially opposed            about the expansive nature of the discovery in the stockholder
                                                                suits.
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a subclass. Moreover, [*35] the fact that plaintiffs might       The types of situations in which subclasses or co-lead
have different types of securities also does not require a      plaintiffs have been created--potential problems of
separate class or co-lead plaintiffs. See e.g., In re           standing, costs of litigation, etc.--are not truly present.
Cendant Corp. Litigation, 182 F.R.D. 144, 148 (D.N.J.           On balance, the differences between the stockholder
1998) ("Cendant I"). As the court stated in Cendant             and bondholder classes would appear to be not so
Corp. I,                                                        significant as to warrant the creation of a separate
    More likely than not, the putative class in any large       subclass.
    shareholder action will be composed of plaintiffs
    whose portfolios differ in composition from one              [*38] Nonetheless both parties have apparently
    another. This, however, does not justify the                conceded that there are potential differences between
    appointment of potentially innumerable co-lead              the bondholders and stockholders such that a
    plaintiffs to ensure that each individual interest is       bondholder must be included as a lead plaintiff. The
    represented. Competing movants may be correct               Court is mindful that a balance must be struck in
    that the resolution of this case could ultimately favor     determining the appropriate lead plaintiff. See Cendant
    holders of one type of security over others. On the         I, 182 F.R.D. at 148. The Court, therefore, finds its
    other hand, representation by a disparate group of          appropriate to appoint a bondholder as co-lead plaintiff
    plaintiffs, each seeking only a protection of its own       in addition to a stockholder. However, to avoid
    interests, could well hamper the force and focus of         fragmentation, the Court finds the model suggested by
    the litigation. A balance must be struck.                   the Menghini Group to be the best structure. The
                                                                bondholder representative shall be a part of a group of
Id.                                                             co-lead plaintiffs. Together this group shall represent the
                                                                entire putative class of litigants. In situations in which
 [*36] However, that is not to say that courts have not         the bondholders interests are separate and independent
decided to create subclasses or co-lead plaintiffs if           of the stockholders interests, the bondholder
necessary to ensure that the class members interests            representative shall have the final decision-making
are adequately represented. See e.g., In re Oxford              authority for those issues. Equally, the stockholder
Health Plans, Inc. Securities Litigation, 182 F.R.D. 42,        representative shall have the final decision-making
45 (S.D.N.Y. 1998) (finding that the interests of               authority for issues concerning only the stockholders. In
proposed class best served by appointing three co-lead          all other situations, the co-lead plaintiffs shall make
plaintiffs because two of the parties were large
institutional investors and there was a concern over the
                                                                2d 715 (1999) the Supreme Court expressed concerns about
potential cost of the litigation); cf. Chill v. Green Tree      intra-class conflict. However, in each of those cases dealing
Financial Corp., 181 F.R.D. 398, 405-406 (D.Minn 1998)          with asbestos related injuries, the Court was focused on
(finding that because option holders did not have               whether class certification was proper for terms of settlement.
standing under the PSLRA it was necessary to                    See Amchem, 521 U.S. at 620; Ortiz, 527 U.S. at 847. Also
consolidate stockholder claims separately from option           important to the Court's analysis in both cases was that the
claims). Thus the question is whether a subclass is             putative class contained plaintiffs with past injuries as well as
necessary to protect the bondholders interests.                 speculative plaintiffs with potential future injuries and that
                                                                there were significant differences in both the causes of the
In this case, the factual allegations are identical and the     injuries and the proof of damages. See Amchem, 521 U.S. at
same general legal theory applies for both classes. The         627; Ortiz, 527 U.S. at 824. In each case the Court found that
fact that different securities are involved does not            the context of settlement and the differences in class members
necessarily merit a separate subclass. See e.g.,                prevented the certification of such a large class.
Cendant I, 182 F.R.D. at 148. The additional
                                                                Factually neither of the cases is applicable. Moreover, in
defendants, statutory violations, pleading and [*37]            Amchem and Ortiz, the fact that an undetermined, speculative
evidentiary standards of bondholder class are not               plaintiff class was involved, and the significant differences in
antagonistic to any common claims between the                   the causes of injuries and proof of damages created the
stockholders and bondholders. 12                                significant probability of intra-class conflict. Here, there is a
                                                                determinable number of plaintiffs, all of the alleged injuries
                                                                stem from the same factual allegations and are based on the
                                                                same general theory of misrepresentation, albeit with
12 Houx also notes that in Amchem Products v. Windsor, 521      additional violations under the 1933 Act. Moreover, unlike in
U.S. 591, 117 S.Ct. 2231, 138 L. Ed. 2d 689 (1997) and Ortiz    the settlement context in Amchem and Ortiz, the Court can
v. Fibreboard Corp., 527 U.S. 815, 119 S.Ct. 2295, 144 L. Ed.   later create a subclass if a conflict truly does arise.
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decisions by consensus.                                            larger financial interest than Aber, the Court will not
                                                                   decide whether a unique defense also precludes Aber
4.) Co-Lead Plaintiffs                                             from representing the best interests of the bondholders.
                                                                   15
a.) Stockholder [*39]       Representative
                                                                   [*42] b. Federal Rule 23 Considerations
Movant Laura Porcelli Menghini ("Menghini") has
represented that she sustained losses of over $                    1.) Typicality
1,800,000. She is the largest financial stakeholder who
has moved to be appointed lead plaintiff. As noted                 HN17[ ] Rule 23 states that a class action is proper
above, the PSLRA favors the investors with the largest             only where "the claims or defenses of the representative
financial stake as presumptively representing the best             parties are typical of the claims or defenses of the
interests of the class. Thus the Court shall consider              class." Fed. R. Civ. P. 23(a)(3). "Under [Rule 23's]
Menghini as a potential co-lead plaintiff.                         permissive standards, representative claims are 'typical'
                                                                   if they are reasonably co-extensive with those of absent
b.) Bondholder Representative
                                                                   class members; they need not be substantially
Movant Houx claims that his loss is $ 39,400.00, which             identical." Takeda v Turbodyne Techs., Inc., 67 F. Supp.
is the largest of those bondholders before the Court who           2d 1129, 1136 (C.D. Cal. 1999), citing Hanlon v.
suffered losses during the class period. This is in                Chrysler Corp., 150 F.3d 1011,1019 (9th Cir: 1998).
comparison to the roughly $ 25,000 loss allegedly                  "The test is that the class representative 'must be part of
suffered by noteholder Glen Aber ("Aber") who is a                 the class and possess the same interest and suffer the
member of the Menghini Group. 13                                   same injury as the class members.'" Haley v. Medtronic,
                                                                   Inc., 169 F.R.D. 643 at 649 (1996), citing, inter alia,
 Because Houx is the largest financial stakeholder of
                                                                   CRLA v. Legal Services Corp., 917 F.2d 1171,1175 (9th
any bondholder presently moving this Court to be
                                                                   Cir. 1990). "In other words, a claim is typical if it: (1)
appointed lead plaintiff, Houx shall be vetted by the
Court as the potential co-lead plaintiff.

 [*40] Houx also notes that Aber sold his bonds in                 15 InMicrostrategy Inc., the court noted in a footnote that one
October of 2000 and did not own any other Ventro
                                                                   party was not viable as a lead plaintiff because his status as
bonds during the last two months of the class period.              an "in/out" trader made him potentially subject to a unique
Houx claims this gives rise to a unique defense against            defense based on the timing of his sales. See 110 F. Supp. 2d
Aber because Aber did not sell after the "correction" in           at 437, n. 23. However, there is not a per se rule against
December of 2000. Essentially, Houx is arguing that                having an in/out trader as a class representative. See Welling
Aber's status as an "in/out" 14                                    v. Alexy, 155 F.R.D. 654, 661-662 (N.D.Cal. 1994). In a
                                                                   thorough opinion, Judge Orrick noted that while there are
 [*41] trader disqualifies him as an adequate                      some potential misgivings about having an in/out trader as a
representative. Because the Court finds that Houx has a            class representative, this did not mean such a person could
                                                                   not serve as a class representative. See id. The court noted
                                                                   that the Ninth Circuit had upheld certification of classes
13 Mr.
     Houx disputes this amount in terms of the loss from           containing both in/out and retention traders. See id., citing
bondholdings and puts the figure at $ 18,375.00.                   Black v. Barrack, 524 F.2d 891 (9th Cir. 1975); Wool v.
14
                                                                   Tandem Computers, Inc. 818 F.2d 1433, 1437 (9th Cir. 1987)
                                                                   ("because market forces are independent of corrective
     An in/out trader is one who both purchases and sells          disclosures, an in-and-out trader… may suffer recoverable
     stock during the same period of alleged price inflation.      damages under the out-of-pocket rule even in the absence of
     Unlike the typical "retention" trader who holds his or her    corrective disclosures."). The bigger problem with in/out
     securities throughout the class period, an in/out plaintiff   traders is that proving reliance is made more difficult. See e.g.,
     recoups at least some of the loss incurred by the             Welling, 155 F.R.D. at 661 ("If… the class was fooled into
     purchase because he both buys and sells during the            purchasing Cirrus stock until the disclosure of accurate, but
     period of price inflation. Thus, in awarding damages, a       adverse information at the end of the class period… then it
     court will subtract from his calculated injury upon           appears Welling was not duped because he sold much of his
     purchase, the amount of his recoupment at the time of         Cirrus stock before the late April disclosure."). Since Mr. Aber
     sale.                                                         is not the largest financial stakeholder, the Court does not
                                                                   decide whether his status as an in/out trader would preclude
Welling v. Alexy, 155 F.R.D. 654, 661 (N.D.Cal. 1994).             Aber from representing the best interests of the class.
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arises from the same event or practice or course of              HN18[ ] Rule 23(a) requires that the person
conduct that gives rise to the claims of other class             representing the class be able "fairly and adequately to
members; and (2) if is based on the same legal theory            protect the interests" of all members in the class. See
as their claims." Haley, 169 F.R.D. at 649, [*43] citing         Fed. R. Civ. P. 23(a)(4). "The Ninth Circuit has held that
Rosario v. Livaditis, 963 F.2d 1013, 1018 (7th Cir.              representation is 'adequate' when counsel for the class
1992).                                                           is qualified and competent, the representative's interests
                                                                 are not antagonistic to the interests of absent class
The claims of Menghini and Houx are typical of the               members, and it is unlikely that the action is collusive."
unnamed plaintiff class. 16                                      Takeda, 67 F. Supp. 2d at 1137, citing In re Northern
 The members of the potential co-lead plaintiff group as         Dist. of Cal., Dalkon Shield IUD Prod. Liab. Litig., 693
well as all the class members acquired securities --             F.2d 847, 855 (9th Cir. 1982). "In addition, the class
either stocks or bonds -- during the class period, at            representative must have a sufficient interest in the
prices allegedly inflated by the Defendants' misconduct.         outcome of the case to ensure vigorous advocacy."
The co-lead plaintiffs suffered monetary damages, again          Takeda, 67 F. Supp. 2d at 1137, citing Riordan v. Smith
allegedly by the Defendants' misconduct. Finally, as with        Barney, 113 F.R.D. 60, 64 (N.D. Ill. 1986).
all of the actions filed, the potential co-lead plaintiffs
allege that the Defendants violated federal securities           The potential co-lead plaintiff group contains both a
law by publicly disseminating materially false and               stockholder and a bondholder. The group has the
misleading statements about Ventro during the class              largest financial stake in the action of any movant before
period. The co-lead plaintiffs' claims can be said to be         the Court and, therefore, it may be assumed they have
co-extensive with those of the class in that they arise          a strong interest in [*45] fully prosecuting this action.
out of the alleged misconduct and seek relief under the          See e.g., Cendant Corp., 182 F.R.D. at 148 (public
same legal theories. Therefore, the co-lead plaintiffs'          pension fund had "significant holdings in each type of
claims are typical of the class.                                 security held by the putative plaintiff class and have
                                                                 suffered enormous losses. It is unrealistic to assume
[*44] (2.) Fair and Adequate Representation                      that they would not travel every avenue that could
                                                                 potentially enhance their potential recovery."). The
16 For instance, the Menghini Group lists the following          potential co-lead plaintiffs have also submitted sworn
questions which are common to all of the actions:                declarations confirming that they are willing to serve as
                                                                 class representatives and to assume the responsibilities
     1. Whether the federal securities laws were violated by
                                                                 which thus adhere. The Court is satisfied that the co-
     defendant's alleged misconduct;
                                                                 lead plaintiffs will fairly and adequately represent the
     2.   Whether    the     defendants      omitted    and/or   best interests of the class.
     misrepresented material facts during the Class Period;
                                                                 For all of the foregoing reasons, the Court finds that it is
     3. Whether the individual defendants caused Ventro to
     issue false and misleading statements during the Class      appropriate to appoint Laura Porcelli Menghini and John
     Period                                                      Houx as co-lead plaintiffs. Menghini will be given final
                                                                 decision-making authority for those issues concerning
     4. Whether defendants acted knowingly or with deliberate
                                                                 only the stockholders and Houx will be given final
     recklessness in issuing false and misleading financial
                                                                 decision-making authority for those issues concerning
     statements;
                                                                 only the bondholders. In all other decisions, the co-lead
     5. Whether the market price of Ventro securities was        plaintiffs shall work as a group and make decisions by
     artificially inflated during the Class Period because of    consensus. Therefore, the Court GRANTS in part and
     defendants' conduct complained of herein; and               DENIES in part the Menghini [*46] Group's motion to
     6. Whether members of the class have sustained              be appointed lead plaintiffs and GRANTS Houx's motion
     damages and, if so, what is the proper measure of           to be appointed lead plaintiff.
     damages.

Notice of Motion, Motion and Memorandum of Points and            C. Approval of Lead Plaintiff's Attorney
Authorities in Support Thereof to Appoint Laura Porcelli
Menghini, Marco Carnevale, Anthony Ross, Brad Brewer,            The final determination before the Court the approval of
William Murphy and Glenn Aber as Lead Plaintiffs Pursuant to     lead counsel for the co-lead plaintiffs. The PSLRA
Section 21D(a)(3)(B) of the Securities Exchange Act of 1934      provides that, HN19[ ] "the most adequate plaintiff
and to Approve Lead Plaintiff's Choice of Counsel.
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shall, subject to the approval of the court, select and      Menghini Group's stated that the bi-coastal nature of the
retain counsel to represent the class." 15 U.S.C. § 78u-     litigation supported the need for multiple firms. Despite
4(a)(3)(B)(v). HN20[ ] This requires some deference to       possible benefits for division of labor and sharing of
the lead plaintiff's choice of counsel. See Armour, 171 F.   resources, there is also a serious drawback when
Supp. 2d 1044, 2001 WL 969008, at *9. "The                   multiple firms are charged with representing one group.
expectation is that the person or group with the largest     The potential for conflict between the firms in terms of
financial stake can best prosecute the claims, and will      strategy is apparent. To the extent that one firm assume
best be able to select, negotiate with, and monitor class    the leadership position in the litigation, it begs the
counsel." Takeda v. Turbodyne Techs., Inc., 67 F. Supp.      question of the true need for additional firms. In light of
2d 1129, 1132 (C.D. Cal. 1999). However, since the           these concerns, the Court reaffirms its preference for a
lead plaintiff owes fiduciary duties to the class, it is     single law firm to represent the [*49] group. However, if
appropriate for the Court to screen the selected counsel     Menghini and Houx believe that more than one law firm
to ensure that this counsel is appropriate to represent      is necessary, they must demonstrate to the Court's
the interests of the class. See Amour, 171 F. Supp. 2d       satisfaction the need for multiple lead counsel. In
1044, 2001 WL 969008, at *9. AS Judge Jenkins stated         particular, the co-lead plaintiffs must demonstrate what
in Armour, "it is reasonable to conclude [*47] that the      specifically about this case requires the need for co-lead
PSLRA does not permit a court to substitute its              counsel, any agreement between the firms on division of
judgment for that of the lead plaintiff regarding the        labor and resources, and any history of the proposed
selection of counsel so long as the representation           firms working together in similar litigation. 17
arranged is reasonable and thus does not interfere with
that plaintiff's presumed adequacy to represent the          Given the need of Menghini and Houx to meet and
entire class."                                               confer about the proposed lead counsel, the Court finds
                                                             it is appropriate for the parties to submit their proposed
This matter is complicated by the fact that the two co-      lead counsel on or before January 8, 2002.
lead plaintiffs have proposed the appointment of
different counsel as lead counsel. Menghini originally       III. CONCLUSION
sought the appointment of three firms -- Milberg Weiss
                                                             For the reasons stated above, the Court GRANTS
Bershad Hynes & Lerach, LLP; Savett Frutkin Podell &
                                                             Movant Menghini Group's Motion to Consolidate and
Ryan, P.C.; and Schiffrin & Barroway, LLP. Noting that
                                                             GRANTS in part and DENIES in part Movant Menghini's
the Court had strong reservations for the need for three
                                                             Motion to be Appointed [*50] Lead Plaintiffs and to
law firms, the Menghini Group agreed that Milberg
                                                             Approve Lead Plaintiffs' Choice of Counsel. The Court
Weiss Bershad Hynes and Lerach would be the
                                                             further GRANTS in part and DENIES in part Movant
proposed firm if the Court continued to have
                                                             John Houx's Motion to be Appointed Lead Plaintiff and
reservations. On the other hand, Houx proposed a
                                                             to Approve Lead Plaintiff's Choice of Counsel.
different firm -- Wolf, Haldenstein, Adler, Freeman and
Herz LLP -- to be appointed as lead counsel. While the       Accordingly,
Court has authority to approve or disprove the selection
of lead counsel, there appears no authority which would      IT IS ORDERED THAT the following actions are
allow the Court to appoint lead counsel to a plaintiff who   CONSOLIDATED for all purposes, including, but not
has not requested the appointment. In light of the           limited to, discovery, pretrial proceedings and trial
Court's decision [*48] to appoint Menghini and Houx as       proceedings:
co-lead plaintiffs, the Court defers its decision on the
selection of lead counsel. Menghini and Houx are                Go to table2
ORDERED to meet and confer for the purpose of
proposing the appointment of lead counsel for the single      [*51] The consolidated cases shall be identified as: In
putative class. The Court has reviewed the firm resumes      re Ventro Corporation Securities Litigation, Case No.
of all of the firms proposed separately by Menghini and      Civ. 01-01287 SBA, and the files of this action shall be
Houx and is satisfied that each would adequately and         maintained in one file under Master File No. Civ. 01-
competently serve as counsel to the class.

Further, the Court reminds Menghini and Houx that it
                                                             17 To the extent the parties feel this would compromise the
has strong reservations about appointing multiple co-
                                                             integrity of their trial strategy, the parties may petition the
counsel. At the hearing on September 25, 2001, the
                                                             Court to file their briefs under seal.
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01287 SBA. Any other actions now pending or hereafter          acceptable briefing and hearing schedule for such
filed in this District which are found to be related and       motions.
which arise out of the same facts and claims alleged
shall be consolidated for all purposes.                         [*53] After the appointment of lead counsel, lead
                                                               counsel and the counsel for defendants shall serve all
Every pleading in these consolidated actions, or in any        papers on each other via overnight delivery sent on the
separate action included therein, shall bear the following     day the parties file their papers with the Court, unless
caption:                                                       otherwise agreed upon by the parties. After the
                                                               appointment of lead counsel, all other parties shall be
UNITED STATES DISTRICT COURT                                   served by lead counsel and counsel for defendants via
                                                               first class mail sent on the day the parties file their
NORTHERN DISTRICT OF CALIFORNIA
                                                               papers with the Court, unless otherwise agreed to by
In re VENTRO            CORPORATION          SECURITIES        the parties.
LITIGATION
                                                               IT IS FURTHER ORDERED THAT Laura Porcelli
This Document Relates To:                                      Menghini and John Houx are APPOINTED co lead-
                                                               plaintiffs in accordance with the requirements as
Master File No. Civ. 01-01287 SBA                              described above.

                                                               IT IS FURTHER ORDERED THAT co-lead plaintiffs
CLASS ACTION                                                   Menghini and Houx shall meet and confer for the
                                                               purpose of proposing lead counsel. They shall submit
When a pleading is intended to be applicable to all            their proposed lead counsel for approval of this Court on
actions to which this Order is applicable, the words "All      or before January 8, 2002.
Actions" shall appear immediately after the words "This
Document Relates To:" in the caption set out above.            IT IS SO ORDERED.
When a pleading is intended to be applicable only to
                                                               Dated: 11-28-01
some, but not all of such actions, this Court's docket
number for each individual action to which the paper is        SAUNDRA BROWN ARMSTRONG
intended to be applicable and the last name of the first-
named plaintiff [*52] in said action shall appear              United            States         District         Judge
immediately after the words "This Docket Relates To:" in
the caption described above.

Lead plaintiffs shall file a consolidated amended class
action complaint no later than forty- five (45) days from
the date this Court approves the lead plaintiff's choice of
lead counsel, unless otherwise agreed between the
parties. This complaint shall be deemed the operative
complaint, superseding all complaints filed in any of the
actions consolidated hereunder or in any related cases.
The consolidated amended class action complaint shall
be treated as if it were the original complaint and all
defendants shall have forty-five (45) days after the filing
and service of the consolidated amended class action
complaint     to   answer      or   otherwise     respond.
Notwithstanding the filing of the consolidated amended
class action complaint, lead plaintiffs shall have the right
to amend the consolidated amended class action
complaint pursuant to Rule 15(a). In the event that
defendants file any motions directed at the consolidated
amended class action complaint, counsel are to meet
and confer and report to the Court with regard to an
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Table1 (Return to related document text)




Table1 (Return to related document text)


Table2 (Return to related document text)
            Miller v. Ventro Corp., et al.                       C-01-1287-SBA                    Filed: 3/30/01
            Madison Trading, Inc,                         C-01-1322-SBA          Filed: 4/02/01
            et al, v. Ventro Corp., et al.
            Schelsinger, et al. v.                        C-01-1347-SBA          Filed: 4/04/01
            Ventro Corp., et al.
            Sagerquist v. Ventro                          C-01-2176-SBA          Filed: 4/12/01
            Corp., et al.
            Clement v. Ventro                             C-01-1460-SBA          Filed: 4/13/01
            Corp., et al.
            Criswell v. Ventro Corp.,                     C-01-2177-SBA          Filed: 4/30/01
            et al.
            Sunshine Wire & Cable                         C-01-1713-SBA          Filed: 5/02/01
            Defined Benefit Pension
            Plan Trust DTD v.
            Ventro Corp., et al.
            Kenna v. Ventro Corp., et al.                        C-01-1790-SBA                    Filed: 5/08/01
            Zhang, et al, v. Ventro                       C-01-1952-SBA          Filed: 5/18/01
            Corp., et al.
            Williams v. Ventro Corp.,                     C-01-1962-SBA          Filed: 5/18/01
            et al.
            Fruchter v, Ventro                            C-01-2007-SBA          Filed: 5/23/01
            Corp., et al.

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     Caution
As of: October 30, 2018 2:35 PM Z


                                    Mitchell v. Complete Mgmt., Inc.
                          United States District Court for the Southern District of New York
                              September 15, 1999, Decided ; September 17, 1999, Filed
       99 Civ. 1454 (DAB), 99 Civ. 2087 (DAB), 99 Civ. 2342 (DAB), 99 Civ. 2660 (DAB), 99 Civ. 2846 (DAB)

Reporter
1999 U.S. Dist. LEXIS 14460 *; Fed. Sec. L. Rep. (CCH) P90,652
                                                                 all others who purchased defendant company's common
GARY MITCHELL, ALEXANDER MITCHELL, and
                                                                 stock or convertible debentures. Plaintiffs filed motion
BETSY MITCHELL, on Behalf of Themselves and All
                                                                 for consolidation, motion to be appointed co-lead
Others Similarly Situated, Plaintiffs, -against-
                                                                 plaintiffs, and motion for approval of their selection of
COMPLETE MANAGEMENT, INC., STEVEN
                                                                 lead counsel for the class. Court granted plaintiffs'
RABINOVICI, DAVID R. JACARUSO, ARTHUR L.
                                                                 motion to consolidate cases, finding that the actions
GOLDBERG, JOSEPH M. SCOTTI, DENNIS SHIELDS,
                                                                 involved common questions of law and fact. Court
MANUS O'DONNELL, CLAIRE A. CARDONE,
                                                                 denied plaintiffs' motion to appoint group of 141 class
LAWRENCE W. SHIELDS, M.D., NATIONAL
                                                                 members as lead plaintiffs as unwieldy and directed
SECURITIES CORPORATION, COMMONWEALTH
                                                                 plaintiffs to propose a lesser number of class members
ASSOCIATES, PRUDENTIAL SECURITIES, and
                                                                 for appointment of lead plaintiff. Court denied plaintiffs'
ARTHUR ANDERSEN, LLP., Defendants.
                                                                 motion to appoint law firm as co-lead counsel without
                                                                 prejudice.
Disposition: [*1] Motion to Consolidate Cases for All
Purposes GRANTED; Plaintiffs' Motion to appoint the
                                                                 Outcome
CMI Group as Lead Plaintiffs DENIED. Plaintiffs' Motion
                                                                 Plaintiff's motion to consolidate cases granted, as
to appoint Stull, Stull, & Brody, Schatz & Nobel, P.C.
                                                                 actions involved common questions of law and fact;
and Weiss & Yourman as Co-Lead Counsel DENIED
                                                                 plaintiffs' motion to appoint group of 141 class members
without prejudice to its renewal at such time that
                                                                 as lead plaintiffs denied as unwieldy; plaintiffs' motion to
Plaintiffs submit a new motion for Lead Plaintiff.
                                                                 appoint law firm as co-lead counsel denied without
                                                                 prejudice.
Core Terms
lead plaintiff, appoint, consolidated, securities, class
                                                                 LexisNexis® Headnotes
member, consolidated actions, Co-Lead, class action,
caption, cases, lead counsel, requirements, Plaintiffs'

Case Summary
                                                                     Civil Procedure > Trials > Consolidation of Actions

Procedural Posture                                               HN1[    ] Trials, Consolidation of Actions
On motion by plaintiffs to consolidate cases in securities
fraud class action, motion by plaintiffs to be appointed         Fed. R. Civ. P. 42(a) provides: when actions involving a
co-lead plaintiffs, and motion by plaintiffs to appoint law      common question of law or fact are pending before the
firm as co-lead counsel.                                         court, it may order a joint hearing or trial of any or all the
                                                                 matters in issue in the actions; it may order all actions
Overview                                                         consolidated; and it may make such orders concerning
                                                                 proceedings therein as may tend to avoid unnecessary
Plaintiffs filed class action against defendants, alleging
                                                                 costs or delay.
violations of §§ 10(b) and 20(a) of the Securities
Exchange Act of 1934, 15 U.S.C.S. § 78aa, and Rule
10b-5. Plaintiffs filed action on behalf of themselves and
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    Civil Procedure > Trials > Consolidation of Actions       The Private Securities Reform Act of 1995, 15 U.S.C.S.
                                                              § 78u-4, requires courts to take a more active role in
HN2[   ] Trials, Consolidation of Actions                     supervising the process of selecting lead plaintiffs.

In securities actions where the complaints are based on
the same public statements and reports, consolidation is
                                                                  Civil Procedure > Special Proceedings > Class
appropriate if there are common questions of law and
                                                                  Actions > General Overview
fact and the defendants will not be prejudiced.
                                                                  Securities Law > Civil Liability
                                                                  Considerations > Securities Litigation Reform &
    Civil Procedure > ... > Class Actions > Prerequisites         Standards > Lead Plaintiff
    for Class Action > General Overview
                                                              HN6[    ] Special Proceedings, Class Actions
    Civil Procedure > Special Proceedings > Class
    Actions > Notice of Class Action                          See 15 U.S.C.S. § 78u-4(a)(3)(B)(i).

HN3[ ]     Class Actions, Prerequisites for Class
Action
                                                                  Antitrust & Trade Law > Clayton Act > Defenses
The Private Securities Reform Act of 1995 requires
                                                                  Civil Procedure > ... > Class Actions > Prerequisites
plaintiffs filing a securities fraud class action complaint
                                                                  for Class Action > General Overview
to publish notice of the pendency of the suit no later
than 20 days after the filing date. 15 U.S.C.S. § 78u-
                                                                  Evidence > Inferences &
4(a)(3).
                                                                  Presumptions > Presumptions > Rebuttal of
                                                                  Presumptions

    Civil Procedure > Special Proceedings > Class                 Civil Procedure > ... > Pleadings > Amendment of
    Actions > Notice of Class Action                              Pleadings > General Overview

    Securities Law > Civil Liability                              Civil Procedure > Special Proceedings > Class
    Considerations > Securities Litigation Reform &               Actions > General Overview
    Standards > Lead Plaintiff
                                                                  Securities Law > Civil Liability
    Civil Procedure > Special Proceedings > Class                 Considerations > Securities Litigation Reform &
    Actions > General Overview                                    Standards > Lead Counsel

HN4[   ] Class Actions, Notice of Class Action                    Securities Law > Civil Liability
                                                                  Considerations > Securities Litigation Reform &
In a securities fraud class action, no later than 60 days         Standards > Lead Plaintiff
after the publication of notice, any member of the
purported class may file a motion to serve as lead            HN7[    ] Clayton Act, Defenses
plaintiff. 15 U.S.C.S. § 78u-4 (a)(3)(A)(i)(II).
                                                              Under the Private Securities Reform Act of 1995, there
                                                              is a rebuttable presumption that the most adequate
                                                              plaintiff is the person or group of persons that: (a) has
    Civil Procedure > Special Proceedings > Class
                                                              either filed the complaint or made a motion in response
    Actions > General Overview
                                                              to a notice; (b) in the determination of the court, has the
                                                              largest financial interest in the relief sought by the class;
    Securities Law > Civil Liability
                                                              and (c) otherwise satisfies the requirements of Fed. R.
    Considerations > Securities Litigation Reform &
                                                              Civ. P. 23. 15 U.S.C.S. § 78u-4(a)(3)(B)(iii)(I). This
    Standards > Lead Plaintiff
                                                              presumption may be rebutted by proof by a member of
                                                              the purported class that the presumptively most
HN5[   ] Special Proceedings, Class Actions
                                                              adequate plaintiff: (a) will not fairly and adequately
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protect the interests of the class; or (b) is subject to     MEMORANDUM & ORDER
unique defenses that render such plaintiff incapable of
adequately representing the class. 15 U.S.C.S. § 78u-        DEBORAH A. BATTS, United States District Judge.
4(a)(3)(B)(iii)(II).
                                                             Gary Mitchell, Alexander Mitchell, and Betsy Mitchell
                                                             (collectively "Plaintiffs") filed the instant securities fraud
                                                             class action and moved to have it consolidated with four
    Civil Procedure > Special Proceedings > Class            other actions against the same Defendants. Plaintiffs
    Actions > General Overview                               filed a motion to be appointed Co-Lead Plaintiffs, along
                                                             with other class members, and for the approval of their
    Securities Law > Civil Liability                         selection of Co-Lead Counsel for the class. For the
    Considerations > Securities Litigation Reform &          following reasons, the Court grants the motion to
    Standards > Lead Counsel                                 consolidate, and denies the motion for the CMI Group,
                                                             as it is currently defined, to be appointed Lead Plaintiffs.
HN8[   ] Special Proceedings, Class Actions
                                                             I. BACKGROUND
The Private Securities Reform Act of 1995 provides that
                                                             On February 25, 1999, Plaintiffs filed the instant class
the most adequate plaintiff shall, subject to the approval
                                                             action against Complete Management, Inc. ("CMI"), its
of the court, select and retain counsel to represent the
                                                             officers, directors, underwriters and accountants
class. 15 U.S.C.S. § 78u-4(a)(3)(B)(v).
                                                             alleging violations of Sections 10(b) and 20(a) of the
Counsel: For GARY MITCHELL, ALEXANDER                        Securities Exchange Act of 1934 (the "Exchange Act"),
MITCHELL, BETSY MITCHELL, plaintiffs (99-CV-1454):           15 U.S.C. § 78aa and Rule 10b-5. Plaintiffs filed the
Jules Brody, Stull, Stull & Brody, New York, NY.             action on behalf of themselves and all others who
                                                             purchased CMI common stock or convertible
For BENTON J. SELTZER, plaintiff (99-CV-2087): Jules         debentures between May 1, 1996 and [*3] August 13,
Brody, Stull, Stull & Brody, New York, NY.                   1998. (Compl. P 1.) CMI provides physician practice
For RICHARD LOWINGER, plaintiff (99-CV-2342):                management services to hospitals and medical
Robert J. Berg, Bernstein, Liebhard & Lifshitz, L.L.P.,      practices in the New York area. (Id. P 2.) Plaintiffs
New York, NY.                                                allege that Defendants omitted and/or misrepresented
                                                             information regarding the financial stability of CMI and
For LINDEMANN LIVING TRUST, I. JOEL FELDMAN,                 its business prospects. (Id. P 1.)
SUSAN FELDMAN, plaintiffs (99-CV-2660): Mark D.
Smilow, Joseph H. Weiss, Weiss & Yourman, New                In accordance with the requirements of the Private
York, NY.                                                    Securities Reform Act of 1995 ("PSLRA"), 15 U.S.C. §
                                                             78u-4, Plaintiffs published notice of the pendency of the
For GAMEL TAYAB, plaintiff (99-CV-2846): Aaron L.
                                                             instant action over the Business Wire on February 26,
Brody, Jules Brody, Stull, Stull & Brody, New York, NY.
                                                             1999. (See Brody Decl. Ex. B.) Since the filing of the
For GAMEL TAYAB, plaintiff (99-CV-2846): Thomas G.           instant Complaint, four other class action complaints
Shapiro, Shapiro, Haber & Urmy, L.L.P., Richard J. Vita,     arising out of the same facts and alleging virtually
Boston, MA.                                                  identical claims have been filed in the Southern District
For PRUDENTIAL SECURITIES, defendant (99-CV-                 of New York. 1
1454): George Wailand, Cahill Gordon & Reindel, New           Plaintiffs filed their motion for consolidation and for
York, NY. [*2]                                               appointment of Lead Plaintiff and Lead Counsel on April
                                                             27, 1999. No other class members in this or any of the
Judges: DEBORAH A. BATTS, United States District             related actions have filed a motion for Lead Plaintiff or
Judge.
                                                             1 The Court has accepted the following four actions as related
Opinion by: DEBORAH A. BATTS
                                                             to the instant Complaint: [all reported at: 1999 U.S. Dist.
                                                             LEXIS 14460] Seltzer v. Complete Management, Inc., et al.,
Opinion                                                      99 Civ. 2087; Lowinger v. Complete Management, Inc., et al.,
                                                             99 Civ. 2342; Lindemann Living Trust, et al. v. Complete
                                                             Management, Inc., et al., 99 Civ. 2660; Tayab v. Complete
                                                             Management, Inc., et al., 99 Civ. 2846.
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Lead Counsel.                                                    interest of judicial economy these cases shall be
                                                                 consolidated.

[*4] II. DISCUSSION
                                                                 [*6] B. Motion For Lead Plaintiff
A. Motion to Consolidate
                                                                 In 1995, Congress enacted the PSLRA in response to
Plaintiffs move for consolidation of the five related
                                                                 perceived abuses in securities fraud class actions. The
actions, and any subsequently filed related actions,
                                                                 purpose behind the PSLRA was to prevent "lawyer-
pursuant to Rule 42(a) of the Federal Rules of Civil
                                                                 driven" litigation, and to ensure that "parties with
Procedure. HN1[ ] Rule 42(a) provides:
                                                                 significant holdings in issuers, whose interests are more
     When actions involving a common question of law
                                                                 strongly aligned with the class of shareholders, will
     or fact are pending before the court, it may order a
                                                                 participate in the litigation and exercise control over the
     joint hearing or trial of any or all the matters in issue
                                                                 selection and actions of plaintiffs' counsel." In re Oxford
     in the actions; it may order all actions consolidated;
                                                                 Health Plans, Inc., Sec. Litig., 182 F.R.D. 42, 43-44
     and it may make such orders concerning
                                                                 (S.D.N.Y. 1998); see also In re Donnkenny Inc. Sec.
     proceedings therein as may tend to avoid
                                                                 Litig., 171 F.R.D. 156, 157 (S.D.N.Y. 1997).
     unnecessary costs or delay.

Fed. R. Civ. P. 42(a). "Courts have taken the view that          Accordingly, the PSLRA amended the Exchange Act by
considerations of judicial economy favor consolidation."         altering the procedures for bringing such class actions.
Johnson v. Celotex Corp., 899 F.2d 1281, 1284-85 (2d             In re Oxford Health Plans, 182 F.R.D. at 43. HN3[ ]
Cir.), cert. denied, 498 U.S. 920, 112 L. Ed. 2d 250, 111        The PSLRA requires plaintiffs filing a securities fraud
S. Ct. 297 (1990). HN2[ ] "In securities actions where           class action complaint to publish notice of the pendency
the complaints are based on the same 'public                     of the suit no later than twenty days after the filing date.
statements and reports' consolidation is appropriate if          15 U.S.C. § 78u-4(a)(3). HN4[ ] No later than sixty
there are common questions of law and fact and the               days after the publication of notice, any member of the
defendants will not be prejudiced." Werner v. Satterlee,         purported class may file a motion to serve as lead
Stephens, Burke & Burke, 797 F. Supp. 1196, 1211                 plaintiff. 15 U.S.C. § 78u-4 [*7] (a)(3)(A)(i)(II). If a
(S.D.N.Y. 1992) (quoting Lloyd v. Indus. Bio-Test Lab.,          motion for consolidation has been made, the Court shall
Inc., 454 F. Supp. 807, 812 (S.D.N.Y. 1978)). [*5]               not appoint a lead plaintiff "until after the decision on the
Plaintiffs assert that the related actions involve common        motion to consolidate is rendered." 15 U.S.C. § 78u-
questions of law and fact, similar issues regarding class        4(a)(3)(B)(ii).
certification, and identical discovery. See Pls.' Mem.
Law at 14.                                                       In addition to amending filing procedures, HN5[ ] the
                                                                 PSLRA requires Courts to take a more active role in
The claims alleged in the five cases are identical. They         supervising the process of selecting lead plaintiffs. See
are based on the exact same public statements and                D'Hondt v. Digi Int'l, 1997 U.S. Dist. LEXIS 17700, *8,
reports and they are all against the same Defendants.            Nos. Civ. 97-5, Civ. 97-295, Civ. 97-156, Civ. 97-538,
The only differences are in the types of securities              Civ. 97-531, Civ. 97-440, 1997 WL 405668, at *2
purchased by Plaintiffs and that the putative class              (D.Minn. Apr. 3, 1997) ("the Reform Act mandates
period in Lindemann Living Trust is slightly shorter. 2          greater Court supervision in the selection of claimants,
 Accordingly, the Court finds that the five actions involve      who will control the prosecution of such claims, and in
common questions of law and fact, and that in the                the decision, by those claimants, to retain the
                                                                 assistance of legal counsel to prosecute their claims").

                                                                 HN6[ ] The PSLRA provides that:
2 Plaintiffsin Lindemann Living Trust purchased convertible         The court . . . shall appoint as lead plaintiff the
debentures; Plaintiffs in Mitchell and Lowinger purchased           member or members of the purported plaintiff class
convertible debentures and common stock; and Plaintiffs in          that the court determines to be most capable of
Tayab and Seltzer generally state that they purchased               adequately representing the interests of class
securities. The class period identified in Lindemann Living         members (hereafter in this paragraph referred to as
Trust is between June 6, 1996 and August 13, 1998, while the        the "most adequate plaintiff").
class period in the other four cases is between May 1, 1996
and August 13, 1998.
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15 U.S.C. § 78u-4(a)(3)(B)(i). HN7[ ] Under the                 however, undermines the purpose of having a lead
PSLRA, there [*8] is a rebuttable presumption that the          plaintiff. See In re Donnkenny, 171 F.R.D. at 157 ("To
most adequate plaintiff is "the person or group of              allow an aggregation of unrelated plaintiffs to serve as
persons that - (aa) has either filed the complaint or           lead plaintiffs defeats the purpose of choosing a lead
made a motion in response to a notice . . . (bb) in the         plaintiff"). The Court recognizes that appointing a group
determination of the court, has the largest financial           of people as co-lead plaintiffs is not only allowable
interest in the relief sought by the class; and (cc)            under the PSLRA, but often beneficial. See In re Oxford
otherwise satisfies the requirements of Rule 23 of the          Health Plans, 182 F.R.D. at 46, (finding that
Federal Rules of Civil Procedure." 15 U.S.C. § 78u-             appointment of multiple lead plaintiffs would benefit the
4(a)(3)(B)(iii)(I).                                             plaintiff class in costly and complex case by pooling
                                                                experience and resources of counsel). The Court also
This presumption may be rebutted by proof by a                  acknowledges that the PSLRA does not "recommend or
member of the purported class "that the presumptively           delimit a specific number of lead plaintiffs, [and that] the
most adequate plaintiff - (aa) will not fairly and              lead plaintiff decision must be made on a case-by case
adequately protect the interests of the class; or (bb) is       basis, taking account of the unique circumstances of
subject to unique defenses that render such plaintiff           each case." Id. at 49. In this case, however, Plaintiffs
incapable of adequately representing the class." 15             have not provided any reason why appointing a group of
U.S.C. § 78u-4(a)(3)(B)(iii)(II). Plaintiffs' motion for Lead   141 unrelated investors as co-lead plaintiffs is
Plaintiff and for approval of their selection of Co-Lead        necessary [*11] or beneficial to this litigation. The Court
Counsel is unopposed.                                           finds that such a large group of lead plaintiffs would
                                                                prove unwieldy for making decisions about the litigation,
Plaintiffs move to be appointed Lead Plaintiffs along           thereby increasing the likelihood that attorneys would
with over one hundred class members. This group of              direct the action.
141 purchasers of CMI securities identifies itself as the
CMI group and together these class members have                 Accordingly, on this record to date, Plaintiffs' motion to
sustained $ 11,394,836.00 in out of pocket losses. [*9]         appoint the CMI group as Lead Plaintiff is denied.
See Pls.' Mem. Law at 1 n.1. Plaintiffs argue that the          Plaintiffs are hereby directed to propose and justify a
CMI group should be appointed Lead Plaintiff for the            lesser number of lead plaintiffs for selection from the
following reasons: they have complied with the filing           consolidated group of Plaintiffs within thirty days of the
procedures under the PSLRA; they have the largest               date of this Order.
financial interest in relief sought by the Class; they
                                                                C. Appointment of Lead Counsel
satisfy the requirements of Rule 23; and the
presumption in their favor has not been rebutted. See
                                                                HN8[ ] The PSLRA provides that "the most adequate
Pls.' Mem. Law at 8-12.
                                                                plaintiff shall, subject to the approval of the court, select
Essentially Plaintiffs argue that the CMI group should be       and retain counsel to represent the class." 15 U.S.C. §
appointed Lead Plaintiff because the PSLRA does not             78u-4(a)(3)(B)(v). Because the most adequate plaintiff
prohibit it from being approved. Several courts have            has yet to be determined, the Court cannot at this time
interpreted the PSLRA to allow a group of people to be          select lead counsel.
named lead plaintiff. See In re Oxford Health Plans, 182        III. CONCLUSION
F.R.D. at 45 (S.D.N.Y. 1998) (appointing three groups of
investors as co-lead plaintiffs); D'Hondt, 1997 WL              Having considered the motion for Appointment of Lead
405668, at *3-5 (appointing twenty-one class members            Plaintiffs and Lead Counsel Pursuant to Section 21D of
as lead plaintiffs in action where class could number in        the Securities Exchange Act of 1934 and for
the "hundreds of thousands, if not millions, [and] an           Consolidation of the Actions Pursuant to Rule 42(a) of
arbitrary limit on the number of proposed Lead Plaintiffs       the Federal Rules of Civil Procedure, IT IS HEREBY
would be unrealistic, if not wholly counterproductive");        ORDERED THAT:
but see In re Donnkenny, 171 F.R.D. at 157 ("To allow
lawyers to designate unrelated plaintiffs [*10] as a            1. The Motion to Consolidate [*12]          Cases for All
'group' and aggregate their financial stakes would allow        Purposes is GRANTED;
and encourage lawyers to direct the litigation").
                                                                2. The following actions are hereby consolidated for all
Naming a group of 141 class members as lead plaintiff,          purposes, including pretrial proceedings, trial and
        Case 4:17-cv-02399 Document 67-3 Filed in TXSD on 11/07/18 Page 73 ofPage
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appeal, pursuant to Rule 42(a) of the Federal Rules of        7. When a pleading is filed and the caption shows that it
Civil Procedure:                                              is applicable to "All Actions," the clerk shall file such
                                                              pleading in the Master File and note such filing on the
                                                              Master Docket. No further copies need to be filed, and
                                                              no other docket entries need be made.
   Go to table1
                                                              8. When a pleading is filed and the caption shows that it
3. The caption of these consolidated actions shall be "In     is to be applicable to fewer than all of the consolidated
re Complete Management, Inc. Securities Litigation" and       actions, the Clerk will file such pleading in the Master
the files of these consolidated actions shall be              File only but shall docket such filing on the Master
maintained in one file under Master File No. 99 Civ.          Docket and the docket of each applicable action.
1454 (DAB). Any other actions now pending or later filed
in this district which arise out of or are related to the     9. When a case which properly belongs as part of In re
same facts as alleged in the above-identified cases shall     Complete Management, Inc. Securities Litigation is filed
be consolidated for all purposes, if and when they are        in this Court or transferred to this Court from another
brought to the Court's attention.                             court and assigned to Judge Batts, the Clerk of this
                                                              Court shall:
4. Every pleading filed in the consolidated [*13] actions,
or in any separate action included herein, shall bear the     (a) Place a copy of this Order in the separate file for
following caption:                                            such action;

UNITED STATES DISTRICT COURT                                  (b) Mail to the attorneys for the plaintiffs in the newly-
                                                              filed or transferred case a copy of this Order and direct
SOUTHERN DISTRICT OF NEW YORK                                 that this Order be served upon or mailed to any new
                                                              defendant(s) or their counsel in the newly-filed or [*15]
In re COMPLETE MANAGEMENT, INC. SECURITIES                    transferred case; and
LITIGATION
                                                              (c) Make an appropriate entry on the Master Docket.
This Document Relates To:                                     This Court requests the assistance of counsel in calling
                                                              to the attention of the Clerk of this Court the filing or
99 Civ. 1454 (DAB)
                                                              transfer of any case which might be consolidated as part
5. When a pleading is intended to be applicable to all        of In re Complete Management, Inc. Securities
actions governed by this Order, the words "All Actions"       Litigation.
shall appear immediately after the words "This
                                                              10. Plaintiffs' Motion to appoint the CMI Group as Lead
Document Relates To:" in the caption set out above.
                                                              Plaintiffs is DENIED.
When a pleading is intended to be applicable to only
some, but not all of the consolidated actions, this Court's   11. Plaintiffs are directed to propose a lesser number of
docket number for each individual action to which the         class members for appointment of Lead Plaintiff within
pleading is intended to be applicable and the last name       thirty days of the date of this Order.
of the first-named plaintiff in said action shall appear
immediately after the words "This Document Relates            12. Plaintiffs' Motion to appoint Stull, Stull & Brody,
To:" in the caption described above [e.g., 99 Civ. 1454       Schatz & Nobel, P.C. and Weiss & Yourman as Co-
(DAB) (Mitchell)]."                                           Lead Counsel is DENIED without prejudice to its
                                                              renewal at such time that Plaintiffs submit a new motion
6. A Master Docket and a Master File hereby are               for Lead Plaintiff.
established for the above-consolidated proceedings and
for all other related cases filed in or transferred to this   13. The Clerk is directed to serve a copy of this Order
Court. Separate dockets shall continue to be maintained       on all parties of record in the consolidated actions.
for each of the individual actions hereby consolidated,
and entries shall be made in the docket [*14] of each         SO ORDERED.
individual case in accordance with the regular
                                                              DATED: New York, New York
procedures of the Clerk of this Court, except as modified
by this Order.                                                September 15, 1999
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                                1999 U.S. Dist. LEXIS 14460, *15

DEBORAH A. BATTS

U.S.D.J.
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                                           1999 U.S. Dist. LEXIS 14460, *15

Table1 (Return to related document text)

                                  Abbreviated Case Name                 Case Number

                                          Date Filed
                    Mitchell v. Complete Management, Inc.,              99 Civ. 1454 (DAB)
                    et al. 02/05/99


                    Seltzer v. Complete Management, Inc.,               99 Civ. 2087
                    et al. 03/19/99


                    Lowinger v. Complete Management, Inc.,              99 Civ. 2342
                    et al. 03/30/99


                    Lindemann Living Trust, et al. v.                   99 Civ. 2660
                    Complete Management, Inc., et al.
                                           04/13/99


                    Tayab v. Complete Management, Inc.,                 99 Civ. 2846
                    et al. 04/20/99

Table1 (Return to related document text)


  End of Document
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     Neutral
As of: October 30, 2018 2:35 PM Z


                 Okla. Law Enforcement Ret. Sys. v. Adeptus Health Inc.
                     United States District Court for the Eastern District of Texas, Tyler Division
                                    June 23, 2017, Decided; June 23, 2017, Filed
CIVIL ACTION NO. 6:16-CV-01243-RWS; CIVIL ACTION NO. 6:16-CV-01391-RWS; CIVIL ACTION NO. 6:17-CV-
                         00150-RWS; CIVIL ACTION NO. 6:17-CV-00241-RWS

Reporter
2017 U.S. Dist. LEXIS 186657 *
                                                             Washington, DC; John Benjamin Lawrence, Baker Botts
OKLAHOMA LAW ENFORCEMENT RETIREMENT
                                                             LLP - Dallas, Dallas, TX.
SYSTEM, Plaintiff, LABORERS' LOCAL 235 BENEFIT
FUNDS, Plaintiff, WINSTON KIM, Plaintiff, SASCHA             For Goldman, Sachs & Co., Merrill Lynch, Pierce,
TROLL, Plaintiff, v. ADEPTUS HEALTH INC. et al.,             Fenner & Smith Incorporated, Evercore Group L.L.C.,
Defendants.                                                  Morgan Stanley & Co. LLC, PIPER JAFFRAY & CO.,
                                                             RBC Capital Markets LLC, Dougherty & Company [*2]
Subsequent History: Motion granted by, Motion denied         LLC, Deutsche Bank Securities, Inc., BMO Capital
by Oklahoma Law Enforcement Ret. Sys. v. Adeptus             Markets Corp., Defendants (6:16-cv-01391-RWS):
Health Inc., 2017 U.S. Dist. LEXIS 140268 (E.D. Tex.,        Richard Thaddeus Behrens, LEAD ATTORNEY, Daniel
Aug. 31, 2017)                                               Howard Gold, Haynes & Boone, LLP - Dallas, Dallas,
                                                             TX.
Core Terms                                                   For Manchang Tian, Ning Tian, Stefanie L. Seese,
                                                             Movants (6:16-cv-01391-RWS): Shorty Craig Barrett,
consolidation, cases, lead plaintiff, above-captioned,       Shorty Barrett, Attorney At Law, Texarkana, AR.
motions, conflicting interest, question of law,
occurrences, appoint, damages, series, right to relief,      For Alameda County Employees' Retirement
class period, transactions, convenience, disclosures,        Association, Arkansas Teacher Retirement System,
overlapping, plaintiffs', corrective, securities             Movants (6:16-cv-01391-RWS): George L McWilliams,
                                                             Texarkana, TX.
Counsel: [*1] For Laborers' Local 235 Benefit Funds,         For Oklahoma Law Enforcement Retirement System,
Plaintiff (6:16-cv-01391-RWS): Shorty Craig Barrett,         Plaintiff (6:16-cv-01243-RWS): Andrea Leigh Fair,
Shorty Barrett, Attorney At Law, Texarkana, AR.              Thomas John Ward, Jr, Claire Abernathy Henry, Ward,
For Adeptus Health Inc., Defendant (6:16-cv-01391-           Smith & Hill, PLLC, Longview, TX; Mario Alba, Jr,
RWS): James R Nelson, Xenia Nicole Figueroa, LEAD            Robbins Geller Rudman & Dowd - Melville NY, Melville,
ATTORNEYS, DLA Piper US LLP - Dallas, Dallas, TX.            NY; Samuel H Rudman, PRO HAC VICE, Robbins
                                                             Geller Rudman & Dowd - Melville NY, Melville, NY.
For Thomas S. Hall, Timothy L. Fielding, Defendants
(6:16-cv-01391-RWS): Paul Richard Bessette, LEAD             For Laborers' Local 235 Benefit Funds, Consolidated
ATTORNEY, Jill Rickershauser Carvalho, Michael John          Civil Action 6:16cv1391, Consol Plaintiff (6:16-cv-01243-
Biles, Srimath Saliya Subasinghe, Tyler Wayne Highful,       RWS): Shorty Craig Barrett, LEAD ATTORNEY, Shorty
King & Spalding LLP - Austin, Austin, TX.                    Barrett, Attorney At Law, Texarkana, AR.

For Richard Covert, Daniel W. Rosenberg, Gregory W.          For Winston Kim, Consolidated Civil Action 6:17cv150,
Scott, Ronald L. Taylor, Jeffrey S. Vender, Steven V.        Consol Plaintiff (6:16-cv-01243-RWS): Jacob A
Napolitano, Daniel J. Hosler, Stephen M. Mengert,            Goldberg, LEAD ATTORNEY, PRO HAC VICE, The
Defendants (6:16-cv-01391-RWS): David Dykeman                Rosen Law Firm, [*3] PA, Jenkintown, PA; Keith Robert
Sterling, LEAD ATTORNEY, Baker Botts LLP - Houston,          Lorenze, LEAD ATTORNEY, The Rosen Law Firm, PA,
Houston, TX; Xenia Nicole Figueroa, LEAD                     Jenkintown, PA; Andy Tindel, Mann, Tindel &
ATTORNEYS, DLA Piper US LLP - Dallas, Dallas, TX;            Thompson - Attorneys at Law, Tyler, TX; Laurence
David Clarke, Jr, DLA Piper LLP (US) - Washington,           Rosen, Phillip Kim, PRO HAC VICE, The Rosen Law
                                                             Firm, PA, Jenkintown, PA.
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                                        2017 U.S. Dist. LEXIS 186657, *3

For Sascha Troll, Consolidated Civil Action 6:17cv241,   6:16cv1391; Consolidated [*5] Civil Action 6:17cv150,
Consol Plaintiff (6:16-cv-01243-RWS): Willie Charles     Consol Defendant (6:16-cv-01243-RWS): Xenia Nicole
Briscoe, The Briscoe Law Firm, Dallas, TX.               Figueroa, LEAD ATTORNEY, DLA Piper US LLP -
                                                         Dallas, Dallas, TX.
Li-Kuan Chen, Consolidated Civil Action 6:17cv241,
Consol Plaintiff (6:16-cv-01243-RWS), Pro se.            For Thomas S. Hall, Consolidated Civil Action
                                                         6:16cv1391; Consolidated Civil Action 6:17cv150;
Yvonne Chen, Consolidated Civil Action 6:17cv241,
                                                         Consolidated Civil Action 6:17cv241, Consol Defendant
Consol Plaintiff (6:16-cv-01243-RWS), Pro se.
                                                         (6:16-cv-01243-RWS): Jill Rickershauser Carvalho,
Victor Sardar, Consolidated Civil Action 6:17cv241,      Michael John Biles, Paul Richard Bessette, Srimath
Consol Plaintiff (6:16-cv-01243-RWS), Pro se.            Saliya Subasinghe, Tyler Wayne Highful, King &
                                                         Spalding LLP - Austin, Austin, TX.
Michael Frick, Consolidated Civil Action 6:17cv241,
Consol Plaintiff (6:16-cv-01243-RWS), Pro se.            For Richard Covert, Consolidated Civil Action
                                                         6:16cv1391, Daniel W. Rosenberg, Consolidated Civil
For Sascha Troll, Consolidated Civil Action 6:17cv241,
                                                         Action 6:16cv1391, Gregory W. Scott, Consolidated
Consol Plaintiff (6:16-cv-01243-RWS): Willie Charles
                                                         Civil Action 6:16cv1391, Ronald L. Taylor, Consolidated
Briscoe, The Briscoe Law Firm, Dallas, TX.
                                                         Civil Action 6:16cv1391, Jeffrey S. Vender,
Li-Kuan Chen, Consolidated Civil Action 6:17cv241,       Consolidated Civil Action 6:16cv1391, Steven V.
Consol Plaintiff (6:16-cv-01243-RWS), Pro se.            Napolitano, Consolidated Civil Action 6:16cv1391,
Yvonne Chen, Consolidated Civil Action 6:17cv241,        Daniel J. Hosler, Consolidated Civil Action 6:16cv1391,
Consol Plaintiff (6:16-cv-01243-RWS), Pro se.            Stephen M. Mengert, Consolidated Civil Action
                                                         6:16cv1391, Consol Defendants (6:16-cv-01243-RWS):
Victor Sardar, Consolidated Civil Action 6:17cv241,      David Dykeman Sterling, LEAD ATTORNEY, Baker
Consol Plaintiff (6:16-cv-01243-RWS), [*4] Pro se.       Botts LLP - Houston, Houston, TX; Xenia Nicole
Michael Frick, Consolidated Civil Action 6:17cv241,      Figueroa, LEAD ATTORNEY, DLA Piper US LLP -
Consol Plaintiff (6:16-cv-01243-RWS), Pro se.            Dallas, Dallas, TX; David Clarke, Jr, PRO HAC VICE,
                                                         DLA Piper LLP (US) - Washington, Washington, [*6]
For Adeptus Health Inc., Defendant (6:16-cv-01243-       DC; John Benjamin Lawrence, Baker Botts LLP - Dallas,
RWS): Xenia Nicole Figueroa, LEAD ATTORNEY, DLA          Dallas, TX.
Piper US LLP - Dallas, Dallas, TX.
                                                         For Goldman, Sachs & Co., Consolidated Civil Action
For Thomas S. Hall, Timothy L. Fielding, Defendants      6:16cv1391, Merrill Lynch, Pierce, Fenner & Smith
(6:16-cv-01243-RWS): Jill Rickershauser Carvalho,        Incorporated, Consolidated Civil Action 6:16cv1391,
Michael John Biles, Paul Richard Bessette, Srimath       Evercore Group L.L.C., Consolidated Civil Action
Saliya Subasinghe, Tyler Wayne Highful, King &           6:16cv1391, Morgan Stanley & Co. LLC, Consolidated
Spalding LLP - Austin, Austin, TX.                       Civil Action 6:16cv1391, PIPER JAFFRAY & CO.,
For Richard Covert, Daniel W. Rosenberg, Gregory W.      Consolidated Civil Action 6:16cv1391, RBC Capital
Scott, Ronald L. Taylor, Jeffery S. Vender, Steven V.    Markets LLC, Consolidated Civil Action 6:16cv1391,
Napolitano, Stephen M. Mengert, Defendants (6:16-cv-     Dougherty & Company LLC, Consolidated Civil Action
01243-RWS): David Dykeman Sterling, LEAD                 6:16cv1391, Deutsche Bank Securities, Inc.,
ATTORNEY, Baker Botts LLP - Houston, Houston, TX;        Consolidated Civil Action 6:16cv1391, BMO Capital
Xenia Nicole Figueroa, LEAD ATTORNEY, DLA Piper          Markets Corp., Consolidated Civil Action 6:16cv1391,
US LLP - Dallas, Dallas, TX; David Clarke, Jr, DLA       Consol Defendants (6:16-cv-01243-RWS): Richard
Piper LLP (US) - Washington, Washington, DC; John        Thaddeus Behrens, LEAD ATTORNEY, Daniel Howard
Benjamin Lawrence, Baker Botts LLP - Dallas, Dallas,     Gold, Haynes & Boone, LLP - Dallas, Dallas, TX.
TX.                                                      For Gregory W. Scott, Consolidated Civil Action
For Goldman, Sachs & Co., Merrill Lynch, Pierce,         6:17cv150, Frank R Williams, Jr., Consolidated Civil
Fenner & Smith Incorporated, Defendants (6:16-cv-        Action 6:17cv150; Consolidated Civil Action 6:17cv241,
01243-RWS): Richard Thaddeus Behrens, LEAD               Gregory W. Scott, Consolidated Civil Action 6:17cv241,
ATTORNEY, Daniel Howard Gold, Haynes & Boone,            Consol Defendants (6:16-cv-01243-RWS): David
LLP - Dallas, Dallas, TX;                                Dykeman Sterling, LEAD ATTORNEY, Baker Botts LLP
                                                         - Houston, Houston, TX; David Clarke, Jr, PRO HAC
For Adeptus Health Inc., Consolidated Civil Action       VICE, DLA Piper LLP (US) - Washington,
       Case 4:17-cv-02399 Document 67-3 Filed in TXSD on 11/07/18 Page 78 ofPage
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                                        2017 U.S. Dist. LEXIS 186657, *6

Washington, [*7] DC; John Benjamin Lawrence, Baker        For Adeptus Investor Group, Consolidated Civil Action
Botts LLP - Dallas, Dallas, TX; Xenia Nicole Figueroa,    6:17cv150, Movant (6:16-cv-01243-RWS): Andy Tindel,
DLA Piper US LLP - Dallas, Dallas, TX.                    Mann, Tindel & Thompson - Attorneys at Law, Tyler, TX;
                                                          Jeremy A Lieberman, Joseph Alexander Hood, II, PRO
For Jason Rutherford, Movant (6:16-cv-01243-RWS):
                                                          HAC VICE, Pomerantz LLP - New York, New York, NY;
Earl Glenn Thames, Jr, Potter Minton, a Professional
                                                          Patrick V Dahlstrom, Pomerantz LLP, Chicago, [*9] IL.
Corporation, Tyler, TX.
                                                          For Benjamin Bowman, Consolidated Civil Action
For Kui Liu, Robert Gibbons, Joel Magazine, Sohail
                                                          6:17cv150, Movant (6:16-cv-01243-RWS): Elton Joe
Sattar, Movants (6:16-cv-01243-RWS): Elton Joe
                                                          Kendall, LEAD ATTORNEY, Kendall Law Group, LLP,
Kendall, Kendall Law Group, LLP, Dallas, TX.
                                                          Dallas, TX.
For Laborers' Local 235 Benefit Funds, Ning Tian,
                                                          For Winston Kim, Plaintiff (6:17-cv-00150): Jacob A
Manchang Tian, Stefanie L. Seese, Movants (6:16-cv-
                                                          Goldberg, Keith Robert Lorenze, LEAD ATTORNEYS,
01243-RWS): Shorty Barrett, Attorney At Law,
                                                          The Rosen Law Firm, PA, Jenkintown, PA; Laurence
Texarkana, AR.
                                                          Rosen, Phillip Kim, The Rosen Law Firm, PA, New
For Alameda County Employees' Retirement                  York, NY; Andy Tindel, Mann, Tindel & Thompson -
Association, Arkansas Teacher Retirement System,          Attorneys at, Tyler, TX.
Movants (6:16-cv-01243-RWS): Donald (Matt) Mattson
                                                          For Adeptus Health Inc., Defendant (6:17-cv-00150):
Keil, LEAD ATTORNEY, Keil & Goodson PA,
                                                          Xenia Nicole Figueroa, DLA Piper US LLP - Dallas,
Texarkana, AR; Michael D Blatchley, LEAD
                                                          Dallas, TX.
ATTORNEY, Bernstein Litowitz Berger & Grossmann -
New York, New York, NY; Darren J Check,                   For Gregory W. Scott, Frank R Williams, Defendants
KesslerTopaz Meltzer & Check, LLP, Radnor, PA;            (6:17-cv-00150): David Dykeman Sterling, LEAD
George L McWilliams, Texarkana, TX; Naumon Amjed,         ATTORNEY, Baker Botts LLP - Houston, One Shell
Ryan T Degnan, Kessler Topaz Meltzer & Check, LLP,        Plaza, Houston, TX; David Clarke, Jr, DLA Piper LLP
Radnor, PA.                                               (US) - Washington, Washington, DC; John Benjamin
                                                          Lawrence, Baker Botts LLP - Dallas, Dallas, TX; Xenia
For Michigan Laborers Pension Fund, Movant (6:16-cv-
                                                          Nicole Figueroa, DLA Piper US LLP - Dallas, Dallas, TX.
01243-RWS): Samuel H Rudman, PRO HAC VICE,
Robbins Geller Rudman & Dowd - Melville NY, Melville,     For Thomas S. Hall, Timothy L. Fielding, Defendants
NY.                                                       (6:17-cv-00150): Paul Richard Bessette, LEAD
                                                          ATTORNEY, Jill Rickershauser Carvalho, Michael John
For Michigan Laborers' [*8] Pension Fund,
                                                          Biles, Srimath Saliya Subasinghe, Tyler Wayne Highful,
Consolidated Civil Action 6:17cv150, Movant (6:16-cv-
                                                          King & Spalding LLP - Austin, Austin, TX; David Clarke,
01243-RWS): Nathan R Lindell, Tricia L McCormick,
                                                          Jr, DLA Piper LLP (US) - Washington,
Robbins Geller Rudman & Dowd LLP - San Diego, San
                                                          Washington, [*10] DC.
Diego, Ca; Samuel H Rudman, PRO HAC VICE,
Robbins Geller Rudman & Dowd - Melville NY, Melville,     For Alameda County Employees' Retirement
NY.                                                       Association, Arkansas Teacher Retirement System,
                                                          Movants (6:17-cv-00150): George L McWilliams,
For Manchang Tian, Consolidated Civil Action
                                                          Texarkana, TX.
6:16cv1391, Ning Tian, Consolidated Civil Action
6:16cv1391, Stefanie L. Seese, Consolidated Civil         For Adeptus Investor Group, Movant (6:17-cv-00150):
Action 6:16cv1391, Movants (6:16-cv-01243-RWS):           Andy Tindel, Mann, Tindel & Thompson - Attorneys at,
Shorty Barrett, Attorney At Law, Texarkana, AR.           Tyler, TX; Jeremy A Lieberman, Joseph Alexander
                                                          Hood, II, Pomerantz LLP - New York, New York, NY;
For Alameda County Employees' Retirement
                                                          Patrick V Dahlstrom, Pomerantz LLP, Chicago, IL.
Association, Consolidated Civil Action 6:16cv1391;
Consolidated Civil Action 6:17cv150; Consolidated Civil   For Benjamin Bowman, Movant (6:17-cv-00150): Elton
Action 6:17cv241, Arkansas Teacher Retirement             Joe Kendall, LEAD ATTORNEY, Kendall Law Group,
System, Consolidated Civil Action 6:16cv1391;             LLP, Dallas, TX.
Consolidated Civil Action 6:17cv150; Consolidated Civil
                                                          For Michigan Laborers' Pension Fund, Movant (6:17-cv-
Action 6:17cv241, Movants (6:16-cv-01243-RWS):
                                                          00150): Nathan R Lindell, Tricia L McCormick, Robbins
George L McWilliams, LEAD ATTORNEY, Texarkana,
                                                          Geller Rudman & Dowd LLP - San Diego, San Diego,
TX.
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Ca; Samuel H Rudman, PRO HAC VICE, Robbins                    interest between the Oklahoma and Laborers' plaintiffs
Geller Rudman & Dowd - Melville NY, Melville, NY.             and the Kim and Troll plaintiffs. Docket No. 10 at 3. At
                                                              the hearing, Kim further argued that In re BP, PLC Sec.
For Sascha Troll, Plaintiff (6:17-cv-00241): Willie
                                                              Litig., 758 F.Supp.2d 428 (S.D. Tex. 2010), shows that
Charles Briscoe, The Briscoe Law Firm, Dallas, TX.
                                                              plaintiffs with possibly conflicting interests should
Li-Kuan Chen, Plaintiff (6:17-cv-00241), Pro se.              generally not be consolidated into one action.
Yvonne Chen, Plaintiff (6:17-cv-00241), Pro se.               Movants for consolidation argue that the class periods
Victor Sardar, Plaintiff (6:17-cv-00241), Pro se.             as alleged are overlapping, that some of the corrective
                                                              disclosures on which plaintiffs rely in Kim and Troll are
Michael Frick, Plaintiff (6:17-cv-00241), Pro se.
                                                              also relevant to the damages allegedly sustained by the
For Gregory W. Scott, Frank R Williams, Jr., Defendants       plaintiffs in Oklahoma and Laborers', and that, in any
(6:17-cv-00241): David Dykeman Sterling, LEAD                 event, the events alleged in Kim and Troll and the
ATTORNEY, Baker Botts LLP - Houston, [*11] One                events alleged in Oklahoma and Laborers' are all part of
Shell Plaza, Houston, TX; David Clarke, Jr, DLA Piper         a continuous series of corrective disclosures, all of
LLP (US) - Washington, Washington, DC; John                   which contributed to plaintiffs' alleged damages.1
Benjamin Lawrence, Baker Botts LLP - Dallas, Dallas,
TX; Xenia Nicole Figueroa, DLA Piper US LLP - Dallas,          They further argue that under BP, even if there are two
Dallas, TX.                                                   classes of plaintiffs that may have different interests,
                                                              their cases should nonetheless be consolidated, and
For Thomas S. Hall, Timothy L. Fielding, Defendants           two lead plaintiffs may be appointed.
(6:17-cv-00241): Paul Richard Bessette, LEAD
ATTORNEY, Jill Rickershauser Carvalho, Michael John           "Persons may join in one action as plaintiffs if: (A) they
Biles, Srimath Saliya Subasinghe, Tyler Wayne Highful,        assert any right [*13] to relief jointly, severally, or in the
King & Spalding LLP - Austin, Austin, TX.                     alternative with respect to or arising out of the same
                                                              transaction, occurrence, or series of transactions or
Judges: ROBERT W. SCHROEDER III, UNITED                       occurrences; and (B) any question of law or fact
STATES DISTRICT JUDGE.                                        common to all plaintiffs will arise in the action." Fed. R.
                                                              Civ. P. 20(a)(1). Similarly, the Court may consolidate
Opinion by: ROBERT W. SCHROEDER III
                                                              actions "[i]f [the] actions before the court involve a
                                                              common question of law or fact." Fed. R. Civ. P.
Opinion                                                       42(a)(2).

                                                              In this securities litigation, the Court is persuaded that
                                                              all the Plaintiffs and Movants assert a several right to
ORDER                                                         relief arising out of a common series of alleged
                                                              transactions and occurrences and that the determination
Before the Court are several motions to consolidate the       of all the plaintiffs' claims will involve common questions
above-captioned cases, transfer the cases to the              of law and fact. Under such circumstances,
Sherman Division of the Eastern District of Texas, and        consolidation is appropriate. See BP, 758 F.Supp.2d at
to appoint a lead plaintiff and counsel. Because the          432-33 (consolidating cases despite "significant
Court concludes that the cases should be transferred, it      differences among the claims in the various cases"
defers to Judge Mazzant to decide the lead plaintiff and      because they involved "substantial commonalities"
counsel motions.                                              including "overlapping [d]efendants and a common core
                                                              of facts and legal issues.") (internal quotation omitted).
Consolidation is sought in each of the above-captioned        Kim's arguments regarding potential conflicts of interest
cases. See, e.g., Docket No. 39 in Case No. 6:16-cv-          among plaintiffs will be more appropriately considered in
1243, Docket No. 9 in Case No. 6:16-cv-1391, Docket           the appointment of one or more lead plaintiffs.
No. 4 in Case No. 6:17-cv-150 and Docket No. 9 in             Accordingly, the Court finds that the motions for
Case No. 6:17-cv-241. Plaintiff Winston Kim opposes           consolidation [*14] should be GRANTED.
consolidation of the Kim and Troll actions with the [*12]
Oklahoma and Laborers' actions on the grounds that the
former involve different allegedly culpable conduct and       1 The Court recognizes that plaintiffs who purchased or sold
class periods, which in turn will give rise to conflicts of   securities at different times may have different damages.
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                                            2017 U.S. Dist. LEXIS 186657, *14

Transfer to the Sherman Division is also sought in each
of the above-captioned actions. See, e.g., Docket No.
29 in Case No. 6:16-cv-1243.2

 Transfer is opposed by Plaintiff Oklahoma Law
Enforcement Retirement System, Movant Michigan
Laborer's Pension Fund and Plaintiff Kim. Docket No. 37
in Case No. 6:16-cv-1243; Docket No. 12 in Case No.
6:17-cv-150. Having evaluated the private-and public-
interest factors laid out in In re Volkswagen AG, 371
F.3d 201 (5th Cir. 2004), in light of the parties'
submissions, the Court finds that although the proximity
between Tyler and Sherman makes the marginal
convenience of transfer small, Defendants have shown
that Sherman is a clearly more convenient forum for this
dispute. Accordingly, the Court finds that the motions for
transfer should also be GRANTED.


CONCLUSION

For the above-stated reasons, it is

ORDERED that Docket Nos. 29, 31 and 39 in Case No.
6:16-cv-1243; Docket Nos. 5, 6 and 9 in Case No. 6:16-
cv-1391; Docket Nos. 4, 5, 6 and 17 in Case No. 6:17-
cv-150; and Docket Nos. 8 and 9 in Case No. 6:17-cv-
241 are GRANTED.

The Clerk of the Court is directed to consolidate the
above-captioned matters under Case No. 6:16-cv-1243
and to transfer the consolidated matter to [*15] the
Sherman Division for further proceedings.

SIGNED this 23rd day of June, 2017.

/s/ Robert W. Schroeder III

ROBERT W. SCHROEDER III

UNITED STATES DISTRICT JUDGE


  End of Document




2 The venue motions each have an accompanying Request for
Judicial Notice. E.g., Docket No. 31 in Case No. 6:16-cv-1243.
Having reviewed these, the Court finds they should be
GRANTED.
        Case 4:17-cv-02399 Document 67-3 Filed in TXSD on 11/07/18 Page 81 of 129


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As of: October 30, 2018 2:36 PM Z


                      Pemex Exploración y Producción v. BASF Corp.
                   United States District Court for the Southern District of Texas, Houston Division
                                    October 4, 2011, Decided; October 4, 2011, Filed
                           CIVIL ACTION NO. H-10-1997; CIVIL ACTION NO. H-11-2019

Reporter
2011 U.S. Dist. LEXIS 160512 *

PEMEX EXPLORACIÓN Y PRODUCCIÓN, Plaintiff, v.                For Plains All-American Pipeline, LP, Defendant (4:11-
BASF CORPORATION; BASF FINA                                  cv-02019): James Daniel Thompson, III, LEAD
PETROCHEMICALS LIMITED PARTNERSHIP;                          ATTORNEY, Phillip B Dye, Jr, Vinson Elkins LLP,
MURPHY ENERGY CORPORATION; BIO-NU                            Houston, TX.
SOUTHWEST, INC. d/b/a VALLEY FUELS; US
                                                             For TransMontaigne Partners, L.P., Defendant (4:11-cv-
PETROLEUM DEPOT, INC.; ARNOLDO
                                                             02019): John Michael Dorman, LEAD ATTORNEY,
MALDONADO; JONATHAN DAPPEN; STEPHEN
                                                             Locke Lord Bissell And Liddell LLP, Houston, TX; Jesus
PECHENIK; TIMOTHY L. BRINK; CONTINENTAL
                                                             Garcia, Jr, Garcia de la Garza LLP, Houston, TX.
FUELS, INC.; and HIGH SIERRA CRUDE OIL &
MARKETING, LLC, Successor to PETRO SOURCE                    For Western Refining Company, L.P., Defendant (4:11-
PARTNERS, LP, Defendants.PEMEX EXPLORACIÓN                   cv-02019): J Wiley George, LEAD ATTORNEY, Kelly
Y PRODUCCIÓN, Plaintiff, v. BIG STAR GATHERING               Spragins Sandill, Andrews Kurth LLP, Houston, TX.
LTD L.L.P.; F&M TRANSPORTATION, INC.; JAMES
                                                             For Saint James Oil, Inc., Defendant (4:11-cv-02019):
JENSEN; JOPLIN ENERGY, LLC f/k/a HUTCHISON
                                                             Grant J Harvey, LEAD ATTORNEY, Ayesha Najam,
HAYES ENERGY, LLC; JEFF KIRBY; PLAINS ALL-
                                                             Gibbs & Bruns [*2] LLP, Houston, TX; John Hooshik
AMERICAN PIPELINE, L.P.; SAINT JAMES OIL, INC.;
                                                             Kim, The Kim Law Firm, Houston, TX.
SUPERIOR CRUDE GATHERING, INC.;
TRANSMONTAIGNE PARTNERS, L.P.; and                           For JAG Energy USA, Inc., Movant (4:11-cv-02019):
WESTERN REFINING COMPANY, L.P., Defendants.                  Clyde Oates Adams, IV, Pierce Skrabanek Bruera,
                                                             PLLC, Houston, TX; James David Ebanks, Ebanks
Core Terms                                                   Taylor Horne LLP, Houston, TX. JAC Terminal Services,
                                                             Inc., Movant (4:11-cv-02019): James David Ebanks,
Consolidate, parties, allegations, Saint, condensate,        Ebanks Taylor Horne LLP, Houston, TX.
purposes, lawsuits, stolen, discovery, issues, Theft,        For Pemex Exploracion y Produccion, Plaintiff (4:10-cv-
natural gas, Definite, oppose, common questions of law,      01997): Andrew K Meadem, LEAD ATTORNEY,
purchaser, unrelated, motions                                Hawash Meade Gaston Neese & Cicack LLP, Houston,
                                                             TX; Ileana M Blanco, LEAD ATTORNEY, DLA Piper
Counsel: [*1] For Pemex Exploracion y Produccion,            USA LLP, Houston, TX; Brett Solberg, DLA Piper LLP,
Plaintiff (4:11-cv-02019): Mark Edward Maney, Maney &        Houston, TX; Christina Elise Ponig, DLA Piper LLP
Gonzalez-Felix PC, LEAD ATTORNEY, Houston, TX;               (US), Houston, TX; Mark Edward Maney, Maney &
Christopher L Register, Attorney at Law, Houston, TX.        Gonzalez-Felix PC, Houston, TX; Mark Allen White, Law
For Big Star Gathering LTD L.L.P., Defendant (4:11-cv-       Office of Mark A. White, Houston, TX.
02019): Ayesha Najam, Grant J Harvey, Gibbs & Bruns          For BASF Corporation, Defendant (4:10-cv-01997):
LLP, Houston, TX.                                            Travis James Sales, LEAD ATTORNEY, Brooke Geren
For F&M Transporation, Inc., Defendant (4:11-cv-             McNab, William Karl Kroger, Kathryn Dawson McElvy,
02019): Charles Alfred Sturm, LEAD ATTORNEY,                 Baker Botts LLP, Houston, TX; Jeffrey James McNabb,
Sturm Law, PLLC, Houston, TX.                                Patterson-UTI Management Services LLC, Houston, TX;
                                                             Stephanie Coon Bauman, ACLU of Texas, Houston, TX.
For Jeff Kirby, Superior Crude Gathering, Inc.,
Defendants (4:11-cv-02019): Paul G Kratzig, LEAD             For Murphy Energy Corporation, Defendant (4:10-cv-
ATTORNEY, Paul G. Kratzig Assoc, Corpus Christi, TX.         01997): Joel M Androphy, LEAD ATTORNEY, Berg
       Case 4:17-cv-02399 Document 67-3 Filed in TXSD on 11/07/18 Page 82 ofPage
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Androphy, Houston, TX; [*3] Geoffrey Berg, Berg           (4:10-cv-01997): Grant J Harvey, Gibbs Bruns LLP,
Feldman Johnson, LLP, Houston, TX; Kevin Michael          Houston, TX; Jerry M Young, Coats Rose et al,
Clark, King & Spalding LLP, Houston, TX.                  Houston, TX; John Hooshik Kim, The Kim Law Firm,
                                                          Houston, TX.
For Bio-Nu Southwest Inc., doing business as, Valley
Fuels, Stephen Pechenik, Defendant (4:10-cv-01997):       For Saint James Oil, Inc., Consol Defendant (4:10-cv-
Stewart J Alexander, LEAD ATTORNEY, Attorney at           01997): Grant J Harvey, LEAD ATTORNEY, Ayesha
Law, San Antonio, TX.                                     Najam, Gibbs Bruns LLP, Houston, TX.
For Donald P Schroeder, Jr., Defendant (4:10-cv-          For Big Star Gathering LTD LLP, Consol Defendant
01997): Jeremy L Doyle, LEAD ATTORNEY, Reynolds           (4:10-cv-01997): Ayesha [*5] Najam, Grant J Harvey,
Frizzell LLP, Houston, TX.                                Gibbs & Bruns LLP, Houston, TX. Jerry M Young, Coats
                                                          Rose et al, Houston, TX; John Hooshik Kim, The Kim
For Arnoldo Maldonado, Defendant (4:10-cv-01997):
                                                          Law Firm, Houston, TX.
James Patrick Grissom, LEAD ATTORNEY, Attorney at
Law, McAllen, TX.                                         For F&M Transportation, Inc, Consol Defendant (4:10-
                                                          cv-01997): Charles Alfred Sturm, Sturm Law, PLLC,
Jonathan Dappen, Defendant (4:10-cv-01997), Pro se,
                                                          Houston, TX.
McAllen, TX.
                                                          For JAG Energy USA, Inc, Consol Defendant (4:10-cv-
For Jonathan Dappen, Defendant (4:10-cv-01997):
                                                          01997): Clyde Oates Adams, IV, Pierce Skrabanek
Edward Michael Rodriguez, LEAD ATTORNEY, Atlas
                                                          Bruera, PLLC, Houston, TX; James David Ebanks,
Hall & Rodriguez LLP, Brownsville, TX; Erin Ann
                                                          Ebanks Taylor Horne LLP, Houston, TX.
Hudson, Zinda and Davis PLLC, Austin, TX.
                                                          For James Jensen, Consol Defendant (4:10-cv-01997):
For Joshua Crescenzi, Defendant (4:10-cv-01997):
                                                          Grant J Harvey, LEAD ATTORNEY, Ayesha Najam,
Chad Joseph Castille, LEAD ATTORNEY, Deans &
                                                          Gibbs Bruns LLP, Houston, TX. Jerry M Young, Coats
Lyons LLP, Houston, TX.
                                                          Rose et al, Houston, TX; John Hooshik Kim, The Kim
Continental Fuels, Inc, Defendant (4:10-cv-01997), Pro    Law Firm, Houston, TX.
se.
                                                          For Jeff Kirby, Superior Crude Gathering, Inc, Consol
For High Sierra Crude Oil & Marketing, LLC, successor     Defendants (4:10-cv-01997): F Lee Butler, Adams
to Petro Source Partners, LP, Defendant (4:10-cv-         Reese LLP, Houston, TX; Paul G Kratzig, Paul G.
01997): Christopher Brian Payne, Attorney at Law,         Kratzig Assoc, Corpus Christi, TX.
Autin, TX; Gregory J Casas Greenberg Trauring LLP,
                                                          For Plains All-American Pipeline, LP, Consol Defendant
Austin, TX; Hugh E Hackney, Patrick William Stark, [*4]
                                                          (4:10-cv-01997): Deborah Carleton Milner, James
Greenberg Traurig LLP, Dallas, TX; Jeff Dan Weems,
                                                          Daniel Thompson, III, Vinson Elkins LLP, Houston, TX;
Staff Weems LLP, Houston, TX.
                                                          Phillip B Dye, Jr, Vinson & Elkins, Houston, TX; Stacy
For BASF FINA Petrochemicals LP, Defendant (4:10-cv-      Morse Neal, Vinson and Elkins LLP, Houston, TX.
01997): Kathrine Marie Silver, LEAD ATTORNEY,
                                                          For TransMontaigne Partners, LP, Consol Defendant
Richard Andrew Howell Jackson Walker LLP Houston,
                                                          (4:10-cv-01997): Jesus Garcia, Jr, Garcia [*6] de la
TX; Travis James Sales, Baker Botts LLP.
                                                          Garza LLP, Houston, TX; John Michael Dorman, Locke
For TransMontaigne Partners, L.P., Defendant (4:10-cv-    Lord Bissell And Liddell LLP, Houston, TX.
01997): John Michael Dorman, LEAD ATTORNEY,
                                                          For Western Refining Company, LP, Consol Defendant
Locke Lord Bissell And Liddell LLP, Houston, TX.
                                                          (4:10-cv-01997): J Wiley George, Kelly Spragins Sandill,
For Plains Marketing LP, Defendant (4:10-cv-01997):       Andrews Kurth LLP, Houston, TX.
James Daniel Thompson, III, LEAD ATTORNEY,
                                                          For Sergio T. Lopez, Respondent (4:10-cv-01997):
Deborah Carleton Milner, Vinson Elkins LLP, Houston,
                                                          Robert Eric Reed, Reed Law Firm, Houston, TX.
TX; Phillip B Dye, Jr, Vinson & Elkins, Houston, TX;
Stacy Morse Neal, Vinson and Elkins LLP, Houston, TX.     For Joshua Crescenzi, Third Party Defendant (4:10-cv-
                                                          01997): Chad Joseph Castille, Deans & Lyons LLP,
For RGV Energy Partners, LLC, Defendant (4:10-cv-
                                                          Houston, TX.
01997): Charles Alfred Sturm, LEAD ATTORNEY,
Sturm Law, PLLC, Houston, TX.                             For Murphy Energy Corporation, ThirdParty Plaintiff,
                                                          Cross Defendant, Cross Claimant, Counter Claimant
For Saint James Energy Operating, Inc., Defendant
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(4:10-cv-01997): Joel M Androphy, LEAD ATTORNEY,          For Pemex Exploracion y Produccion, Counter
Berg Androphy, Houston, TX; Geoffrey Berg, Berg           Defendant (4:10-cv-01997): Ileana M Blanco, LEAD
Feldman Johnson, LLP, Houston, TX.                        ATTORNEY, DLA Piper USA LLP, Houston, TX;
                                                          Thomas Demitrack, Jones Day, Cleveland, OH.
For Maxim Crude Oil, LLC, Movant (4:10-cv-01997):
Robert Edward Lapin, LEAD ATTORNEY, Lapin &               For Pemex Exploracion y Produccion, Counter
Landa LLP,l Houston, TX.                                  Defendant (4:10-cv-01997): Thomas Demitrack, Jones
                                                          Day, Cleveland, OH.
For FR Midstream Transport, LP, Interested Party (4:10-
cv-01997): John Michael Quinlan, LEAD ATTORNEY,           For BASF Corporation, Cross Claimant, Cross
McElroy Sullivan et al, Austin, TX.                       Defendant (4:10-cv-01997): Travis James Sales, LEAD
                                                          ATTORNEY, William Karl Kroger, Kathryn Dawson
For SUNOCO PARTNERS MARKETING &
                                                          McElvy, Baker Botts LLP, Houston, TX; Stephanie Coon
TERMINALS, L.P., Intervenor (4:10-cv-01997): Anthony
                                                          Bauman, ACLU of Texas, Houston, TX.
J Pruzinsky, LEAD ATTORNEY, Hill Rivkins LLP, New
York, NY; Timothy R Sutherland, T.R. Sutherland Law,      Jonathan Dappen, Cross Defendant (4:10-cv-01997),
PLLC, Houston, TX.                                        Pro se, McAllen, TX.
For BASF Corporation, Cross Claimant (4:10-cv-01997):     For Jonathan Dappen, Cross Defendant (4:10-cv-
Stephanie [*7] Coon Bauman, ACLU of Texas,                01997): Edward Michael Rodriguez, LEAD ATTORNEY,
Houston, TX.                                              Atlas Hall & Rodriguez LLP, Brownsville, TX; Erin Ann
                                                          Hudson, Zinda and Davis PLLC, Austin, TX.
Jonathan Dappen, Cross Defendant (4:10-cv-01997),
Pro se.                                                   For Murphy Energy Corporation, Cross Defendant,
                                                          Cross Claimant, Counter Claimant (4:10-cv-01997): Joel
For Jonathan Dappen, Cross Defendant, Cross
                                                          M Androphy, LEAD ATTORNEY, Berg Androphy,
Claimant (4:10-cv-01997): Edward Michael Rodriguez,
                                                          Houston, TX; Geoffrey Berg, Berg Feldman Johnson,
LEAD ATTORNEY, Atlas Hall & Rodriguez LLP,
                                                          LLP, Houston, TX.
Brownsville, TX; Erin Ann Hudson, Zinda and Davis
PLLC, Austin, TX.                                         For Donald P Schroeder, Jr., Cross Defendant (4:10-cv-
                                                          01997): Jeremy L Doyle, LEAD ATTORNEY, Reynolds
For Donald P Schroeder, Jr., Cross Defendant (4:10-cv-
                                                          Frizzell LLP, Houston, TX.
01997): Jeremy L Doyle, LEAD ATTORNEY, Reynolds
Frizzell LLP, Houston, TX.                                For BASF [*9] FINA Petrochemicals LP, Cross
                                                          Defendant, Cross Claimant (4:10-cv-01997): Kathrine
For BASF Corporation, Cross Claimant (4:10-cv-01997):
                                                          Marie Silver, Jackson Walker LLP, Houston, TX.
Kathryn Dawson McElvy, Baker Botts LLP, Houston,
TX.                                                       For Bio-Nu Southwest Inc., Cross Defendant (4:10-cv-
                                                          01997): Stewart J Alexander, LEAD ATTORNEY,
Jonathan Dappen, Cross Defendant (4:10-cv-01997),
                                                          Attorney at Law, San Antonio, TX.
Pro se.
                                                          For High Sierra Crude Oil & Marketing, LLC successor
For Murphy Energy Corporation, Cross Defendant
                                                          to Petro Source Partners, LP, Cross Defendant (4:10-
(4:10-cv-01997): Geoffrey Berg, Berg Feldman
                                                          cv-01997): Christopher Brian Payne, Attorney at Law,
Johnson, LLP, Houston, TX.
                                                          Autin, TX; Gregory J Casas, Greenberg Trauring LLP,
For BASF Corporation, Cross Defendant (4:10-cv-           Austin, TX; Hugh E Hackney, Patrick William Stark,
01997): Travis James Sales, LEAD ATTORNEY,                Greenberg Traurig LLP, Dallas, TX; Jeff Dan Weems,
William Karl Kroger, Kathryn Dawson McElvy, Baker         Staff Weems LLP, Houston, TX.
Botts LLP, Houston, TX; Jeffrey James McNabb,
                                                          For Arnoldo Maldonado, Cross Defendant (4:10-cv-
Patterson-UTI Management Services LLC, Houston, TX;
                                                          01997): James Patrick Grissom, LEAD ATTORNEY,
Stephanie Coon Bauman, ACLU of Texas, Houston, TX.
                                                          Attorney at Law, McAllen, TX.
For High Sierra Crude Oil & Marketing, LLC, successor
                                                          For Murphy Energy Corporation, Cross Defendant
to Petro Source Partners, LP, Cross Defendant (4:10-
                                                          (4:10-cv-01997): Geoffrey Berg, Berg Feldman
cv-01997): Gregory J Casas, Greenberg Trauring LLP,
                                                          Johnson, LLP, Houston, TX.
Austin, TX; Jeff Dan Weems, Staff Weems LLP, [*8]
Houston, TX; Patrick William Stark, GreenbergTraurig      For Trammo Petroleum, Inc., Cross Defendant (4:10-cv-
LLP, Dallas, TX.                                          01997): James W Bartlett, Jr., The Bartlett Firm,
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Houston, TX.                                                  Saint James Oil seeks to consolidate the two actions
                                                             "for all purposes."2
For Pemex Exploracion y Produccion, Counter
                                                              Four defendants in the BASF Action (BASF Corp.,
Defendant (4:10-cv-01997): Andrew K Meade, LEAD
                                                             BASF Fina Petrochemical Limited Partnership, Murphy
ATTORNEY, Hawash Meade Gaston Neese & Cicack
                                                             Energy Corp., and High Sierra Crude Oil & Marketing,
LLP, Houston, TX; Ileana M Blanco, LEAD ATTORNEY,
                                                             LLC), and three defendants in the Big Star Action (Jeff
DLA Piper USA LLP, Houston, TX; Thomas Demitrack,
                                                             Kirby,     Superior  Crude    Gathering,     Inc., and
Jones Day, [*10] Cleveland, OH; Christina Elise Ponig,
                                                             TransMontaigne Partners, L.P.) have filed papers
DLA Piper LLP (US), Houston, TX; Mark Edward
Maney, Maney & Gonzalez-Felix PC, Houston, TX;               opposing the motions to consolidate.3
Mark Allen White, Law Office of Mark A. White,                BASF and BFPL oppose consolidation for all purposes;
Houston, TX.                                                 the other defendants who have responded to the
                                                             pending motions to consolidate oppose consolidation for
Judges: SIM LAKE, UNITED STATES DISTRICT                     purposes of trial but do not oppose consolidation for
JUDGE.                                                       purposes of discovery and pretrial motions.4

Opinion by: SIM LAKE
                                                             2 SaintJames Oil, Inc.'s Motion to Consolidate, Docket Entry
Opinion                                                      No. 258, pp. 1 and 4 n.2.

                                                             3 See   Defendant High Sierra Crude Oil & Marketing, LLC's
                                                             Response in Opposition to Plaintiff Pemex Exploración y
MEMORANDUM OPINION AND ORDER                                 Producción's Motion to Consolidate, Docket Entry No. 226;
                                                             Defendant BASF Corporation's Response in Opposition to
Plaintiff, PEMEX Exploración y Producción (PEP),             Plaintiff Pemex Exploración y Producción's Motion to
brings this action against defendants, BASF Corporation      Consolidate, Docket Entry No. 233; Defendant Murphy Energy
(BASF), BASF Fina Petrochemicals Limited Partnership         Corporation's Response in Opposition to Plaintiff Pemex
(BFPL), Murphy Energy Corporation, Bio-Nu Southwest,         Exploración y Producción's Motion to Consolidate, Docket
                                                             Entry No. 234; Defendants High Sierra Crude Oil & Marketing,
Inc. d/b/a Valley Fuels, US Petroleum Depot, Inc.,
                                                             LLC's and Murphy Energy Corporation's Joint Response in
Arnoldo Maldonado, Jonathan Dappen, Stephen
                                                             Partial Opposition to Saint James Oil, Inc.'s Motion to
Pechenik, Timothy L. Brink, Continental Fuels, Inc., and
                                                             Consolidate, Docket Entry No. 274; Defendant BASF's and
High Sierra Crude Oil & Marketing, LLC, Successor to         BFLP's Response in Opposition to Plaintiff Pemex
Petro Source Partners, LP, asserting claims against          Exploración's Supplemental Motion to Consolidate and to
defendants arising from trade in the United States of        Saint James Oil, Inc.'s Motion to Consolidate, Docket Entry
natural gas condensate allegedly stolen from PEP in          No. 277; Defendant TransMontaigne Partners L.P.'s
Mexico. Pending before the court are PEP's Motion to         Opposition to Plaintiff Pemex Exploración y Producción's
Consolidate (Docket Entry No. 217) and Saint James           Motion to Consolidate and Saint James Oil, Inc.'s Motion to
Oil, Inc.'s Motion to Consolidate (Docket Entry No. 258).    Consolidate, Docket Entry No. 278; Defendant Superior Crude
These motions seek to consolidate this action (the           Gathering, Inc.'s Opposition to Plaintiff Pemex Exploración y
BASF Action) with Civil Action No. H-11-2019, PEMEX          Producción's Motion to Consolidate and Saint James Oil, Inc.'s
                                                             Motion to Consolidate, Docket Entry No. 284; and Defendant
Exploración y Producción v. Big Star Gathering, Ltd.
                                                             Jeff Kirby's Opposition to Plaintiff Pemex Exploración y
L.L.P., F&M Transportation, Inc., James Jensen, [*11]
                                                             Producción's Motion to Consolidate and Saint James Oil, Inc.'s
Joplin Energy, LLC f/k/a Hutchison Hayes Energy, LLC,
                                                             Motion to Consolidate, Docket Entry No. 285.
Jeff Kirby, Plains All-American Pipeline, L.P., Saint
                                                             4 On August 30, 2011, PEP filed Docket Entry No. 276,
James Oil, Inc., Superior Crude Gathering, Inc.,
TransMontaigne Partners, L.P., and Western Refining          Supplement to PEMEX Exploración y Producción's Motion to
                                                             Consolidate, Docket No. 217, stating at p. 1:
Company, L.P. (the Big Star Action), currently pending
before Judge Melinda Harmon. "PEP seeks to                          All defendants in the case PEP v. Big Star ("Big Star
consolidate the two matters for the purposes of                     Defendants") that will remain in that matter have
discovery and motions practice and, possibly, trial."1              appeared by counsel. Counsel held their Rule 26(f)
                                                                    Conference on August 29, 2011. . . . Two Big Star
                                                                    Defendants—SemCrude, L.P. and Joplin Energy, LLC—
1 PEMEX  Exploración y Producción's Motion to Consolidate,          have filed for bankruptcy and will not be part of the Big
Docket Entry No. 217, p. 1.                                         Star matter.
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 For the reasons explained below, the pending motions            or all matters at issue in the actions; (2) consolidate the
to consolidate will be granted and the two actions will be       actions; or (3) issue any other orders to avoid
consolidated for [*12] all purposes.                             unnecessary [*14] cost or delay." Fed. R. Civ. P. 42(a).
                                                                 This rule provides district courts with broad discretion in
                                                                 determining whether two or more actions have common
I. Factual Background                                            questions of law and fact and whether to consolidate.
                                                                 Mills v. Beech Aircraft Corp., Inc., 886 F.2d 758, 761-62
On June 7, 2010, PEP filed the BASF Action. The BASF             (5th Cir. 1989).
Action alleges claims arising from trade in the United
States of natural gas condensate allegedly stolen from           Consolidation is not precluded by the existence of some
PEP in Mexico. The defendants named in the BASF                  questions that are not common to both actions. See
Action include both parties alleged to be knowing                Botazzi v. Petroleum Helicopters, Inc., 664 F.2d 49, 50
traffickers in stolen natural gas condensate, and parties        (5th Cir. 1981). "[C]onsolidation is permitted as a matter
alleged to be innocent purchasers of stolen natural gas          of convenience and economy in administration, but does
condensate. PEP asserts claims for (1) illegal                   not merge suits into a single cause, or change the rights
possession and use of Mexican sovereign property, (2)            of the parties, or make those who are parties in one suit
conversion      under     Texas     law,  (3)   equitable        parties in another." Johnson v. Manhattan Ry. Co., 289
relief/constructive trust/unjust enrichment/money [*13]          U.S. 479, 53 S. Ct. 721, 727-28, 77 L. Ed. 1331 (1933).
had and received, (4) violation of the Texas Theft               Instead, "the two suits retain their separate identities
Liability Act, (5) civil conspiracy under Texas common           and each requires the entry of a separate judgment."
law, and (6) violation of the Racketeer Influenced and           Miller v. United States Postal Service, 729 F.2d 1033,
Corrupt Organizations Act (RICO), 18 U.S.C. § 1962 (c)           1036 (5th Cir. 1984). However, "consolidation is
.                                                                improper if it would prejudice the rights of the parties."
                                                                 St. Bernard General Hospital, Inc. v. Hospital Service
On May 29, 2011, PEP filed the Big Star Action. Like the
                                                                 Association of New Orleans, Inc., 712 F.2d 978, 989
BASF Action, the Big Star Action alleges claims arising
                                                                 (5th Cir. 1983), cert. denied, 466 U.S. 970, 104 S. Ct.
from trade in the United States of natural gas
                                                                 2342, 80 L. Ed. 2d 816 (1984). In deciding whether to
condensate allegedly stolen from PEP in Mexico, and
                                                                 consolidate courts consider whether: (1) the actions are
names as defendants both parties alleged to be
                                                                 pending before the same court; (2) there are common
knowing traffickers in stolen property, and parties
                                                                 parties; (3) there are common questions of law and/or
alleged to be innocent purchasers of stolen property.
                                                                 fact; (4) there is risk of prejudice or confusion if the
PEP asserts claims for (1) illegal possession and use of
                                                                 cases are consolidated, and if so, the risk is outweighed
Mexican sovereign property, (2) conversion under
                                                                 by the risk of inconsistent adjudications of factual and
Texas law, (3) equitable relief/constructive trust/unjust
                                                                 legal issues if the cases are tried separately; and (5)
enrichment/money had and received, (4) violation of the
                                                                 consolidation will conserve judicial resources and
Texas Theft Liability Act, and (5) civil conspiracy under
                                                                 reduce [*15] the time and cost of trying the cases
Texas common law, but does not assert any claims
                                                                 separately. See In re Enron Corp. Securities, Derivative
based on alleged violations of RICO, 18 U.S.C. §
                                                                 & "ERISA" Litigation, Civil Action Nos. H-01-3624, H-04-
1962(c).
                                                                 0088, H-04-0087, H-03-5528, 2007 U.S. Dist. LEXIS
                                                                 8812, 2007 WL 446051, at *1 (S.D. Tex. Feb. 7, 2007).

II. Standard of Review
                                                                 III. Analysis
Federal Rule of Civil Procedure 42 provides that "[i]f
actions before the court involve a common question of            The factors courts consider favor consolidation.
law or fact, the court may: (1) join for hearing or trial any

                                                                 A. Common Courts and Parties
    All remaining Big Star Defendants are unopposed to
    consolidation with this matter for all pretrial purposes,    The two actions are pending in the same district and
    provided that the Big Star Defendants are given sufficient   involve common parties. For example, PEP is the
    time to conduct document discovery (as has already           plaintiff in both actions.
    occurred in this case) before depositions commence in
    the consolidated action.
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                                                              These concerns arise from the fact that not all parties
B. Common Questions of Fact and Law                           are common, and that there are some different fact
                                                              issues. But concerns that the facts at issue are not all
The two actions share common questions of law and             common neither preclude consolidation nor overcome
fact because they both involve complaints of the same         the fact that the two actions share many common fact
alleged wrongdoing, i.e., PEP alleges in both actions         issues.
that the defendants participated in a scheme to steal,
sell, and distribute in the United States natural gas         2. Common Questions of Law
condensate stolen from PEP's Burgos Field in Mexico.5         Common questions of law arise from PEP's assertion of
1. Common Questions of Fact                                   the same five claims in both actions: (1) illegal
                                                              possession and use of Mexican sovereign property, (2)
Common questions of fact arise from PEP's allegations         conversion      under    Texas    law,   (3)   equitable
that defendants named in the BASF Action have                 relief/constructive trust/unjust enrichment/money had
interacted and/or conspired with defendants named in          and received, (4) violation of the Texas Theft Liability
the Big Star Action. For example, PEP alleges that            Act, and (5) civil conspiracy under Texas common law.
condensate sold by Arnoldo Maldonado and/or his               The only difference in claims alleged in the two actions
company, Y Oil & Gas, both of whom are defendants in          is that PEP has alleged RICO claims in the BASF
the BASF Action, was purchased by defendants named            Action, but has not alleged any RICO claim in the Big
in both actions, e.g., by Continental Fuels named as a        Star Action. Common questions of law also arise from
defendant in the BASF [*16] Action, and by Big Star           the fact that defendants in both actions have either
named as a defendant in the Big Star Action.                  raised, or can reasonably be expected to raise, the
                                                              same affirmative defenses. For example, defendants in
Defendants who oppose consolidation express concern           the BASF Action have asserted limitations defenses in
that PEP's                                                    response to which PEP has asserted fraudulent
     allegations that multiple people and entities are        concealment and/or equitable tolling, [*18] and the
     alleged to have engaged in similar behavior does         absence of a limitations period for claims based on
     not establish that the two lawsuits share common         Mexican law. Additional affirmative defenses such as
     issues of fact. PEP sidesteps the likelihood that        the good-faith purchaser defense and the unclean
     numerous Mexican criminals stole from PEP and            hands defense can reasonably be expected to arise in
     smuggled the stolen goods into the United States at      both actions.
     different times and locations.
                                                              Many of the questions of law common to both actions
    PEP admits that the Burgos Field spans some three         are questions that should be adjudicated by one court to
    Mexican states and "covers an area of more than           avoid inconsistent rulings. For example, two juries might
    70,000 square kilometers of surface land, roughly         disagree about whether PEP's claims are barred under
    the size of Ireland." Motion, Exhibit A, ¶ 27. Thefts     the unclean hands doctrine. Other examples of legal
    of condensate from one end of the massive Burgos          questions common to both actions best decided by one
    Field are not necessarily related to thefts of            court to avoid inconsistent rulings include: (1) whether
    condensate from another end of the Field. Similarly,      Mexican law applies to transactions alleged to have
    thefts of condensate orchestrated by certain parties      taken place in the United States between Texas
    are not necessarily related to thefts of condensate       companies and residents, and (2) whether the Mexican
    orchestrated by other parties. Particularly when          Constitution creates a private cause of action for such
    dealing with a hydrocarbon resource as large as the       transactions.
    Burgos Field, allegations that certain parties
    engaged in certain acts in the Burgos Field are not
    necessarily related to allegations that other parties     C. Consolidation Will Cause Little — If Any — Risk
    engaged in similar acts just because [*17] they are       of Prejudice and/or Confusion and Will Conserve
    in the same field.6


                                                              6 Defendant  High Sierra Crude Oil & Marketing, LLC's
5 See PEP's Third Amended Complaint, Docket Entry No. 220     Response in Opposition to Plaintiff PEMEX Exploración y
in C.A. No. H-10-1997, and PEP's Original Complaint, Docket   Producción's Motion to Consolidate, Docket Entry No. 226, pp.
Entry No. 1 in C.A. No. H-11-2019.                            3-4.
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Resources                                                                 the two lawsuits were consolidated, High Sierra
                                                                          would be forced to participate in discovery and
Defendants argue that "[t]he clear risks of prejudice and                 other proceedings unrelated to its defense.10
confusion and the unfair advantage to PEP necessitate
leaving the two lawsuits separate for all purposes—just          Defendants also argue that "consolidation would
as PEP chose to file them."7                                     increase the expenses of trying the two lawsuits as
                                                                 each defendant in the two lawsuits would be forced to
 Defendants explain that "[c]onsolidating the two                prepare for and sit through trial on issues unrelated to
lawsuits would allow PEP to cloud its [*19] allegations          PEP's claims against that defendant."11
against High Sierra and the other Defendants in the
BASF Lawsuit with unrelated allegations against other,           The court is not persuaded by these arguments. The
unrelated parties in the Big Star Lawsuit."8                     existence of many factual and legal issues common to
 For example, citing PEP's use of the term "Conspiring           both actions means that consolidation will conserve
Defendants," High Sierra argues that PEP defines this            time, money, and resources of both the court and the
term differently in the two actions and that                     parties by reducing duplicate motions, discovery,
"[c]onsolidation would allow PEP to conflate its two             hearings, and trials. Since the allegations in both actions
definitions of 'Conspiring Defendants' in an attempt to          are factually related, some defendants might be
confuse the Court and, ultimately, jury."9                       prejudiced if the actions were not consolidated. For
                                                                 example, defendants who assert a good faith purchaser
 Neither High Sierra nor any of the other defendants             defense and challenge PEP's ability to trace stolen
opposing consolidation have provided a factual basis for         condensate to purchases they actually [*21] made
their concern about confusion, and the court is not              could be impaired by the absence of the alleged wrong
persuaded that any difference in PEP's alleged                   doers from whom they purchased condensate.
definition of "Conspiring Defendants" will actually              Moreover, as observed by Saint James Oil, Inc. — a
confuse the court or the jury. Moreover, the possibility of      defendant in the Big Star Action who favors
jury confusion at trial does not preclude consolidation,         consolidation for all purposes — consolidated discovery
and any risk of confusion can be adequately addressed            may dampen any potential prejudice by disproving
by particularized jury instructions and special verdict          PEP's allegations of conspiratorial connections.12
forms. Fed. R. Civ. P. 42(b).
                                                                 Because both actions are at an early stage of
Defendants argue that consolidation will prejudice them          development, any prejudice caused by delay arising
because it will result in an unfair advantage to PEP.            from consolidation will be slight. While consolidation
Defendants assert that                                           might delay trial of the BASF Action, consolidation
                                                                 should substantially reduce the overall amount of time
        [c]onsolidation would increase Defendants' costs by      needed to resolve both actions. Because many of the
        forcing them to participate in discovery and other       witnesses in the two actions are likely to be identical
        proceedings not relevant [*20] to the instant            and would have to be deposed twice if the actions were
        lawsuit. By way of example only, PEP's allegations       not consolidated, consolidation may reduce the expense
        against High Sierra are unrelated to PEP's               of discovery. Consolidation may also reduce the
        allegations against Joplin Energy, LLC, formerly         expense of trying the cases separately. Accordingly, the
        known as Hutchison Hayes Energy, LLC, Plains All-        court is persuaded that the benefits of increased
        American Pipeline, LP, and SemCrude, L.P., yet if        efficiency that consolidation for all purposes offers to all
                                                                 parties as well as to the court outweigh any alleged
                                                                 prejudice to the defendants and/or undue benefits to
7 Id.   at 8.                                                    PEP.
8 Id.at 4. See also Defendant Jeff Kirby's Opposition to
Plaintiff Pemex Exploración y Producción's Motion to
Consolidate and Saint James Oil, Inc.'s Motion to Consolidate,
Docket Entry No. 285, p. 3.                                      10 Id.   at 6.
9 Defendant  High Sierra Crude Oil & Marketing, LLC's            11 Id.   at 8.
Response in Opposition to Plaintiff PEMEX Exploración y
Producción's Motion to Consolidate, Docket Entry No. 226, p.     12 Saint
                                                                        James Oil, Inc.'s Motion to Consolidate, Docket Entry
4.                                                               No. 258, p. 3.
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                                                                 Grounds
IV. Conclusions and Order
                                                                 [Docket Entry No. 13] Defendant Jeff Kirby's Motion
After balancing the risks [*22] of prejudice and possible        to Dismiss or, in the Alternative, Motion for A More
confusion against the risk of inconsistent adjudications         Definite Statement, and Joinder in Motions to
of common factual and legal issues, the burden on the            Dismiss Filed by Other Defendants Under FRCP
parties, witnesses, and judicial resources posed by two          12(b)(6)
lawsuits, and the length of time required to conclude two
actions as opposed to one, the court concludes that              [Docket Entry No. 14] Defendant Superior Crude
consolidation is appropriate. Accordingly, PEP's Motion          Gathering [*24] Inc.'s Motion to Dismiss or, in the
to Consolidate (Docket Entry No. 217) is GRANTED,                Alternative, Motion for A More Definite Statement,
and Saint James Oil, Inc.'s Motion to Consolidate                and Joinder in Motions to Dismiss Filed by Other
(Docket Entry No. 258) is GRANTED. Civil Action No.              Defendants Under FRCP 12(b)(6)
H-11-2019 is hereby CONSOLIDATED for all
purposes with Civil Action No. H-10-1997.                    SIGNED at Houston, Texas, on this 4th day of October,
                                                             2011.
The Docket Control Order in H-10-1997 entered on
September 17, 2010 (Docket Entry No. 65), as                 /s/ Sim Lake
amended by the Hearing Minutes and Order entered on
                                                             SIM LAKE
June 16, 2011 (Docket Entry No. 219), will govern the
consolidated action. If this Docket Control Order does       UNITED STATES DISTRICT JUDGE
not allow the parties in H-11-2019 adequate time for
discovery, the parties may confer and submit an
amended docket control order.                                  End of Document

Several defendants in C.A. No. H-11-2019 have filed
motions to dismiss. The court has ruled that "[e]ach
party will be allowed to file one (1) dispositive motion
limited to twenty-five (25) pages. No dispositive motion
will be filed [*23] before May 18, 2012, unless it goes to
the court's subject matter jurisdiction." (Hearing Minutes
and Order, Docket Entry No. 219, page 4) Pursuant to
this Order, the following dispositive motions in C.A. No.
H-11-2019 are DENIED:

    [Docket Entry No. 4] Defendant Plains All-American
    Pipeline, L.P.'s Motion to Dismiss Plaintiff PEMEX
    Exploración y Producción's Original Complaint for
    Failure to State A Claim Under FRCP 12(b) (6) and
    Motion in Alternative for A More Definite Statement

    [Docket Entry No. 6] Defendant Transmontaigne
    Partners L.P.'s Motion to Dismiss or, in the
    Alternative, Motion for A More Definite Statement
    and Joinder in Plains All-American Pipeline, L.P.'s
    Motion to Dismiss Under FRCP 12(b) (6)

    [Docket Entry No. 8] Defendant saint James Oil,
    Inc.'s Motion to Dismiss Pursuant to Rule 12(b)(2)
    and (6), or, in the Alternative, Motion for More
    Definite Statement Pursuant to Rule 12(e)
    [Docket Entry No. 10] Defendant Western Refining
    Company, L.P.'s Motion to dismiss on Limitations
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     Positive
As of: November 7, 2018 11:12 PM Z


                           In re Plains All Am. Pipeline, L.P. Sec. Litig.
                   United States District Court for the Southern District of Texas, Houston Division
                            December 7, 2015, Decided; December 7, 2015, Filed, Entered
                                              Lead Case No H:15-cv-02404

Reporter
2015 U.S. Dist. LEXIS 163811 *; 2015 WL 8207331
                                                              Dallas, TX.
IN RE PLAINS ALL AMERICAN PIPELINE, L.P.
SECURITIES LITIGATION                                         For Barclays Capital Inc., Citigroup Global Markets Inc.,
                                                              Consol Defendants: Mark K Glasser, Sidley Austin LLP,
Subsequent History: Motion denied by In re Plains All         Houston, TX; Matthew J Dolan, Norman J Blears, Sidley
Am. Pipeline, L.P. Sec. Litig., 2016 U.S. Dist. LEXIS         Austin LLP, Palo Alto, CA.
65601 (S.D. Tex., May 18, 2016)
                                                              For Goldman Sachs & Co., J.P. Morgan Securities LLC,
                                                              Merrill Lynch, Pierce, Fenner & Smith Incorporated,
Dismissed without prejudice by In re Plains All Am.
                                                              UBS Securities LLC, Wells Fargo Securities LLC,
Pipeline, L.P., 245 F. Supp. 3d 870, 2017 U.S. Dist.
                                                              Consol Defendants: Mark K Glasser, Sidley Austin LLP,
LEXIS 46870 (S.D. Tex., Mar. 29, 2017)
                                                              Houston, TX; Matthew [*2] J Dolan, Norman J Blears,
Dismissed by, Judgment entered by In re Plains All Am.        PRO HAC VICE, Sidley Austin LLP, Palo Alto, CA.
Pipeline, L.P. Sec. Litig., 2018 U.S. Dist. LEXIS 56013       For Inter-Marketing Group USA, Inc., Movant: William B
(S.D. Tex., Mar. 30, 2018)                                    Federman, Federman Sherwood, Oklahoma City, OK.
                                                              For The Pennsylvania State Employees' Retirement
Core Terms                                                    System, Movant: Carl E Singley, Joe H Tucker, LEAD
                                                              ATTORNEYS, Tucker Law Group, Philadelphia, PA;
lead plaintiff, largest, appointment, financial interest,
                                                              Christine Donato Saler, LEAD ATTORNEY, Catherine
securities, funds, requirements, class period, plaintiffs',
                                                              Pratsinakis, Chimicles & Tikellis LLP, Haverford, PA;
adequacy, class member, lead counsel, typicality,
                                                              Roger B Greenberg, Thane Tyler Sponsel, III, LEAD
losses, shares, stock, putative class, consolidated,
                                                              ATTORNEYS, Sponsel Miller Greenberg PLLC,
conflicts, investors, quotation, motions, parties, argues,
                                                              Houston, TX; Kimberly M Donaldson Smith, Nicholas E.
marks, spill
                                                              Chimicles, PRO HAC VICE, Chimicles & Tikellis LLP,
                                                              Haverford, PA.
Counsel: [*1] For City of Birmingham Firemen's and
Policemen's Supplemental Pension System, Plaintiff:           For Houston Municipal Employees Pension System,
Roger Farrell Claxton, LEAD ATTORNEY, Dallas, TX.             Movant: Thomas E Bilek, LEAD ATTORNEY, The Bilek
                                                              Law Firm LLP, Houston, TX; Jeffrey Haber, PRO HAC
For Plains All American Pipeline, L.P., Defendant:
                                                              VICE, Bernstein Liebhard et al, New York, NY; Joseph
Jeffrey S Johnston, Vinson Elkins LLP, Houston, TX;
                                                              R. Seidman, Jr., Bernstein Liebhard LLP, New York,
Michael C Holmes, Vinson & Elkins, Dallas, TX.
                                                              NY; Stanley Bernstein, PRO HAC VICE, Bernstein
For Gregory L. Armstrong, Al Swanson, Chris Herbold,          Liebhard, New York, NY.
Defendants: Michael C Holmes, LEAD ATTORNEY,
                                                              For Employees' Retirement System of Rhode Island,
Vinson & Elkins, Dallas, TX; Jeffrey S Johnston, Vinson
                                                              Police and Fire Retirement System of the City of Detroit,
Elkins LLP, Houston, TX.
                                                              Employees' Retirement System of the City of Baton
For Plains GP Holdings L.P., Harry N. Pefanis, Victor         Rouge and Parish of East Baton Rouge, Movants:
Burk, Everardo Goyanes, Gary L. Petersen, John T.             Gerald H Silk, LEAD ATTORNEY, Bernstein [*3]
Raymond, Bobby S. Shackouls, Robert V. Sinnott, Vicky         Litowitz Berger & Grossmann LLP, New York City, NY;
Sutil, Taft Symonds, Christopher M. Temple, Consol            Thomas Robert Ajamie, LEAD ATTORNEY, Ajamie
Defendants: Jeffrey S Johnston, Vinson Elkins LLP,            LLP, Houston, TX.
Houston, TX; Michael C Holmes, Vinson & Elkins,
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                                        2015 U.S. Dist. LEXIS 163811, *3

For Jacksonville Police and Fire Pension Fund, Movant:    and the applicable law, the court now grants IAM's
Gerald H Silk, Bernstein Litowitz Berger & Grossmann      motion for appointment of lead plaintiff and approval of
LLP, New York City, NY; Thomas Robert Ajamie,             lead counsel and denies the motions filed by the Inter-
Ajamie LLP, Houston, TX.                                  Marketing Group and the Pennsylvania System. The
                                                          reasons are explained below.
For IAM National Pension Fund, Movant: Andrew M
Edison, LEAD ATTORNEY, Edison, McDowell &
Hetherington, LLP, Houston, TX; Danielle S Myers,
                                                          I. The Standard for Determining "the Most Adequate
PRO HAC VICE, Luke O. Brooks, Robbins Geller
                                                          Plaintiff" [*5] Under the PSLRA
Rudman & Dowd LLP, San Diego, CA.
                                                          Under the Private Securities Litigation Reform Act of
Judges: Lee H. Rosenthal, United States District
                                                          1995 ("PSLRA"), Pub. L. No. 104-67, 109 Stat. 737, the
Judge.
                                                          district court must appoint the lead plaintiff "[a]s soon as
                                                          practicable" after ruling on a motion to consolidate. 15
Opinion by: Lee H. Rosenthal
                                                          U.S.C. § 78u-4(a)(3)(B)(ii). On October 20, 2015, the
                                                          court granted the plaintiffs' motions to consolidate this
Opinion                                                   case with Case No. 4:15-cv-2540. (Docket Entry No.
                                                          30). The PSLRA requires notice within 20 days after the
                                                          plaintiff files a complaint that informs class members of
                                                          their right to move for lead-plaintiff status within 60 days
MEMORANDUM AND ORDER APPOINTING LEAD
                                                          after the notice was published. 15 U.S.C. § 78u-
PLAINTIFF AND APPROVING LEAD COUNSEL
                                                          4(a)(3)(A)(i). The parties do not dispute the adequacy of
The putative class members in this federal securities     the notice.
action are investors in Houston-based Plains All
                                                          In appointing the lead plaintiff,
American Pipeline, LP ("Plains"), a crude-oil pipeline
                                                               the court shall consider any motion made by a
operator. On May 19, 2015, Line 901—a 10.6-mile long
                                                               purported class member . . . , including any motion
Plains pipeline across the Santa Barbara, California
                                                               by a class member who is not individually named
coast—ruptured and released crude oil. The plaintiffs
                                                               as a plaintiff in the complaint or complaints, and
allege that Plains made misrepresentations about the
                                                               shall appoint as lead plaintiff the member or
measures taken to prevent such an occurrence before
                                                               members of the purported plaintiff class that the
the spill and after the spill about the extent of the
                                                               court determines to be most capable of adequately
release. They seek damages for the decline in the value
                                                               representing the interests of class members
of Plains stock. The defendants [*4] are Plains; Plains
                                                               (hereafter in this paragraph referred to as the "most
Holdings, a limited partnership formed to own an
                                                               adequate plaintiff") in accordance with this
interest in Plains's general-partner and incentive-
                                                               subparagraph.
distribution rights; officers and directors at the two
companies; and underwriters associated with public        Id. § 78u-4(a)(3)(B)(i). "[T]he court shall adopt a
offerings of the shares.                                  presumption that the most adequate plaintiff [*6] in any
                                                          private action arising under this chapter is the person or
Five plaintiffs moved to be appointed as lead plaintiff
                                                          group of persons that":
and for their chosen counsel to be approved as lead
counsel. (Docket Entry Nos. 8, 11, 18, 19, 22). The
                                                                   (aa) has either filed the complaint or made a
court heard argument on the motions. At the hearing,
                                                                   motion in response to a notice under
the court dismissed as moot the Public Pension Funds'
                                                                   subparagraph (A)(i);
withdrawn motion and denied the Houston Municipal
                                                                   (bb) in the determination of the court, has the
Employees Pension System's motion. (Docket Entry No.
                                                                   largest financial interest in the relief sought by
56). The court took under advisement the motions filed
                                                                   the class; and
by Inter-Marketing Group USA, Inc. ("Inter-Marketing
                                                                   (cc) otherwise satisfies the requirements of
Group"), IAM National Pension Fund ("IAM"), and the
                                                                   Rule 23 of the Federal Rules of Civil
Pennsylvania State Employees' Retirement System (the
                                                                   Procedure.
"Pennsylvania System").
                                                              ...
Based on the pleadings, the motions and responses,            [This presumption] may be rebutted only upon proof
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     by a member of the purported plaintiff class that the           The Pennsylvania System argues that it should
     presumptively most adequate plaintiff                           nonetheless be appointed as co-lead plaintiff with IAM.
         (aa) will not fairly and adequately protect the             The argument is based on differences between [*8]
         interests of the class; or                                  Plains stock and Plains Holdings stock. The
         (bb) is subject to unique defenses that render              Pennsylvania System has the largest financial interest in
         such plaintiff incapable of adequately                      the relief sought on behalf of investors in Plains
         representing the class.                                     Holdings, (Docket Entry No. 48 at 9-10), and argues that
                                                                     a co-lead plaintiff is necessary to ensure that both sets
Id. § 78u-4(a)(3)(B)(iii)(I)—(II). Discovery on this issue           of investors are adequately represented. But IAM
may be conducted only if "the plaintiff first demonstrates           invested in, and lost money on, shares of both Plains
a reasonable basis for a finding that the presumptively              and Plains Holdings during the class period. The
most adequate plaintiff is incapable of adequately                   present record shows no basis to infer that both IAM
representing the class." Id. § 78u-4(a)(3)(B)(iv). The               and the Pennsylvania System are needed as lead
most adequate plaintiff "shall, subject to the approval of           plaintiffs for adequate representation. This court
the court, select and retain counsel to represent the                rejected a similar argument for co-lead plaintiff
class." Id. § 78u-4(a)(3)(B)(v).                                     appointment in In re Enron Corp. Securities Litigation,
                                                                     206 F.R.D. 427 (S.D. Tex. 2002). As in Enron, the
                                                                     Pennsylvania System's call for subclasses may be
II. Which of the Plaintiffs Is Presumed "the Most                    "persuasive . . . at class certification, as well as for trial."
Adequate"?                                                           Id. at 451. At this stage, however, "such divisions are
                                                                     [not] essential." Id.
For the presumption to apply, "the lead plaintiff or
plaintiffs must possess not only the largest financial [*7]          At oral argument, the Pennsylvania System argued that
interest in the outcome of the litigation, but must also             Enron was different because it involved only one
meet the requirements of Federal Rule of Civil                       company, while Plains and Plains Holdings are distinct
Procedure 23." In re Waste Management, Inc. Sec.                     corporate entities. The Pennsylvania System submitted
Litigation, 128 F. Supp. 2d 401, 411 (S.D. Tex. 2000).               exhibits showing that the companies are interrelated but
                                                                     have some differences in employees and corporate
                                                                     structure. This is not a persuasive basis for [*9]
A. The Largest Financial Interest                                    distinguishing Enron. Because the class relief sought
                                                                     encompasses losses from investments in both Plains
Courts in this district consider the four Lax factors to             and Plains Holdings, the losses are properly combined
determine who has the largest financial interest. The                to determine the largest financial interest. As in Enron,
factors are "(1) the number of shares purchased, (2) the             the Pennsylvania System "may reurge or file new
number of net shares purchased, (3) the total net funds              requests for subclasses and separate representatives"
expended by the plaintiff(s) during the class period, and            at the class-certification stage. Id. Until then, the
(4) the approximate losses suffered by the plaintiff(s)."            differences between Plains and Plains Holdings provide
Id. at 414 (citing Lax v. First Merchants Acceptance                 no reason to appoint co-lead plaintiffs. See Greenberg
Corp., No. 97-c-2715, 1997 U.S. Dist. LEXIS 11866,                   v. Bear Stearns & Co., Inc., 80 F. Supp. 2d 65, 70
1997 WL 461036 (N.D. Ill. Aug. 11, 1997)). It is                     (S.D.N.Y. 2000) ("When attempting to resolve who is the
undisputed that IAM has the largest financial interest in            most adequate plaintiff to represent the class, the Court
the relief the putative class seeks. IAM purchased the               is of the view that the largest financial interest of the
largest number of total and net shares, spent the largest            class should be considered, not the largest financial
amount of total net funds, and suffered the largest loss.1           interest of separate sub classes."); cf. In Re Century
                                                                     Business Servs. Sec. Litigation, 202 F.R.D. 532, 536
 Compare (Docket Entry No. 18, Ex. C), with (Docket                  (N.D. Ohio 2001) (plaintiffs "cannot simply define the
Entry No. 9); (Docket Entry No. 49, Ex. 1); see also                 class they seek to represent . . . [or] shrink the kingdom
(Docket Entry No. 50 at p. 10).                                      until they are king.").

                                                                     The Pennsylvania System also argues that it has the
1 There
                                                                     "broadest" financial interest in the relief sought because
       are two methods for calculating losses: first in, first out
                                                                     it also lost money on investments in Plains debt
("FIFO") and last in, first out ("LIFO"). The movants' losses are
                                                                     securities. (Docket Entry No. 48 at p. 11). It concedes,
the same under either measure.
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however, that "the debt securities are not included in the   Cir. 1986)) (internal quotation marks omitted); see also
current definition of the class." (Id.). And the PSLRA       Woodard v. Andrus, 272 F.R.D. 185, 191 (W.D. La.
question is not which [*10] party has the "broadest"         2010) ("The test for typicality is not demanding and it
financial interest, but which party has the "largest"        focuses on the general similarity of the legal and
financial interest.                                          remedial theories behind the plaintiffs' claims." (citing
                                                             Shipes v. Trinity Indus., 987 F.2d 311, 316 (5th Cir.
Although the relative difference between the losses          1993); Jenkins, 782 F.2d at 472)). The class
alleged by IAM and the Pennsylvania System—                  representative's claims must "have the same essential
$500,000, or roughly 5 percent—is not great, the Lax         characteristics of those of the putative class." James v.
factors show that IAM "has the largest financial interest    City of Dallas, 254 F.3d 551, 571 (5th Cir. 2001),
in the relief sought by the class." 15 U.S.C. § 78u-         abrogated on other grounds by M.D. ex rel. Stukenberg
4(a)(3)(B)(iii)(I)(bb).                                      v. Perry, 675 F.3d 832, 839-41 (5th Cir. 2012).

                                                             "The adequacy requirement mandates an inquiry into
B. Does IAM Otherwise Satisfy the Requirements of            the zeal and competence of the representatives' counsel
Rule 23?                                                     and the willingness and ability of the representatives to
                                                             take an active role in and control the litigation and to
Because IAM has the largest financial interest, it is        protect the interests of absentees." Berger v. Compaq
presumptively entitled to lead-plaintiff status unless it    Computer Corp., 257 F.3d 475, 479 (5th Cir. 2001)
fails the requirements of Federal Rule of Civil Procedure    (alterations omitted) (quotation marks omitted). It also
23.                                                          "serves to uncover conflicts of interest between named
                                                             parties and the class they seek to represent." In re
                                                             Deepwater Horizon, 785 F.3d 1003, 1015 (5th Cir.
1. The Legal Standard Under Rule 23                          2015) (quotation marks omitted).
The Rule 23(a) requirements are that:
                                                             "The [*12] typicality and adequacy inquiries are related
    (1) the class is so numerous that joinder of all
                                                             in this context, as a party's lack of the same essential
    members is impracticable;
                                                             characteristics of those of the putative class James may
    (2) there are questions of law or fact common to the
                                                             result in conflicts between the named plaintiffs' interests
    class;
                                                             and the class members' interests." In re BP Sec.
    (3) the claims or defenses of the representative
                                                             Litigation, 758 F. Supp. 2d 428, 437 (S.D. Tex. 2010)
    parties are typical of the claims or defenses of the
                                                             (citations omitted) (quotation marks omitted). "For
    class; and
                                                             example, if such a party were appointed lead plaintiff,
    (4) the representative parties will fairly and
                                                             there would be potential conflicts between the party and
    adequately protect the interests of the class.
                                                             the other class members in drafting the consolidated
                                                             complaint, in defending a motion to dismiss, and in
FED. R. CIV. P. 23. The most relevant requirements
                                                             conducting discovery—the party would have an interest
under the PSLRA are adequacy and typicality. Enron,
                                                             in pursuing its specific claims to the potential exclusion
206 F.R.D. at 441. "Although the inquiry at this stage of
                                                             of other class members' claims." Id.
the litigation in selecting the Lead Plaintiff is not as
searching as the one triggered by a subsequent motion
for class certification, the proposed Lead Plaintiff [*11]
                                                             2. Analysis
must make at least a preliminary showing that it has
claims that are typical of those of the putative class and   The record shows that IAM lost money because it
has the capacity to provide adequate representation for      purchased Plains and Plains Holdings securities during
those class members." Id.                                    the class period. Although not identical, IAM's legal and
                                                             remedial     theories   have    the    same      essential
"The typicality requirement focuses less on the relative
                                                             characteristics as the class claims. This is enough for
strengths of the named and unnamed plaintiffs' cases
                                                             typicality.
than on the similarity of the legal and remedial theories
behind their claims." Bertulli v. Indep. Ass'n of Cont'l
                                                             The Pennsylvania System argues that IAM's claims are
Pilots, 242 F.3d 290, 297 n.32 (5th Cir. 2001) (quoting
                                                             not typical because it did not purchase securities during
Jenkins v. Raymark Indus., Inc., 782 F.2d 468, 472 (5th
                                                             any of the public offerings that give rise to the Securities
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Act of 1933 claims. "Nothing in the PSLRA indicates that        interests. There is no reason to anticipate conflicts
district courts [*13] must choose a lead plaintiff with         between IAM and the other plaintiffs in, for example,
standing to sue on every available cause of action."            drafting the amended consolidated complaint or
Hevesi v. Citigroup, Inc., 366 F.3d 70, 82 (2d Cir. 2004).      defending a motion to dismiss.2
"[I]t is inevitable that, in some cases, the lead plaintiff
will not have standing to sue on every claim." Id. Courts       See id. at 437.
reject a "requirement that a different lead plaintiff be
appointed to bring every single available claim" because        The Pennsylvania System correctly observes that IAM's
that "would contravene the main purpose of having a             stock purchases were limited to the final eight months of
lead plaintiff—namely, to empower one or several                the roughly two-year class period and suggests that
investors with a major stake in the litigation to exercise      these      "late-in-the-class-period  purchases      raise
control over the litigation as a whole." Id. at 82 n.13.        questions about IAM's ability to vigorously and
And, in any event, this argument does not justify               adequately pursue claims on behalf of the purchasers of
appointing the Pennsylvania System, because neither             Plains's securities throughout [the class period], and
IAM nor the Pennsylvania System has standing to                 particularly during the earlier months of the class
assert every claim advanced in the complaint. (Docket           period." (Docket Entry No. 48 at p. 18-19). But at this
Entry No. 50 at p. 13 & n.11).                                  stage, the Pennsylvania System has failed to identify,
                                                                and the record does not show, any reason why IAM
At oral argument, the Pennsylvania System relied                would [*16] not pursue claims throughout the entire
heavily on In re BP Securities Litigation, 758 F. Supp.         class period or why asserting early-in-the-class-period
2d 428 (S.D. Tex. 2010). That case provides no support.         claims would run counter to IAM's interests. "A lead
The BP court considered a motion for appointment of             plaintiff owes a fiduciary duty to the class," Enron, 206
lead plaintiff by state retirement funds in New York and        F.R.D. at 448 n.18 (citing Cohen v. Beneficial Indus.
Ohio. The case involved allegations of securities fraud         Loan Corp., 337 U.S. 541, 549-50, 69 S. Ct. 1221, 93 L.
relating to the April 2010 Deepwater Horizon oil spill. Id.     Ed. 1528 (1949)), and "[d]ifferent interests need not
at 432. The court reasoned that the New York and Ohio           necessarily constitute fatal conflicts," id. The record
funds had a "theory of the case [that] differ[ed]               reflects no apparent conflicts and no inability or
significantly from that of [the other plaintiffs]." [*14] Id.   unwillingness by IAM or its counsel, Robbins Geller
at 437. The New York and Ohio funds alleged that BP             Rudman & Dowd LLP, to pursue the class claims.
made fraudulent statements over a five-year period,
from 2005 to after the April 2010 spill. The other              The Pennsylvania System argues that it would be the
plaintiffs' claims focused on "the thirteen months leading      "most" adequate and typical lead plaintiff. "That the
up to the Deepwater Horizon explosion." Id. at 438.             district court believes another plaintiff may be 'more
During this 13-month window, the New York and Ohio              typical' or 'more adequate' is of no consequence. So
funds were net sellers of BP stock, unlike the other            long as the plaintiff with the largest losses satisfies the
plaintiffs, who were investors in BP during this period.        typicality and adequacy requirements, he is entitled to
Id. The court's concern was that the "New York [and]            lead plaintiff status, even if the district court is convinced
Ohio [funds] might not have an interest in vigorously           that some other plaintiff would do a better job." In re
pursuing the claims central to the [other plaintiffs']          Cavanaugh, 306 F.3d 726, 732 (9th Cir. 2002). IAM
shorter class period, in favor of emphasizing arguments         satisfies the Rule 23 requirements and is entitled to the
about fraud based on conduct before and after the               most-adequate-plaintiff presumption.
[other plaintiffs'] thirteen-month window." Id. The court
concluded that because the issues of the New York and
Ohio funds were outside of the other plaintiffs' 13-month       III. Has the Presumption Been Rebutted?
class period, those funds would "present different legal
theories than other plaintiffs." Id. As a result, the funds
did not make a preliminary showing of typicality and
                                                                2 There is no basis for distinguishing Plains shares from Plains
adequacy and were not entitled to the most-adequate-
                                                                Holdings shares at this time. The stock prices largely moved in
plaintiff presumption. Id.
                                                                tandem over the class period, even though Plains Holdings
                                                                stocks had a steeper price drop after the spill. These
Unlike the New York and Ohio funds in BP, IAM does
                                                                differences are not material to the ability of one lead plaintiff
not have interests that are potentially different
                                                                and class counsel to clearly and adequately represent the
from, [*15] much less antagonistic to, the class
                                                                interests of the class.
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The Pennsylvania System has not submitted any "proof"
rebutting the presumption. 15 U.S.C. § 78u-                  End of Document
4(a)(3)(B)(iii)(II). Nor has it moved to conduct discovery
on this issue. Id. § 78u-4(a)(3)(B)(iv). The court finds
that IAM is the most adequate [*17] plaintiff under the
PSLRA.


IV. Approval of Lead Counsel

The most adequate plaintiff "shall, subject to the
approval of the court, select and retain counsel to
represent the class." Id. § 78u-4(a)(3)(B)(v). The court
should not disturb the lead plaintiff's choice of counsel
unless it is necessary to "protect the interests of the
[plaintiff] class." Enron, 206 F.R.D. at 441 (quotation
marks omitted). "The adequacy of the putative class
representative(s) and of plaintiffs' counsel should not be
presumed, however, even in the absence of proof to the
contrary; plaintiff bears the burden of demonstrating his
and his counsel's adequacy." Id.

Robbins Geller meets the requirements for approval of
lead counsel. Robbins Geller has submitted a detailed
firm resume and attorney biographies. (Docket Entry
No. 18, Ex. D). It has also submitted its contingency-fee
matrix, which the court has reviewed in camera. (Docket
Entry No. 55). The record shows that Robbins Geller will
adequately represent the putative class. IAM's choice of
counsel is approved.


V. Conclusion

The court grants IAM's motion for appointment of lead
plaintiff and approves Robbins Geller as lead counsel.
(Docket Entry No. 18). The court denies Inter-Marketing
Group's and the Pennsylvania [*18] State Employees'
Retirement System's motions for appointment of lead
plaintiff and approval of lead counsel. (Docket Entry
Nos. 8, 11). The amended consolidated complaint must
be filed by January 29, 2016, and the motion to dismiss
by March 14, 2015. A reply brief is permitted, and the
filings must be within the usual page limits.

SIGNED on December 7, 2015, at Houston, Texas.

/s/ Lee H. Rosenthal

Lee H. Rosenthal

United States District Judge
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     Neutral
As of: October 30, 2018 2:36 PM Z


         Turner v. ShengdaTech, Inc. (In re ShengdaTech, Inc. Secs. Litig.)
                          United States District Court for the Southern District of New York
                                December 6, 2011, Decided; December 6, 2011, Filed
                            11 Civ. 1918 (TPG); 11 Civ. 1996; 11 Civ. 2064; 11 Civ. 3325

Reporter
2011 U.S. Dist. LEXIS 141695 *; 2011 WL 6110438
                                                             Sung Nam, Irina Kobylevsky, Kaplan Fox & Kilsheimer
JAMES THOMAS TURNER, Individually and on Behalf
                                                             LLP (NYC), New York, NY.
of All Others Similarly Situated, Plaintiff, - against -
SHENGDATECH, INC., et al., Defendants. MARLON                For Marlon Fund SICA V PLC, Movant (1:11-cv-01918-
FUND SICAV PLC, Individually and on Behalf of All            TPG): Jeremy Alan Lieberman, Pomerantz Haudek
Others Similarly Situated, Plaintiff, - against -            Block Grossman & Gross LLP, New York, NY.
SHENGDATECH, INC., et al., Defendants. ERIK S.
                                                             For Thomas Loomis, Movant (1:11-cv-01918-TPG),
MATHES, Individually and on Behalf of All Others
                                                             (1:11-cv-02064-TPG): Irina Kobylevsky, LEAD
Similarly Situated, Plaintiffs, - against -
                                                             ATTORNEY, Kaplan Fox & Kilsheimer LLP (NYC), New
SHENGDATECH, INC., et al., Defendants. DONALD D.
                                                             York, NY.
YAW and EDWARD J. SCHAUL, Individually and on
Behalf of All Others Similarly Situated, Plaintiffs, -       For Shadas, Movant (1:11-cv-01918-TPG): Phillip C.
against - SHENGDATECH, INC., et al., Defendants.             Kim, LEAD ATTORNEY, The Rosen Law Firm P.A.,
                                                             New York, NY.
Subsequent History: Dismissed by In re Shengdatech
                                                             For Shengdatech, Inc., Defendant (1:11-cv-01918-
Secs. Litig., 2013 U.S. Dist. LEXIS 121636 (S.D.N.Y.,
                                                             TPG): Robert Allen Horowitz, Greenberg Traurig, LLP
Aug. 22, 2013)
                                                             (NYC), New York, NY.
Dismissed by In re ShengdaTech, Inc. Sec. Litig., 2014       For Marlon Fund SICA V PLC, Individually and on
U.S. Dist. LEXIS 112190 (S.D.N.Y., Aug. 12, 2014)            behalf of all others similarly situated, Plaintiff [*2] (1:11-
                                                             cv-01996-TPG): Jeremy Alan Lieberman, LEAD
Motion denied by In re ShengdaTech, Inc. Sec. Litig.,        ATTORNEY, Marc Ian Gross, Patrick Vincent
2015 U.S. Dist. LEXIS 69395 (S.D.N.Y., May 28, 2015)         Dahlstrom, Pomerantz Haudek Block Grossman &
                                                             Gross LLP, New York, NY.
Core Terms                                                   For Thomas Loomis, Movant (1:11-cv-01996-TPG): Irina
                                                             Kobylevsky, LEAD ATTORNEY, Kaplan Fox &
notice, lead plaintiff, appointment, consolidate,            Kilsheimer LLP (NYC), New York, NY.
Securities, class period, common stock, purported,
financial interest, first-filed                              For Shengtech, Inc., Defendant (1:11-cv-01996-TPG):
                                                             Robert Allen Horowitz, Greenberg Traurig, LLP (NYC),
Counsel: [*1] For Donald D. Yaw, Edward J. Schaul,           New York, NY.
Lead Plaintiffs (1:11-cv-01918-TPG): Mario Alba, Jr,         For Erik S. Mathes, on behalf of himself and all others
LEAD ATTORNEY, Robbins Geller Rudman & Dowd                  similarly situated, Plaintiff (1:11-cv-02064-TPG): Donald
LLP(LI), Melville, NY.                                       R. Hall, Jr, LEAD ATTORNEY, Frederic Scott Fox, Sr,
For James Thomas Turner, Individually and on behalf of       Hae Sung Nam, Irina Kobylevsky, Kaplan Fox &
all others similarly situated, Plaintiff (1:11-cv-01918-     Kilsheimer LLP (NYC), New York, NY.
TPG): Samuel Howard Rudman, Robbins Geller                   For Shengdatech, Inc., Defendant (1:11-cv-02064-
Rudman & Dowd LLP(LI), Melville, NY.                         TPG): Robert Allen Horowitz, LEAD ATTORNEY,
For Erik S. Mathes, on behalf of himself and all others      Greenberg Traurig, LLP (NYC), New York, NY.
similarly situated, Consolidated Plaintiff (1:11-cv-01918-   For Donald D. Yaw, Individually and on behalf of all
TPG): Donald R. Hall, Jr, Frederic Scott Fox, Sr, Hae        others similarly situated, Edward J. Schaul, Individually
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                                           2011 U.S. Dist. LEXIS 141695, *2

and on behalf of all others similarly situated, Plaintiffs   records for the year ending on December 31, 2010. It
(1:11-cv-03325-TPG): Samuel Howard Rudman, LEAD              also announced the hiring of independent counsel to
ATTORNEY, Mario Alba, Jr, Robbins Geller Rudman &            initiate the investigation and delayed its required
Dowd LLP(LI), Melville, NY.                                  disclosures to the SEC. As a result, trading in
                                                             ShengdaTech's common stock was suspended, and
For Shengdatech, Inc., Defendant (1:11-cv-03325-
                                                             NASDAQ ultimately delisted the company on April 29,
TPG): Robert Allen Horowitz, LEAD ATTORNEY,
                                                             2011.
Greenberg Traurig, LLP (NYC), [*3] New York, NY.
                                                             On May 5, 2011, ShengdaTech notified the SEC that its
Judges: Thomas P. Griesa.                                    longtime auditor, KPMG, had resigned due to the failure
                                                             of ShengdaTech's board of directors to take appropriate
Opinion by: Thomas P. Griesa
                                                             remedial actions to address the fiscal discrepancies
                                                             KPMG had previously identified. In the course of its
Opinion                                                      resignation, KPMG also declared that ShengdaTech
                                                             should take action to prevent future reliance on KPMG's
                                                             audit reports for the years 2008 and 2009.
In these related cases, plaintiffs bring securities class
actions on behalf of all persons who purchased the           On March 18, 2011, plaintiff James Thomas Turner
common stock of ShengdaTech, Inc. ("ShengdaTech")             [*5] filed the first class action in this court against
during certain periods of time. Plaintiffs allege that       ShengdaTech and its senior executives on behalf of all
ShengdaTech and three of its senior executives violated      purchasers of ShengdaTech common stock from March
Sections 10(b) and 20(a) of the Securities Exchange Act      15, 2010 to March 1, 2011. The complaint alleges that
of 1934 and SEC Rule 10b-5.                                  ShengdaTech and its officers violated Sections 10(b)
                                                             and 20(a) of the Securities Exchange Act of 1934, 15
Plaintiffs Marlon Fund SICA V PLC ("Marlon"), Thomas         U.S.C. §§ 78j(b) and 78t(a), and SEC Rule 10b-5, 17
Loomis ("Loomis"), Shula Shada and Aliza Peretz ("the        C.F.R. § 240.10b-5, by materially misrepresenting the
Shadas"), and Edward Schaul and Donald Yaw ("Schaul          company's financial position in regulatory filings and
and Yaw") now move to consolidate the various actions.       public statements, thus artificially inflating the value of
In addition, each set of plaintiffs moves for appointment    the company's common stock and causing losses to
as lead plaintiff in the resulting action pursuant to the    purchasers who bought and held the stock before the
Private Securities Litigation Reform Act ("PSLRA").          revelation of ShengdaTech's financial irregularities.
Lastly, they seek approval of their respective counsel as
lead counsel for the consolidated action.                    On March 18, 2011, plaintiff's counsel Robbins Geller,
                                                             pursuant to 15 U.S.C. § 78u-4(a)(3)(A)(i), published
The court grants the motion to consolidate, appoints         notice of the Turner action in Business Wire. This notice
plaintiffs Schaul and Yaw as lead plaintiffs, and            specified that, pursuant to 15 U.S.C. § 78u-
approves their selection of Robbins, Geller, Rudman,         4(a)(3)(A)(i)(II), persons wishing to serve as lead plaintiff
and Dowd, L.L.P. ("Robbins Geller") as lead counsel.         were to so move in this action within sixty days of the
                                                             published notice.

BACKGROUND                                                   During the subsequent sixty-day period, three related
                                                             class actions were filed in this court: Turner v.
Between 2008 and 2011, the common stock of                   ShengdaTech, Inc. (11 Civ. 1918); Marlon Fund SICA V
ShengdaTech, a Nevada corporation based in                   PLC v ShengdaTech, Inc. (11 Civ. 1996) [*6] ; Mathes
Shanghai, China, [*4] was traded on the NASDAQ               v. ShengdaTech, Inc. (11 Civ. 2064); and Yaw v.
Stock Market. In this time, ShengdaTech filed numerous       ShengdaTech, Inc. (11 Civ. 3325). The last of these—
quarterly and annual earnings reports with the               the action instituted on May 17, 2011 by plaintiffs Schaul
Securities and Exchange Commission ("SEC") and               and Yaw through Robbins Geller—alleges a class
issued many public statements related to its earnings.       period of May 7, 2008 through March 15, 2011. On that
                                                             same day, plaintiffs Marlon, Loomis, the Shadas, and
On March 15, 2011, ShengdaTech announced the                 Yaw and Schaul moved for consolidation and for
formation of a special committee of its Board of             appointment of lead plaintiff. In addition, the Shadas
Directors to investigate financial discrepancies             argue that the court—unless it appoints them lead
unearthed by its auditors during their examination of
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plaintiff—should stay the consolidated action on the            PSLRA when a class period is extended beyond the
ground that the expansion of the class period in the Yaw        period contained in the first-filed securities class action.
complaint is so substantial as to require a second round        See Teamsters Local 445 Freight Div. Pension Fund v.
of notice under the PSLRA followed by another sixty-            Bombardier Inc., No. 05 Civ. 1898, 2005 U.S. Dist.
day waiting period to permit other potential lead plaintiffs    LEXIS 10780, 2005 WL 1322721 at *2 (S.D.N.Y. June
to come forward.                                                1, 2005); Lax v. First Merchs. Acceptance Corp., No. 97
                                                                Civ. 2715, 1997 U.S. Dist. LEXIS 11866, 1997 WL
                                                                461036, at *5 (N.D. Ill. Aug. 11, 1997). This antagonism
Discussion                                                      derives from the text of the law, which specifies that
                                                                where a later action asserts substantially the same
                                                                claim as a first-filed action, "only the plaintiff or plaintiffs
Motion to Consolidate                                           in the first filed action shall be required to cause notice
                                                                to be published." 15 U.S.C. § 78u-4(a)(3)(A)(ii) (2011).
 Fed. R. Civ. P. 42(a) provides that the court may
consolidate questions that involve common questions of          Here, the Schaul and Yaw action proceeds against the
law and fact. It is clear that the actions currently before     same defendants as the first-filed Turner action, relies
the court should be consolidated, as each employs the           on the same legal theories as that action, and concerns
same facts to make substantially similar allegations.           the same type of securities as that action. All told,
While the Schaul and Yaw complaint reaches a longer             potential lead plaintiffs in this case were adequately
class period, it employs the same legal theories that           notified of the nature of the claims against
underlie [*7] the suits with a shorter class period.            ShengdaTech by the notice of the Turner action
                                                                published on March 18, 2011 in Business Wire, despite
                                                                the shorter purported class period [*9] of that action.
Request for New Notice                                          Consequently, the court holds that the Schaul and Yaw
                                                                action is substantially similar to the first-filed Turner
As already described, the Shadas argue that the Schaul
                                                                action, such that the March 18, 2011 notice satisfied the
and Yaw complaint so expands the class period of the
                                                                requirements of the PSLRA. Accord Greenberg v. Bear
first-filed case as to warrant a stay in this action for a
                                                                Stearns & Co., Inc., 80 F.Supp.2d 65, 69 (E.D.N.Y.
second round of PSLRA notice.
                                                                2000).
The PSLRA lays out a detailed regime governing the
form and timing of notice for securities class actions:
                                                                Appointment of Lead Plaintiff
    i) Not later than 20 days after the date on which the
    complaint is filed, the plaintiff or plaintiffs shall       The court must "appoint as lead plaintiff the member or
    cause to be published, in a widely circulated               members of the purported plaintiff class that the court
    national business-oriented publication or wire              determines to be most capable of adequately
    service, a notice advising members of the purported         representing the interests of class members." 15 U.S.C.
    plaintiff class--I) of the pendency of the action, the      § 78u-4(a)(3)(B). The PSLRA subsequently refers to this
    claims asserted therein, and the purported class            party as "the most adequate plaintiff." Id. Under the law,
    period; and (II) that, not later than 60 days after the     the most adequate plaintiff is rebuttably presumed to be:
    date on which the notice is published, any member                the person or group of persons that (aa) has either
    of the purported class may move the court to serve               filed the complaint or made a motion in response to
    as lead plaintiff of the purported class. (ii) Multiple          notice...; (bb) in the determination of the court, has
    actions. If more than one action on behalf of a class            the largest financial interest in the relief sought by
    asserting substantially the same claim or claims                 the class; and (cc) otherwise satisfies the
    arising under this title is filed, only the plaintiff or         requirements of Rule 23 of the Federal Rules of
    plaintiffs in the first filed action shall be required to        Civil Procedure.
    cause notice to be published in accordance with
                                                                Id.
    clause [*8] (i).
                                                                Rule 23, of course, provides that a class member may
15 U.S.C. § 78u-4(a)(3)(A) (2011).                              sue to represent a class when:

Courts, however, disfavor republication of notice under               (1) the class is so numerous that joinder of all
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    members is impracticable; (2) there [*10] are             and Loomis concede that, under any calculation, they
    questions of law or fact common to the class;(3) the      lost less than Schaul and Yaw. While the Shadas
    claims or defenses of the representative parties are      initially claimed to have suffered greater losses than
    typical of the claims or defenses of the class; and       Schaul and Yaw, they have withdrawn this claim in their
    (4) the representative parties will fairly and            most recent filings with the court and instead base their
    adequately protect the interests of the class.            opposition to the appointment of Schaul and Yaw on the
Fed. R. Civ. Proc. 23(a) (2011).                              notice argument addressed above. For reasons
                                                              indicated above, the court will not base its decision on
When appointing a lead plaintiff pursuant to the PSLRA,       this factor. Consequently, Schaul and Yaw are
courts focus on the typicality and adequacy prongs of         appointed lead plaintiffs.
Rule 23. See In re Fuwei Films, 247 F.R.D. 432, 437
(S.D.N.Y. 2008). A plaintiff's claim is typical when it       In addition, the court approves Schaul and Yaw's choice
arises from the same events and is pursued under the          of Robbins Geller as lead counsel, since the firm has
same legal theories as the claims of all class members.       substantial experience and expertise in this sort of
See Rossini v. Ogilvy & Mather, Inc., 798 F.2d 590, 598       litigation.
(2d Cir. 1986). Secondly, the "adequacy requirement is
satisfied where the proposed Lead Plaintiff does not
have interests that are antagonistic to the class...and       Conclusion
has retained counsel that is capable and qualified to
                                                              For the foregoing reasons, the motions to consolidate
vigorously represent the interests of the class...."
                                                              are granted. Schaul and Yaw's motion to be appointed
Glauser v. EVCI Center Colleges Holding Corp., 236
                                                              lead plaintiffs is granted, and their counsel Robbins,
F.R.D. 184, 189 (S.D.N.Y. 2006).
                                                              Geller, Rudman, and Dowd, L.L.P. will be lead counsel.
Finally, even if the PSLRA's requirements are met, the
                                                              The docket in Case No. 11-CV-1918 (TPG) will
presumptively most adequate plaintiff can be
                                                              constitute the Master Docket for this action, and the
disqualified upon a showing that it "(aa) will not fairly
                                                              consolidated action will bear the name In re
and adequately protect [*11] the interests of the class;
                                                               [*13] ShengdaTech, Inc. Securities Litigation.
or (bb) is subject to unique defenses that render such
plaintiff incapable of adequately representing the class."    Dated: New York, New York
15 U.S.C. § 78u-4(a)(3)(B)(iii)(II) (2011).
                                                              December 6, 2011
In this case, a single factor—the extent of the possible
lead plaintiffs' financial interest in this litigation—is     /s/ Thomas P. Griesa
dispositive. All possible lead plaintiffs satisfy the other
criteria for most adequate plaintiff. As purchasers of        Thomas P. Griesa
Shengdatech common stock on the liquid and efficient
NASDAQ stock exchange, all plaintiffs assert
                                                                End of Document
substantially identical fraud-on-the-market claims, all of
which satisfy the typicality requirement. Moreover, it
appears that the potential lead plaintiffs have chosen
counsel who can vigorously represent the class and are
not conflicted with respect to it. Lastly, no movant claims
that another is incapable of representing the class or is
subject to a unique defense. Hence, the most adequate
plaintiff in this case is that with the largest financial
interest in the relief sought by the class.

The PSLRA does not specify how a court is to
determine which plaintiff possesses the largest financial
interest in the litigation. Courts naturally take the
position that usually financial interest [*12] relates to
the total amount of loss suffered. See In re Espeed, Inc.
Sec. Litig., 232 F.R.D. 95, 100 (S.D.N.Y. 2005). Marlon
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                                     US District Court Civil Docket

                                     U.S. District - New York Southern
                                               (Foley Square)

                                                    1:16cv6728

                  In re Signet Jewelers Limited Securities Litigation
                    This case was retrieved from the court on Thursday, November 01, 2018




                      Date Filed:    08/25/2016                       Class Code:   OPEN

                    Assigned To:     Judge Colleen McMahon                Closed:

                     Referred To:                                        Statute:   15:78m(a)

                  Nature of suit:    Securities (850)              Jury Demand:     Plaintiff

                           Cause:    Securities Exchange Act    Demand Amount:      $0

                    Lead Docket:     None                       NOS Description:    Securities

                   Other Docket:     1:16cv06861
                                     1:17cv02845
                                     1:17cv02846
                                     1:17cv09853

                     Jurisdiction:   Federal Question


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  Date         #                                             Proceeding Text
08/25/2016         1   COMPLAINT against Mark Light, Michele Santana, Signet Jewelers Limited. (Filing Fee $ 400.00,
                       Receipt Number 0208-12692047)Document filed by Susan Dube, Individually and On Behalf of All
                       Others Similarly Situated.(Portnoy, Lesley) (Entered: 08/25/2016)

08/25/2016         2   REQUEST FOR ISSUANCE OF SUMMONS as to SIGNET JEWELERS LIMITED, MARK LIGHT, and
                       MICHELE SANTANA, re: 1 Complaint. Document filed by Susan Dube, Individually and On Behalf of
                       All Others Similarly Situated. (Portnoy, Lesley) (Entered: 08/25/2016)

08/25/2016         3   CIVIL COVER SHEET filed. (Portnoy, Lesley) (Entered: 08/25/2016)

08/26/2016             ***NOTICE TO ATTORNEY REGARDING CASE OPENING STATISTICAL ERROR CORRECTION: Notice
                       to attorney Lesley Frank Portnoy. The following case opening statistical information was
                       erroneously selected/entered: County code XX Out of U.S.;. The following correction(s) have been
                       made to your case entry: the County code has been modified to XX Out of State. (rch) (Entered:
                       08/26/2016)

08/26/2016             ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice to attorney Lesley Frank
                       Portnoy. The party information for the following party/parties has been modified: Susan Dube. The
                       information for the party/parties has been modified for the following reason/reasons: party role
                       was entered incorrectly. (rch) (Entered: 08/26/2016)

08/26/2016         4   ELECTRONIC SUMMONS ISSUED as to Mark Light, Michele Santana, Signet Jewelers Limited. (rch)
                       (Entered: 08/26/2016)

08/26/2016             CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is assigned to Judge
                       Jesse M. Furman. Please download and review the Individual Practices of the assigned District
                       Judge, located at http://nysd.uscourts.gov/judges/District. Attorneys are responsible for providing
                       courtesy copies to judges where their Individual Practices require such. Please download and review
                       the ECF Rules and Instructions, located at http://nysd.uscourts.gov/ecf_filing.php. (rch) (Entered:
                       08/26/2016)

08/26/2016             Magistrate Judge Ronald L. Ellis is so designated. (rch) (Entered: 08/26/2016)

08/26/2016             Case Designated ECF. (rch) (Entered: 08/26/2016)

08/31/2016         5   ORDER: On August 25, 2016, Plaintiff filed a class action lawsuit on behalf of the public
                       stockholders of Signet Jewelers Limited. The Complaint alleges violations of Sections 10(b) and



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                  20(a) of the Securities Exchange Act of 1934 ("1934 Act") and Rule 10b-5, promulgated
                  thereunder. Section 78u-4(a)(3)(A) of the Private Securities Litigation Reform Act ("PSLRA"), 15
                  U.S.C. ? 78u-4(a)(3)(A), requires that: Not later than 20 days after the date on which the
                  complaint is filed, the plaintiff or plaintiffs shall cause to be published, in a widely circulated
                  national business-oriented publication or wire service, a notice advising members of the purported
                  plaintiff class - (I) of the pendency of the action, the claims asserted therein, and the purported
                  class period.... 15 U.S.C. ? 78u-4(a)(3)(A)(i). No later than September 16, 2016, Plaintiff shall
                  advise the Court in writing of the date and manner in which it published this notice. (Signed by
                  Judge Jesse M. Furman on 8/31/2016) (tn) (Entered: 08/31/2016)

08/31/2016   6    RESPONSE re: 5 Order,,,, . Document filed by Susan Dube. (Attachments: # 1 Exhibit A - PSLRA
                  Notice)(Portnoy, Lesley) (Entered: 08/31/2016)

09/01/2016   7    ORDER: Plaintiff's counsel notified the Court in the attached letter that the required notice was
                  published on August 25, 2016. Members of the purported class therefore have until October 24,
                  2016, to move the Court to serve as lead plaintiffs. Accordingly, it is hereby ORDERED that a
                  conference shall be held on November 22, 2016, at 4:00 p.m. in Courtroom 1105 of the Thurgood
                  Marshall Courthouse, 40 Centre Street, New York, New York to consider any motions for
                  appointment of lead plaintiff and lead counsel and for consolidation. It is further ORDERED that
                  opposition to any motion for appointment of lead plaintiff shall be served and filed by November 7,
                  2016. It is further ORDERED that the named plaintiffs shall promptly serve a copy of this Order on
                  each of the defendants. (As further set forth in this order), ( Motions due by 10/24/2016.,
                  Responses due by 11/7/2016.), ( Status Conference set for 11/22/2016 at 04:00 PM in Courtroom
                  1105, 40 Centre Street, New York, NY 10007 before Judge Jesse M. Furman.) (Signed by Judge
                  Jesse M. Furman on 9/1/2016) (lmb) Modified on 9/2/2016 (lmb). (Entered: 09/02/2016)

09/07/2016        Magistrate Judge Ronald L. Ellis is so designated. (ad) (Entered: 09/07/2016)

09/08/2016   8    ORDER: On August 25, 2016, Plaintiff Susan Dube filed a complaint in 16-CV-6728. On August 31,
                  2016, Plaintiff Lyubomir Spasov filed a similar complaint in 16-CV-6861. As of this Order, no motion
                  for consolidation has been filed, but 16-CV-6861 has been accepted by the Court as related to
                  16-CV-6728, and the cases appear to involve common questions of law and fact. The parties in
                  each case are directed to file letters no later than September 15, 2016, not to exceed three
                  single-spaced pages each, indicating their views on whether the cases should be consolidated and,
                  if so, whether the Court should proceed as previously ordered (16-CV-6728, Docket No. 7) with
                  respect to the motion deadlines and the hearing date in appointing a lead plaintiff. If the parties do
                  not file letters opposing consolidation, the Court may consolidate the two cases without further
                  notice to the parties. It is further ORDERED that the named plaintiffs shall promptly serve a copy of
                  this Order on each of the defendants and file proof of service on the docket. (Signed by Judge Jesse
                  M. Furman on 9/8/2016) (tn) (Entered: 09/08/2016)

09/09/2016   9    CERTIFICATE OF SERVICE of Court Orders served on Defendants Signet Jewelers Limited, Mark
                  Light, and Michele Santana on September 9, 2016. Service was made by Mail. Document filed by
                  Susan Dube. (Portnoy, Lesley) (Entered: 09/09/2016)

09/14/2016   10   RESPONSE re: 8 Order,,,, . Document filed by Susan Dube. (Portnoy, Lesley) (Entered:
                  09/14/2016)

09/16/2016   11   ORDER: that pursuant to Rule 42(a)(2) of the Federal Rules of Civil Procedure, they are
                  consolidated under the case number 16-CV-6728. The motion deadlines and the hearing date in
                  appointing a lead plaintiff will proceed as previously ordered. (16-CV-6728, Docket No. 7). It is
                  further ORDERED that the named plaintiffs shall promptly serve a copy of this Order on each of the
                  Defendants and file proof of service on the docket. The Clerk of court is directed to consolidate
                  16-CV-6728 and 16-CV-6861 under case number 16-CV-6728, and to close 16-CV-6861. (Signed
                  by Judge Jesse M. Furman on 9/16/2016) (tn) (Entered: 09/19/2016)

09/27/2016   12   NOTICE OF APPEARANCE by Joseph S. Allerhand on behalf of Mark Light, Michele Santana, Signet
                  Jewelers Limited. Filed In Associated Cases: 1:16-cv-06728-JMF, 1:16-cv-06861-JMF(Allerhand,
                  Joseph) (Entered: 09/27/2016)

09/27/2016   13   NOTICE OF APPEARANCE by Stacy Nettleton on behalf of Mark Light, Michele Santana, Signet
                  Jewelers Limited. Filed In Associated Cases: 1:16-cv-06728-JMF, 1:16-cv-06861-JMF(Nettleton,
                  Stacy) (Entered: 09/27/2016)

09/27/2016   14   RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent. Document filed by Mark
                  Light, Michele Santana, Signet Jewelers Limited.Filed In Associated Cases: 1:16-cv-06728-JMF,
                  1:16-cv-06861-JMF(Allerhand, Joseph) (Entered: 09/27/2016)

09/29/2016   15   STIPULATION AND ORDER: IT IS HEREBY STIPULATED AND AGREED, subject to the Court's
                  approval, by and among the undersigned counsel to the parties in the above-captioned actions, as


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                  follows: 1. Defendants Signet Jewelers Limited, Mark Light, and Michele Santana's ("Defendants")
                  time to answer, move, or otherwise respond to the complaints filed by plaintiffs Susan Dube and
                  Lyubomir Spasov is extended until after the Court Appoints a lead plaintiff and lead counsel for lead
                  plaintiff and such lead plaintiff either serves a consolidated amended complaint or designates a
                  complaint as the operative complaint. 2. After the Court appoints a lead plaintiff and lead counsel,
                  counsel for Defendants shall confer with lead plaintiff's counsel and agree to a stipulation, subject
                  to court approval, putting in place a schedule setting forth the lead plaintiffs' time to file a
                  consolidated amended complaint or otherwise designate an operative complaint and Defendants'
                  time to answer or otherwise respond to the operative complaint in this action. (Signed by Judge
                  Jesse M. Furman on 9/28/2016) (cla) (Entered: 09/29/2016)

10/24/2016   16   MOTION to Appoint Counsel Glancy Prongay &amp; Murray LLP and Pomerantz LLP. MOTION to
                  Appoint Lyubomir Spasov and Susan Dube to serve as lead plaintiff(s) . Document filed by Susan
                  Dube, Lyubomir Spasov. (Attachments: # 1 Text of Proposed Order)(Portnoy, Lesley) Modified on
                  7/27/2017 (ap). Modified on 8/8/2017 (ap). (Entered: 10/24/2016)

10/24/2016   17   MEMORANDUM OF LAW in Support re: 16 MOTION to Appoint Counsel Glancy Prongay &amp;
                  Murray LLP and Pomerantz LLP. MOTION to Appoint Lyubomir Spasov and Susan Dube to serve as
                  lead plaintiff(s) . . Document filed by Susan Dube, Lyubomir Spasov. (Portnoy, Lesley) (Entered:
                  10/24/2016)

10/24/2016   18   DECLARATION of Lesley F. Portnoy in Support re: 16 MOTION to Appoint Counsel Glancy Prongay
                  &amp; Murray LLP and Pomerantz LLP. MOTION to Appoint Lyubomir Spasov and Susan Dube to
                  serve as lead plaintiff(s) .. Document filed by Susan Dube, Lyubomir Spasov. (Attachments: # 1
                  Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Portnoy, Lesley) (Entered:
                  10/24/2016)

11/02/2016   19   MOTION for Robert V. Prongay to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                  0208-12945535. Motion and supporting papers to be reviewed by Clerk's Office staff. Document
                  filed by Susan Dube, Lyubomir Spasov. (Attachments: # 1 Text of Proposed Order, # 2 Exhibit -
                  Certificate of Good Standing)(Prongay, Robert) (Entered: 11/02/2016)

11/03/2016        &gt;&gt;&gt;NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No. 19 MOTION
                  for Robert V. Prongay to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number 0208-12945535.
                  Motion and supporting papers to be reviewed by Clerk's Office staff.. The document has been
                  reviewed and there are no deficiencies. (wb) (Entered: 11/03/2016)

11/03/2016   20   ORDER granting 19 Motion for Robert V. Prongay to Appear Pro Hac Vice (HEREBY ORDERED by
                  Judge Jesse M. Furman)(Text Only Order) (Furman, Jesse) (Entered: 11/03/2016)

11/09/2016   21   ORDER: On October 24, 2016, Lyubomir Spasov and Susan Dube filed a motion for appointment as
                  lead plaintiffs pursuant to Section 78-u(a)(3)(B) of the Private Securities Litigation Reform Act
                  ("PSLRA"). (Docket No. 16). The filing also included a motion for approval of Glancy Prongay &amp;
                  Murray LLP and Pomerantz LLP as co-lead counsel for the class. Despite the fact that no opposition
                  was filed, the Court has an independent duty under the PSLRA to assure itself that Spasov and
                  Dube satisfy the requirements of Rule 23 of the Federal Rules of Civil Procedure. 15 U.S.C. ?
                  78-u(a)(3)(B)(iii)(I)(bb)-(cc). Where, as here, the movant is a group rather than an individual
                  person or entity, the question of whether the group can fairly and adequately represent the
                  interests of the class includes consideration of "the way in which a group seeking to become lead
                  plaintiff was formed" and "the extent of the prior relationships and/or connection between the
                  members of a movant group." In re Cendant Corp. Litig., 264 F.3d 201, 266 (3d. Cir. 2001).
                  Accordingly, no later than November 14, 2016, Spasov and Dube shall file a supplemental letter
                  addressing those considerations and their bearing on the motion for appointment as lead plaintiff.
                  The letter should address the propriety or need to have two firms serve as co-lead counsel rather
                  than a single firm. Upon review of the letter, the Court will determine whether there is need to hold
                  the hearing presently scheduled for November 22, 2016. (Signed by Judge Jesse M. Furman on
                  11/9/2016) (mro) (Entered: 11/09/2016)

11/14/2016   22   LETTER addressed to Judge Jesse M. Furman from Lesley F. Portnoy dated November 14, 2016 re:
                  Appointment as Lead Plaintiff and Approval of Lead Counsel. Document filed by Susan Dube,
                  Lyubomir Spasov.(Portnoy, Lesley) (Entered: 11/14/2016)

11/21/2016   23   Vacated as per Judges Order dated 7/27/2017, Doc. # 84 ORDER granting 16 Motion to Appoint
                  Counsel; granting 16 Motion to Appoint. Spasov and Dube are appointed as Lead Plaintiffs. The
                  Court finds that they satisfy the requirements for Lead Plaintiff set forth in Section 78u-4(a) (3)(B).
                  Lead Plaintiffs, pursuant to Section 78u-4(a)(3)(B)(v), have selected and retained Glancy Prongay
                  &amp; Murray LLP and Pomerantz LLP as Co-Lead Counsel. In light of the foregoing, the hearing
                  scheduled for November 22, 2016, is CANCELLED. The Clerk of Court is directed to terminate
                  Docket No. 16. (Signed by Judge Jesse M. Furman on 11/21/2016) (kgo) Modified on 8/8/2017
                  (ap). (Entered: 11/21/2016)


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11/23/2016   24   NOTICE OF APPEARANCE by Tamar Aliza Weinrib on behalf of Susan Dube, Lyubomir Spasov.
                  (Weinrib, Tamar) (Entered: 11/23/2016)

11/30/2016   25   STIPULATION AND ORDER: Lead Plaintiffs are granted leave to file a consolidated amended
                  complaint (the "Amended Complaint") on or before January 30, 2017. Defendants shall answer and
                  otherwise respond to Lead Plaintiffs' Amended Complaint by March 16, 2017. If Defendants move
                  to dismiss the Amended Complaint, Lead Plaintiffs shall file any opposition to such motion on or
                  before May 1, 2017, and Defendants shall file any reply in support of such motion on or before June
                  7, 2017. The proposed schedule is adopted. The parties should not expect any extensions of the
                  deadlines given their generosity. ( Amended Pleadings due by 1/30/2017., Motions due by
                  3/16/2017., Responses due by 5/1/2017, Replies due by 6/7/2017.) (Signed by Judge Jesse M.
                  Furman on 11/29/2016) (mro) Modified on 1/9/2017 (mro). (Entered: 11/30/2016)

01/10/2017   26   NOTICE OF APPEARANCE by Austin Patrick Van on behalf of Susan Dube, Lyubomir Spasov. (Van,
                  Austin) (Entered: 01/10/2017)

01/10/2017   27   NOTICE OF CHANGE OF ADDRESS by Austin Patrick Van on behalf of Susan Dube. New Address:
                  Pomerantz LLP, 600 Third Avenue, 20th Floor, New York, New York, USA 10016, 212-661-1100.
                  (Van, Austin) (Entered: 01/10/2017)

01/30/2017   28   AMENDED COMPLAINT amending 1 Complaint against Mark Light, Michele Santana, Signet Jewelers
                  Limited with JURY DEMAND.Document filed by Susan Dube, Lyubomir Spasov. Related document: 1
                  Complaint filed by Susan Dube.(Lieberman, Jeremy) Modified on 1/31/2017 (pc). (Entered:
                  01/30/2017)

03/01/2017   29   LETTER MOTION for Leave to File Second Amended Complaint addressed to Judge Jesse M.
                  Furman from Jeremy A. Lieberman dated March 1, 2017. Document filed by Susan Dube, Lyubomir
                  Spasov.(Lieberman, Jeremy) (Entered: 03/01/2017)

03/01/2017   30   ORDER granting 29 Letter Motion for Leave to File Second Amended Complaint. Lead Plaintiffs are
                  granted leave to file a second amended complaint on or before April 3, 2017. The parties' proposed
                  briefing schedule for Defendants' anticipated motion to dismiss is hereby adopted. (HEREBY
                  ORDERED by Judge Jesse M. Furman)(Text Only Order) (Furman, Jesse) (Entered: 03/01/2017)

03/30/2017   31   LETTER MOTION for Leave to File Letter regarding Intervention and PSLRA notice addressed to
                  Judge Jesse M. Furman from Samuel H. Rudman dated March 30, 2017. Document filed by Irving
                  Firemen's Relief &amp; Retirement System.(Rudman, Samuel) (Entered: 03/30/2017)

03/31/2017   32   ORDER with respect to 31 Letter Motion regarding intervention and PSLRA notice. Lead Plaintiffs
                  and - if they wish - Defendants shall file any response to proposed Intervenor's letter no later than
                  April 6, 2017. (HEREBY ORDERED by Judge Jesse M. Furman)(Text Only Order) (Furman, Jesse)
                  (Entered: 03/31/2017)

04/03/2017   33   SECOND AMENDED COMPLAINT amending 28 Amended Complaint, against Mark Light, Michele
                  Santana, Signet Jewelers Limited, Michael Barnes, Ronald Ristau with JURY DEMAND.Document
                  filed by Susan Dube, Lyubomir Spasov. Related document: 28 Amended Complaint, filed by
                  Lyubomir Spasov, Susan Dube.(Lieberman, Jeremy) Modified on 4/4/2017 (pc). Modified on
                  4/4/2017 (pc). (Entered: 04/03/2017)

04/03/2017   34   REQUEST FOR ISSUANCE OF SUMMONS as to Michael Barnes, re: 33 Amended Complaint,.
                  Document filed by Susan Dube, Lyubomir Spasov. (Lieberman, Jeremy) (Entered: 04/03/2017)

04/03/2017   35   REQUEST FOR ISSUANCE OF SUMMONS as to Ronald Ristau, re: 33 Amended Complaint,.
                  Document filed by Susan Dube, Lyubomir Spasov. (Lieberman, Jeremy) (Entered: 04/03/2017)

04/04/2017   36   ELECTRONIC SUMMONS ISSUED as to Ronald Ristau. (pc) (Entered: 04/04/2017)

04/04/2017   37   ELECTRONIC SUMMONS ISSUED as to Michael Barnes. (pc) (Entered: 04/04/2017)

04/04/2017   38   LETTER MOTION for Extension of Time to Respond to the Dube Plaintiffs' Second Amended
                  Complaint and in Response to the March 30, 2017 Letter Motion Filed by the Irving Firemen's Relief
                  &amp; Retirement System addressed to Judge Jesse M. Furman from Joseph S. Allerhand dated
                  April 4, 2017. Document filed by Mark Light, Michele Santana, Signet Jewelers Limited.(Allerhand,
                  Joseph) (Entered: 04/04/2017)

04/05/2017   39   ORDER with respect to 31 Letter Motion for Leave to File Letter regarding Intervention and PSLRA
                  notice; and 38 Letter Motion for Extension of Time to Respond to the Dube Plaintiffs' Second
                  Amended Complaint and in Response to the March 30, 2017 Letter Motion Filed by the Irving
                  Firemen's Relief &amp; Retirement System. The parties and proposed Intervenor shall appear for a
                  conference with the Court on April 7, 2017, at 1:15 p.m. in Courtroom 1105 of the Thurgood



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                  Marshall U.S. Courthouse, 40 Centre Street, New York, NY. (HEREBY ORDERED by Judge Jesse M.
                  Furman)(Text Only Order) (Furman, Jesse) (Entered: 04/05/2017)

04/06/2017   40   NOTICE OF APPEARANCE by David Avi Rosenfeld on behalf of Irving Firemen's Relief &amp;
                  Retirement System. (Rosenfeld, David) (Entered: 04/06/2017)

04/06/2017   41   NOTICE OF APPEARANCE by Phillip C. Kim on behalf of Maria Mikolchak. (Kim, Phillip) (Entered:
                  04/06/2017)

04/06/2017   42   LETTER addressed to Judge Jesse M. Furman from Phillip Kim dated 4/6/2017 re: Irving Firemen's
                  Relief &amp; Retirement System's Letter Motion for Leave to File Letter regarding Intervention and
                  PSLRA notice. Document filed by Maria Mikolchak.(Kim, Phillip) (Entered: 04/06/2017)

04/06/2017   43   NOTICE OF APPEARANCE by Garth Avery Spencer on behalf of Susan Dube, Lyubomir Spasov.
                  (Spencer, Garth) (Entered: 04/06/2017)

04/06/2017   44   LETTER RESPONSE in Opposition to Motion addressed to Judge Jesse M. Furman from Jeremy A.
                  Lieberman dated April 6, 2017 re: 31 LETTER MOTION for Leave to File Letter regarding
                  Intervention and PSLRA notice addressed to Judge Jesse M. Furman from Samuel H. Rudman
                  dated March 30, 2017. . Document filed by Susan Dube, Lyubomir Spasov. (Lieberman, Jeremy)
                  (Entered: 04/06/2017)

04/07/2017        Minute Entry for proceedings held before Judge Jesse M. Furman: Pretrial Conference held on
                  4/7/2017. Jeremy Lieberman, Garth Spencer, and Austin Van present for Plaintiffs. Joseph
                  Allerhand, Stacy Nettleton, and Robert Ruff present for Defendants. David Rosenfeld present for
                  Intervenor Irving Firemen's Relief &amp; Retirement System. Court reporter present. (ab)
                  (Entered: 04/27/2017)

04/10/2017   45   AFFIDAVIT OF SERVICE. Michael Barnes served on 4/5/2017, answer due 4/26/2017. Service was
                  accepted by Michael Barnes, Defendant. Document filed by Susan Dube; Lyubomir Spasov.
                  (Lieberman, Jeremy) (Entered: 04/10/2017)

04/14/2017   46   MEMORANDUM OPINION AND ORDER: Thus, the only possible way for Lead Plaintiffs to avoid the
                  need for republication (and the revisiting of the lead plaintiff and lead counsel selection that might
                  follow) is to revert to the claims and allegations in the original Complaint, which formed the basis
                  for the original PSLRA notice. (See Docket Nos. 1, 6). If, in light of the Court's ruling, Lead Plaintiffs
                  wish to strike the new claims and allegations in both the First and Second Amended Complaints and
                  revert to the claims and allegations in the original Complaint, they shall file a letter brief to that
                  effect within one week of the date of this Order, showing cause why the Court should permit them
                  to do so; within three days of any such letter brief, any interested party including Defendants and
                  IFRRS shall file any response. The Clerk of Court is directed to add IFRRS to the docket as an
                  Intervenor and to terminate Docket Nos. 31 and 38. As discussed on the record at the April 7, 2017
                  conference, Defendants need not answer or otherwise respond to Lead Plaintiffs' complaints at
                  present; the Court will set a deadline to answer or otherwise respond when the questions of lead
                  plaintiff and the operative complaint have been clarified. (Signed by Judge Jesse M. Furman on
                  4/14/2017) (ap) (Entered: 04/14/2017)

04/17/2017   47   FILING ERROR - DEFICIENT DOCKET ENTRY (SEE 48 Affidavit) - AFFIDAVIT OF SERVICE. Ronald
                  Ristau served on 4/10/2017, answer due 5/1/2017. Service was accepted by Ronald Ristau,
                  Defendant. Document filed by Susan Dube; Lyubomir Spasov. (Lieberman, Jeremy) Modified on
                  4/18/2017 (db). (Entered: 04/17/2017)

04/17/2017   48   AFFIDAVIT OF SERVICE of Summons and Amended Complaint,. Ronald Ristau served on 4/7/2017,
                  answer due 5/1/2017. Service was accepted by Ronald Ristau, defendant. Document filed by Susan
                  Dube; Lyubomir Spasov. (Lieberman, Jeremy) (Entered: 04/17/2017)

04/20/2017   49   TRANSCRIPT of Proceedings re: CONFERENCE held on 4/7/2017 before Judge Jesse M. Furman.
                  Court Reporter/Transcriber: Khristine Sellin, (212) 805-0300. Transcript may be viewed at the
                  court public terminal or purchased through the Court Reporter/Transcriber before the deadline for
                  Release of Transcript Restriction. After that date it may be obtained through PACER. Redaction
                  Request due 5/11/2017. Redacted Transcript Deadline set for 5/22/2017. Release of Transcript
                  Restriction set for 7/19/2017.(McGuirk, Kelly) (Entered: 04/20/2017)

04/20/2017   50   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official transcript of a
                  CONFERENCE proceeding held on 4/7/17 has been filed by the court reporter/transcriber in the
                  above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of
                  Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made
                  remotely electronically available to the public without redaction after 90 calendar days...(McGuirk,
                  Kelly) (Entered: 04/20/2017)




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04/21/2017   51   LETTER MOTION for Leave to File Third Amended Complaint addressed to Judge Jesse M. Furman
                  from Jeremy A. Lieberman dated April 21, 2017. Document filed by Susan Dube, Lyubomir
                  Spasov.(Lieberman, Jeremy) (Entered: 04/21/2017)

04/24/2017   52   LETTER RESPONSE in Opposition to Motion addressed to Judge Jesse M. Furman from Joseph S.
                  Allerhand dated April 24, 2017 re: 51 LETTER MOTION for Leave to File Third Amended Complaint
                  addressed to Judge Jesse M. Furman from Jeremy A. Lieberman dated April 21, 2017. . Document
                  filed by Michael Barnes, Mark Light, Ronald Ristau, Michele Santana, Signet Jewelers Limited.
                  (Allerhand, Joseph) (Entered: 04/24/2017)

04/24/2017   53   LETTER RESPONSE in Opposition to Motion addressed to Judge Jesse M. Furman from David A.
                  Rosenfeld dated April 24, 2017 re: 51 LETTER MOTION for Leave to File Third Amended Complaint
                  addressed to Judge Jesse M. Furman from Jeremy A. Lieberman dated April 21, 2017. . Document
                  filed by Irving Firemen's Relief &amp; Retirement System. (Rosenfeld, David) (Entered:
                  04/24/2017)

05/04/2017   54   MEMORANDUM OPINION AND ORDER re: 51 LETTER MOTION for Leave to File Third Amended
                  Complaint addressed to Judge Jesse M. Furman from Jeremy A. Lieberman dated April 21, 2017 in
                  16cv6728. Upon review of the parties' submissions, Lead Plaintiffs' motion is DENIED, substantially
                  for the reasons set forth in IFRRS's letter. Thus, the Court adheres to its prior conclusions and
                  denies Lead Plaintiffs' motion for leave to amend the operative Second Amended Complaint.
                  Instead, Lead Plaintiffs shall republish notice in this action to reflect the asserted class and class
                  periods in the Second Amended Complaint, after which the Court will revisit the question of who
                  should be appointed as lead plaintiff and lead counsel under the PSLRA. Typically, plaintiffs are
                  required to publish PSLRA notice no more than twenty days after a complaint is filed. See 15 U.S.C.
                  ? 78u-4(a)(3)(A). Taking its cue from that provision, the Court orders that, no later than May 24,
                  2017, Lead Plaintiffs shall advise the Court in writing of the date and manner in which they
                  published notice. As of this Order, no motion for consolidation has been filed, but the Court
                  accepted the two new cases as related to 16-CV-6728, and the cases appear to involve certain
                  common questions of law and fact. Accordingly, the parties in each case are directed to file letters
                  no later than May 11, 2017, not to exceed three single-spaced pages each, indicating their views
                  on whether the cases should be consolidated. If the parties do not file letters opposing
                  consolidation, the Court intends to consolidate the three cases without further notice to the parties.
                  The Clerk of Court is directed to terminate 16-CV-6728 Docket No. 51, and as further set forth.
                  (Signed by Judge Jesse M. Furman on 5/4/2017) (ras) Modified on 5/25/2017 (ras). (Entered:
                  05/04/2017)

05/08/2017   55   LETTER addressed to Judge Jesse M. Furman from Jeremy A. Lieberman dated 05/08/2017 re:
                  Pursuant to the Order of the Court daed May 4, 2017. Document filed by Susan Dube, Lyubomir
                  Spasov.(Lieberman, Jeremy) (Entered: 05/08/2017)

05/09/2017   56   LETTER addressed to Judge Jesse M. Furman from Samuel H. Rudman dated May 9, 2017 re:
                  clarification of due dates for lead plaintiff motions. Document filed by Irving Firemen's Relief &amp;
                  Retirement System.(Rudman, Samuel) (Entered: 05/09/2017)

05/10/2017   57   LETTER addressed to Judge Jesse M. Furman from Joseph S. Allerhand dated May 10, 2017 re:
                  consolidation and clarification of due dates for lead plaintiff motions. Document filed by Michael
                  Barnes, Mark Light, Ronald Ristau, Michele Santana, Signet Jewelers Limited.(Allerhand, Joseph)
                  (Entered: 05/10/2017)

05/12/2017   58   ORDER: As the above-captioned actions involve common questions of law and fact and Plaintiffs
                  agree that consolidation is appropriate, it is hereby ordered that pursuant to Rule 42(a)(2) of the
                  Federal Rules of Civil Procedure, they are consolidated under the case number 16-CV-6728. Any
                  motions to serve as lead plaintiffs and lead counsel shall be filed by July 5, 2017. It is further
                  ORDERED that opposition to any motion for appointment of lead plaintiff and lead counsel shall be
                  filed by July 19, 2017. Plaintiffs Irving Firemens Relief and Retirement System and Maria Mikolchak
                  shall promptly provide supplemental notice of the new deadline to their purported classes. Finally,
                  it is hereby ORDERED that a conference shall be held on August 1, 2017, at 3 p.m. in Courtroom
                  1105 of the Thurgood Marshall Courthouse, 40 Centre Street, New York, New York to consider any
                  motions for appointment of lead plaintiff and lead counsel The Clerk of court is directed to
                  consolidate 16-CV-6728, 17-CV-2845, and 17-CV-2846 under case number 16-CV-6728, and to
                  close 17-CV-2845 and 17-CV-2846, and as further set forth herein. (Motions due by 7/5/2017,
                  Responses due by 7/19/2017, Status Conference set for 8/1/2017 at 03:00 PM in Courtroom 1105,
                  40 Centre Street, New York, NY 10007 before Judge Jesse M. Furman.) (Signed by Judge Jesse M.
                  Furman on 5/12/2017) (ras) (Entered: 05/12/2017)

05/23/2017   59   NOTICE OF CHANGE OF ADDRESS by Garth Avery Spencer on behalf of Susan Dube, Lyubomir
                  Spasov. New Address: Glancy Prongay &amp; Murray LLP, 230 Park Avenue, Suite 530, New York,
                  NY, USA 10169, 212-682-5340. Filed In Associated Cases: 1:16-cv-06728-JMF,



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                  1:16-cv-06861-JMF, 1:17-cv-02845-JMF, 1:17-cv-02846-JMF(Spencer, Garth) (Entered:
                  05/23/2017)

06/08/2017   60   WAIVER OF SERVICE RETURNED EXECUTED. Document filed by Irving Firemen's Relief &amp;
                  Retirement System. (Rosenfeld, David) (Entered: 06/08/2017)

06/08/2017   61   WAIVER OF SERVICE RETURNED EXECUTED. Document filed by Irving Firemen's Relief &amp;
                  Retirement System. (Rosenfeld, David) (Entered: 06/08/2017)

06/08/2017   62   WAIVER OF SERVICE RETURNED EXECUTED. Document filed by Irving Firemen's Relief &amp;
                  Retirement System. (Rosenfeld, David) (Entered: 06/08/2017)

07/05/2017   63   MOTION to Appoint Counsel The Rosen Law Firm., MOTION to Appoint Heather Salway to serve as
                  lead plaintiff(s) . Document filed by Heather Salway. (Attachments: # 1 Text of Proposed
                  Order)(Kim, Phillip) (Entered: 07/05/2017)

07/05/2017   64   MEMORANDUM OF LAW in Support re: 63 MOTION to Appoint Counsel The Rosen Law Firm.
                  MOTION to Appoint Heather Salway to serve as lead plaintiff(s) . . Document filed by Heather
                  Salway. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Kim, Phillip) (Entered:
                  07/05/2017)

07/05/2017   65   MOTION to Appoint Public Employees Retirement System of Mississippi to serve as lead plaintiff(s) .
                  Document filed by Public Employees Retirement System of Mississippi.(Silk, Gerald) (Entered:
                  07/05/2017)

07/05/2017   66   MOTION to Appoint Norfolk County Council as Administering Authority of the Norfolk Pension Fund
                  to serve as lead plaintiff(s) ., MOTION to Appoint Counsel .( Return Date set for 8/1/2017 at 03:00
                  PM.) Document filed by Norfolk County Council as Administering Authority of the Norfolk Pension
                  Fund. (Attachments: # 1 Text of Proposed Order)Filed In Associated Cases: 1:16-cv-06728-JMF,
                  1:16-cv-06861-JMF, 1:17-cv-02845-JMF, 1:17-cv-02846-JMF(Rosenfeld, David) (Entered:
                  07/05/2017)

07/05/2017   67   MEMORANDUM OF LAW in Support re: (15 in 1:17-cv-02846-JMF, 15 in 1:17-cv-02846-JMF, 12 in
                  1:17-cv-02845-JMF, 12 in 1:17-cv-02845-JMF, 66 in 1:16-cv-06728-JMF, 66 in
                  1:16-cv-06728-JMF, 16 in 1:16-cv-06861-JMF, 16 in 1:16-cv-06861-JMF) MOTION to Appoint
                  Norfolk County Council as Administering Authority of the Norfolk Pension Fund to serve as lead
                  plaintiff(s) . MOTION to Appoint Counsel . . Document filed by Norfolk County Council as
                  Administering Authority of the Norfolk Pension Fund. Filed In Associated Cases:
                  1:16-cv-06728-JMF, 1:16-cv-06861-JMF, 1:17-cv-02845-JMF, 1:17-cv-02846-JMF(Rosenfeld,
                  David) (Entered: 07/05/2017)

07/05/2017   68   MEMORANDUM OF LAW in Support re: 65 MOTION to Appoint Public Employees Retirement System
                  of Mississippi to serve as lead plaintiff(s) . . Document filed by Public Employees Retirement System
                  of Mississippi. (Silk, Gerald) (Entered: 07/05/2017)

07/05/2017   69   DECLARATION of David A. Rosenfeld in Support re: (12 in 1:17-cv-02845-JMF, 12 in
                  1:17-cv-02845-JMF, 66 in 1:16-cv-06728-JMF, 66 in 1:16-cv-06728-JMF, 16 in
                  1:16-cv-06861-JMF, 16 in 1:16-cv-06861-JMF, 15 in 1:17-cv-02846-JMF, 15 in
                  1:17-cv-02846-JMF) MOTION to Appoint Norfolk County Council as Administering Authority of the
                  Norfolk Pension Fund to serve as lead plaintiff(s) . MOTION to Appoint Counsel .. Document filed by
                  Norfolk County Council as Administering Authority of the Norfolk Pension Fund. (Attachments: # 1
                  Exhibit A - PSLRA Notice, # 2 Exhibit B - Sworn Certification, # 3 Exhibit C - Estimate of losses, # 4
                  Exhibit D - Robbins Geller Rudman &amp; Dowd LLP firm resume)Filed In Associated Cases:
                  1:16-cv-06728-JMF, 1:16-cv-06861-JMF, 1:17-cv-02845-JMF, 1:17-cv-02846-JMF(Rosenfeld,
                  David) (Entered: 07/05/2017)

07/05/2017   70   DECLARATION of Gerald H. Silk in Support re: 65 MOTION to Appoint Public Employees Retirement
                  System of Mississippi to serve as lead plaintiff(s) .. Document filed by Public Employees Retirement
                  System of Mississippi. (Attachments: # 1 Exhibit A - Certification, # 2 Exhibit B - Loss Charts, # 3
                  Exhibit C - Notice, # 4 Exhibit D - Firm Resume)(Silk, Gerald) (Entered: 07/05/2017)

07/18/2017   71   NOTICE of of Withdrawal of Lead Plaintiff Motion re: 63 MOTION to Appoint Counsel The Rosen Law
                  Firm. MOTION to Appoint Heather Salway to serve as lead plaintiff(s) .. Document filed by Heather
                  Salway. (Kim, Phillip) (Entered: 07/18/2017)

07/19/2017   72   NOTICE OF CHANGE OF ADDRESS by Lesley Frank Portnoy on behalf of Susan Dube, Lyubomir
                  Spasov. New Address: Glancy Prongay &amp; Murray LLP, 230 Park Ave., Ste. 530, New York, New
                  York, United States 10169, (212) 682-5340. (Portnoy, Lesley) (Entered: 07/19/2017)

07/19/2017   73   MEMORANDUM OF LAW in Opposition re: 65 MOTION to Appoint Public Employees Retirement



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                  System of Mississippi to serve as lead plaintiff(s) ., 63 MOTION to Appoint Counsel The Rosen Law
                  Firm. MOTION to Appoint Heather Salway to serve as lead plaintiff(s) . . Document filed by Norfolk
                  County Council as Administering Authority of the Norfolk Pension Fund. (Rudman, Samuel)
                  (Entered: 07/19/2017)

07/19/2017   74   MEMORANDUM OF LAW in Support re: 65 MOTION to Appoint Public Employees Retirement System
                  of Mississippi to serve as lead plaintiff(s) . . Document filed by Public Employees Retirement System
                  of Mississippi. (Silk, Gerald) (Entered: 07/19/2017)

07/19/2017   75   DECLARATION of Samuel H. Rudman in Opposition re: 65 MOTION to Appoint Public Employees
                  Retirement System of Mississippi to serve as lead plaintiff(s) ., 63 MOTION to Appoint Counsel The
                  Rosen Law Firm. MOTION to Appoint Heather Salway to serve as lead plaintiff(s) .. Document filed
                  by Norfolk County Council as Administering Authority of the Norfolk Pension Fund. (Attachments: #
                  1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G,
                  # 8 Exhibit H - Part 1, # 9 Exhibit H - Part 2 a, # 10 Exhibit H - Part 2 b, # 11 Exhibit O - George
                  Neville Letters)(Rudman, Samuel) (Entered: 07/19/2017)

07/20/2017   76   DECLARATION of Samuel H. Rudman in Opposition re: 65 MOTION to Appoint Public Employees
                  Retirement System of Mississippi to serve as lead plaintiff(s) ., 63 MOTION to Appoint Counsel The
                  Rosen Law Firm. MOTION to Appoint Heather Salway to serve as lead plaintiff(s) .. Document filed
                  by Norfolk County Council as Administering Authority of the Norfolk Pension Fund. (Attachments: #
                  1 Statement Regarding Technical Difficulties, # 2 Exhibit A - 2/24/16 Forbes article, # 3 Exhibit B -
                  9/13 U.S. Chamber Institute article, # 4 Exhibit C - 4/11/16 Y'all Politics article, # 5 Exhibit D -
                  11/2/09 RespondMississippi article, # 6 Exhibit E - 2/29/16 U.S. Chamber Institute article, # 7
                  Exhibit F - 12/4/10 RespondMississippi article, # 8 Exhibit G - Bernstein Complaint, # 9 Exhibit H -
                  2008 Annual Report of Receipts of Disbursements, # 10 Exhibit I - 2009 Annual Report of Receipts
                  and Disbursements, # 11 Exhibit J - 2010 Annual Report of Receipts and Disbursements, # 12
                  Exhibit K - 2011 Periodic Report of Receipts and Disbursements, # 13 Exhibit L - 2013 Annual
                  Report of Receipts and Disbursements, # 14 Exhibit M - 2015 Periodic Report of Receipts and
                  Disbursements, # 15 Exhibit N - 2016 Annual Report of Receipts and Disbursements, # 16 Exhibit
                  O - 5/20/13 and 5/29/13 Letters from George Neville)(Rudman, Samuel) (Entered: 07/20/2017)

07/21/2017   77   DECLARATION of Samuel H. Rudman in Opposition re: 65 MOTION to Appoint Public Employees
                  Retirement System of Mississippi to serve as lead plaintiff(s) ., 63 MOTION to Appoint Counsel The
                  Rosen Law Firm. MOTION to Appoint Heather Salway to serve as lead plaintiff(s) .. Document filed
                  by Norfolk County Council as Administering Authority of the Norfolk Pension Fund. (Attachments: #
                  1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G,
                  # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14
                  Exhibit N, # 15 Exhibit O)(Rudman, Samuel) (Entered: 07/21/2017)

07/21/2017   78   ORDER with respect to 65 Motion to Appoint the Mississippi Public Employees' Retirement System
                  ("MPERS") as Lead Plaintiff. MPERS is granted leave to file a reply, no later than July 25, 2017, and
                  not to exceed seven pages, addressing the Norfolk Pension Fund's arguments that MPERS is not
                  adequate to serve as lead plaintiff and is presumptively barred from serving as lead plaintiff.
                  (HEREBY ORDERED by Judge Jesse M. Furman)(Text Only Order) (Furman, Jesse) (Entered:
                  07/21/2017)

07/25/2017   79   MEMORANDUM OF LAW in Support re: 65 MOTION to Appoint Public Employees Retirement System
                  of Mississippi to serve as lead plaintiff(s) . . Document filed by Public Employees Retirement System
                  of Mississippi. (Silk, Gerald) (Entered: 07/25/2017)

07/25/2017   80   DECLARATION of Gerald H. Silk in Support re: 65 MOTION to Appoint Public Employees Retirement
                  System of Mississippi to serve as lead plaintiff(s) .. Document filed by Public Employees Retirement
                  System of Mississippi. (Attachments: # 1 Exhibit A - Neville Declaration, # 2 Exhibit B - Chart of
                  Recoveries, # 3 Exhibit C - Semtech Order, # 4 Exhibit D - Morgan Stanley Brief, # 5 Exhibit E -
                  Morgan Stanley Reply Brief, # 6 Exhibit F - CVS Reply, # 7 Exhibit G - Pension Fund Forum, # 8
                  Exhibit H - Bernstein Statement, # 9 Exhibit I - Trinity Order, # 10 Exhibit J - Green Mountain
                  Class Cert Order, # 11 Exhibit K - DFC Global Order, # 12 Exhibit L - KBR Docket, # 13 Exhibit M -
                  Roadrunner Order, # 14 Exhibit N - Treehouse Order, # 15 Exhibit O - Stericycle Order, # 16
                  Exhibit P - Banco Bradesco Order, # 17 Exhibit Q - Green Mountain LP Order, # 18 Exhibit R -
                  JPMorgan Acceptance Order, # 19 Exhibit S - Willbros Opposition Brief)(Silk, Gerald) (Entered:
                  07/25/2017)

07/27/2017   81   NOTICE OF APPEARANCE by Samuel Howard Rudman on behalf of Norfolk County Council as
                  Administering Authority of the Norfolk Pension Fund. (Rudman, Samuel) (Entered: 07/27/2017)

07/27/2017   82   NOTICE OF APPEARANCE by John James Rizio-Hamilton on behalf of Public Employees Retirement
                  System of Mississippi. (Rizio-Hamilton, John) (Entered: 07/27/2017)

07/27/2017   83   NOTICE OF APPEARANCE by Ross Mitchell Shikowitz on behalf of Public Employees Retirement


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                  System of Mississippi. (Shikowitz, Ross) (Entered: 07/27/2017)

07/27/2017   84   ORDER: terminating 63 Motion to Appoint Counsel; terminating 63 Motion to Appoint MissPERS as
                  Lead Plaintiff(s); granting 65 Motion to Appoint MissPERS as Lead Plaintiff(s). Accordingly, the
                  Court hereby ORDERS that: The Court's order of October 24, 2016 (Docket No. 23), is vacated.
                  Accordingly, the Original Lead Plaintiffs and the Original Co-Lead Counsels are no longer lead
                  plaintiff and lead counsel in this matter. MissPERS is appointed as Lead Plaintiff. The Court finds
                  that its satisfies the requirements for Lead Plaintiff set forth in Section 78u-4(a)(3)(B). MissPERS
                  selection of Lead Counsel is approved, and Bernstein Litowitz Berger &amp; Grossmann LLP is
                  appointed as Lead Counsel for the Class. Lead Plaintiff shall confer with counsel for Defendants and,
                  no later than August 3, 2017, agree to a stipulation, subject to Court approval, putting in place a
                  schedule setting forth Lead Plaintiffs time to file a third amended complaint or designate the
                  existing complaint as the operative complaint and Defendants time to answer or otherwise respond
                  to the existing complaint in this action. (Docket No. 33). In light of the foregoing, the hearing
                  scheduled for August 1, 2017, is CANCELLED. The Clerk of Court is directed to change the caption
                  in this action to "In re Signet Jewelers Limited Securities Litigation." The file shall be maintained
                  under Master File No. 1:16-CV-06728 (JMF). The Clerk of Court is directed to terminate Docket
                  Nos. 63, 65, and 66, and as further set forth in this order. (Signed by Judge Jesse M. Furman on
                  7/27/2017) (ap) (Entered: 07/27/2017)

08/03/2017   85   STIPULATION AND ORDER: ACCORDINGLY, IT IS HEREBY STIPULATED, AGREED, AND ORDERED
                  THAT: Lead Plaintiff shall file a third amended complaint (the "Third Amended Complaint") on or
                  before September 29, 2017; Defendants shall answer or otherwise respond to Lead Plaintiff's Third
                  Amended Complaint by December 1, 2017; If Defendants move to dismiss the Third Amended
                  Complaint, Lead Plaintiff shall file any opposition to such motion on or before January 19, 2018,
                  and Defendants shall file any reply in support of such motion on or before February 16, 2018. Given
                  the generosity of the deadlines, the parties should not expect any extensions. (Amended Pleadings
                  due by 9/29/2017. Motions due by 12/1/2017. Responses due by 1/19/2018. Replies due by
                  2/16/2018.) (Signed by Judge Jesse M. Furman on 8/3/2017) (ap) Modified on 8/23/2017 (ap).
                  (Entered: 08/03/2017)

09/29/2017   86   THIRD AMENDED COMPLAINT amending 33 Amended Complaint, against Michael Barnes, Mark
                  Light, Ronald Ristau, Michele Santana, Signet Jewelers Limited with JURY DEMAND.Document filed
                  by Public Employees Retirement System of Mississippi. Related document: 33 Amended
                  Complaint,.(Rizio-Hamilton, John) (Entered: 09/29/2017)

11/21/2017   87   CONSENT LETTER MOTION for Leave to File Excess Pages addressed to Judge Jesse M. Furman
                  from Stacy Nettleton dated November 21, 2017. Document filed by Michael Barnes, Mark Light,
                  Ronald Ristau, Michele Santana, Signet Jewelers Limited.(Nettleton, Stacy) (Entered: 11/21/2017)

11/21/2017   88   ORDER granting 87 Letter Motion for Leave to File Excess Pages. (HEREBY ORDERED by Judge
                  Jesse M. Furman)(Text Only Order) (Furman, Jesse) (Entered: 11/21/2017)

12/01/2017   89   MOTION to Dismiss the Third Amended Class Action Complaint. Document filed by Michael Barnes,
                  Mark Light, Ronald Ristau, Michele Santana, Signet Jewelers Limited.(Allerhand, Joseph) (Entered:
                  12/01/2017)

12/01/2017   90   MEMORANDUM OF LAW in Support re: 89 MOTION to Dismiss the Third Amended Class Action
                  Complaint. . Document filed by Michael Barnes, Mark Light, Ronald Ristau, Michele Santana, Signet
                  Jewelers Limited. (Allerhand, Joseph) (Entered: 12/01/2017)

12/01/2017   91   DECLARATION of Joseph S. Allerhand in Support re: 89 MOTION to Dismiss the Third Amended
                  Class Action Complaint.. Document filed by Michael Barnes, Mark Light, Ronald Ristau, Michele
                  Santana, Signet Jewelers Limited. (Attachments: # 1 Exhibit A (Part 1) - Compilation of credit
                  disclosures, # 2 Exhibit A (Part 2) - Compilation of credit disclosures, # 3 Exhibit A (Part 3) -
                  Compilation of credit disclosures, # 4 Exhibit A (Part 4) - Compilation of credit disclosures, # 5
                  Exhibit B - Compilation of arbitration disclosures, # 6 Exhibit C - Signets FY2017 10-K, # 7 Exhibit
                  D - Signets 2016 Proxy, # 8 Exhibit E - Signets Oct. 18, 2016 letter to SEC, # 9 Exhibit F - Signets
                  FY2014 10-K, # 10 Exhibit G - Signets FY2015 10-K, # 11 Exhibit H - Signets FY2016 10-K, # 12
                  Exhibit I - Select Form 3 and Form 4s, # 13 Exhibit J - Bloomberg law article, # 14 Exhibit K - New
                  York Time article)(Allerhand, Joseph) (Entered: 12/01/2017)

12/04/2017   92   ORDER: On December 1, 2017, Defendants filed a motion to dismiss the complaint under Rule
                  12(b) of the Federal Rules of Civil Procedure. Under Rule 15(a)(1)(B), a plaintiff has twenty-one
                  (21) days after the service of a motion under Rule 12(b) to amend the complaint once as a matter
                  of course. Accordingly, it is hereby ORDERED that Plaintiffs shall file any amended complaint by
                  December 22, 2017. Plaintiffs will not be given any further opportunity to amend the complaint to
                  address issues raised by the motion to dismiss. If Plaintiffs do amend, by three (3) weeks after the
                  amended complaint is filed, Defendants shall: (1) file an answer; (2) file a new motion to dismiss;
                  or (3) submit a letter to the Court, copying Plaintiffs, stating that they rely on the previously filed


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                   motion to dismiss. If Defendants file an answer or a new motion to dismiss, the Court will deny the
                   previously filed motion to dismiss as moot. It is further ORDERED that if no amended complaint is
                   filed, Plaintiffs shall, as the Court previously ordered (Docket No. 85), serve any opposition to the
                   motion to dismiss by January 19, 2018. Defendants' reply, if any, shall be served by February 16,
                   2018. At the time any reply is served, the moving party shall supply the Court with one courtesy
                   hard copy of all motion papers by mailing or delivering them to the United States Courthouse, 40
                   Centre Street, New York, New York. ( Amended Pleadings due by 12/22/2017.) (Signed by Judge
                   Jesse M. Furman on 12/4/2017) (mro) (Entered: 12/04/2017)

12/21/2017   93    LETTER MOTION to Expedite Briefing Schedule for Motion to Consolidate and to Seek Reassignment
                   of Aydin Case as Related addressed to Judge Jesse M. Furman from John Rizio-Hamilton dated
                   12/21/2017. Document filed by Public Employees Retirement System of Mississippi. (Attachments:
                   # 1 Exhibit A - Aydin Cover Sheet &amp; Complaint, # 2 Exhibit B - GP&amp;M Aydin Notice, # 3
                   Exhibit C - Alerts)(Rizio-Hamilton, John) (Entered: 12/21/2017)

12/21/2017   94    LETTER MOTION for Extension of Time to Respond addressed to Judge Jesse M. Furman from
                   Joseph S. Allerhand dated December 21, 2017. Document filed by Michael Barnes, Mark Light,
                   Ronald Ristau, Michele Santana, Signet Jewelers Limited.(Allerhand, Joseph) (Entered:
                   12/21/2017)

12/22/2017   95    ORDER with respect to 93 Letter Motion to Expedite; and 94 Letter Motion for Extension of Time.
                   The Court has accepted the Aydin action as related. No later than January 2, 2018, counsel to the
                   Aydin Plaintiff shall show cause in writing (1) why Aydin should not be consolidated with In re
                   Signet Jewelers Limited Securities Litigation, 16-CV-6728, and (2) why sanctions should not be
                   imposed for failure to designate Aydin as related to 16-CV-6728. Any response to that show cause
                   filing shall be filed by January 5, 2018, and the parties - including counsel to the Aydin Plaintiff -
                   shall appear for a conference with the Court on January 9, 2018, at 4 p.m. At that conference, the
                   Court will address whether and when Defendants need to respond to the forthcoming amended
                   complaint. (HEREBY ORDERED by Judge Jesse M. Furman)(Text Only Order) (Furman, Jesse)
                   (Entered: 12/22/2017)

12/22/2017   96    FOURTH AMENDED COMPLAINT amending 86 Amended Complaint, against Michael Barnes, Mark
                   Light, Ronald Ristau, Michele Santana, Signet Jewelers Limited, Virginia C. Drosos with JURY
                   DEMAND.Document filed by Public Employees Retirement System of Mississippi. Related document:
                   86 Amended Complaint,.(Rizio-Hamilton, John) (Entered: 12/22/2017)

01/02/2018   97    RESPONSE re: 95 Order on Motion to Expedite, Order on Motion for Extension of Time,,,,,, .
                   Document filed by Nebil Aydin. (Murray, Brian) (Entered: 01/02/2018)

01/05/2018   98    RESPONSE re: 97 Response, 95 Order on Motion to Expedite, Order on Motion for Extension of
                   Time,,,,,, . Document filed by Public Employees Retirement System of Mississippi. (Attachments: #
                   1 Exhibit Exhibit A - Proposed Corrected Notice)(Rizio-Hamilton, John) (Entered: 01/05/2018)

01/05/2018   99    LETTER addressed to Judge Jesse M. Furman from Joseph S. Allerhand dated January 5, 2018 re:
                   (i) Your Honor's December 22, 2017 Order to Show (ECF No. 95) and (ii) the recent submission by
                   the Aydin Plaintiff (ECF No. 97). Document filed by Michael Barnes, Mark Light, Ronald Ristau,
                   Michele Santana, Signet Jewelers Limited.(Allerhand, Joseph) (Entered: 01/05/2018)

01/07/2018   100   ORDER re: 97 , 98 , and 99 Responses to the Court's Order To Show Cause. As all parties agree
                   that Aydin v. Signet Jewelers Ltd. et al., 17-CV-9853, should be consolidated with this action, it is
                   hereby consolidated for all purposes. The PSLRA notice issued by counsel for the Aydin Plaintiffs is
                   hereby vacated, and Lead Counsel is authorized to issue the proposed corrective notice. The Clerk
                   of Court shall close 17-CV-9583; all future filings shall be made in this case. Defendants shall file
                   any motion to dismiss the Fourth Amended Consolidated Complaint no later than January 26, 2018;
                   any opposition shall be filed by February 23, 2018; and any reply shall be filed by March 9, 2018.
                   The parties are granted up to 40 pages for their principal briefs; and Defendants are granted up to
                   15 pages for their reply. Although the Court believes that counsel for the Aydin Plaintiffs should
                   have alerted the Court to the filing of the Aydin Complaint and preemptively explained their view
                   why the case was not related (prior to the filing of the Fourth Amended Consolidated Complaint),
                   the Court declines to impose sanctions. Finally, in light of the foregoing, the Court sees no reason
                   for the conference on January 9, 2018. Accordingly, the conference is hereby cancelled. SO
                   ORDERED. (Signed by Judge Jesse M. Furman on 1/7/2018) (Text Only Order)(Furman, Jesse)
                   (Entered: 01/07/2018)

01/07/2018         Set/Reset Deadlines: Motions due by 1/26/2018. Responses due by 2/23/2018. Replies due by
                   3/9/2018. (ras) (Entered: 01/08/2018)

01/26/2018   101   MOTION to Dismiss The Fourth Amended Class Action Complaint. Document filed by Michael
                   Barnes, Virginia C. Drosos, Mark Light, Ronald Ristau, Michele Santana, Signet Jewelers
                   Limited.(Allerhand, Joseph) (Entered: 01/26/2018)


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01/26/2018   102   MEMORANDUM OF LAW in Support re: 101 MOTION to Dismiss The Fourth Amended Class Action
                   Complaint. . Document filed by Michael Barnes, Virginia C. Drosos, Mark Light, Ronald Ristau,
                   Michele Santana, Signet Jewelers Limited. (Allerhand, Joseph) (Entered: 01/26/2018)

01/26/2018   103   DECLARATION of Joseph S. Allerhand in Support re: 101 MOTION to Dismiss The Fourth Amended
                   Class Action Complaint.. Document filed by Michael Barnes, Virginia C. Drosos, Mark Light, Ronald
                   Ristau, Michele Santana, Signet Jewelers Limited. (Attachments: # 1 Exhibit A - Part 1 -
                   Compilation of credit disclosures, # 2 Exhibit A - Part 2 - Compilation of credit disclosures, # 3
                   Exhibit B - Compilation of arbitration disclosures, # 4 Exhibit C - Signets FY2017 10-K, # 5 Exhibit
                   D - Signets 2016 Proxy, # 6 Exhibit E - Signets Oct. 18, 2016 letter to SEC, # 7 Exhibit F - Signets
                   FY2014 10-K, # 8 Exhibit G - Signets FY2015 10-K, # 9 Exhibit H - Signets FY2016 10-K, # 10
                   Exhibit I - Select Form 3 and Form 4s, # 11 Exhibit J - New York Time article, # 12 Exhibit K -
                   FASB 310-10-50)(Allerhand, Joseph) (Entered: 01/26/2018)

02/23/2018   104   MEMORANDUM OF LAW in Opposition re: 101 MOTION to Dismiss The Fourth Amended Class Action
                   Complaint. . Document filed by Public Employees Retirement System of Mississippi.
                   (Rizio-Hamilton, John) (Entered: 02/23/2018)

02/23/2018   105   DECLARATION of John Rizio-Hamilton in Opposition re: 101 MOTION to Dismiss The Fourth
                   Amended Class Action Complaint.. Document filed by Public Employees Retirement System of
                   Mississippi. (Attachments: # 1 Exhibit Summary of Class Period Stock Sales and
                   Purchases)(Rizio-Hamilton, John) (Entered: 02/23/2018)

03/09/2018   106   REPLY MEMORANDUM OF LAW in Support re: 101 MOTION to Dismiss The Fourth Amended Class
                   Action Complaint. . Document filed by Michael Barnes, Virginia C. Drosos, Mark Light, Ronald
                   Ristau, Michele Santana, Signet Jewelers Limited. (Allerhand, Joseph) (Entered: 03/09/2018)

03/09/2018   107   DECLARATION of Joseph S. Allerhand in Support re: 101 MOTION to Dismiss The Fourth Amended
                   Class Action Complaint.. Document filed by Michael Barnes, Virginia C. Drosos, Mark Light, Ronald
                   Ristau, Michele Santana, Signet Jewelers Limited. (Attachments: # 1 Exhibit L - Table of Puffery or
                   Opinion Statements, # 2 Exhibit M - Signet Jewelers 2016 Code of Conduct, # 3 Exhibit N - Signet
                   Jewelers 2016 Code of Ethics, # 4 Exhibit O - Barrons article)(Allerhand, Joseph) (Entered:
                   03/09/2018)

03/16/2018   108   LETTER MOTION for Leave to File Amended Complaint addressed to Judge Jesse M. Furman from
                   John Rizio-Hamilton dated 03/16/2018. Document filed by Public Employees Retirement System of
                   Mississippi. (Attachments: # 1 Exhibit A - Redline Against Fourth Amended Complaint, # 2 Exhibit
                   B - Proposed Fifth Amended Complaint)(Rizio-Hamilton, John) (Entered: 03/16/2018)

03/19/2018   109   LETTER RESPONSE in Opposition to Motion addressed to Judge Jesse M. Furman from Joseph S.
                   Allerhand dated March 19, 2018 re: 108 LETTER MOTION for Leave to File Amended Complaint
                   addressed to Judge Jesse M. Furman from John Rizio-Hamilton dated 03/16/2018. . Document filed
                   by Michael Barnes, Virginia C. Drosos, Mark Light, Ronald Ristau, Michele Santana, Signet Jewelers
                   Limited. (Allerhand, Joseph) (Entered: 03/19/2018)

03/20/2018   110   ORDER denying as moot 89 Motion to Dismiss the Third Amended Complaint; denying without
                   prejudice 101 Motion to Dismiss the Fourth Amended Complaint; and granting 108 Letter Motion for
                   Leave to File the Fifth Amended Complaint. In the Court's judgment, Defendants' primary argument
                   in opposition to Plaintiff's request to file another amended complaint - futility - is better addressed
                   in the context of Defendants' motion to dismiss, with full briefing. Defendants' other arguments in
                   opposition to the request for leave to amend are unpersuasive. Accordingly, the motion for leave to
                   amend is GRANTED. The Court, however, agrees with Defendants that it would be better to file new
                   motion papers altogether than to file supplemental papers. Accordingly, Plaintiff shall file the Fifth
                   Amended Complaint by March 22, 2018; Defendants shall renew their motion to dismiss by March
                   30, 2018; Plaintiff shall file its opposition to the motion to dismiss by April 9, 2018; and Defendants
                   shall file their reply by April 13, 2018. The parties may not make new arguments in their motion
                   papers, except to the extent that they pertain to the amendment of the Complaint. To ensure that
                   the parties heed that limitation, they shall file, at the same time as their motion papers, a
                   declaration attaching a redline showing the differences between the prior brief and the new brief.
                   (HEREBY ORDERED by Judge Jesse M. Furman)(Text Only Order) (Furman, Jesse) (Entered:
                   03/20/2018)

03/22/2018   111   FIFTH AMENDED COMPLAINT amending 96 Amended Complaint, against Michael Barnes, Virginia C.
                   Drosos, Mark Light, Ronald Ristau, Michele Santana, Signet Jewelers Limited with JURY
                   DEMAND.Document filed by Public Employees Retirement System of Mississippi. Related document:
                   96 Amended Complaint,.(Rizio-Hamilton, John) (Entered: 03/22/2018)

03/30/2018   112   MOTION to Dismiss [Dkt. No. 111] the Fifth Amended Class Action Complaint. Document filed by
                   Michael Barnes, Virginia C. Drosos, Mark Light, Ronald Ristau, Michele Santana, Signet Jewelers
                   Limited.(Allerhand, Joseph) (Entered: 03/30/2018)


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03/30/2018   113   MEMORANDUM OF LAW in Support re: 112 MOTION to Dismiss [Dkt. No. 111] the Fifth Amended
                   Class Action Complaint. . Document filed by Michael Barnes, Virginia C. Drosos, Mark Light, Ronald
                   Ristau, Michele Santana, Signet Jewelers Limited. (Allerhand, Joseph) (Entered: 03/30/2018)

03/30/2018   114   DECLARATION of Joseph S. Allerhand in Support re: 112 MOTION to Dismiss [Dkt. No. 111] the
                   Fifth Amended Class Action Complaint.. Document filed by Michael Barnes, Virginia C. Drosos, Mark
                   Light, Ronald Ristau, Michele Santana, Signet Jewelers Limited. (Attachments: # 1 Exhibit A (Part
                   1) - Compilation of credit disclosures, # 2 Exhibit A (Part 2) - Compilation of credit disclosures, # 3
                   Exhibit B - Compilation of arbitration disclosures, # 4 Exhibit C - Signet's FY2017 10-K, # 5 Exhibit
                   D - Signet's 2016 Proxy, # 6 Exhibit E - Signet's Oct. 18, 2016 letter to SEC, # 7 Exhibit F -
                   Signet's FY2014 10-K, # 8 Exhibit G -Signet's FY2015 10-K, # 9 Exhibit H - Signet's FY2016 10-K,
                   # 10 Exhibit I - Select Form 3 and Form 4s, # 11 Exhibit J - New York Times article, # 12 Exhibit K
                   - FASB 310-10-50, # 13 Exhibit L - FAS 114, # 14 Exhibit M - AICPA SOP 01-6, # 15 Exhibit N -
                   Redline)(Allerhand, Joseph) (Entered: 03/30/2018)

04/09/2018   115   MEMORANDUM OF LAW in Opposition re: 112 MOTION to Dismiss [Dkt. No. 111] the Fifth Amended
                   Class Action Complaint. . Document filed by Public Employees Retirement System of Mississippi.
                   (Rizio-Hamilton, John) (Entered: 04/09/2018)

04/09/2018   116   DECLARATION of John Rizio-Hamilton in Opposition re: 112 MOTION to Dismiss [Dkt. No. 111] the
                   Fifth Amended Class Action Complaint.. Document filed by Public Employees Retirement System of
                   Mississippi. (Attachments: # 1 Exhibit A - Summary of Class Period Stock Sales and Purchases, # 2
                   Exhibit B - Excerpts from 10-Q Filed May 23, 2013, # 3 Exhibit C - Excerpts from 10-Q Filed
                   December 1, 2017, # 4 Exhibit D - Redline of Memorandum)(Rizio-Hamilton, John) (Entered:
                   04/09/2018)

04/13/2018   117   REPLY MEMORANDUM OF LAW in Support re: 112 MOTION to Dismiss [Dkt. No. 111] the Fifth
                   Amended Class Action Complaint. . Document filed by Michael Barnes, Virginia C. Drosos, Mark
                   Light, Ronald Ristau, Michele Santana, Signet Jewelers Limited. (Allerhand, Joseph) (Entered:
                   04/13/2018)

04/13/2018   118   DECLARATION of Joseph S. Allerhand in Support re: 112 MOTION to Dismiss [Dkt. No. 111] the
                   Fifth Amended Class Action Complaint.. Document filed by Michael Barnes, Virginia C. Drosos, Mark
                   Light, Ronald Ristau, Michele Santana, Signet Jewelers Limited. (Attachments: # 1 Exhibit O - FAS
                   107, # 2 Exhibit P - FAS 157, # 3 Exhibit Q - Table of Puffery or Opinion Statements, # 4 Exhibit R
                   - Barrons article, # 5 Exhibit S - Signets 2016 Code of Ethics, # 6 Exhibit T - Signets 2016 Code of
                   Conduct, # 7 Exhibit U - Redline)(Allerhand, Joseph) (Entered: 04/13/2018)

05/23/2018         NOTICE OF CASE REASSIGNMENT to Judge Colleen McMahon. Judge Jesse M. Furman is no longer
                   assigned to the case. (jc) (Entered: 05/23/2018)

05/29/2018   119   ENDORSED LETTER addressed to to all counsel in In re: Signet Jewelers Limited Securities
                   Litigation from Chief Judge McMahon dated 5/29/2018 re: The above-captioned case has been
                   reassigned to Chief Judge McMahon. The judge is aware that there is a pending fully briefed
                   motion. Please deliver one courtesy copy of the brief and any exhibits filed in support of or in
                   opposition to the motion to Judge Chief Judge McMahon's chambers, 2550, at 500 Pearl Street.
                   ENDORSEMENT: So Ordered. (Signed by Judge Colleen McMahon on 5/29/2018) (rro) (Entered:
                   05/29/2018)




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     Cited
As of: October 30, 2018 2:36 PM Z


                                        Stitt v. On Deck Capital, Inc.
                           United States District Court for the Southern District of New York
                                 February 17, 2016, Decided; February 17, 2016, Filed
                                          15 Civ. 6126 (AT); 15 Civ. 6187 (AT)

Reporter
2016 U.S. Dist. LEXIS 30507 *

CARL STITT, individually and on behalf of all others            For Franklin Kliewer, Ryan Farber, Laris Family Trust,
similarly situated, Plaintiff, -against- ON DECK                Movants (1:15-cv-06126-AT): Lesley Frank Portnoy,
CAPITAL, INC., NOAH BRESLOW, HOWARD                             Glancy Prongay & Murray LLP, New York, NY.
KATZENBERG, JAMES ROBINSON III, DAVID
                                                                For On Deck Capital, Inc., Noah Breslow, Howard
HARTWIG, SANDY MILLER, JANE J. THOMPSON,
                                                                Katzenberg, James Robinson III, David Hartwig, Sandy
RON VERNI, NEIL WOLFSON, MORGAN STANLEY &
                                                                Miller, Jane J. Thompson, Jane J. Thompson, Neil
CO. LLC, BANK OF AMERICA MERRILL LYNCH, J.P.
                                                                Wolfson, Defendants (1:15-cv-06126-AT): Andrew
MORGAN SECURITIES LLC, DEUTSCHE BANK
                                                                James Ehrlich, LEAD ATTORNEY, Gregory Frederick
SECURITIES INC., and JEFFRIES LLC,
                                                                Laufer, Paul, Weiss, Rifkind, Wharton & Garrison LLP
Defendants.ISAAC MALAFSKY, individually and on
                                                                (NY), New York, NY; Leslie Gordon Fagen, LEAD
behalf of all others similarly situated, Plaintiff, -against-
                                                                ATTORNEY, Paul, Weiss, Rifkind, Wharton & Garrison
ON DECK CAPITAL, INC., NOAH BRESLOW,
                                                                LLP, New York, NY.
HOWARD KATZENBERG, DAVID HARTWIG, J.
SANFORD MILLER, JAMES D. ROBINSON III, JANE J.                  For Isaac Malafsky, Individually, Isaac Malafsky, On
THOMPSON, RONALD F. VERNI, NEIL E. WOLFSON,                     behalf of all others similarly situated, Plaintiffs [*2]
MORGAN STANLEY & CO. LLC, MERRILL LYNCH,                        (1:15-cv-06187-AT): Samuel Howard Rudman, Robbins
PIERCE, FENNER & SMITH INCORPORATED, J.P.                       Geller Rudman & Dowd LLP(LI), Melville, NY.
MORGAN SECURITIES LLC, DEUTSCHE BANK
                                                                For On Deck Capital, Inc., Noah Breslow, Howard
SECURITIES INC., JEFFERIES LLC, STIFEL,
                                                                Katzenberg, David Hartwig, J. Sanford Miller, James D.
NICOLAUS & COMPANY, INC., NEEDHAM &                             Robinson, III, Jane J. Thompson, Ronald F. Verni, Neil
COMPANY, LLC, and RAYMOND JAMES &                               E. Wolfson, Defendants (1:15-cv-06187-AT): Andrew
ASSOCIATES, INC., Defendants.                                   James Ehrlich, LEAD ATTORNEY, Gregory Frederick
                                                                Laufer, Paul, Weiss, Rifkind, Wharton & Garrison LLP
Core Terms                                                      (NY), New York, NY; Leslie Gordon Fagen, LEAD
                                                                ATTORNEY, Paul, Weiss, Rifkind, Wharton & Garrison
Securities, lead plaintiff, consolidated, appointed,            LLP, New York, NY.
company's, cases, stock
                                                                Judges: ANALISA TORRES, United States District
Counsel: [*1] For Carl Stitt, Individually, Lead Plaintiff      Judge.
(1:15-cv-06126-AT): Jeremy Alan Lieberman,
Pomerantz LLP, New York, NY.                                    Opinion by: ANALISA TORRES
For Carl Stitt, On behalf of all others similarly situated,
Lead Plaintiff (1:15-cv-06126-AT): Joseph Alexander             Opinion
Hood, II, Tamar Aliza Weinrib, Jeremy Alan Lieberman,
Pomerantz LLP, New York, NY.
For Isaac Malafsky, Individually, Isaac Malafsky, On            MEMORANDUM AND ORDER
behalf of all others similarly situated, Consolidated
Plaintiffs (1:15-cv-06126-AT): Samuel Howard Rudman,            ANALISA TORRES, District Judge:
LEAD ATTORNEY, Robbins Geller Rudman & Dowd
LLP(LI), Melville, NY.                                          Plaintiff, Carl Stitt ("Stitt"), filed this securities class
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action on August 4, 2015, alleging violations of Sections    the IPO. Id. ¶ 34. These documents included, in relevant
11 and 15 of the Securities Exchange Act of 1933             part, a warning that "[w]orsening economic conditions
("Exchange Act") by defendants. On Deck Capital, Inc.,       may result in decreased demand for [On Deck's] loans,
Noah Breslow, Howard Katzenberg, James Robinson              cause [On Deck's] customers' default rates to increase,"
III, David Hartwig, Sandy Miller, Jane J. Thompson, Ron      and negatively affect the company's profitability. Id.
Verni, Neil Wolfson, Morgan Stanley & Co., LLC, Bank
of America Merrill Lynch, J.P. Morgan Securities LLC,        Plaintiffs allege that these statements were materially
Deutsche Bank Securities Inc., and Jefferies LLC. A          false and misleading because in them On Deck
related case was filed on August 6, 2015. See                misrepresented and failed to disclose pertinent
Complaint, Malafsky v. On Deck Capital, Inc., No. 15         information, specifically that "the true rate of default for
Civ. [*3] 6187 (S.D.N.Y. Aug. 6, 2015). On October 5,        [On Deck's] loan portfolio was steadily increasing," and
2015, Franklin Kliewer, Ryan Farber, and the Laris           that the value of the loan [*5] portfolio was "materially in
Family Trust (the "Kliewer Plaintiffs") moved to             decline." Id. ¶ 35. In the months following the IPO,
consolidate the cases under Federal Rule of Civil            media sources reported that On Deck's stock was
Procedure 42(a), appoint themselves as lead plaintiffs       overvalued, due in part to the company's poor rate of
pursuant to the Private Securities Litigation Reform Act     default and other factors. Id. ¶¶ 36-38. In May, 2015, On
of 1995 ("PSLRA"), 15 U.S.C. § 78u-4(a)(3), and for          Deck reported to the SEC a net loss of $5.34 million. Id.
approval of their selection of lead class counsel            ¶ 40. Two months later, On Deck common stock traded
pursuant to 15 U.S.C. § 78u-4(a)(3)(B)(v). ECF No. 25.       at a low of $11.15 per share, a decline of "more than
Also on October 5, 2015, Stitt filed a similar, competing    60%" from the high following the IPO. Id. ¶ 41. Plaintiffs
motion. ECF No. 28. By notice filed on October 12,           seek to represent a class of individuals who acquired
2015, the Kliewer Plaintiffs withdrew their motion and       On Deck securities "pursuant and/or traceable to" the
expressed their support for Stitt's motion. ECF No. 31.      company's "false and misleading" documents filed in
For the reasons stated below, Stitt's motion is              connection with its IPO. Id. ¶ 43.
GRANTED.

                                                             DISCUSSION
BACKGROUND                                                   1. Case Consolidation

Defendant On Deck Capital, Inc. ("On Deck" or "the           All movants argue in favor of consolidation of the related
company") is a publicly-traded Delaware corporation          cases.1
that provides financing to small businesses in the United
States, offering fixed term loans and revolving lines of      Federal Rule of Civil Procedure 42(a) allows for
credit. Stilt Compl. ¶ 2. On Deck was incorporated in        consolidation of actions if they involve "common
2006 and is headquartered in New York City. Id.              questions of law or fact." Accord. Blackmoss
Defendants Noah Breslow, Howard Katzenberg, James            Investments, Inc. v. ACA Capital Holdings, Inc., 252
Robinson III, David Hartwig, Sandy Miller, Jane J.           F.R.D. 188, 190 (S.D.N.Y. 2008) (consolidating
Thompson, Ron Verni, and Neil Wolfson were, during           securities class actions seeking similar relief for similar
the relevant period, officers and/or directors of On Deck.   classes based on same series of events). The
Id. ¶¶ 15-23. [*4] The remaining defendants provided         complaints seek similar relief, alleging the same
underwriting services for On Deck in connection with the     violations of the Exchange Act, by similar parties, and
company's filings with the Securities Exchange               based on the same conduct. Accordingly, the actions
Commission ("SEC") in advance of its initial public          are consolidated.
offering ("IPO"). Id. ¶¶ 25-29.
                                                             II. Appointment of Lead Plaintiff
On December 16, 2014, On Deck issued its IPO, selling
11,500,000 shares of common stock at the price of $20
a share, raising a total of $230 million. Id. ¶ 3. On
                                                             1 Defendants
Deck's common stock began trading on the New York                          On Deck, Breslow, Katzenberg, Robinson,
Stock Exchange the following day. Id. In advance of the      Hartwig, [*6] Miller, Thompson, Verni, and Wolfson support
IPO, on December 15, 2014, On Deck filed an amended          consolidation of the cases, but take no position on the
Registration Statement with the SEC. Id. ¶ 1, 3. On          appointment of lead plaintiff or counsel. ECF No. 34. The
                                                             remaining defendants have expressed no position on either
December 17, 2014, On Deck filed its Prospectus for
                                                             matter.
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The PSLRA governs the process for appointing a lead           Co., No. 11 Civ. 7133, 2012 U.S. Dist. LEXIS 38489,
plaintiff in a private securities class action. Under the     2012 WL 946875, at *11 (S.D.N.Y. Mar. 19, 2012). At
PSLRA, the Court must adopt a presumption that the            this stage, a lead plaintiff need only show that he meets:
most adequate plaintiff is the person or group of             (1) the "typicality" requirement, meaning his claims
persons that:                                                 are [*8] typical of the class such that they arise from the
     (aa) has either filed the complaint or made a motion     same course of events, and the other class members
     in response to a notice under subparagraph (A)(i);       make similar legal arguments to prove liability, and (2)
     (bb) in the determination of the court, has the          the "adequacy" requirement, meaning he can fairly and
     largest financial interest in the relief sought by the   adequately represent the interests of the class, his
     class; and                                               interests are not antagonistic to those of the class, and
     (cc) otherwise satisfies the requirements of Rule 23     he has retained capable counsel who is qualified to
     of the Federal Rules of Civil Procedure.                 pursue the litigation. See id. (citations omitted).

15 U.S.C. § 78u-4(a)(3)(B)(3)(iii)(I). Once the               Stitt appears to meet both requirements. He. like other
presumption is established, it may only be rebutted with      members of the proposed class, claims that On Deck
proof that the presumptive lead plaintiff "will not fairly    issued false and misleading statements that caused the
and adequately protect the interests of the class" or "is     company's shares to trade at an inflated price.
subject to unique defenses that render such plaintiff         Additionally, Stitt's claims arise from the same course of
incapable of adequately representing the class." 15           conduct affecting each member of the proposed class.
U.S.C. § 78u-4(a)(3)(B)(iii)(II).                             Finally, there is no indication that Stitt has a conflict of
                                                              interest with any member of the proposed class, or has
Stitt filed the complaint and made a timely motion with       selected counsel that cannot capably represent the
the Court, satisfying the first requirement. The PSLRA        proposed class. Therefore, Stitt is the presumptive lead
does not prescribe a method by which a court should           plaintiff. As no other movant has provided evidence to
determine [*7] the movant with the largest financial          rebut this presumption, the Court appoints Stitt as lead
interest. That said, the Court will generally consider. (1)   plaintiff.
the number of shares purchased during the class
                                                              III. Appointment of Lead Counsel
period: (2) the number of net shares purchased during
the class period (i.e.[,] the number of shares retained       The PSLRA provides that "[t]he most adequate plaintiff
during the period); (3) the total net funds expended          shall, subject to the approval [*9] of the court, select
during the class period; and (4) the approximate loss         and retain counsel to represent the class" 15 U.S.C. §
suffered during the class period." Janbay v. Canadian         78u-4(a)(3)(B)(v). Stitt has selected Pomerantz LLP to
Solar, Inc., 272 F.R.D. 113, 118 (S.D.N.Y. 2010) (citing      represent the class, a firm that has significant
Strougo v. Brantley Capital Corp., 243 F.R.D. 100, 104        experience in securities litigation as lead plaintiff's
(S.D.N.Y. 2007)). The fourth factor, the movant's             counsel. See Elstein v. Net l UEPS Techs., Inc., No. 13
approximate loss, is the most important. Reimer v.            Civ. 9100, 2014 U.S. Dist. LEXIS 100574, 2014 WL
Ambac Fin. Grp., Inc., No. 08 Civ. 411, 2008 U.S. Dist.       3687277, at *8 (S.D.N.Y. July 23, 2014) ("Courts in this
LEXIS 38729, 2008 WL 2073931, at *3 (S.D.N.Y. May             Circuit have previously approved the Pomerantz Firm as
9, 2008).                                                     lead plaintiffs' counsel in securities class actions on a
                                                              number of occasions."). Accordingly, Pomerantz LLP is
Stitt alleges that he suffered a loss of $180,320.
                                                              appointed lead class counsel.
Lieberman Decl., Ex. C, ECF No. 30. This is greater
than the loss of $147,117 claimed by the Kliewer
Plaintiffs, Portnoy Decl., Ex. C, ECF No. 27, who agree
                                                              CONCLUSION
that Stitt "appears to be the presumptive lead plaintiff
given his substantial financial loss." Notice of              For the reasons stated above, Stitt v. On Deck Capital,
Withdrawal, ECF No. 32. The Court agrees that Stitt has       Inc., No. 15 Civ. 6126 (S.D.N.Y. Aug. 4, 2015) and
suffered the greatest loss and thus has the largest           Malafsky v. On Deck Capital, Inc., No. 15 Civ. 6187
financial interest.                                           (S.D.N.Y. Aug. 6, 2015) are consolidated. Carl Stitt is
                                                              appointed as lead plaintiff. Pomerantz LLP is appointed
Finally, a potential lead plaintiff must make a preliminary
                                                              as lead class counsel. By March 18, 2016, Plaintiffs
showing that he satisfies the requirements of Federal
                                                              shall file a consolidated complaint. Within 30 days of the
Rule of Civil Procedure 23. Peters v. Jinkosolar Holding
                                                              filing of any consolidated complaint, Defendants shall
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answer the complaint or submit a letter requesting a
pre-motion conference pursuant to Rule III of this
Court's Individual Practices in Civil Cases. All other
deadlines set forth in the August 30, 2015 scheduling
order, ECF No. 20, remain in effect.

The Clerk of Court is directed to:

    1. consolidate the related cases under [*10] 15
    Civ. 6126 and to amend the caption to read: "In re
    On Deck Capital, Inc. Securities Litigation"; and
    2. terminate all pending motions in each of the
    related actions.

SO ORDERED.

Dated: February 17, 2016

New York, New York

/s/ Analisa Torres

ANALISA TORRES

United States District Judge


  End of Document
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     Caution
As of: October 30, 2018 2:37 PM Z


                                          In re Sunbeam Sec. Litig.
                    United States District Court for the Southern District of Florida, Miami Division
                                December 4, 1998, Decided ; December 7, 1998, Filed
                                       Case No. 98-8258-CIV-MIDDLEBROOKS

Reporter
1998 U.S. Dist. LEXIS 21490 *; Fed. Sec. L. Rep. (CCH) P90,735; 1998 WL 1990884
                                                                filed objections to the consolidation and moved to alter
IN RE SUNBEAM SECURITIES LITIGATION
                                                                the lead plaintiff and lead counsel structure established
                                                                by the court. The court overruled the objections to
Disposition: [*1] Objections to Consolidation of
                                                                consolidation because the allegations stemmed from a
Plaintiffs in Stapleton, et al. v. Sunbeam, et al., Case
                                                                common course of conduct by defendant corporation, its
No. 98-1676 OVERRULED. Stapleton's Motion for
                                                                officers, and its accounting firm and the actions alleged
Appointment of Lead Plaintiffs or Co-Lead Plaintiffs
                                                                substantially similar claims that shared common
DENIED. Stapleton Groups' Motion for Approval of Lead
                                                                questions of fact and law. The court denied plaintiff
Plaintiffs' Selection of Lead Counsel (DE # 39) DENIED.
                                                                group's motion to alter the lead plaintiff because plaintiff
Motion for Affirmation of Prior Order Appointing Lead
                                                                group did not rebut the presumption that the designated
Plaintiffs in the Consolidated Cases and all
                                                                lead plaintiffs were the most adequate plaintiffs. The
Subsequently Filed Cases, Including the Stapleton
                                                                court also denied the motion to alter the lead counsel
Action, or in the Alternative, Appointing Additional Lead
                                                                because plaintiff group failed to show that the current
Plaintiffs (DE # 40) GRANTED. Motion for Stay of Filing
                                                                lead counsel could not adequately protect the interests
DENIED AS MOOT.
                                                                of the putative class members.

Core Terms                                                      Outcome
                                                                Objections to consolidation overruled; plaintiff group's
lead plaintiff, Consolidation, Appointment, lead counsel,       motion for appointment of lead plaintiffs denied; plaintiff
amended complaint, Motions, consolidated actions,               group's motion for approval of lead plaintiffs' selection of
Cases, Affirmation, Securities, parties                         lead counsel denied. lead plaintiffs motion for affirmation
                                                                of the order appointing lead plaintiffs in the consolidated
Case Summary                                                    cases granted.


Procedural Posture
                                                                LexisNexis® Headnotes
Plaintiff group of investors filed objections to
consolidation of class actions against defendant
corporation alleging violations of federal securities law;
plaintiff group also moved for appointment of lead
plaintiffs and approval of lead plaintiffs' selection of lead
                                                                    Civil Procedure > Trials > Consolidation of Actions
counsel; lead plaintiffs filed a motion for affirmation of
the order appointing lead plaintiffs in the consolidated        HN1[   ] Trials, Consolidation of Actions
cases.
                                                                See Fed. R. Civ. P. 42(a).
Overview
Eleven securities actions were brought against
defendant corporation and its officers, alleging
defendants committed violations of federal securities               Civil Procedure > Trials > Consolidation of Actions
law through false and misleading statements concerning
its business operations and financial condition. The 11         HN2[   ] Trials, Consolidation of Actions
actions were consolidated. Plaintiff group of investors
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The Private Securities Litigation Reform Act refers to           Antitrust & Trade Law > Clayton Act > Defenses
consolidation where more than one action on behalf of a
class asserting substantially the same claim or claims       HN6[   ] Trials, Consolidation of Actions
arising under this chapter has been filed. 15 U.S.C.S. §
78u-4(a).                                                    Under the Private Securities Litigation Reform Act, a
                                                             potential lead plaintiff meeting the criterion set forth in
                                                             15 U.S.C.S. § 78u-4(a)(3)(B)(iii)(I) is entitled to a
                                                             rebuttable presumption that this person or group of
    Civil Procedure > Trials > Consolidation of Actions
                                                             persons is the most adequate plaintiff. Once this
                                                             presumption is in place, and the "most adequate
HN3[   ] Trials, Consolidation of Actions
                                                             plaintiff" has been designated, the presumption may be
                                                             rebutted only upon proof by a member of the purported
Consolidation pursuant to Fed. R. Civ. P. 42 and 15
                                                             plaintiff class that the presumptively most adequate
U.S.C.S. § 78u-4(a) does not require that the actions in
                                                             plaintiff will not fairly and adequately protect the
question be identical.
                                                             interests of the class; or is subject to unique defenses
                                                             that render such plaintiff incapable of adequately
                                                             representing the class. 15 U.S.C.S. § 78u-
    Civil Procedure > Trials > Consolidation of Actions      4(a)(3)(B)(iii)(II).

HN4[   ] Trials, Consolidation of Actions

In evaluating the appropriateness of consolidation in a          Civil Procedure > Trials > Consolidation of Actions
specific context, the district court considers whether
specific risks of prejudice and possible confusion are       HN7[   ] Trials, Consolidation of Actions
overborne by risk of inconsistent adjudications of
                                                             See 15 U.S.C.S. § 78u-4(a)(3)(B)(iii)(I).
common factual and legal issues, the burden on the
parties, witnesses and available judicial resources
posed by multiple lawsuits, the length of time required to
conclude multiple suits as against a single one, and the         Civil Procedure > Trials > Consolidation of Actions
relative expense to all concerned of the single-trial,
multiple-trial alternatives.                                 HN8[   ] Trials, Consolidation of Actions

                                                             In the context of determining the most adequate plaintiff
                                                             under 15 U.S.C.S. § 78u-4(a)(3)(B)(iii)(II), speculation
    Civil Procedure > Trials > Consolidation of Actions
                                                             that conflicts may arise at the damages stage of the
                                                             litigation is not sufficient to prove that the named
HN5[   ] Trials, Consolidation of Actions
                                                             plaintiffs cannot fairly and adequately represent the
                                                             interests of the class.
Consolidation of related complex actions, and securities
cases in particular, is commonplace and an effective
use of judicial resources.
                                                                 Civil Procedure > Trials > Consolidation of Actions

                                                                 Securities Law > Civil Liability
    Civil Procedure > Trials > Consolidation of Actions
                                                                 Considerations > Securities Litigation Reform &
                                                                 Standards > Lead Plaintiff
    Evidence > Inferences &
    Presumptions > Presumptions > Rebuttal of
                                                             HN9[   ] Trials, Consolidation of Actions
    Presumptions
                                                             See 15 U.S.C.S. § 78u-4(a)(3)(B)(v).
    Securities Law > Civil Liability
    Considerations > Securities Litigation Reform &
                                                             Counsel: For Plaintiffs: Berger & Montague, P.C.,
    Standards > Lead Plaintiff
                                                             Milberg Weiss Bershad Hynes & Lerach LLP, Wolf
                                                             Popper LLP, and Barrack, Rodos & Bacine, designated
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as Co-Lead Counsel, Burt & Pucillo, LLP, and Goodkind            the Stapleton Action, Or, In the Alternative, Appointing
Labaton Rudoff & Sucharow LLP, designated as Co-                 Additional Lead Plaintiffs (DE # 40). The Court has
Liaison Counsel.                                                 reviewed the pertinent portions of the record and is
                                                                 otherwise fully informed in the premises.
For SUNBEAM CORPORATION, RUSSELL A. KERSH,
DONALD R. UZZI, defendants: Richard E. Berman,
Robert Charles Grady, Katz Barron Squitero Faust &
                                                                 I. Background
Berman, Miami, FL.
For SUNBEAM CORPORATION, defendant: Thomas J.                    In order to address the pending Motions, the Court
Allingham, II., Robert Saunders, Kevin M. Maloy,                 briefly states relevant procedural background in this
Skadden Arps Slate Meagher & Flom, Wilmington, DE.               already complex class action litigation. This Court
                                                                 entered a Consolidation Order on June 17, 1998 (DE #
For ALBERT J. DUNLAP, RUSSELL A. KERSH,                          30), consolidating eleven actions that allege Sunbeam
defendants: [*2] Paul Samuel Berger, Fowler White                Corporation and its officers committed violations of
Burnett Hurley Banick & Strickroot, Miami, FL.                   federal securities law through false and misleading
For ALBERT J. DUNLAP, defendant: Richard E.                      statements concerning the business operations and
Berman, Katz Barron Squitero Faust & Berman, Miami,              financial condition of Sunbeam. These actions were
FL.                                                              brought by various persons and entities who purchased
                                                                 common stock, stating similar, but not identical,
For ALBERT J. DUNLAP, RUSSELL A. KERSH,
                                                                 allegations, proposed class periods, and claimed
defendants: Donald S. Zakarin, James S. O'Brien, Pryor
                                                                 injuries. See Sunbeam Lead Plaintiffs' Mem. In
Cashman Sherman Ryan, New York, NY.
                                                                 Opposition To Stapleton's Obj. to Consolidation [*4] at
For DONALD R. UZZI, defendant: Brian Rosner, King &              5-7.
Spalding, New York, NY.
                                                                 The Consolidation Order, Paragraph 6, states in
Judges: DONALD M. MIDDLEBROOKS, UNITED                           pertinent part:
STATES DISTRICT JUDGE.                                                This Order shall apply to each action that is
                                                                      subsequently filed in or transferred to this Court that
Opinion by: DONALD M. MIDDLEBROOKS                                    arises out of or relates to the same facts and claims
                                                                      alleged in the complaints in the consolidated
Opinion                                                               actions, unless a party objecting to the
                                                                      consolidation of such case . . . shall within ten (10)
                                                                      days after the date upon which a copy of this Order
                                                                      is mailed to counsel for such party, file an
ORDER ON PENDING MOTIONS                                              application for relief from this Order or any provision
                                                                      herein and this Court shall apply to such an action
This Cause comes before the Court upon pending                        pending the Court's ruling on the application.
motions filed in this consolidated litigation. Plaintiffs in
Stapleton, et al. v. Sunbeam, et al., Case No. 98-1676,          Plaintiff Patrick J. Stapleton, III, filed suit in the Southern
filed Objections to Consolidation on August 28, 1998             District of Florida on June 16, 1998, on behalf of himself
(DE # 13 in Case No. 98-1676) 1                                  and all other similarly situated against Sunbeam
                                                                 Corporation, various officers (Dunlap, Kersh, Fannin,
; Motion for Appointment of Lead Plaintiffs and Approval         and Gluck), and Arthur Andersen, L.L.P. (Accountant for
of Lead Plaintiffs' Selection of Lead Counsel on                 Sunbeam Corporation). See Case No. 98-1676-CIV-
September 14, 1998 (DE # 39); and Motion to Stay                 MIDDLEBROOKS. Counsel for Stapleton has filed
Filing of the Amended Complaint (DE # 84). Lead                  objections to consolidation of the Stapleton action into
Plaintiffs in the consolidated In Re Sunbeam Litigation,         the In Re Sunbeam Litigation.
Case No. 98-8258, filed a Motion for Affirmation of Prior
Order Appointing Lead Plaintiffs in the Consolidated             Stapleton has also moved to alter the Lead Plaintiff and
Cases and All Subsequently-Filed Cases, Including [*3]           Lead Counsel structure established by [*5] the Court's
                                                                 Order Dated July 21, 1998. This Order named the Smith
                                                                 and CWA/ITU groups as lead Plaintiffs and appointed
1 All
    other citations are to Docket Entries in Case No. 98-8258-   four firms as Co-Lead counsel. Stapleton has also
CIV-MIDDLEBROOKS.                                                moved to stay the filing of the amended complaint
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pending the resolution of the above motions. Lastly, the          Celotex, 899 F.2d 1281, 1284 (2nd Cir.), cert. denied,
Sunbeam Lead Plaintiffs have moved for affirmation of             498 U.S. 920, 112 L. Ed. 2d 250, 111 S. Ct. 297 (1990).
the Lead Plaintiff and Lead Counsel Order, or in the              3

alternative to have additional Co-Lead Plaintiffs
appointed to this consolidated action. The Court will             HN4[ ] In evaluating the appropriateness of
address these Motions in turn.                                    consolidation in a specific context, the district court also
                                                                  shall consider "whether specific risks of prejudice and
                                                                  possible confusion are overborne by risk of inconsistent
II Consolidation                                                  adjudications of common factual and legal issues, the
                                                                  burden on the parties, witnesses and available judicial
Counsel for Stapleton has filed Objections to the                 resources posed by multiple lawsuits, the length of time
Consolidation Order 2                                             required to conclude multiple suits as against a single
                                                                  one, and the relative expense to all concerned of the
 [*7] which have been fully briefed. This question has
                                                                  single-trial, multiple-trial alternatives." Hendrix v.
been fully briefed by the Sunbeam Lead Plaintiffs and
                                                                  Raybestos-Manhattan, Inc., 776 F.2d 1492, 1495 (11th
Stapleton; Defendant Arthur Andersen, L.L.P., and
                                                                  Cir. 1985). See generally Manual for Complex Litigation,
individual Defendants Dunlap and Kersh have submitted
                                                                  3d ed. (Federal Judicial Center 1995) at § 21.631. HN5[
Responses as well. HN1[ ] Pursuant to Rule 42(a) of
                                                                     ] Consolidation of related complex actions, and
the Federal Rules of Civil Procedure, when "actions
                                                                  securities cases in particular, is commonplace [*8] and
involving a common question of law or fact are pending
                                                                  an effective use of judicial resources. See, e.g., In Re
before the court . . . it may order all the actions
                                                                  Equity Funding Corp. of Amer. Sec. Litigation, 416 F.
consolidated [,] and it may make such orders
                                                                  Supp. 161 (C.D. Cal. 1976).
concerning proceedings therein that may tend to avoid
unnecessary costs or delay." HN2[ ] The Private                   Upon consideration of the claims presented and facts
Securities Litigation Reform [*6]      Act refers to              alleged in the consolidated actions and in the Stapleton
consolidation where "more than one action on behalf of            action, we find that the allegations stem from a common
a class asserting substantially the same claim or claims          course of conduct by Sunbeam, its officers, and its
arising under this chapter has been filed." 15 U.S.C. §           accounting firm. The Stapleton action alleges
78u-4(a). HN3[ ] The plain language of these                      substantially similar claims that share common
authorities establishes that consolidation pursuant to            questions of fact and law. Furthermore, the Amended
Fed. R. Civ. P. 42 and PSLRA does not require that the            Complaint, which has yet to be filed, purportedly will
actions in question be identical. See, e.g., Johnson v.           state a class period that encompasses the periods of
                                                                  both the prior consolidated actions (pre-April 3, 1998)
                                                                  and the Stapleton action (post-April 3, 1998) and will
2 Pursuant     to the Consolidation Order as stated above,        join additional defendants, including those alleged in the
Stapleton must file Objections within ten days after the date     Stapleton action. Therefore, the Consolidation Order
upon which a copy of the Consolidation Order was mailed to        entered by this Court is proper and binding on the
him. Sunbeam states that its counsel mailed copies of the
                                                                  Stapleton action.
Consolidation Order and the Lead Plaintiff Order to counsel for
Stapleton on August 13, 1998 (Mem. In Opposition at 9),           Accordingly, it is hereby ORDERED AND ADJUDGED
though both Plaintiff groups parties state discussions between
                                                                  that Objections to Consolidation of Plaintiffs in
counsel had transpired in July. Technically, this Motion is
                                                                  Stapleton, et al. v. Sunbeam, et al., Case No. 98-1676
timely filed, though the Stapleton Group clearly had knowledge
                                                                  are hereby OVERRULED. This case is considered a
of the Consolidation Order in July, if not earlier. Because of
the importance of how this litigation will be structured, the     consolidated action in "In Re Sunbeam Securities
Court has thoroughly considered the merits of the arguments       Litigation," and shall bear the following [*9] caption: "In
raised in the Objections. Furthermore, the Court agrees with      Re Sunbeam Securities Litigation" Case No. 98-8258-
the district court in Lax v. First Merchants Acceptance Corp.,
1997 U.S. Dist. LEXIS 11866 at *14 (N.D. Ill. Aug. 6, 1997)
that the PSLRA intended to have the "most adequate lead           3 Sunbeam    Lead Plaintiffs state that they will name additional
plaintiffs" appointed as soon as practicable in the litigation,   defendants in the Amended Complaint; to the extent that the
and that filing of subsequent actions alleging different class    named Defendants in the actions to be consolidated now
periods did not require publication of new notices or start a     differ, the Court finds that this does not preclude consolidation
new 60-day period for the filing of motions to appoint lead       given the facts and circumstances of the allegations in this
plaintiff or lead counsel.                                        case.
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CIV-MIDDLEBROOKS. Plaintiff shall consult the                        The Lead Plaintiff's appointed by that Order are
Consolidation Order for further details on specific filing          hereinafter referred to as "Sunbeam Lead Plaintiffs."
requirements and procedures.
                                                                     [*11] This Court ruled based on the procedures and
                                                                    standards governing the appointment of the Lead
III. Lead Plaintiff Structure                                       Plaintiffs established in the PSLRA. 15 U.S.C. § 78u-
                                                                    4(a)(3)(B)(iii)(I). 6
The Consolidation Order establishes the procedure for
the selection of Lead Plaintiff and Lead Counsel in this             HN6[ ] Under the PSLRA, a potential lead plaintiff
case. It states that in pertinent part:                             meeting the criterion set forth in the subsection is
    Plaintiffs shall, on or before June 22, 1998, file any          entitled to a rebuttable presumption that this person or
    and all motions for or stipulations regarding                   group of persons is the most adequate plaintiff. Once
    selection of Lead Plaintiff(s) and Lead Counsel. To             this presumption is in place, and the "most adequate
    the extent possible, the Court encourages counsel               plaintiff" has been designated, the presumption "may be
    to work together to arrive at a mutually acceptable             rebutted only upon proof by a member of the purported
    selection of Lead Plaintiff(s) and Lead Counsel and             plaintiff class that the presumptively most adequate
    to provide to this Court a proposed stipulation                 plaintiff-- (aa) will not fairly and adequately protect the
    thereto. Said stipulation shall include the lead                interests of the class; or (bb) is subject to unique
    Plaintiff(s); the lead counsel; the organizational              defenses that render such plaintiff incapable of
    structure of lead counsel; and the duties and                   adequately representing the class." 15 U.S.C. § 78u-
    responsibilities of lead counsel.                               4(a)(3)(B)(iii)(II).

On June 22, 1998, the CWA/ITU Plaintiff Group and                    [*12] This is the stage of the litigation at which the
Smith Plaintiff Group each filed a separate Motion for              Stapleton group's Motion for Appointment as Lead
Appointment of Lead Plaintiffs and for Approval of                  Plaintiff or Co-Lead Plaintiff is filed. The relevant
Selection of Lead Counsel. 4                                        question before the Court on this Motion by Stapleton is
                                                                    to evaluate whether the Stapleton group presents proof
 In keeping with the Court's Order, these parties then              to rebut this presumption-- that is, proof that the
agreed upon and submitted [*10] a Stipulation and                   Sunbeam Lead Plaintiffs either will not fairly and
Order Regarding Appointment of Lead Plaintiffs and                  adequately protect the interests of the class or are
Selection of Co-Lead Counsel; upon review, the Court                subject to unique defenses that preclude adequate
entered this Stipulation on July 16, 1998 (DE # 29), thus           representation of the class. Stapleton does not argue
establishing the Lead Plaintiff structure currently in              the second prong; rather the question before the Court
place. 5                                                            on the Lead Plaintiff Motion is whether the Sunbeam
                                                                    Lead Plaintiffs will fairly and adequately protect the
                                                                    interests of the class. Based on a review of the
4 See   Motion for Appointment as Lead Plaintiff filed by
CWA/ITU Group and Motion for Appointment as Lead Plaintiff
                                                                    Mary Ann Tilley, Cindy Wilson, Ira Blacker, Richard Fisher,
filed by Smith Group for further identification of potential Lead
                                                                    Bob Grosnoff, Kathryn Grosnoff, Tom Kinan, Steven Sacks,
Plaintiffs and articulation of Plaintiffs' arguments for Lead
                                                                    Leonard Steinberg, Frederick Steinberg, Roy Schwarz, Saul
Plaintiff status.
                                                                    Spitz."
5 As stated in Order, "the initial notices of pendency of the       6 HN7[    ] 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I) states that, subject
action that were published on April 23, 1998 are found to be in
                                                                    to certain other relevant provisions, "the court shall adopt a
compliance with § 78u-4(a)(3)(A)(I) of the PSLRA." It further
                                                                    presumption that the most adequate plaintiff in any private
states that "the following persons are found to satisfy the
                                                                    action arising under this title is the person or group of persons
provisions of § 78u-4(a)(3)(B) of the PSLRA and are appointed
                                                                    that--
Lead Plaintiffs in the Consolidated Actions: CWA/ITU
Negotiated Pension Plan, Alan L. Sarnoff, Generic Trading           (aa) has either filed the complaint or made a motion in
Associates, LLC, Robert Kaufman, Christopher M. Lynch,              response to a notice under subparagraph (A)(i);
Feivel Gottlieb, Stephen M. Weiss, Smith Asset Management,
                                                                    (bb) in the determination of the court, has the largest financial
Sonny Iwamoto, Ray Bornert, Benjamin Butera, Karen
                                                                    interest in the relief sought by the class; and
Gabiner, Jared Gabiner, Dawn Devine, Tom Jacques, Curt
Kosow, Gary Maggio, Susan Mintz, Stephen Noteboom, John             (cc) otherwise satisfies the requirements of Rule 23 of the
Palmour, Richard Petersen, Martha Roldan, Frank Roldan,             Federal Rules of Civil Procedure."
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arguments of counsel, the caselaw (particularly that               Accordingly, it [*15] is hereby ORDERED AND
interpreting the PSLRA), and the facts alleged in this             ADJUDGED that Stapleton's Motion for Appointment of
case, the Court finds that Stapleton has not rebutted the          Lead Plaintiffs or Co-Lead Plaintiffs is DENIED.
presumption that the Sunbeam Lead Plaintiffs are the
most adequate plaintiffs.
                                                                   IV. Lead Counsel Structure
First, the Court notes that consistent with the decision to
consolidate these cases, they are based on a common                In the above mentioned Order, pursuant to § 78u-
nucleus of facts alleging misrepresentation of the                 4(a)(3)(B)(v) of the PSLRA, the law firms of Berger &
financial condition and prospects of the Sunbeam                   Montague, P.C., Milberg Weiss Bershad Hynes &
Corporation. [*13] All of the potential plaintiffs in these        Lerach LLP, WolfPopper LLP, and Barrack, Rodos &
actions are shareholders of common stock. The Court                Bacine were designated as Co-Lead Counsel. The law
credits Sunbeam Lead Plaintiffs' argument that there is            firms of Burt & Pucillo, LLP, and Goodkind Labaton
commonality of interest among shareholders who are                 Rudoff & Sucharow LLP were designated as Co-Liaison
potential plaintiffs in this action, despite variations in the     Counsel.
class periods alleged and the specific misleading
statements upon which the shareholders relied. See In              Under HN9[ ] 15 U.S.C. § 78u-4(a)(3)(B)(v), "the most
Re Cendant Corporation Litigation, 182 F.R.D. 476,                 adequate plaintiff shall, subject to the approval of the
1998 WL 748501 (D.N.J. 1998). HN8[ ] Speculation                   court, select and retain counsel to represent the class."
that conflicts may arise at the damages stage of the               The Court sees no reason to contravene this provisions
litigation (or sooner) is not sufficient to prove that the         of this PSLRA on the facts presented. Because the
Plaintiffs named here cannot fairly and adequately                 Sunbeam Lead Plaintiff structure is not altered at this
represent the interests of the class. See Schwartz v.              time, and because Stapleton has not shown that the
Harp, 108 F.R.D. 279, 282 (C.D.Cal. 1985) (stating that            current Lead Counsel cannot adequately protect the
"potential conflicts arising from differences in the date of       interests of the putative class members, the Lead
purchase and therefore in proof of damages [do not]                Counsel shall also remain as established by prior Order.
preclude plaintiff's representative status at this point");
cf. Blackie v. Barrack, 524 F.2d 891 (9th Cir. 1975), cert.        Accordingly, it is hereby ORDERED AND ADJUDGED
denied, 429 U.S. 816, 50 L. Ed. 2d 75, 97 S. Ct. 57                that Stapleton Groups' Motion for Approval of Lead
(1986) (in considering class certification under Fed. R.           Plaintiffs' Selection of Lead Counsel (DE # [*16] 39) is
Civ. P. 23, stating "potential conflict [between early and         DENIED.
late purchasers] is present in most prolonged classes
involving a series of misrepresentations"). [*14] Lastly,
the Amended Complaint that will allege a broader class             V. Affirmation of Prior Order
period has yet to be filed in this litigation, which may
                                                                   Sunbeam Lead Plaintiffs have filed a Motion for
result in a resolution of some of the potential problems
                                                                   Affirmation of Prior Order Appointing Lead Plaintiffs in
and conflicts that the Stapleton group contemplates. 7
                                                                   the Consolidated Cases and all Subsequently Filed
                                                                   Cases, Including the Stapleton Action, or in the
 The Court reserves the question, if truly divergent
                                                                   Alternative, Appointing Additional Lead Plaintiffs (DE #
interests were to emerge, of potential grounds for
                                                                   40). To the extent that the Motion for Affirmation is
certifying a sub-class at the class certification stage, or
                                                                   consistent with the foregoing analysis, it is hereby
other appropriate measures, if the facts of this case so
                                                                   ORDERED AND ADJUDGED that this Motion is
dictate after further development. See Maywalt v. Parker
                                                                   GRANTED.
& Parsley Petroleum Co., 67 F.3d 1072, 1078 (2nd Cir.
1995) (stating that "ultimate responsibility to ensure that
the interests of class members are not subordinated to
                                                                   VI. Filing of the Amended Complaint
the interests of either the class representatives or class
counsel rests with the district court").                           Plaintiff also moves for a Stay of Filing the Amended
                                                                   Complaint pending the resolution of the above Motions.
7 Furthermore,   the Stapleton Group has not demonstrated that     Given the resolution of said Motions, it is hereby
it presently holds a greater financial interest than the Sunbeam   ORDERED AND ADJUDGED that the Motion for Stay of
Lead plaintiffs. The pending filing of the Amended Complaint       Filing is hereby DENIED AS MOOT.
also will affect any such evaluation.
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Plaintiffs shall file the Amended Complaint within fifteen
days after the date that Sunbeam Corporation files its
restated results with the SEC, in accordance with
Stipulation of the Parties filed on November 10, 1998
(DE # 98).


VII. Administration of this Action

Given the large number of parties in this action, the
Court establishes an abbreviated service list for Orders
from this Court. The Counsel listed on the service [*17]
list below (Plaintiff Co-Liaison Counsel and one local
counsel for each Defendant) will receive Orders of the
Court and shall be responsible for distribution to all co-
counsel. 8
 The Court requests that Counsel listed below inform the
Court of any objections, inaccuracies, or necessary
counsel not included in the list below.

DONE AND ORDERED in Chambers at Miami, Florida,
this 4th day of December, 1998.

DONALD M. MIDDLEBROOKS

UNITED STATES DISTRICT JUDGE


  End of Document




8 Counsel    for the Stapleton Group are included on this service
list, but will not be listed hereinafter.
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